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 1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                               SAN JOSE DIVISION

 5
        UNITED STATES OF AMERICA,            )   CR-18-00258-EJD
 6                                           )
                           PLAINTIFF,        )   SAN JOSE, CALIFORNIA
 7                                           )
                    VS.                      )   VOLUME 18
 8                                           )
        ELIZABETH A. HOLMES,                 )   OCTOBER 13, 2021
 9                                           )
                           DEFENDANT.        )   PAGES 3279 - 3537
10                                           )   PAGES 3292 - 3364 SEALED
                                                 PAGES 3534 - 3537 SEALED
11

12
                        TRANSCRIPT OF TRIAL PROCEEDINGS
13                   BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
14
        A P P E A R A N C E S:
15
        FOR THE PLAINTIFF:       UNITED STATES ATTORNEY'S OFFICE
16                               BY: JOHN C. BOSTIC
                                      JEFFREY B. SCHENK
17                               150 ALMADEN BOULEVARD, SUITE 900
                                 SAN JOSE, CALIFORNIA 95113
18
                                 BY:  ROBERT S. LEACH
19                                    KELLY VOLKAR
                                 1301 CLAY STREET, SUITE 340S
20                               OAKLAND, CALIFORNIA 94612

21           (APPEARANCES CONTINUED ON THE NEXT PAGE.)

22      OFFICIAL COURT REPORTERS:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
23                              CERTIFICATE NUMBER 8074
                                LEE-ANNE SHORTRIDGE, CSR, CRR
24                              CERTIFICATE NUMBER 9595

25           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                   TRANSCRIPT PRODUCED WITH COMPUTER


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 1
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 2

 3      FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
                                 BY: KEVIN M. DOWNEY
 4                                    LANCE A. WADE
                                      KATHERINE TREFZ
 5                                    ANDREW LEMENS
                                      J.R. FLEURMONT
 6                                    PATRICK LOOBY
                                      RICHARD CLEARY
 7                               725 TWELFTH STREET, N.W.
                                 WASHINGTON, D.C. 20005
 8
                                 LAW OFFICE OF JOHN D. CLINE
 9                               BY: JOHN D. CLINE
                                 ONE EMBARCADERO CENTER, SUITE 500
10                               SAN FRANCISCO, CALIFORNIA 94111

11
        ALSO PRESENT:            FEDERAL BUREAU OF INVESTIGATION
12                               BY: ADELAIDA HERNANDEZ

13                               OFFICE OF THE U.S. ATTORNEY
                                 BY: LAKISHA HOLLIMAN, PARALEGAL
14                                    MADDI WACHS, PARALEGAL

15                               WILLIAMS & CONNOLLY
                                 BY: TIMIKA ADAMS-SHERMAN, PARALEGAL
16
                                 TBC
17                               BY:   BRIAN BENNETT, TECHNICIAN

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 7      ROBERTO AMENTA
        DIRECT EXAM BY MR. BOSTIC                    P. 3521
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           1      SAN JOSE, CALIFORNIA                             OCTOBER 14, 2021

08:33AM    2                               P R O C E E D I N G S

08:33AM    3           (COURT CONVENED AT 8:33 A.M.)

08:33AM    4           (JURY OUT AT 8:33 A.M.)

08:33AM    5                  THE COURT:    WE'RE BACK ON THE RECORD IN THE HOLMES

08:33AM    6      MATTER.   ALL COUNSEL ARE PRESENT AND MS. HOLMES IS PRESENT.

08:33AM    7           WE'RE OUTSIDE OF THE PRESENCE OF THE JURY AND MEETING

08:33AM    8      BEFORE THEY ARRIVE.

08:33AM    9           I UNDERSTAND THE DEFENSE WANTED TO RAISE A QUESTION?

08:34AM   10                  MR. DOWNEY:    GOOD MORNING, YOUR HONOR.

08:34AM   11                  THE COURT:    GOOD MORNING.

08:34AM   12                  MR. DOWNEY:    THREE ISSUES THAT JUST CAME UP, TWO OF

08:34AM   13      WHICH I THINK MR. SCHENK AND I HAVE BEEN ABLE TO DEAL WITH ON

08:34AM   14      OUR OWN, BUT THEY RELATE TO A WITNESS NOT YET TESTIFYING, BUT

08:34AM   15      IT WILL BE MR. JHAVERI WHO IS ANOTHER WITNESS FORMERLY EMPLOYED

08:34AM   16      AT WALGREENS.

08:34AM   17           THERE ARE TWO QUESTIONS IN CONNECTION WITH HIS TESTIMONY

08:34AM   18      THAT WE WERE CONCERNED ABOUT BECAUSE STATEMENTS ABOUT THEM

08:34AM   19      APPEARED IN A 302 THAT WAS PRODUCED YESTERDAY.

08:34AM   20           ONE IS THAT HE WANTED TO -- IN THE STATEMENT, HE

08:34AM   21      REFERENCED THERANOS'S DECISION TO VOID TESTS, WHICH AS

08:34AM   22      YOUR HONOR KNOWS WAS THE SUBJECT OF MOTION IN LIMINE PRACTICE.

08:34AM   23           THE SUBSTANCE OF HIS STATEMENT WAS THAT WALGREENS MADE A

08:34AM   24      DECISION TO CLOSE ITS STORES IN RESPONSE TO THAT ACTION BY

08:34AM   25      THERANOS.



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08:34AM    1           MR. SCHENK AND I SPOKE THIS MORNING AND MR. SCHENK ASSURES

08:35AM    2      ME THAT THE ISSUE OF VOIDING WILL NOT BE PART OF THE

08:35AM    3      PRESENTATION, ALTHOUGH THE ISSUE OF THE DECISION TO CLOSE --

08:35AM    4      THE FACT THAT THE STORES WERE CLOSED IS SOMETHING THAT WILL BE

08:35AM    5      PRESENTED, WHICH IS CERTAINLY FINE BY US.

08:35AM    6           THE OTHER ISSUE IS HE WAS PRESENTED DURING THAT INTERVIEW

08:35AM    7      WITH A "WALL STREET JOURNAL" ARTICLE AND ASKED TO CONTRAST THE

08:35AM    8      KNOWLEDGE THAT HE HAD WITH CERTAIN ASSERTIONS IN "THE

08:35AM    9      WALL STREET JOURNAL" ARTICLE.     WE WERE CONCERNED ABOUT THAT

08:35AM   10      METHOD OF PRESENTING EVIDENCE.

08:35AM   11           AGAIN, MR. SCHENK ASSURES ME THAT NOT ONLY WILL THERE NOT

08:35AM   12      BE REFERENCE TO OR INTRODUCTION OF THE ARTICLE, BUT THAT HE'LL

08:35AM   13      SIMPLY BE ASKED ABOUT THE STATE OF HIS KNOWLEDGE AT THE TIME.

08:35AM   14           SO I THINK AS TO THOSE TWO ISSUES THEY HAVE BEEN RESOLVED,

08:35AM   15      BUT I JUST WANT TO MAKE THE COURT AWARE OF THEM IN CASE

08:35AM   16      ANYTHING COMES UP DURING THE TESTIMONY.

08:35AM   17                 THE COURT:    OKAY.   LET ME JUST ASK MR. SCHENK IF HE

08:35AM   18      HAS ANY COMMENT ON ANY OF THOSE TWO ISSUES.

08:36AM   19           MR. SCHENK?

08:36AM   20                 MR. SCHENK:   THANK YOU, YOUR HONOR.

08:36AM   21           WITH REGARD TO THE VOIDING OF THE TESTS, I DO NOT INTEND

08:36AM   22      TO ASK MR. JHAVERI WHETHER HE HAS KNOWLEDGE OF THAT IN FACT.

08:36AM   23           I THINK THERE'S A SEPARATE ISSUE ABOUT THE ADMISSIBILITY

08:36AM   24      OF VOIDING OF THE TESTS.    WE DON'T HAVE TO ADDRESS THAT WITH

08:36AM   25      MR. JHAVERI.   I DO NOT INTEND TO ASK HIM IF THERANOS VOIDED THE



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08:36AM    1      TESTS.

08:36AM    2           I DO INTEND TO ASK HIM WHETHER THE THERANOS BLOOD TESTING

08:36AM    3      SERVICES AT SOME POINT BECAME UNAVAILABLE AT WALGREENS, THEY

08:36AM    4      STOPPED OFFERING BLOOD TESTING AT WALGREENS AND YOU CAN'T GO

08:36AM    5      THERE ANYMORE AND GET THEM.

08:36AM    6           I THINK IT'S MR. JHAVERI'S BELIEF OR KNOWLEDGE THAT PART

08:36AM    7      OF THE REASON WAS BECAUSE TESTS WERE VOIDED.      WE DON'T HAVE TO

08:36AM    8      GET INTO THE REASON, RATHER WHAT I'M INTERESTED IN IS THE FACT

08:36AM    9      THAT THERANOS SERVICES ARE NO LONGER AVAILABLE AT WALGREENS AND

08:36AM   10      THAT THAT HAPPENED WHILE MR. JHAVERI WAS ENGAGED IN THE

08:36AM   11      PROJECT.

08:36AM   12                 THE COURT:    YOU HAVE NO OBJECTION TO THAT?

08:36AM   13                 MR. DOWNEY:   NO OBJECTION TO THAT.

08:36AM   14           THE ONLY REQUEST WE HAVE IN CONNECTION WITH THAT, WHICH

08:36AM   15      I'M SURE MR. SCHENK WILL COMPLY WITH, IS JUST THAT THE WITNESS

08:37AM   16      BE APPRISED OF OUR AGREEMENT ON THAT SUBJECT.

08:37AM   17                 THE COURT:    ALL RIGHT.   ANYTHING ELSE INVOLVING --

08:37AM   18      MR. SCHENK, ANYTHING ELSE YOU WANT TO COMMENT ON?

08:37AM   19                 MR. SCHENK:   THE SECOND ISSUE THAT MR. DOWNEY RAISED

08:37AM   20      WAS "THE WALL STREET JOURNAL" ARTICLE.

08:37AM   21           MR. JHAVERI READ IT.    I INTEND TO HAVE HIM TESTIFY THAT

08:37AM   22      GENERALLY IT WAS NEGATIVE, THAT HE DIDN'T READ IT AND THINK

08:37AM   23      THAT THE RELATIONSHIP WITH THERANOS HAD ANYTHING OTHER THAN A

08:37AM   24      NEW OBSTACLE OR HURDLE AND HE NEEDED TO DO SOME INFORMATION

08:37AM   25      GATHERING, SOMETHING LIKE THAT.



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08:37AM    1           I'M NOT GOING TO ASK HIM ABOUT THIS LINE OR THAT FACT OR

08:37AM    2      DETAILS IN THE ARTICLE.

08:37AM    3           THE POINT OF IT IS THAT MR. JHAVERI'S ROLE IN THE

08:37AM    4      RELATIONSHIP CHANGED AT THAT POINT.     OTHER PEOPLE AT WALGREENS,

08:37AM    5      LIKE LAWYERS, GOT MORE INVOLVED IN THE RELATIONSHIP AT THAT

08:37AM    6      POINT.

08:37AM    7           SO IT WAS SORT OF A CAUSE OF HIM STEPPING BACK A LITTLE

08:37AM    8      BIT IN SOME OF THE INTERACTIONS IN THE RELATIONSHIP, AND THAT'S

08:37AM    9      THE FACT THAT I INTEND TO ELICIT.

08:37AM   10           BUT I'M NOT GOING TO SHOW HIM THE ARTICLE, I'M NOT GOING

08:38AM   11      TO ASK HIM ABOUT FACTS OR SENTENCES OR LINES IN THE ARTICLE,

08:38AM   12      JUST GENERALLY THAT IT WAS NEGATIVE AND THAT IT CAUSED HIM TO

08:38AM   13      STEP BACK A LITTLE BIT IN THE RELATIONSHIP.

08:38AM   14                 MR. DOWNEY:    I THINK THE FACT THAT THERE WAS A

08:38AM   15      NEGATIVE ARTICLE IS NOT SOMETHING THAT WE OBJECT TO, AND,

08:38AM   16      AGAIN, I WOULD JUST REQUEST THAT THE WITNESS BE ADVISED OF THAT

08:38AM   17      LINE.

08:38AM   18                 THE COURT:    OKAY.   ALL RIGHT.

08:38AM   19           THANK YOU.   THANK YOU.

08:38AM   20           MR. SCHENK, YOU HAD --

08:38AM   21                 MR. DOWNEY:    I HAD ONE OTHER ISSUE.

08:38AM   22                 THE COURT:    YES?

08:38AM   23                 MR. DOWNEY:    WHICH I DON'T WANT TO DISCUSS IN DETAIL

08:38AM   24      BECAUSE IT RELATES TO OUR UNDER SEAL SESSION YESTERDAY, BUT I

08:38AM   25      WANTED TO MAKE A COMMENT AND REQUEST IN CONNECTION WITH THAT.



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08:38AM    1           WITHOUT GOING INTO THE SUBSTANCE OF THAT HEARING, UPON

08:38AM    2      READING THE TRANSCRIPT, I DID HAVE A CONCERN THAT THAT ISSUE BE

08:38AM    3      RESOLVED PROMPTLY IN LIGHT OF SOME OF THE COMMENTS THAT WERE

08:38AM    4      MADE BY THE JURORS WHO WERE AVAILABLE FOR THAT SESSION LAST

08:38AM    5      NIGHT.

08:38AM    6           I DON'T WANT TO ARTICULATE THOSE COMMENTS.     YOUR HONOR MAY

08:39AM    7      BE AWARE OF WHAT I HAVE IN MIND.

08:39AM    8           SO THAT THE JURY CAN BE IN A POSITION TO FULLY FULFILL ITS

08:39AM    9      SERVICE OBLIGATIONS HERE, MY REQUEST WOULD BE THAT WE DEAL WITH

08:39AM   10      THE ISSUES RELATED TO THE UNSEALING OF THE QUESTIONNAIRES,

08:39AM   11      REDACTIONS THERETO, AND ANYTHING ELSE THAT IS PROPHYLACTIC THAT

08:39AM   12      WE NEED TO DEAL WITH AS SOON AS POSSIBLE.

08:39AM   13                 THE COURT:    THIS MORNING BEFORE WE START EVIDENCE?

08:39AM   14                 MR. DOWNEY:    YES, BEFORE WE START EVIDENCE WOULD BE

08:39AM   15      OUR REQUEST.

08:39AM   16                 MR. SCHENK:    YOUR HONOR, I DON'T SHARE THE SAME

08:39AM   17      CONCERN.   I ALSO WAS PRESENT FOR THE HEARING.    I'M HAPPY TO, AT

08:39AM   18      THE RIGHT TIME, PROVIDE ADDITIONAL THOUGHTS ON THAT SUBJECT.

08:39AM   19      BUT I DID NOT LEAVE THE SESSION OR AFTER HAVING NOW SEEN THE

08:39AM   20      TRANSCRIPT WITH THE CONCERNS THAT MR. DOWNEY HAS RAISED.

08:39AM   21           I WILL ALSO NOTE THAT THE COURT'S PLAN IS TO DEAL WITH THE

08:39AM   22      REMAINING JURORS TODAY.    THE COURT JUST DOESN'T INTEND TO TAKE

08:40AM   23      TRIAL TRANSCRIPT TIME TO DO IT.

08:40AM   24           WE HAVE OUT OF TOWN WITNESSES WHO ARE HERE THIS WEEK AND

08:40AM   25      ARE READY TO TESTIFY.



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08:40AM    1           IT WOULD BE THE GOVERNMENT'S PREFERENCE TO GET THROUGH THE

08:40AM    2      WITNESSES TODAY AND THEN USE, AS THE COURT HAD PLANNED, OUR

08:40AM    3      POST-TRIAL TIME TO HANDLE THAT.

08:40AM    4                 MR. DOWNEY:   WELL, YOUR HONOR, THE ONLY ISSUE I'M

08:40AM    5      FOCUSSED ON IS TO THE EXTENT FOR ANY JUROR, WITHOUT COMMENTING

08:40AM    6      ON ANYTHING, TO THE EXTENT THAT THIS ISSUE HANGS OVER ANY JUROR

08:40AM    7      AND THEY WOULD LIKE TO KNOW HOW IT BE RESOLVED, I WOULD RATHER

08:40AM    8      HAVE THAT ADDRESSED NOW SO THAT WE'RE NOT IN A PERIOD WHERE

08:40AM    9      THERE'S EFFECTIVELY A FULL DAY OF TRIAL FROM THE TIME THEY KNOW

08:40AM   10      ABOUT THE ISSUE UNTIL THE TIME THE ISSUE IS ADDRESSED.

08:40AM   11                 THE COURT:    WELL, THAT RAISES THE TOPIC IS ONCE WE

08:40AM   12      COMPLETE THE QUESTIONING OF THE JURORS AND WHAT I WILL DO IS

08:40AM   13      COLLECT THAT INFORMATION AND THEN RESPOND TO THE MOTION.

08:41AM   14           I THINK WHAT YOU'RE ASKING ME TO DO IS TO PUT THIS TRIAL

08:41AM   15      ON HOLD AND RESOLVE THAT ENTIRE MOTION, THAT IS, THE MEDIA

08:41AM   16      COALITION'S MOTION BEFORE WE GO FORWARD.

08:41AM   17           IS THAT WHAT YOU'RE ASKING ME TO DO?

08:41AM   18                 MR. DOWNEY:   WELL, WHAT I'M ASKING -- I GUESS

08:41AM   19      EFFECTIVELY WHAT I'M ASKING, BUT WHAT I'M ASKING IS THAT THE

08:41AM   20      COURT IS SURE THE JURY IS SERVING IN A MANNER CONSISTENT WITH

08:41AM   21      THE DEFENDANT'S FIFTH AND SIXTH AMENDMENT RIGHTS, WHICH I KNOW

08:41AM   22      THE COURT IS DEEPLY DEDICATED TO.

08:41AM   23           I THINK SOME OF THE COMMENTS RAISE CONCERNS ABOUT THAT, SO

08:41AM   24      I THINK IT'S AN ISSUE THAT WE NEED TO GET RESOLVED.

08:41AM   25           I CERTAINLY APPRECIATE MR. SCHENK'S COMMENTS ABOUT WITNESS



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08:41AM    1      LOGISTICS.    WE'VE TRIED TO WORK WITH HIM ON THAT.

08:41AM    2            BUT I THINK WE HAVE THE BULK OF THE JURORS INTERVIEWED.       I

08:41AM    3      THINK WE OUGHT TO TAKE THE TIME TO RESOLVE WITH THE OTHER

08:41AM    4      JURORS AND MAKE SURE THAT WE DON'T HAVE JURORS WHO ARE

08:41AM    5      REPORTING A REACTION TO THAT, THAT IS AFFECTING THEIR ABILITY

08:42AM    6      TO SERVE.

08:42AM    7                   THE COURT:    I THINK WE HAVE SIX REMAINING TO

08:42AM    8      INTERVIEW, AND THE TIMING OF THINGS LAST NIGHT, I THINK IT TOOK

08:42AM    9      US LONGER THAN I THINK ANY OF US ANTICIPATED.       I THINK WE

08:42AM   10      FINISHED AFTER 5:00.

08:42AM   11            AND HAVING -- I THINK WE STOPPED AT 3:00, AND IT TOOK US A

08:42AM   12      COUPLE OF HOURS TO GET THROUGH NINE PEOPLE IF I RECALL

08:42AM   13      CORRECTLY.

08:42AM   14            SO IF WE WERE TO CONTINUE OUR CONVERSATION WITH THE OTHER

08:42AM   15      SIX TODAY, I CAN DO THAT, AND THEN WHAT YOU'RE ASKING TO DO IS

08:42AM   16      TO HAVE COLLOQUY AFTER THAT REGARDING --

08:42AM   17                   MR. DOWNEY:   I THINK IF THE AGGREGATION OF THE

08:42AM   18      COMMENTS RAISES THE CONCERNS THAT I SUSPECT THE FIRST NINE DID,

08:42AM   19      THEN I THINK IT IS AN ISSUE, YEAH, I THINK WE SHOULD RESOLVE

08:42AM   20      IT.

08:42AM   21                   THE COURT:    WELL, I THINK -- AS YOU ALL KNOW, THE --

08:43AM   22      I ASKED THE QUESTION ABOUT CONTINUED SERVICE, AND I THINK WE

08:43AM   23      GOT AFFIRMATIVE ANSWERS FROM EVERY JUROR, THAT THEY WOULD

08:43AM   24      CONTINUE TO BE FAIR AND IMPARTIAL TO BOTH SIDES IN THE CASE.

08:43AM   25            I WANTED TO KNOW THAT BECAUSE THAT'S THE PRIMARY DIRECTIVE



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08:43AM    1      OF A JUROR'S SERVICE, AND THEY ALL INDICATED THAT THEY COULD DO

08:43AM    2      THAT.

08:43AM    3           AND I THINK I KNOW WHAT YOU'RE TALKING ABOUT.     WE KNOW

08:43AM    4      WHAT WE'RE TALKING ABOUT.

08:43AM    5           AND THE THOUGHT OCCURRED TO ME THAT THERE MIGHT BE SOME --

08:43AM    6      I DON'T WANT TO USE THE WORD "EFFICIENCY," I HATE TO USE THAT

08:43AM    7      IN A CRIMINAL CASE, BUT THERE MIGHT BE SOME ADVANTAGE TO

08:43AM    8      RESOLVING AN ISSUE, A JURY ISSUE, EARLIER THAN LATER IT SEEMS

08:43AM    9      TO ME.

08:43AM   10           LET'S DO THIS.     LET'S -- MS. KRATZMANN, ARE ALL OF OUR

08:43AM   11      JURORS PRESENT NOW?

08:43AM   12                 THE CLERK:    I HAVE NOT CHECKED YET, YOUR HONOR.

08:43AM   13                 THE COURT:    OKAY.   IT'S A QUARTER TO 9:00 AND I TOLD

08:44AM   14      THEM WE ARE STARTING AT 9:00.     AND THIS IS A TERRIFIC JURY AND

08:44AM   15      THEY'VE BEEN EXTENDING THEIR TIME WITHOUT ANY COMPLAINTS.

08:44AM   16           MY SENSE IS THAT I'M TAKING THAT AS THEIR DESIRE TO

08:44AM   17      CONTINUE TO DEVOTE THEIR EFFORTS TO THE TRIAL AND THEY'RE NOT

08:44AM   18      AT ALL DISENGAGED ABOUT STAYING LATER.     I'VE CREEPED THAT TIME

08:44AM   19      BACK FROM 2:00 TO 3:00, AND THEN TODAY I THINK IT WAS 4:00.        IF

08:44AM   20      I TOLD THEM, LET'S GO TO A NORMAL SCHEDULE OF 5:00, I THINK

08:44AM   21      THEY WOULD NOT REVOLT.     I BET THEY WOULD APPRECIATE THAT.

08:44AM   22           ALL RIGHT.   LET'S DO THIS, LET ME -- I THINK WHAT I WOULD

08:44AM   23      LIKE TO DO IS TO FINISH WITH OUR CONVERSATION WITH THE JURORS

08:44AM   24      THIS MORNING AND DO THAT IN A SEALED SESSION, CONTINUE OUR

08:44AM   25      SEALED SESSION.



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08:44AM    1           AND WE HAVE SIX JURORS REMAINING TO SPEAK WITH, AND WE'LL

08:44AM    2      TALK WITH THEM, AND LET'S SEE WHERE THAT LAYS.

08:45AM    3           I HOPE WE CAN GET THIS DONE IN PERHAPS AN HOUR.     I THINK

08:45AM    4      WE CAN.    AND THEN WE CAN PRESS ON WITH THE TRIAL AND DO OUR

08:45AM    5      SCHEDULE ACCORDINGLY.

08:45AM    6           MAYBE WE'LL GO UNTIL 5:00 INSTEAD OF ENDING AT 4:00 TODAY.

08:45AM    7           SO, MR. SCHENK, IF YOUR TEAM COULD ADVISE YOUR WITNESSES.

08:45AM    8      I HOPE THIS IS NOT TOO DISRUPTIVE OF THEIR SCHEDULES.     BUT

08:45AM    9      WE'LL TRY TO BE AS EFFICIENT AS WE CAN.

08:45AM   10           MS. KRATZMANN, WHEN AT LEAST THE SIX HAVE ARRIVED, PLEASE

08:45AM   11      LET ME KNOW AND THEN WE'LL SCHEDULE THEIR INTERVIEWS THIS

08:45AM   12      MORNING.   OF COURSE WE'LL DO THAT IN CHAMBERS AGAIN.

08:45AM   13           I ASSUME THE SAME PARTIES WANT TO JOIN.

08:45AM   14                  MR. SCHENK:   YES, YOUR HONOR.

08:45AM   15                  MR. DOWNEY:   YES, YOUR HONOR.

08:45AM   16                  THE COURT:    ALL RIGHT.   THANK YOU.

08:45AM   17                  MR. DOWNEY:   THANK YOU.

08:45AM   18           (RECESS FROM 8:45 A.M. UNTIL 9:00 A.M.)

08:45AM   19           (SEALED PROCEEDINGS IN CHAMBERS.)

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08:45AM    1      ///

09:00AM    2      ///

09:00AM    3            (SEALED PROCEEDINGS HELD IN CHAMBERS.)

09:00AM    4                 THE COURT:     ANYTHING YOU WANT TO COMMENT ON?   I

09:00AM    5      INTEND TO FOLLOW THE SAME PROTOCOL WE DID YESTERDAY.

09:00AM    6            COFFEE, TEA?

09:00AM    7                 MR. SCHENK:      NO.   THANK YOU.

09:00AM    8                 MR. DOWNEY:      NO.

09:00AM    9                 THE COURT:     ALL RIGHT.   LET'S BRING IN NUMBER 2.

09:01AM   10            (PAUSE IN PROCEEDINGS.)

09:01AM   11            (JUROR NUMBER 2 PRESENT.)

09:02AM   12                 THE CLERK:     GO AHEAD AND HAVE A SEAT ON THE SOFA,

09:02AM   13      THIS IS JUROR NUMBER 2.

09:02AM   14                 THE COURT:     GOOD MORNING.

09:02AM   15                 JUROR:    GOOD MORNING.

09:02AM   16                 THE COURT:     WE ARE ON THE RECORD IN CHAMBERS WITH

09:02AM   17      COUNSEL, MR. SCHENK, MR. DOWNEY, MY LAW CLERKS, YOU KNOW

09:02AM   18      MS. KRATZMANN.

09:02AM   19                 JUROR:    YES.

09:02AM   20                 THE COURT:     AND I'M GOING TO CALL YOU AND IDENTIFY

09:02AM   21      YOU AS JUROR NUMBER 2, YOUR JUROR NUMBER.

09:02AM   22                 JUROR:    OKAY.

09:02AM   23                 THE COURT:     I MEAN NO DISRESPECT.

09:02AM   24            AS I SAID TWO DAYS AGO, I WANTED TO DISCUSS THE

09:02AM   25      QUESTIONNAIRE ISSUE WITH EACH JUROR.       WE DECIDED THAT I WOULD



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09:02AM    1      DO THIS THIS MORNING BEFORE WE CONTINUE WITH EVIDENCE.

09:02AM    2           BUT FIRST OF ALL, BEFORE WE BEGIN, I WANT TO ASK, JUROR

09:02AM    3      NUMBER 2, YOUR COMFORT LEVEL WITH YOUR MASK.          DO YOU WANT TO

09:02AM    4      CONTINUE TO WEAR THE MASK?       WOULD YOU LIKE TO REMOVE THE MASK?

09:02AM    5           I CAN TELL YOU WE'VE ALL BEEN VACCINATED, BUT IT'S YOUR

09:02AM    6      CALL.

09:02AM    7                   JUROR:   I'M FINE, I CAN TAKE IT OFF.

09:03AM    8                   THE COURT:    WE'LL TAKE IT OFF, TOO.

09:03AM    9                   JUROR:   ALL RIGHT.

09:03AM   10                   THE COURT:    THANK YOU FOR THAT.

09:03AM   11           AS I INDICATED TO YOU, I AM HAVING A CONVERSATION WITH

09:03AM   12      EACH OF OUR JURORS REGARDING THE QUESTIONNAIRE AND THE MEDIA

09:03AM   13      COALITION'S REQUEST FOR INFORMATION FROM THE QUESTIONNAIRE.

09:03AM   14           AS I'VE TOLD YOU, I HAD -- YOU FILLED OUT THE

09:03AM   15      QUESTIONNAIRE WITH MY PROMISE THAT IT WOULD REMAIN

09:03AM   16      CONFIDENTIAL.

09:03AM   17                   JUROR:   UH-HUH.

09:03AM   18                   THE COURT:    IT SAYS IT ON THERE RIGHT ABOVE MY

09:03AM   19      SIGNATURE.

09:03AM   20           THE MEDIA COALITION HAS FILED A MOTION AND THEY HAVE CITED

09:03AM   21      CASES TO ME, SUPREME COURT CASES.       THEY HAVE, OF COURSE, CITED

09:03AM   22      THE FIRST AMENDMENT AND OTHER LEGAL CASES THAT SUGGEST THAT I

09:03AM   23      CANNOT KEEP INFORMATION ON THIS QUESTIONNAIRE CONFIDENTIAL

09:03AM   24      ABSENT SOME SHOWING.

09:03AM   25           THAT'S WHY I'M HAVING THE CONVERSATION WITH EACH OF YOU.



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09:03AM    1           WHAT I WANT TO DO, AND I HAVE A SCRIPT HERE IF I REFER TO

09:03AM    2      IT, BECAUSE I WANT TO ASK EACH OF YOU THE SAME QUESTIONS

09:03AM    3      OBVIOUSLY.

09:03AM    4                   JUROR:   ALL RIGHT.

09:03AM    5                   THE COURT:    SO I WANT TO ASK YOU IF YOU HAVE

09:03AM    6      CONCERNS REGARDING ANY OF THE INFORMATION TO ANY OF YOUR

09:04AM    7      ANSWERS ON THE QUESTIONNAIRE, OR NO CONCERNS ABOUT THAT

09:04AM    8      INFORMATION.    THIS WOULD INCLUDE YOUR NAME, EMPLOYMENT,

09:04AM    9      ADDRESS, ANY QUESTION THAT CALLS FOR PERSONAL IDENTIFICATION

09:04AM   10      INFORMATION THAT YOU WOULD NOT WISH TO BE REVEALED.

09:04AM   11           NOW, I CAN TELL YOU THE COURT MAY ORDER CERTAIN

09:04AM   12      INFORMATION REDACTED IF THERE IS A SUFFICIENT LEGAL SHOWING

09:04AM   13      THAT ALLOWS ME LEGALLY TO DO THAT.

09:04AM   14           I'D ASK YOU TO PLEASE BE CANDID WITH ME ABOUT YOUR

09:04AM   15      FEELINGS AND CONCERNS, OR LACK OF CONCERNS, ABOUT ANY OF THE

09:04AM   16      INFORMATION THAT YOU HAVE.

09:04AM   17           I'M PARTICULARLY CONSIDERING AND INTERESTED IN ISSUES OF

09:04AM   18      PRIVACY, SAFETY, SECURITY, OR OTHER -- ANY OTHER REASONS THAT

09:04AM   19      YOU WISH TO EXPRESS AS TO ANY INFORMATION THAT YOU'VE PUT IN

09:04AM   20      YOUR QUESTIONNAIRES.

09:04AM   21           SO WHAT WOULD YOU LIKE ME TO KNOW ABOUT THE INFORMATION

09:04AM   22      THAT IS IN YOUR QUESTIONNAIRE?

09:05AM   23                   JUROR:   MY BIGGEST CONCERN WOULD BE PERSONAL

09:05AM   24      IDENTIFIABLE INFORMATION JUST CONSIDERING THERE'S SO MUCH MEDIA

09:05AM   25      IN THE COURTROOM, OUTSIDE OF THE COURTROOM, JUST THE RISK OF



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09:05AM    1      ANY ATTENTION COMING TO ME OR WHO I LIVE WITH DURING OR AFTER

09:05AM    2      THE CASE.

09:05AM    3           IN TERMS OF THE SPECIFIC QUESTIONS THAT ARE IDENTIFIABLE,

09:05AM    4      I'M FINE WITH ALL OF THOSE.        NOTHING IN THERE IS THAT SENSITIVE

09:05AM    5      I WOULD SAY.

09:05AM    6           BUT PRIMARILY WHO I AM, WHO I LIVE WITH, WHERE I WORK.

09:05AM    7                  THE COURT:     OKAY.

09:05AM    8           SO LET ME GO -- YOUR NAME, NUMBER 1.

09:05AM    9                  JUROR:   YEAH.

09:05AM   10                  THE COURT:     OKAY.   YOUR EMPLOYMENT?   AND SO YOUR

09:05AM   11      NAME IS -- I'M JUST GOING TO GO THROUGH QUESTIONS.        IT'S

09:05AM   12      QUESTION 11.

09:05AM   13                  JUROR:   UH-HUH.

09:05AM   14                  THE COURT:     AND THEN YOUR EMPLOYER?

09:05AM   15                  JUROR:   YES, 16.

09:05AM   16                  THE COURT:     OKAY, 16.   SO IF THE COURT WERE TO JUST

09:05AM   17      STRIKE THE NAME OF YOUR EMPLOYER BUT LEFT YOUR JOB TITLE, WOULD

09:06AM   18      THAT GIVE YOU SOME COMFORT?

09:06AM   19                  JUROR:   NO.   THE DIRECTORY FOR OUR CAMPUS IS PUBLIC,

09:06AM   20      SO YOU COULD SEARCH THAT.

09:06AM   21                  THE COURT:     OH, IF I WERE TO ELIMINATE QUESTION B,

09:06AM   22      OR REDACT QUESTION B.

09:06AM   23                  JUROR:   OH, THAT WOULD BE FINE.

09:06AM   24                  THE COURT:     OKAY.   AND YOUR CONCERN THERE IN REGARDS

09:06AM   25      TO THIS INFORMATION, IS IT SECURITY BASED?       IS IT PRIVACY



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09:06AM    1      BASED?   IS IT SAFETY ISSUES?

09:06AM    2                  JUROR:   I WOULD SAY BOTH SAFETY, PERSONAL

09:06AM    3      INFORMATION.

09:06AM    4                  THE COURT:    AND YOU -- LET'S SEE.      I'M TRYING TO SEE

09:06AM    5      THE QUESTION THAT TALKS ABOUT -- QUESTION 22 TALKS ABOUT -- I

09:07AM    6      THINK THAT WOULD BE THE PLACE WHERE ANY OTHER INFORMATION ABOUT

09:07AM    7      ROOMMATES, ET CETERA, AND THAT'S NOT FILLED OUT.

09:07AM    8           DO YOU SEE THAT?

09:07AM    9                  JUROR:   IT'S PRESENT SPOUSE OR PARTNER, AND I LEFT

09:07AM   10      THAT BLANK BECAUSE I'M CURRENTLY SINGLE.

09:07AM   11           THE ONLY OTHER QUESTION THAT HAD ANY INFORMATION WITH

09:07AM   12      REGARD TO PEOPLE I LIVE WITH WAS QUESTION 26, AND IT IS PRETTY

09:07AM   13      GENERIC INFORMATION, AND SO I WOULD BE OKAY WITH THAT BEING

09:07AM   14      RELEASED.

09:07AM   15                  THE COURT:    OKAY.   AND YOU INDICATED SAFETY AND

09:07AM   16      SECURITY.

09:07AM   17           COULD YOU TELL ME A LITTLE BIT ABOUT YOUR CONCERNS, OR

09:07AM   18      TELL ME A LOT ABOUT YOUR CONCERNS ABOUT SAFETY IN REGARDS TO

09:07AM   19      THE RELEASE OF YOUR INFORMATION?

09:07AM   20                  JUROR:   LIKE I SAID, BECAUSE THERE'S SO MUCH MEDIA

09:07AM   21      SPOTLIGHT ON THIS CASE, I WOULD JUST BE CONCERNED ABOUT NOT

09:07AM   22      NECESSARILY ANYTHING WITH EITHER THE DEFENDANT OR THE

09:07AM   23      GOVERNMENT, BUT JUST THE SPOTLIGHT THEN SHIFTING OVER TO MYSELF

09:07AM   24      OR ANY OF THE OTHER JURORS AND JUST THE POTENTIAL IMPACT THAT

09:08AM   25      WOULD HAVE ON MY PERSONAL LIFE, WHEREAS -- IT WAS MY



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09:08AM    1      UNDERSTANDING THAT THE CASE WOULD HAPPEN, WE WOULD COMPLETE OUR

09:08AM    2      DUTY, AND WE WOULD BE FREE TO LIVE OUR LIVES AS WE DID

09:08AM    3      PREVIOUSLY.   AND MY CONCERN IS THAT MAY NOT BE THE CASE IF MY

09:08AM    4      INFORMATION IS RELEASED AND I CAN BE IDENTIFIED AND CONTACTED,

09:08AM    5      FOUND --

09:08AM    6                 THE COURT:     BY --

09:08AM    7                 JUROR:    -- BY THE MEDIA.

09:08AM    8                 THE COURT:     OR ANY OTHER PUBLIC PERSON OR ANY OTHER

09:08AM    9      PRIVATE PERSON?

09:08AM   10                 JUROR:    YES.

09:08AM   11                 THE COURT:     I SEE.   AND DO YOU HAVE ANY LIFE

09:08AM   12      EXPERIENCES WITH THAT OR KNOW PEOPLE WHO HAVE HAD THOSE TYPES

09:08AM   13      OF SITUATIONS?

09:08AM   14                 JUROR:    NOT PERSONALLY.    BUT JUST THE IDEA OF IT IS

09:08AM   15      CONCERNING, THE POTENTIAL FOR IT TO HAPPEN.

09:08AM   16                 THE COURT:     OKAY.    I SEE.   OKAY.

09:08AM   17           ANYTHING ELSE YOU WOULD LIKE ME TO KNOW ABOUT ANY ISSUE

09:08AM   18      THAT YOU HAVE ABOUT YOUR QUESTIONNAIRE INFORMATION?

09:08AM   19                 JUROR:    I DON'T BELIEVE SO.

09:08AM   20                 THE COURT:     OKAY.

09:08AM   21           LET ME ASK YOU, AS A RESULT OF THIS, THAT IS, US TALKING

09:08AM   22      ABOUT YOUR QUESTIONNAIRE -- ACTUALLY, I HAVE TWO QUESTIONS.

09:09AM   23           IF THE COURT WERE NOT ABLE TO LEGALLY REDACT THE

09:09AM   24      INFORMATION THAT YOU HAVE REQUESTED, WOULD THAT IN ANY WAY

09:09AM   25      INTERFERE WITH YOUR ABILITY TO CONTINUE TO BE FAIR AND



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09:09AM    1      IMPARTIAL AS A JUROR IN THIS CASE?

09:09AM    2                  JUROR:   I'M NOT SURE.     I FEEL LIKE I TOOK THE OATH

09:09AM    3      AND JUST THE DUTIES OF BEING A JUROR FAIRLY SERIOUSLY, SO I

09:09AM    4      WOULD DO MY BEST.     BUT NOT KNOWING HOW I WOULD FEEL IF IT

09:09AM    5      ACTUALLY HAPPENED, I CAN'T SPEAK ON THAT BECAUSE IT HASN'T

09:09AM    6      HAPPENED.

09:09AM    7                  THE COURT:     WHAT DO YOU MEAN, WHAT HASN'T HAPPENED?

09:09AM    8                  JUROR:   I'M SORRY.     IF THIS INFORMATION WERE

09:09AM    9      RELEASED, I DON'T KNOW -- I DON'T FEEL LIKE IT WOULD CHANGE MY

09:09AM   10      OPINION OR MY ABILITY TO DO THE JOB, BUT I CAN'T SAY FOR SURE

09:09AM   11      UNTIL IT POTENTIALLY HAPPENS, IF THAT MAKES SENSE.

09:10AM   12           SO I FEEL LIKE, YES, I WOULD STILL BE ABLE TO DO THE JOB

09:10AM   13      AND IT WOULD NOT CHANGE MY ABILITY TO BE IMPARTIAL, BUT I CAN'T

09:10AM   14      SAY FOR CERTAIN.

09:10AM   15                  THE COURT:     OKAY.    YOU KNOW, ONE THING THAT IN

09:10AM   16      TRIALS -- YOU'VE NEVER HAD JURY EXPERIENCE?

09:10AM   17                  JUROR:   NO.    THIS IS MY FIRST ONE.

09:10AM   18                  THE COURT:     RIGHT.   SOME TRIALS, THE QUESTIONS ARE

09:10AM   19      ASKED IN THE PUBLIC ARENA.

09:10AM   20                  JUROR:   UH-HUH.

09:10AM   21                  THE COURT:     HERE WE CHOSE TO DO A QUESTIONNAIRE, THE

09:10AM   22      PARTIES ASKED FOR A QUESTIONNAIRE.

09:10AM   23                  JUROR:   YES.

09:10AM   24                  THE COURT:     AND THE ISSUE HERE WAS THE INFORMATION

09:10AM   25      BEING CONFIDENTIAL.



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09:10AM    1                   JUROR:   UH-HUH.

09:10AM    2                   THE COURT:     SO KNOWING WHAT YOU KNOW NOW ABOUT THIS

09:10AM    3      PROCESS --

09:10AM    4                   JUROR:   UH-HUH.

09:10AM    5                   THE COURT:     -- AND WHAT COULD HAPPEN, CAN YOU TELL

09:10AM    6      ME, CAN YOU CONTINUE TO BE FAIR AND IMPARTIAL TO BOTH SIDES AS

09:10AM    7      A JUROR IN THIS CASE?

09:10AM    8                   JUROR:   YES.

09:10AM    9                   THE COURT:     OKAY.

09:10AM   10                   JUROR:   I THINK THAT THIS IS VERY SEPARATE FROM THE

09:10AM   11      CASE ITSELF.

09:10AM   12                   THE COURT:     RIGHT.

09:10AM   13                   JUROR:   AND I THINK THAT MY INFORMATION BEING

09:10AM   14      RELEASED OR NOT DOESN'T NECESSARILY AFFECT MY ABILITY TO BE

09:10AM   15      IMPARTIAL AND HEAR BOTH SIDES FAIRLY.

09:11AM   16                   THE COURT:     YOU WOULD -- YOU COULD CONTINUE TO DO

09:11AM   17      THAT IN THE CASE?

09:11AM   18                   JUROR:   UH-HUH.

09:11AM   19                   THE COURT:     AND YOU CAN GIVE ME AND THESE LAWYERS

09:11AM   20      ASSURANCES THAT YOU CAN CONTINUE TO DO THAT, YES OR NO?

09:11AM   21                   JUROR:   YES.

09:11AM   22                   THE COURT:     OKAY.    ANY DOUBT ABOUT THAT IN YOUR

09:11AM   23      MIND?

09:11AM   24                   JUROR:   NO.

09:11AM   25                   THE COURT:     OKAY.    ALL RIGHT.



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09:11AM    1           MR. SCHENK, DO YOU HAVE ANY QUESTIONS FOR JUROR NUMBER 2?

09:11AM    2                 MR. SCHENK:     NO.   THANK YOU.

09:11AM    3                 THE COURT:     MR. DOWNEY?

09:11AM    4                 MR. DOWNEY:     I DON'T, YOUR HONOR.      THANK YOU.

09:11AM    5                 THE COURT:     THANK YOU VERY MUCH.

09:11AM    6                 JUROR:    THANK YOU.

09:11AM    7                 THE COURT:     YOU CAN JUST LEAVE YOUR QUESTIONNAIRE

09:11AM    8      THERE.

09:11AM    9                 JUROR:    ALL RIGHT.

09:11AM   10                 THE COURT:     AND I HOPE WE CAN GET THIS DONE.        I HOPE

09:11AM   11      THERE'S ENOUGH FOOD IN THE ROOM TO TIDE THE JURORS OVER WHILE

09:11AM   12      WE GO THROUGH THIS PROCESS.

09:11AM   13                 JUROR:    I THINK SO.

09:11AM   14                 THE COURT:     BUT WE'LL DO IT AS QUICKLY AS WE CAN.

09:11AM   15                 JUROR:    THANK YOU.

09:11AM   16                 THE COURT:     YOU'RE WELCOME.

09:12AM   17           (PAUSE IN PROCEEDINGS.)

09:12AM   18           (JUROR NUMBER 4 PRESENT.)

09:13AM   19                 THE CLERK:     JUROR NUMBER 4.

09:13AM   20                 THE COURT:     THANK YOU.    GOOD MORNING.

09:13AM   21                 JUROR:    HELLO.

09:13AM   22                 THE COURT:     WE ARE IN MY OFFICE IN CHAMBERS WITH

09:13AM   23      MR. DOWNEY, MR. SCHENK, MY LAW CLERKS, AND OUR COURT REPORTERS.

09:13AM   24           GOOD MORNING, JUROR NUMBER 4.

09:13AM   25           I'M GOING TO IDENTIFY YOU BY YOUR NUMBER AND NOT BY YOUR



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09:13AM    1      NAME.

09:13AM    2                  JUROR:   UH-HUH.

09:13AM    3                  THE COURT:    AND I MEAN NO DISRESPECT.

09:13AM    4             AS I SAID THE OTHER DAY, I WANT TO SPEAK WITH EACH JUROR

09:13AM    5      TO ASK THEM THEIR CONCERNS, OR NONCONCERNS, ABOUT THE

09:13AM    6      INFORMATION ON THE QUESTIONNAIRE.

09:13AM    7             BUT BEFORE I DO THAT, I'D LIKE TO ASK YOU, JUROR NUMBER 4,

09:13AM    8      ABOUT YOUR DESIRE TO CONTINUE WEARING YOUR MASK OR NOT.       IF YOU

09:13AM    9      WANT TO KEEP IT ON, THAT'S FINE.      IF YOU WOULD LIKE TO TAKE IT

09:13AM   10      OFF, YOU CAN TAKE IT OFF.

09:13AM   11                  JUROR:   OKAY.

09:13AM   12                  THE COURT:    OKAY.   AND WE WILL DO IT, TOO.   THANK

09:13AM   13      YOU.

09:13AM   14             SO AS I SAID EARLIER THIS WEEK, THIS MEDIA COALITION HAS

09:13AM   15      FILED A MOTION TO ASK ME TO UNSEAL THE QUESTIONNAIRES.       WHEN

09:14AM   16      YOU FILLED OUT THE QUESTIONNAIRE, YOU DID SO WITH ME PROMISING

09:14AM   17      YOU THAT THE INFORMATION WOULD REMAIN CONFIDENTIAL AND WOULD BE

09:14AM   18      RELEASED, IF AT ALL, WITH REDACTIONS ON IT.

09:14AM   19                  JUROR:   UH-HUH.

09:14AM   20                  THE COURT:    THE MEDIA COALITION AND THEIR LAWYER

09:14AM   21      FILED A MOTION, AND THEY HAVE CITED SUPREME COURT CASES, THE

09:14AM   22      FIRST AMENDMENT, AND OTHER CASES THAT THEY SUGGEST MEAN THAT I

09:14AM   23      SHOULD NOT KEEP CERTAIN INFORMATION CONFIDENTIAL, BUT THAT IT

09:14AM   24      MUST BE RELEASED.

09:14AM   25             SO I AM ASKING EACH JUROR, THAT'S WHY WE'RE TALKING ABOUT



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09:14AM    1      THIS, I WANT TO KNOW YOUR FEELINGS ABOUT THAT, WHETHER YOU HAVE

09:14AM    2      CONCERNS, NO CONCERNS, WHETHER YOU HAVE CONCERNS ABOUT CERTAIN

09:14AM    3      INFORMATION OR NOT.

09:14AM    4           AND THIS INFORMATION WOULD INCLUDE NAMES, EMPLOYMENT, ANY

09:14AM    5      INFORMATION IN THE QUESTIONNAIRE THAT YOU BELIEVE IS PERSONAL

09:14AM    6      AND OTHERWISE -- PERSONAL INFORMATION THAT YOU OTHERWISE WOULD

09:15AM    7      NOT WISH TO BE RELEASED PUBLICLY.

09:15AM    8           THE COURT DOES HAVE CERTAIN AUTHORITY, CERTAIN RIGHTS.        I

09:15AM    9      DO HAVE THE AUTHORITY TO REDACT CERTAIN INFORMATION AND KEEP

09:15AM   10      THAT PRIVATE --

09:15AM   11                 JUROR:    UH-HUH.

09:15AM   12                 THE COURT:     -- UPON A PROPER SHOWING, THOUGH.    THERE

09:15AM   13      HAS TO BE A PROPER LEGAL SHOWING FOR THAT.

09:15AM   14           SO WHAT I'M DOING IS ASKING EACH JUROR WHETHER OR NOT THEY

09:15AM   15      HAVE CONCERNS ABOUT THE INFORMATION IN THE QUESTIONNAIRE.

09:15AM   16                 JUROR:    UH-HUH.

09:15AM   17                 THE COURT:     AND THIS TYPICALLY WOULD RELATE TO

09:15AM   18      PRIVACY ISSUES, SECURITY, OR SAFETY ISSUES IN REGARDS TO ANY OF

09:15AM   19      THE INFORMATION AND THE REASONS FOR THAT.

09:15AM   20           SO LET ME ASK YOU TO BE CANDID WITH ME AND OPEN WITH ME

09:15AM   21      ABOUT THAT.

09:15AM   22           ARE THERE ANY CONCERNS?      DO YOU HAVE ANY CONCERNS ABOUT

09:15AM   23      ANY OF YOUR INFORMATION?

09:15AM   24                 JUROR:    WELL, THIS IS TOTALLY NEW, AS I TOLD YOU,

09:15AM   25      TOTALLY NEW FOR ME.



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09:15AM    1           I'M A HOUSEWIFE AND I'M NOT USED TO DEAL WITH THIS.         SO

09:16AM    2      OVER HERE I'M SO SCARED AND INTIMIDATED BECAUSE I'VE NEVER BEEN

09:16AM    3      WITH PEOPLE LIKE YOU GUYS.

09:16AM    4                 THE COURT:     WELL, I UNDERSTAND THAT, AND THAT'S WHY

09:16AM    5      WE'RE HERE, I'VE IDENTIFIED WHO THE PEOPLE ARE IN THE ROOM.

09:16AM    6           I TOLD EVERYONE, I DON'T WANT THIS TO BE INTIMIDATING.

09:16AM    7      THAT'S WHY I DON'T HAVE A ROBE ON.

09:16AM    8           I DON'T WANT THIS TO BE INTIMIDATING.       I JUST WANT THIS TO

09:16AM    9      BE AN OPEN CONVERSATION.

09:16AM   10                 JUROR:    OKAY.   SO FOR ME IT'S A BIG DEAL.      AND I

09:16AM   11      TOOK IT HOME.    I TOLD THE TRUTH AND NOTHING BUT THE TRUTH HERE.

09:16AM   12           BUT WE ARE SUPER PRIVATE IN OUR HOUSE.          AS PRIVATE AS MY

09:16AM   13      HUSBAND HERE, YOU SAW WHERE HE WORKS, AND IF YOU ASK ME WHAT HE

09:16AM   14      DOES, I DON'T HAVE AN IDEA BECAUSE I CANNOT KNOW WHAT HE DOES.

09:16AM   15                 THE COURT:     OKAY.

09:16AM   16                 JUROR:    SO THAT'S ONE OF THE -- NOT THE RULES, BUT

09:16AM   17      IT IS SOMETHING THAT WE RESPECT ONE FROM THE OTHER.

09:17AM   18                 THE COURT:     LET ME TURN YOU TO QUESTION 16 IN YOUR

09:17AM   19      DOCUMENT, AND YOU LIST AN OCCUPATION.

09:17AM   20           IS THAT YOUR OCCUPATION OR IS THAT YOUR HUSBAND'S?

09:17AM   21                 JUROR:    MY HUSBAND'S.

09:17AM   22                 THE COURT:     I SEE.   SO YOU PUT YOUR HUSBAND'S

09:17AM   23      INFORMATION IN QUESTION 16.

09:17AM   24                 JUROR:    WELL, YOU WERE ASKING ME FOR IT AND I

09:17AM   25      ANSWERED THAT.



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09:17AM    1                 THE COURT:      NO, NO, I --

09:17AM    2                 JUROR:    16?   WHAT IS 16?

09:17AM    3           OH, THAT WAS MY PREVIOUS OCCUPATION.

09:17AM    4                 THE COURT:      OH, I SEE.   OKAY.

09:17AM    5                 JUROR:    BUT IN QUESTION -- WHERE IS THAT? -- 22, YOU

09:17AM    6      ARE ASKING ME FOR MY HUSBAND.

09:17AM    7                 THE COURT:      YES.

09:17AM    8                 JUROR:    AND I LIST IT.

09:17AM    9                 THE COURT:      OKAY.   SO --

09:17AM   10                 JUROR:    SO WE ARE SO PRIVATE AND WE DON'T SPEAK

09:17AM   11      ABOUT HIS JOB, I DON'T SPEAK ABOUT WHAT I'M DOING NOW.

09:18AM   12           BUT I DON'T WANT ANYTHING TO BE RELEASED.       I DON'T HAVE AN

09:18AM   13      INTEREST ON ANYBODY TO KNOW WHO I AM, HOW MANY KIDS, IF I'M

09:18AM   14      MARRIED, SINGLE, WHERE DO I LIVE.

09:18AM   15                 THE COURT:      OKAY.

09:18AM   16                 JUROR:    FOR ME IT'S ENOUGH TO DEAL WITH CAMERAS AND

09:18AM   17      PEOPLE DOWNSTAIRS AND GOING THROUGH SECURITY AND EVERYTHING.

09:18AM   18      THAT'S ENOUGH.   YOU KNOW?

09:18AM   19           I DON'T WANT ANYBODY TO START BOTHERING ME OR CALLING OR,

09:18AM   20      YOU KNOW, I DON'T WANT ANYTHING LIKE THAT.

09:18AM   21                 THE COURT:      OKAY.   CAN YOU TELL ME, JUROR NUMBER 4,

09:18AM   22      DO YOU HAVE SECURITY OR SAFETY CONCERNS ABOUT THE RELEASE OF

09:18AM   23      THIS INFORMATION?

09:18AM   24                 JUROR:    I -- AS I TOLD YOU, I DIDN'T KNOW WHAT YOU

09:18AM   25      WERE TALKING ABOUT WHEN YOU DESCRIBED HERE (INDICATING), AND I



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09:18AM    1      DIDN'T KNOW HOW BIG IT WAS.       AND I'M REALIZING HOW BIG IT IS.

09:18AM    2      AND NOW WITH THIS DEAL, I'M REALIZING THAT IT'S PRETTY BIG.

09:19AM    3                  THE COURT:    AND DO YOU HAVE SAFETY OR SECURITY

09:19AM    4      CONCERNS?   OR CAN YOU TELL ME A LITTLE BIT ABOUT YOUR CONCERNS?

09:19AM    5           WHAT YOU'RE TELLING ME IS THAT YOU'RE PRIVATE AND YOU

09:19AM    6      WOULD LIKE TO MAINTAIN YOUR PRIVACY.

09:19AM    7                  JUROR:   YES, THAT'S THE POINT.

09:19AM    8                  THE COURT:    OKAY.

09:19AM    9                  JUROR:   BUT NO SECURITY LIKE SOMEBODY IS FOLLOWING

09:19AM   10      ME TO MY HOUSE AND DO SOMETHING TO ME, NO.

09:19AM   11           BUT I DON'T WANT THE MEDIA TO BE CLOSE TO ME.      I DON'T

09:19AM   12      KNOW HOW TO DEAL WITH MEDIA.      I KNOW HOW TO DEAL WITH TEACHERS

09:19AM   13      AND PARENTS, BUT NOT AS FAR AS THAT.

09:19AM   14                  THE COURT:    YOU HAD AN ANSWER IN QUESTION 32 --

09:19AM   15                  JUROR:   UH-HUH.

09:19AM   16                  THE COURT:    -- AND I'M JUST CURIOUS WHETHER THAT

09:19AM   17      SITUATION --

09:19AM   18                  JUROR:   I FEEL SO, LIKE, VIOLATED BECAUSE IT DOESN'T

09:20AM   19      HAPPEN IN A WAL-MART PARKING LOT.      IT HAPPENED IN MY KID'S

09:20AM   20      SCHOOL.

09:20AM   21                  THE COURT:    YES.

09:20AM   22                  JUROR:   IT WAS IN A PRIVATE SCHOOL IN A GOOD

09:20AM   23      NEIGHBORHOOD, AND AFTER THAT I GOT IN SHOCK, I GET SICK, I WAS

09:20AM   24      SICK FOR A MONTH, ALL OF MY SYSTEM WENT DOWN, AND IT WAS A BIG

09:20AM   25      DEAL FOR US.



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09:20AM    1                   THE COURT:    SO DOES THAT, DOES THAT CAUSE YOU SOME

09:20AM    2      CONCERN THAT IF YOUR PERSONAL INFORMATION IS RELEASED, AS A

09:20AM    3      RESULT OF THAT INCIDENT YOU SUFFERED, YOU HAVE SOME CONCERNS

09:20AM    4      ABOUT SECURITY IF PEOPLE FOUND OUT WHERE YOU LIVED?

09:20AM    5                   JUROR:   I DON'T THINK SO BECAUSE THEY ARE NOT

09:20AM    6      RELATED.

09:20AM    7                   THE COURT:    OKAY.

09:20AM    8                   JUROR:   BUT IF MY INFORMATION WILL BE PUBLISHED, I

09:20AM    9      DON'T WANT -- ONE THING DOESN'T CONNECT WITH THE OTHER, YOU

09:20AM   10      KNOW?

09:20AM   11           BUT I DON'T LIKE FEELING IN THAT SITUATION.

09:20AM   12                   THE COURT:    OKAY.   ALL RIGHT.   THANK YOU.

09:20AM   13           LET ME ASK YOU IF -- AS I SAID, THE COURT CAN KEEP CERTAIN

09:21AM   14      ITEMS PRIVATE IF THERE'S A SUFFICIENT SHOWING FOR THAT.

09:21AM   15           BUT IF LEGALLY I CANNOT KEEP CERTAIN INFORMATION

09:21AM   16      PRIVATE --

09:21AM   17                   JUROR:   LIKE WHAT?

09:21AM   18                   THE COURT:    LIKE LET'S SAY THAT IF I CAN KEEP YOUR

09:21AM   19      NAME PRIVATE AND PERHAPS KEEP THE EMPLOYMENT, THE PLACE OF

09:21AM   20      EMPLOYMENT PRIVATE --

09:21AM   21                   JUROR:   I JUST ASK YOU, KEEP AS MUCH INFORMATION

09:21AM   22      PRIVATE AS YOU CAN.

09:21AM   23                   THE COURT:    OKAY.   WELL, THANK YOU FOR THAT

09:21AM   24      DIRECTION.    I APPRECIATE IT.

09:21AM   25                   JUROR:   I DON'T WANT MY HUSBAND'S INFORMATION THERE,



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09:21AM    1      IF I HAVE KIDS HOW OLD ARE THEY, OR IF YOU WANT TO SAY WE HAVE

09:21AM    2      A STAY-AT-HOME MOM ON THE JURY, OKAY, GO AHEAD AND DO IT, AND

09:21AM    3      THAT'S IT.

09:21AM    4                   THE COURT:    IF THOSE ARE THE THINGS AND IF I'M NOT

09:22AM    5      ABLE TO KEEP EVERYTHING YOU WANT PRIVATE, WILL THAT AFFECT YOU

09:22AM    6      TO BE A FAIR AND IMPARTIAL JUROR TO BOTH SIDES?       CAN YOU

09:22AM    7      CONTINUE TO DO THAT EVEN IF I CAN'T KEEP EVERYTHING PRIVATE?

09:22AM    8                   JUROR:   MAYBE.

09:22AM    9                   THE COURT:    OKAY.

09:22AM   10                   JUROR:   BECAUSE I'VE BEEN THINKING WHY IS THIS

09:22AM   11      HAPPENING?

09:22AM   12                   THE COURT:    WHY WHAT IS HAPPENING?

09:22AM   13                   JUROR:   THIS IS HAPPENING?    WHY DO YOU HAVE TO

09:22AM   14      OPEN --

09:22AM   15                   THE COURT:    WHY I'M TALKING TO YOU ABOUT THE

09:22AM   16      QUESTIONNAIRE?

09:22AM   17                   JUROR:   YES.   NO.   I'M TALKING ABOUT THE ENTIRE

09:22AM   18      SITUATION, WHY THE MEDIA WANTS OUR LIVES TO BE REVEALED.

09:22AM   19                   THE COURT:    WELL, THE MEDIA HAS FILED THIS MOTION

09:22AM   20      ASKING THAT THE QUESTIONNAIRES BE RELEASED TO THEM SO THAT THEY

09:23AM   21      CAN KNOW WHO THE JURY IS, I SUPPOSE.        THAT'S THE INFORMATION

09:23AM   22      THAT THEY WANT.

09:23AM   23           THEY WANT THE INFORMATION THAT IS IN THE QUESTIONNAIRE.

09:23AM   24           AS I'VE SAID, I CAN, UNDER CERTAIN CIRCUMSTANCES IF THERE

09:23AM   25      IS AN APPROPRIATE SHOWING, I CAN KEEP SOME INFORMATION PRIVATE,



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09:23AM    1      BUT I MAY NOT BE ABLE TO KEEP ALL OF IT PRIVATE, AND THAT'S WHY

09:23AM    2      I'M ASKING YOU THE QUESTION.

09:23AM    3           KNOWING THAT, KNOWING THAT IT MAY BE THAT IT MAY BE JUST

09:23AM    4      YOUR NAME, IT MAY BE YOUR HUSBAND'S EMPLOYMENT AND MAYBE YOUR

09:23AM    5      CHILDREN'S AGES, CERTAINLY NOT THEIR NAMES, THEIR NAMES ARE NOT

09:23AM    6      IN THE QUESTIONNAIRE.

09:23AM    7                   JUROR:   NO.

09:23AM    8                   THE COURT:     BUT THAT INFORMATION MIGHT BE THE ONLY

09:23AM    9      THINGS THAT I'M ABLE TO KEEP PRIVATE OR WOULD KEEP PRIVATE.

09:23AM   10           KNOWING THAT, CAN YOU CONTINUE TO BE FAIR AND IMPARTIAL IN

09:23AM   11      THIS CASE?    CAN YOU CONTINUE TO DO THAT?

09:23AM   12                   JUROR:   I THINK SO.    I'M --

09:23AM   13                   THE COURT:     I'M SORRY?

09:24AM   14                   JUROR:   I THINK SO.    I'M NOT 100 PERCENT SURE.    BUT,

09:24AM   15      AGAIN, PLEASE KEEP AS MUCH AS YOU CAN.

09:24AM   16                   THE COURT:     OKAY.   WELL, I NEED TO KNOW, AND I'M

09:24AM   17      SORRY, BUT I DO NEED TO KNOW, AND THESE LAWYERS NEED TO KNOW,

09:24AM   18      WHETHER OR NOT YOU CAN CONTINUE WITH YOUR JURY SERVICE IN THE

09:24AM   19      CASE AND KEEP THIS ISSUE SEPARATE FROM YOUR ABILITY TO HEAR THE

09:24AM   20      EVIDENCE AND PERFORM YOUR DUTIES AS A JUROR.          CAN YOU DO THAT?

09:24AM   21                   JUROR:   SO YOU'RE TALKING THAT YOU'RE GOING TO

09:24AM   22      REVEAL SOMETHING?

09:24AM   23                   THE COURT:     I'M SORRY?

09:24AM   24                   JUROR:   YOU'RE SAYING THAT YOU'RE GOING TO REVEAL

09:24AM   25      SOMETHING?



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09:24AM    1                  THE COURT:    SOME THINGS I THINK I HAVE TO REVEAL,

09:24AM    2      THAT'S RIGHT, I BELIEVE I WILL IN THE QUESTIONNAIRE.

09:24AM    3           THERE IS CERTAIN INFORMATION HERE THAT I THINK IS PERSONAL

09:24AM    4      INFORMATION, AS YOU'VE SAID, THAT MIGHT NOT NEED TO BE

09:25AM    5      RELEASED.

09:25AM    6           I DON'T INTEND TO RELEASE YOUR NAMES.

09:25AM    7                  JUROR:   I DON'T WANT TO BE DEALING WITH PRESS.

09:25AM    8                  THE COURT:    YOU DON'T WANT TO BE DEALING WITH THE

09:25AM    9      PRESS?

09:25AM   10                  JUROR:   YES.

09:25AM   11                  THE COURT:    I APPRECIATE THAT.   THANK YOU FOR SAYING

09:25AM   12      THAT.

09:25AM   13                  JUROR:   THIS IS SO STRESSFUL FOR ME.

09:25AM   14           SO KEEP PRIVATE AS MUCH AS YOU CAN.

09:25AM   15                  THE COURT:    OKAY.   LET ME TELL YOU, I HAD A

09:25AM   16      HEARING -- I TOLD YOU ABOUT THE HEARING THAT I HAD WITH THE

09:25AM   17      LAWYER FOR THE PRESS WHO MADE THIS MOTION, AND THEY DID TELL

09:25AM   18      ME, THE LAWYER DID TELL ME THAT DURING THE TRIAL, NONE OF THE

09:25AM   19      PRESS ARE GOING TO REACH OUT TO ANY OF THE JURORS.      THEY'RE NOT

09:25AM   20      GOING TO CONTACT THE JURORS DURING THE TRIAL.

09:25AM   21           AFTER THE TRIAL IS OVER, HE WOULD NOT, THE LAWYER COULD

09:25AM   22      NOT TELL ME THAT THEY -- WHAT THEY WOULD DO.

09:25AM   23           BUT HE DID TELL ME THAT DURING THE TRIAL, NONE OF THE

09:25AM   24      REPORTERS OR ANY OF THE PEOPLE THAT HE REPRESENTS INTEND TO

09:26AM   25      CONTACT A JUROR.     THEY KNOW THAT THEY'RE NOT SUPPOSED TO DO



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09:26AM    1      THAT DURING THE TRIAL.

09:26AM    2                 JUROR:    YEAH, BUT IF YOU REVEAL NAME OR ADDRESS OR

09:26AM    3      SOMETHING LIKE THAT, AFTER THEY WILL COME TO ME.

09:26AM    4                 THE COURT:      I DON'T KNOW IF THEY WILL OR NOT.

09:26AM    5                 JUROR:    SO I, I ASK YOU, PLEASE KEEP MY NAME AND MY

09:26AM    6      ADDRESS SECRET.

09:26AM    7                 THE COURT:      YOUR ADDRESS ISN'T IN THE QUESTIONNAIRE,

09:26AM    8      SO THAT WILL NOT BE RELEASED.

09:26AM    9                 JUROR:    OKAY.    BUT I PUT IN THE QUESTIONNAIRE WHICH

09:26AM   10      COUNTY I AM, WHICH CITY I AM LIVING.

09:26AM   11                 THE COURT:      UH-HUH.

09:26AM   12                 JUROR:    AND IT WILL BE EASY TO FIGURE IT OUT ON

09:26AM   13      GOOGLE IF YOU RELEASE MY NAME.

09:26AM   14                 THE COURT:      OKAY.

09:26AM   15                 JUROR:    RIGHT?   THAT'S WHAT I THINK.

09:26AM   16                 THE COURT:      I DON'T DO GOOGLE FOR THAT PURPOSE, SO I

09:26AM   17      DON'T KNOW, BUT I ASSUME THAT'S TRUE.

09:26AM   18           SO AGAIN, JUROR NUMBER 4, I JUST NEED TO KNOW WHETHER OR

09:26AM   19      NOT YOU COULD CONTINUE TO BE A FAIR AND IMPARTIAL JUROR.

09:26AM   20                 JUROR:    I THINK SO, YES.    YES.

09:27AM   21                 THE COURT:      ALL RIGHT.   THANK YOU.

09:27AM   22           ANYTHING ELSE YOU WANT ME TO KNOW?

09:27AM   23                 JUROR:    NO.   I JUST HIGHLIGHTED THE THINGS THAT I

09:27AM   24      PREFER NOT TO BE REVEALED.

09:27AM   25                 THE COURT:      OKAY.   IF YOU COULD LEAVE THAT FOR ME.



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09:27AM    1                 JUROR:    YEAH.

09:27AM    2                 THE COURT:     BEFORE YOU LEAVE, I NEED TO ASK THESE

09:27AM    3      LAWYERS IF THEY HAVE A QUESTION FOR YOU.

09:27AM    4           MR. SCHENK?

09:27AM    5                 MR. SCHENK:     NO, YOUR HONOR.

09:27AM    6                 THE COURT:     MR. DOWNEY?

09:27AM    7                 MR. DOWNEY:     NO.   THANK YOU.

09:27AM    8                 THE COURT:     ALL RIGHT.    THANK YOU.

09:27AM    9                 JUROR:    THANK YOU.

09:27AM   10                 THE COURT:     YOU'RE WELCOME.

09:27AM   11           (PAUSE IN PROCEEDINGS.)

09:27AM   12           (JUROR NUMBER 9 PRESENT.)

09:28AM   13                 THE CLERK:     JUROR NUMBER 9.

09:28AM   14                 THE COURT:     THANK YOU.    GOOD MORNING.

09:28AM   15                 JUROR:    GOOD MORNING.

09:28AM   16                 THE COURT:     FIRST OF ALL, I'M GOING TO REFER TO YOU

09:29AM   17      BY YOUR JUROR NUMBER, NOT BY YOUR NAME, PLEASE, AND I MEAN NO

09:29AM   18      DISRESPECT IN THAT REGARD.

09:29AM   19           WE'RE HERE IN MY CHAMBERS, IN MY OFFICE.        MR. DOWNEY,

09:29AM   20      MR. SCHENK ARE HERE, MY TWO LAW CLERKS ARE HERE.        THEY'RE

09:29AM   21      BEHIND YOU.

09:29AM   22           (LAUGHTER.)

09:29AM   23                 THE COURT:     AND OF COURSE MY COURTROOM DEPUTY IS

09:29AM   24      HERE.

09:29AM   25           I WANTED TO TALK TO YOU, AS I SAID EARLIER, ABOUT THE



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09:29AM    1      MEDIA COALITION'S MOTION TO RELEASE CERTAIN INFORMATION.        I

09:29AM    2      WANT TO GET YOUR THOUGHTS ON THAT.

09:29AM    3             BUT, FIRST OF ALL, I WANT TO ASK YOU ABOUT MASKS.       DO YOU

09:29AM    4      WANT TO CONTINUE TO WEAR YOUR MASK?      IF YOU WOULD LIKE TO

09:29AM    5      REMOVE IT, YOU MAY.      WE'VE ALL BEEN VACCINATED.   IF YOU WANT TO

09:29AM    6      CONTINUE, WE'RE CERTAINLY HAPPY TO KEEP OUR MASKS ON.

09:29AM    7                  JUROR:   OKAY.   I'M COMFORTABLE TAKING IT OFF.

09:29AM    8                  THE COURT:    OKAY.   THANK YOU.   WE WILL, TOO.   THANK

09:29AM    9      YOU.

09:29AM   10             AS I SAID, THE MEDIA COALITION, AND I IDENTIFIED WHO THEY

09:29AM   11      ARE, BROUGHT A MOTION ASKING THAT THE COURT, FOR LEGAL REASONS,

09:29AM   12      AND THEY CITE SUPREME COURT CASES AND THE FIRST AMENDMENT,

09:30AM   13      AMONGST OTHERS, IN SUPPORT OF THEIR MOTION TO HAVE ME RELEASE

09:30AM   14      THE QUESTIONNAIRES AND THE INFORMATION THAT IS CONTAINED IN THE

09:30AM   15      QUESTIONNAIRES.

09:30AM   16             YOU FILLED OUT THE QUESTIONNAIRE WITH MY PROMISE THAT IT

09:30AM   17      WOULD BE CONFIDENTIAL.

09:30AM   18                  JUROR:   UH-HUH.

09:30AM   19                  THE COURT:    IT SAYS SO RIGHT THERE RIGHT ABOVE MY

09:30AM   20      NAME.

09:30AM   21             AND THEN THIS MOTION HAS BEEN FILED.     WHAT I'M DOING NOW

09:30AM   22      IS CONSIDERING THE MOTION, THE LEGAL REASONS FOR THE MOTION,

09:30AM   23      BUT PART OF THE PROCESS IS FOR ME CONTACTING, INTERVIEWING EACH

09:30AM   24      OF THE JURORS TO ASK YOUR FEELINGS ABOUT THE MOTION, THE

09:30AM   25      RELEASE OF ANY INFORMATION THAT YOU MIGHT HAVE AND ANY



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09:30AM    1      CONCERNS, OR LACK OF CONCERNS, THAT THE JURORS MIGHT HAVE ABOUT

09:30AM    2      RELEASING INFORMATION, AND THIS INFORMATION INCLUDES NAME,

09:30AM    3      EMPLOYMENT, ADDRESS, OR ANY OTHER PERSONAL INFORMATION THAT A

09:30AM    4      JUROR WOULD OTHERWISE WISH NOT TO HAVE REVEALED.

09:30AM    5           I'D ASK YOU TO PLEASE BE CANDID WITH ME ABOUT YOUR

09:31AM    6      FEELINGS, OR LACK OF FEELINGS, ABOUT THE INFORMATION, WHATEVER

09:31AM    7      THEY ARE, AND ASK YOU TO TELL ME ABOUT YOUR COMFORT LEVEL IN

09:31AM    8      THAT REGARD.

09:31AM    9           I'M PARTICULARLY INTERESTED IN ANY -- IF YOU HAVE ANY

09:31AM   10      CONCERNS REGARDING SAFETY, PRIVACY, OR SECURITY ISSUES THAT ANY

09:31AM   11      OF THE RELEASE MIGHT RAISE TO YOU.

09:31AM   12           SO PLEASE.

09:31AM   13                 JUROR:    YEAH, I CERTAINLY HAVE PRIVACY.

09:31AM   14                 THE COURT:     OKAY.

09:31AM   15                 JUROR:    YEAH.   SO I WOULD BE CONCERNED ABOUT

09:31AM   16      IDENTIFYING INFORMATION LIKE MY NAME.

09:31AM   17                 THE COURT:     OKAY.

09:31AM   18                 JUROR:    AND HOW SPECIFIC OF WHERE I LIVE.

09:31AM   19                 THE COURT:     OKAY.

09:31AM   20                 JUROR:    I MEAN, BECAUSE YOU GOT DOWN TO THE

09:31AM   21      NEIGHBORHOOD THAT I LIVED AND THE CITY.

09:31AM   22                 THE COURT:     NOT THE ADDRESS, WE DIDN'T ASK THE

09:31AM   23      ADDRESS.

09:31AM   24                 JUROR:    NO, BUT YOU GOT DOWN TO THE NEIGHBORHOOD.

09:31AM   25                 THE COURT:     OKAY.



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09:31AM    1                   JUROR:   YEAH, THAT'S MY PRIMARY CONCERN.

09:31AM    2                   THE COURT:     NAME AND GEOGRAPHIC LOCATION OF YOUR

09:31AM    3      RESIDENCE?

09:31AM    4                   JUROR:   CORRECT.

09:31AM    5                   THE COURT:     OKAY.    IS THERE ANY OTHER INFORMATION?

09:32AM    6                   JUROR:   NO.   I MEAN, I WAS SOMEWHAT CONCERNED

09:32AM    7      ABOUT -- BECAUSE THEY ASKED ABOUT MY WIFE AND MY HOUSEMATE, BUT

09:32AM    8      I WAS LESS CONCERNED BECAUSE MY WIFE DOESN'T LIVE IN STATE.

09:32AM    9                   THE COURT:     OKAY.    THE CONCERNS THAT YOU RAISE ABOUT

09:32AM   10      PRIVACY ISSUES, TELL ME A LITTLE BIT MORE ABOUT YOUR, YOUR

09:32AM   11      CONCERNS ABOUT THAT.

09:32AM   12           HAVE YOU -- FOR EXAMPLE, HAVE YOU EXPERIENCED ANY

09:32AM   13      INTRUSIONS, PRIVACY INTRUSIONS THAT CAUSE YOU CONCERNS?

09:32AM   14                   JUROR:   UM, WELL, NOT BEFORE THE OUTSIDE WORLD, NO.

09:32AM   15                   THE COURT:     OKAY.

09:32AM   16                   JUROR:   I MEAN, I HAVE --

09:32AM   17                   THE COURT:     I'M NOT SURE I KNOW WHAT THAT MEANS.

09:32AM   18                   JUROR:   I MEAN, I HAVE FRIENDS, SO THEY'RE CURIOUS.

09:32AM   19                   THE COURT:     RIGHT.

09:32AM   20                   JUROR:   BUT I'M NOT CONCERNED ABOUT THAT.

09:32AM   21           I GUESS I'M MORE CONCERNED ABOUT THE PRESS.

09:32AM   22                   THE COURT:     AND WHAT THE PRESS WILL DO WITH THE

09:32AM   23      INFORMATION?

09:32AM   24                   JUROR:   RIGHT.

09:32AM   25                   THE COURT:     I CAN TELL YOU DURING THE HEARING THAT I



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09:32AM    1      HAD WITH THE LAWYER FOR THE PRESS, THE MEDIA COALITION, HE DID

09:33AM    2      TELL ME, WHEN I ASKED HIM WHAT THEY INTENDED TO DO WITH THE

09:33AM    3      INFORMATION, HE DID TELL ME THAT, WITH ASSURANCES, THAT NONE OF

09:33AM    4      HIS CLIENTS WOULD CONTACT OR REACH OUT TO ANY JUROR DURING

09:33AM    5      THEIR JURY SERVICE.

09:33AM    6           I THINK HE RECOGNIZED THE, THE -- HOW THAT WOULD NOT BE

09:33AM    7      PROPER AND COULD BE SEEN AS TAMPERING WITH A JUROR.       AND HE

09:33AM    8      SAID THAT THEY, OF COURSE, WILL NOT DO THAT.

09:33AM    9           HE COULD NOT GIVE ME ANY GUARANTEE, OR HE DID NOT GIVE ANY

09:33AM   10      GUARANTEE AS TO WHAT ANY OF HIS CLIENTS WOULD DO AFTER THE

09:33AM   11      VERDICT WERE OVER.

09:33AM   12                 JUROR:    IS THAT INFORMATION USUALLY RELEASED AFTER

09:33AM   13      THE TRIAL, JUROR'S NAMES AND --

09:33AM   14                 THE COURT:     IT'S, IT'S -- YOU KNOW, IN A -- I DON'T

09:33AM   15      KNOW IF THERE IS SUCH A THING AS A USUAL TRIAL.

09:33AM   16                 JUROR:    WELL, HIGH PUBLICITY TRIAL.     HOW'S THAT?

09:33AM   17                 THE COURT:     WHAT I CAN TELL YOU IS THAT IT'S NOT

09:33AM   18      UNUSUAL IN STATE CASES, AND IN SOME FEDERAL CASES, FOR THE VOIR

09:34AM   19      DIRE, THE QUESTIONING OF JURORS, TO BE DONE IN OPEN COURT.

09:34AM   20                 JUROR:    RIGHT.

09:34AM   21                 THE COURT:     HERE WE DID IT PRIMARILY THROUGH THE --

09:34AM   22      WE USED A QUESTIONNAIRE FOR MANY OF THE QUESTIONS THAT WOULD

09:34AM   23      OTHERWISE BE ASKED IN PUBLIC.

09:34AM   24           SO THERE IS THAT DISTINCTION.      IT'S A PUBLIC FORUM.

09:34AM   25                 JUROR:    UH-HUH.



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09:34AM    1                 THE COURT:     SOME OF THE JURORS, AS YOU RECALL, WERE

09:34AM    2      ASKED QUESTIONS, FOLLOW-UP QUESTIONS, ABOUT THE QUESTIONNAIRE

09:34AM    3      IN THE PUBLIC FORUM WHERE THE PUBLIC HAS ACCESS TO THE

09:34AM    4      INFORMATION.

09:34AM    5           AT THE -- I WILL TELL YOU THIS:        AT THE CONCLUSION OF THE

09:34AM    6      CASE, IN THE FINAL INSTRUCTIONS AT THE END OF THE CASE, I WILL

09:34AM    7      INFORM THE JURORS THAT THEY HAVE THE RIGHT TO SPEAK TO ANYBODY

09:34AM    8      THAT THEY WANT TO, IT'S THEIR CHOICE.        BUT THEY ALSO CAN SAY NO

09:34AM    9      IF THEY DON'T WANT TO TALK TO SOMEBODY.        THAT'S PART OF THE

09:34AM   10      FINAL INSTRUCTIONS THAT A JUROR RECEIVES IN EVERY CASE.

09:34AM   11           AND PART OF MY PARTING INSTRUCTION IS THAT IF A JUROR

09:35AM   12      FEELS THAT THEY ARE BEING HARASSED, ANNOYED, OR THEIR REQUEST

09:35AM   13      TO BE LEFT ALONE IS NOT BEING ADHERED TO, THEY SHOULD REPORT IT

09:35AM   14      TO THE COURT.   THAT'S A FINAL INSTRUCTION THAT I GIVE IN EVERY

09:35AM   15      CASE I'VE DONE BOTH IN STATE COURT AND IN THE FEDERAL COURT.

09:35AM   16           I THINK MY COLLEAGUES ON STATE AND FEDERAL COURTS GIVE THE

09:35AM   17      SAME INSTRUCTION.

09:35AM   18           I DON'T KNOW IF THAT CAUSES YOU ANY COMFORT OR NOT, BUT

09:35AM   19      THAT'S SOMETHING THAT IS DONE IN EVERY CASE.

09:35AM   20           SO AS I UNDERSTAND IT, YOUR NAME AND NEIGHBORHOOD ARE YOUR

09:35AM   21      PRIMARY CONCERNS?

09:35AM   22                 PROSPECTIVE JUROR:      RIGHT.

09:35AM   23                 THE COURT:     RIGHT.   NOW, LET ME ASK YOU THIS:   AS I

09:35AM   24      SAID, THERE ARE CERTAIN LEGAL, CERTAIN LEGAL CONSTRAINTS THAT

09:35AM   25      THE COURT HAS CITED BY THE MEDIA COALITION --



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09:35AM    1                 JUROR:     UH-HUH.

09:35AM    2                 THE COURT:       -- THAT MIGHT NOT ALLOW ME TO REDACT

09:35AM    3      CERTAIN INFORMATION.

09:35AM    4           IF THAT WERE TO HAPPEN, IF I COULD NOT ACCEDE TO YOUR

09:36AM    5      REQUEST, WOULD THAT IN ANY WAY AFFECT YOUR ABILITY TO CONTINUE

09:36AM    6      TO BE A FAIR AND IMPARTIAL JUROR TO BOTH SIDES IN THIS CASE?

09:36AM    7                 JUROR:     NO, I DON'T THINK SO.

09:36AM    8                 THE COURT:       OKAY.   ANY QUESTION ABOUT THAT?

09:36AM    9                 JUROR:     NO.

09:36AM   10                 THE COURT:       OKAY.   I'M GOING TO ASK THESE LAWYERS IF

09:36AM   11      THEY HAVE ANY QUESTIONS FOR YOU.

09:36AM   12           MR. SCHENK?

09:36AM   13                 MR. SCHENK:      NO.     THANK YOU.

09:36AM   14                 THE COURT:       MR. DOWNEY?

09:36AM   15                 MR. DOWNEY:      NO.     THANK YOU.

09:36AM   16                 THE COURT:       ANYTHING ELSE YOU WOULD LIKE ME TO KNOW?

09:36AM   17                 JUROR:     NO, THAT'S IT.

09:36AM   18                 THE COURT:       IS THE BREAKFAST FOOD OKAY?   ARE YOU

09:36AM   19      GETTING ENOUGH?      DO WE NEED TO DO ANYTHING WITH THAT?

09:36AM   20           (LAUGHTER.)

09:36AM   21                 JUROR:     NO, WE'RE GOOD.

09:36AM   22                 THE COURT:       YOU CAN LEAVE YOUR JUROR QUESTIONNAIRE

09:36AM   23      HERE, JUROR NUMBER 9.       THANK YOU SO MUCH.   WE APPRECIATE IT.

09:36AM   24                 JUROR:     OKAY.

09:36AM   25           (PAUSE IN PROCEEDINGS.)



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09:36AM    1           (JUROR NUMBER 11 PRESENT.)

09:38AM    2                 THE CLERK:     JUROR NUMBER 11.

09:38AM    3                 THE COURT:     GOOD MORNING.

09:38AM    4                 JUROR:    GOOD MORNING.

09:38AM    5                 THE COURT:     WE ARE IN CHAMBERS WITH JUROR NUMBER 11.

09:38AM    6      I'M GOING TO CALL YOU BY YOUR NUMBER AND NOT YOUR NAME.           I MEAN

09:38AM    7      NO DISRESPECT.   BUT FOR PURPOSES OF THIS DISCUSSION, THAT'S

09:38AM    8      WHAT I'D LIKE TO DO.

09:38AM    9           WE'RE IN CHAMBERS NOW WITH MR. SCHENK, THE GOVERNMENT, AND

09:38AM   10      MR. DOWNEY, THE DEFENSE, AND THE LAW CLERKS AND OF COURSE MY

09:38AM   11      COURT STAFF IS HERE.

09:38AM   12           AS I TOLD YOU, I WANTED TO TALK TO EACH JUROR ABOUT

09:38AM   13      RELEASING INFORMATION ON THE QUESTIONNAIRE.

09:38AM   14           BEFORE WE BEGIN, I WOULD LIKE TO ASK YOU YOUR COMFORT

09:38AM   15      LEVEL ABOUT MASKS?     WOULD YOU LIKE TO CONTINUE WEARING A MASK?

09:39AM   16                 JUROR:    NO, I'M FINE.

09:39AM   17                 THE COURT:     YOU WOULD LIKE TO KEEP IT ON?

09:39AM   18                 JUROR:    YES.

09:39AM   19                 THE COURT:     OKAY.   WE WILL, TOO.      THANK YOU.

09:39AM   20           AS I SAID THE OTHER DAY, THE MEDIA COALITION BROUGHT THIS

09:39AM   21      MOTION.   YOU FILLED OUT THE QUESTIONNAIRE WITH MY PROMISE THAT

09:39AM   22      THE INFORMATION WOULD REMAIN CONFIDENTIAL.

09:39AM   23                 JUROR:    UH-HUH.

09:39AM   24                 THE COURT:     THE LAWYER FOR THE MEDIA HAS BROUGHT

09:39AM   25      THIS MOTION, AND PART OF THEIR MOTION IS BASED ON LEGAL CASES,



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09:39AM    1      INCLUDING SUPREME COURT CASES, THE FIRST AMENDMENT, AND OTHER

09:39AM    2      CASES THAT SUGGEST THAT THE INFORMATION CANNOT LEGALLY BE KEPT

09:39AM    3      CONFIDENTIAL WITHOUT AN APPROPRIATE SHOWING.

09:39AM    4           THE PURPOSE OF ME DISCUSSING THIS WITH EACH JUROR IS TO

09:39AM    5      DETERMINE AND TO GAIN INFORMATION FROM EACH JUROR AS TO WHETHER

09:39AM    6      OR NOT THEY HAVE CONCERNS, OR LACK OF CONCERN, ABOUT THE

09:39AM    7      RELEASE OF ANY OF THE INFORMATION THAT IS CONTAINED IN THE

09:39AM    8      QUESTIONNAIRE.

09:39AM    9           THIS REALLY RELATES TO INFORMATION ABOUT ADDRESS,

09:39AM   10      EMPLOYMENT, ANY QUESTION THAT CALLS FOR PERSONAL INFORMATION

09:40AM   11      THAT A JUROR MIGHT HAVE SOME CONCERNS ABOUT.

09:40AM   12           I'M INTERESTED IN THAT REGARD IN ISSUES REGARDING

09:40AM   13      SECURITY, SAFETY, OR OTHER PRIVACY ISSUES, OR NOT, AND THAT'S

09:40AM   14      WHY I'M TALKING TO EACH JUROR ABOUT THIS.       AND I WOULD ASK YOU

09:40AM   15      TO BE CANDID WITH ME AND IF YOU HAVE CONCERNS OR NO CONCERNS,

09:40AM   16      PLEASE, THIS IS THE OPPORTUNITY TO EXPRESS THOSE.

09:40AM   17                 JUROR:    WELL, I'M CONCERNED ABOUT THE SAFETY ISSUES.

09:40AM   18                 THE COURT:     OKAY.

09:40AM   19                 JUROR:    THAT'S MY PRIORITY IS THE SAFETY IS KEY.

09:40AM   20                 THE COURT:     OKAY.

09:40AM   21                 JUROR:    PRIVACY IS SECOND.    AND IT'S NOT JUST ME,

09:40AM   22      IT'S MY FAMILY AS WELL.

09:40AM   23                 THE COURT:     OKAY.   AND TELL ME ABOUT THE SAFETY

09:40AM   24      ISSUE, YOUR CONCERNS.

09:40AM   25                 JUROR:    WELL, I WORRY THAT I COULD FIND SOMEBODY



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09:41AM    1      FINDING OUR PROPERTY AND UNINVITED PERSONS ENTERING OUR

09:41AM    2      PROPERTY TO FIND OUT MORE ABOUT US, AND THAT JUST ISN'T

09:41AM    3      ACCEPTABLE.

09:41AM    4                   THE COURT:    HAVE YOU HAD OR DO YOU KNOW PEOPLE OR

09:41AM    5      PEOPLE WHO ARE CLOSE TO YOU WHO HAVE HAD EXPERIENCES WITH

09:41AM    6      PEOPLE SEEKING THEM OUT, FINDING OUT WHERE THEY ARE AND CAUSING

09:41AM    7      ISSUES?

09:41AM    8                   JUROR:   NO, NO, NO.

09:41AM    9                   THE COURT:    OKAY.    YOU WANT TO PREVENT THAT FROM

09:41AM   10      HAPPENING?

09:41AM   11                   JUROR:   YEAH, I WANT TO PREVENT THAT FROM HAPPENING.

09:41AM   12                   THE COURT:    OKAY.

09:41AM   13                   JUROR:   THAT'S REALLY WHAT IS ON MY MIND.

09:41AM   14           AND IT'S DISTRACTING AS WELL.        I FOUND YESTERDAY WHEN WE

09:41AM   15      WERE IN COURT, I WAS TRYING TO THINK ABOUT WHAT THE TESTIMONY

09:41AM   16      WAS, AND I'M THINKING ABOUT THIS, AND IT'S VERY DISTRACTING.

09:41AM   17                   THE COURT:    RIGHT.

09:41AM   18                   JUROR:   AND IT'S JUST -- TIMING-WISE, I FELT THAT IT

09:41AM   19      WAS --

09:41AM   20                   THE COURT:    RIGHT.   IT, IT -- THE -- AS I'VE SAID,

09:42AM   21      THIS WAS A MOTION THAT WAS BROUGHT BY THE MEDIA COALITION AND

09:42AM   22      THEIR LAWYER, AND THE TIMING OF IT IS WHAT IT IS, ISN'T IT?

09:42AM   23      AND I HAVE TO DEAL WITH IT AND THAT'S WHY WE'RE INTERRUPTING

09:42AM   24      THE PROCEEDINGS IN THIS WAY.

09:42AM   25                   JUROR:   YES.



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09:42AM    1                   THE COURT:    AND THAT'S WHY I'M DOING IT THIS MORNING

09:42AM    2      BECAUSE I RECOGNIZE THAT THIS MIGHT CAUSE SOME CONCERN,

09:42AM    3      STRESS --

09:42AM    4                   JUROR:   YEAH.

09:42AM    5                   THE COURT:    -- UNTIL WE RESOLVE THE ISSUE.

09:42AM    6           AND THEN ONCE IT'S RESOLVED, I'M ALSO CURIOUS ABOUT

09:42AM    7      WHETHER A JUROR CAN CONTINUE TO BE FAIR AND IMPARTIAL IN THE

09:42AM    8      CASE, AND THAT'S THE QUESTION THAT I WANT TO POSE TO YOU, JUROR

09:42AM    9      NUMBER 11.

09:42AM   10           AND THAT IS, IF I'M NOT ABLE TO REDACT ALL OF THE

09:42AM   11      INFORMATION THAT YOU WISH --

09:42AM   12                   JUROR:   UH-HUH.

09:42AM   13                   THE COURT:    -- AND LET ME JUST SAY THAT MY SENSE IS

09:42AM   14      THAT I WOULD LIKE TO KEEP NAMES OUT AT A MINIMUM.

09:42AM   15                   JUROR:   YEAH.

09:42AM   16                   THE COURT:    BUT IF I'M NOT ABLE TO OTHERWISE REDACT

09:42AM   17      EVERYTHING THAT YOU WANT, WOULD THAT IN ANY WAY AFFECT YOUR

09:42AM   18      ABILITY TO CONTINUE TO BE FAIR AND IMPARTIAL AS A JUROR IN THIS

09:43AM   19      CASE?

09:43AM   20                   JUROR:   YES.    I WOULD STILL BE FAIR AND IMPARTIAL AS

09:43AM   21      YOU'RE ASKING.

09:43AM   22                   THE COURT:    I'M SORRY, YOU COULD STILL BE A FAIR AND

09:43AM   23      IMPARTIAL JUROR IN THE CASE?

09:43AM   24                   JUROR:   YES, YES.

09:43AM   25           THAT'S NOT A PROBLEM.



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09:43AM    1                  THE COURT:     OKAY.

09:43AM    2                  JUROR:   IT'S JUST THAT I FEEL LIKE IT COULD BE

09:43AM    3      EMBARRASSING AND JUST TOO DISTRACTING AND I JUST FEEL IT COULD

09:43AM    4      BE AWFUL.

09:43AM    5                  THE COURT:     OKAY.   WOULD, WOULD -- AND AGAIN, IF

09:43AM    6      THIS WERE TO HAPPEN, THAT IS, IF I'M NOT ABLE TO KEEP, LEGALLY

09:43AM    7      KEEP EVERYTHING THAT YOU WANT PRIVATE, WOULD THAT INTERFERE

09:43AM    8      WITH YOUR ABILITY TO CONTINUE TO LISTEN TO THE EVIDENCE AND TO

09:43AM    9      OTHERWISE PERFORM YOUR DUTIES AS A JUROR?

09:43AM   10                  JUROR:   NO, NO.   I WILL BE OKAY.

09:43AM   11                  THE COURT:     YOU CAN STILL DO THAT?

09:43AM   12                  JUROR:   NO.

09:43AM   13                  THE COURT:     ANY DOUBT IN YOUR MIND.

09:43AM   14                  JUROR:   I TRUST THAT YOU'LL WATCH OUT FOR US AND FOR

09:44AM   15      ME.   I'M ALL RIGHT.

09:44AM   16                  THE COURT:     OKAY.   OKAY.

09:44AM   17            ANYTHING ELSE YOU WOULD LIKE ME TO KNOW?

09:44AM   18                  JUROR:   DO YOU HAVE ANY FOLLOW-UP QUESTIONS?       HAVE

09:44AM   19      YOU REVIEWED THIS?

09:44AM   20                  THE COURT:     OH, I HAVE THE COPIES, I DO, YES.

09:44AM   21                  JUROR:   OKAY.   SO YESTERDAY DURING TESTIMONY THERE

09:44AM   22      WAS MENTION OF MY WIFE'S PREVIOUS EMPLOYER.          IT STILL DOES NOT

09:44AM   23      AFFECT MY LISTENING TO THE CASE, BUT THAT WAS MR. ELLISON, AND

09:44AM   24      IT WAS AT THE END OF THE DAY.

09:44AM   25                  THE COURT:     OKAY.



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09:44AM    1                  JUROR:   SO I KNOW I NEEDED TO MENTION THAT TO YOU.

09:44AM    2           SHE WORKED FOR ORACLE.        SO THAT'S IN HERE.

09:44AM    3                  THE COURT:     OKAY.   SO LET ME ASK YOU, AND I SHOULD

09:44AM    4      HAVE SAID I DON'T -- THANK YOU FOR RAISING THIS, IT'S

09:44AM    5      APPROPRIATE TO DO THAT.

09:44AM    6                  JUROR:   UH-HUH.

09:44AM    7                  THE COURT:     BUT I DON'T WANT TO ASK ANY JUROR ABOUT

09:44AM    8      ANYTHING ABOUT THE CASE AT ALL OR TALK ABOUT THE EVIDENCE IN

09:44AM    9      THE CASE.

09:44AM   10           YOU'VE RAISED AN ISSUE THAT A NAME CAME UP IN THE

09:44AM   11      TESTIMONY YESTERDAY AND YOUR WIFE WORKED AT ORACLE.

09:45AM   12                  JUROR:   YES.

09:45AM   13                  THE COURT:     IS THERE ANYTHING ABOUT THAT

09:45AM   14      RELATIONSHIP THAT YOU THINK IMPAIRS YOUR ABILITY TO CONTINUE TO

09:45AM   15      BE FAIR AND IMPARTIAL?

09:45AM   16                  JUROR:   NO.    NO.    HUH-UH.

09:45AM   17                  THE COURT:     OKAY.

09:45AM   18                  JUROR:   I JUST NEEDED TO PUT THAT OUT THERE FOR YOU.

09:45AM   19                  THE COURT:     OKAY.   THANK YOU.   I APPRECIATE YOUR

09:45AM   20      CANDOR IN THAT REGARD.      THANK YOU FOR THAT.

09:45AM   21           IF, AS I SAID, IF I'M NOT ABLE TO KEEP PRIVATE EVERYTHING

09:45AM   22      THAT YOU WANT, I THINK YOU'VE TOLD ME, YOU'VE ANSWERED THIS

09:45AM   23      QUESTION, BUT CAN YOU CONTINUE TO BE A FAIR AND IMPARTIAL JUROR

09:45AM   24      IN THIS CASE?

09:45AM   25                  JUROR:   YES.



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09:45AM    1                   THE COURT:     OKAY.   ANYTHING ELSE YOU WOULD LIKE ME

09:45AM    2      TO KNOW --

09:45AM    3                   JUROR:   NOT AT THIS TIME.

09:45AM    4                   THE COURT:     -- UNDER THE CONSTRAINTS OF WHAT I'VE

09:45AM    5      TOLD YOU?

09:45AM    6                   JUROR:   NO.

09:45AM    7                   THE COURT:     OKAY.   I'M GOING TO ASK THESE LAWYERS IF

09:45AM    8      THEY HAVE ANY QUESTIONS FOR YOU --

09:45AM    9                   JUROR:   SURE, THAT'S FINE.

09:45AM   10                   THE COURT:     -- AS WELL.

09:45AM   11           MR. SCHENK?

09:45AM   12                   MR. SCHENK:    NO.

09:45AM   13                   THE COURT:     MR. DOWNEY?

09:45AM   14                   MR. DOWNEY:    YOUR HONOR, I JUST HAD ONE QUESTION.

09:45AM   15                   THE COURT:     YEAH, SURE.

09:45AM   16                   MR. DOWNEY:    I THINK JUROR NUMBER 11 MENTIONED THAT

09:45AM   17      IT MIGHT BE EMBARRASSING AND DISTRACTING, AND I JUST WONDER

09:46AM   18      WHAT HE MEANT WHEN HE SAID IT MIGHT BE EMBARRASSING?

09:46AM   19                   JUROR:   WELL, THE FIRST THING THAT OCCURRED TO ME

09:46AM   20      WAS MY HANDWRITING IS REALLY AWFUL BECAUSE OF MY DISABILITY.

09:46AM   21           (LAUGHTER.)

09:46AM   22                   JUROR:   AND I DON'T WANT SOMEBODY TO LOOK AT THAT

09:46AM   23      AND SAY, WHAT THE HECK IS THIS?        WHO WROTE THIS?

09:46AM   24                   THE COURT:     WELL, IF I GIVE A WRITING EXEMPLAR OF MY

09:46AM   25      OWN, THAT MIGHT LESSEN THE CONSTRAINT.



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09:46AM    1                   JUROR:   WELL, YEAH.

09:46AM    2            THAT'S ONE THING THAT I THOUGHT WOULD BE EMBARRASSING.

09:46AM    3                   THE COURT:     OKAY.

09:46AM    4                   JUROR:   MY EDUCATIONAL BACKGROUND ISN'T EXACTLY

09:46AM    5      STELLAR.   BUT I'M -- YOU KNOW, I'M BRIGHT IN AREAS THAT I'VE

09:46AM    6      STUDIED.

09:46AM    7            SO, YOU KNOW, THERE'S THAT AS WELL.         YEAH.

09:46AM    8                   THE COURT:     OKAY.

09:46AM    9                   MR. DOWNEY:    NOTHING FURTHER, YOUR HONOR.

09:46AM   10                   JUROR:   OKAY.

09:46AM   11                   THE COURT:     ANYTHING ELSE YOU WOULD LIKE US TO KNOW?

09:46AM   12                   JUROR:   NO.   THAT'S PRETTY MUCH IT.

09:46AM   13                   THE COURT:     OKAY.   THANK YOU SO MUCH.    I APPRECIATE

09:47AM   14      IT.   THANK YOU.

09:47AM   15                   JUROR:   THANK YOU.

09:47AM   16                   THE COURT:     YOU CAN JUST LEAVE YOUR QUESTIONNAIRE ON

09:47AM   17      THE TABLE.

09:47AM   18                   JUROR:   YOU BET.

09:47AM   19            (PAUSE IN PROCEEDINGS.)

09:47AM   20            (ALTERNATE JUROR NUMBER 4 PRESENT.)

09:48AM   21                   THE CLERK:     ALTERNATE NUMBER 4.

09:48AM   22                   THE COURT:     THANK YOU.   GOOD MORNING.    PLEASE HAVE A

09:48AM   23      SEAT.

09:48AM   24            I AM GOING TO REFER TO YOU BY YOUR JUROR NUMBER, NOT BY

09:48AM   25      YOUR NAME, PLEASE, AND I MEAN NO DISRESPECT.          THAT'S JUST HOW I



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09:48AM    1      WOULD LIKE TO CONDUCT THESE PROCEEDINGS.

09:49AM    2           WE'RE IN MY OFFICE NOW.

09:49AM    3           MR. SCHENK IS HERE FROM THE GOVERNMENT, AND MR. DOWNEY IS

09:49AM    4      HERE FROM THE DEFENSE, MY LAW CLERKS, SOME OF MY LAW CLERKS ARE

09:49AM    5      HERE, AND OF COURSE YOU KNOW STAFF.

09:49AM    6           I WANT TO ASK, AND I AM ASKING, EACH JUROR QUESTIONS ABOUT

09:49AM    7      THE QUESTIONNAIRES, THEIR ANSWERS TO THE QUESTIONS, AS WELL AS

09:49AM    8      THE MEDIA COALITION'S MOTION TO RELEASE THIS INFORMATION.

09:49AM    9           BEFORE I BEGIN, I'D LIKE TO ASK YOUR COMFORT LEVEL ABOUT

09:49AM   10      MASKS.   WOULD YOU LIKE TO REMOVE YOUR MASK?         WOULD YOU LIKE TO

09:49AM   11      KEEP YOUR MASK ON?

09:49AM   12                 JUROR:    I CAN REMOVE IT.

09:49AM   13                 THE COURT:     OKAY.   WE WILL, TOO.      THANK YOU.

09:49AM   14           AS I SAID THE OTHER DAY, THE MEDIA COALITION HAS FILED A

09:49AM   15      MOTION ASKING THAT I RELEASE THE QUESTIONNAIRES AND THE

09:49AM   16      INFORMATION THAT IS CONTAINED IN THE QUESTIONNAIRES.

09:49AM   17           YOU FILLED THIS OUT WITH MY PROMISE THAT IT WOULD BE

09:49AM   18      CONFIDENTIAL.   IT'S RIGHT THERE RIGHT ABOVE MY NAME.

09:49AM   19           AND THIS MOTION SUGGESTS THAT THE SUPREME COURT IN SOME OF

09:50AM   20      THEIR DECISIONS, AS WELL AS OTHER DECISIONS, SUGGEST THAT I'M

09:50AM   21      NOT ABLE TO DO THAT.     I MAY BE ABLE TO DO THAT IN CERTAIN

09:50AM   22      CIRCUMSTANCES FOR CERTAIN INFORMATION IF SUFFICIENT COMPELLING

09:50AM   23      REASONS ARE STATED FOR DOING SO.

09:50AM   24           THE PURPOSE OF MY SPEAKING WITH EACH OF YOU, THE JURORS,

09:50AM   25      IS TO DETERMINE YOUR CONCERNS, IF ANY, REGARDING ANY OF THE



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09:50AM    1      INFORMATION THAT YOU HAVE PUT IN THE QUESTIONNAIRES IN RESPONSE

09:50AM    2      TO THE QUESTIONS.     AND THIS WOULD INCLUDE NAME, ADDRESS, OF

09:50AM    3      COURSE WE DON'T ASK FOR YOUR STREET ADDRESS, EMPLOYMENT, AND

09:50AM    4      ANY OTHER PERSONAL IDENTIFYING INFORMATION THAT A JUROR MIGHT

09:50AM    5      BE UNCOMFORTABLE WITH OR HAVE COMFORT BEING RELEASED.

09:50AM    6           I'D ASK YOU TO BE CANDID WITH ME ABOUT YOUR THOUGHTS AND

09:50AM    7      FEELINGS ABOUT THIS.

09:50AM    8           I'M PARTICULARLY INTERESTED IN ANY SAFETY, SECURITY, OR

09:51AM    9      OTHER PRIVACY ISSUES THAT YOU MIGHT HAVE WITH ANY OF THIS

09:51AM   10      INFORMATION, IF YOU HAVE ANY.

09:51AM   11           SO -- AND I ENCOURAGE YOU TO ASK ME ANY QUESTIONS THAT YOU

09:51AM   12      MIGHT HAVE ALSO.

09:51AM   13           SO WHAT WOULD YOU LIKE ME TO KNOW?

09:51AM   14                 JUROR:    I THINK MY BIGGEST THING IS WE TALKED ABOUT

09:51AM   15      IT BEING CONFIDENTIAL.     I GET IT.

09:51AM   16           IT COMPLETELY BLEW MY MIND WHEN YOU TALKED ABOUT IT

09:51AM   17      YESTERDAY AND I THINK I HAD TO PICK MY JAW UP OFF THE GROUND,

09:51AM   18      BUT I COMPLETELY UNDERSTAND IT.

09:51AM   19           I THINK WITH EVERYTHING GOING ON THE WORLD TODAY, YOU

09:51AM   20      THINK ABOUT SAFETY, RIGHT?      IN MY JOB, YOU KNOW, I WORK FOR A

09:51AM   21      FORTUNE 500 COMPANY, I WORK FOR              , SO I'M OUT IN THE

09:51AM   22      PUBLIC.   AND I WORK AT A MARKET LEVEL, DISTRICT LEVEL.

09:51AM   23           SO FOR ME IT'S ABOUT THE SAFETY OF ME WHEN IT COMES TO

09:51AM   24      WORK AND THE SAFETY OF MY FAMILY AT HOME BECAUSE THERE'S TROLLS

09:51AM   25      OUT THERE AND THERE'S PEOPLE OUT THERE, BECAUSE WHEN THEY GET



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09:51AM    1      ANY OF THIS INFORMATION THEY WILL FOLLOW YOU, THEY COULD DO

09:51AM    2      THINGS TO HARM YOU, AND I THINK THAT'S MY BIGGEST -- ANYTHING I

09:51AM    3      ANSWERED HERE IS THE TRUTH.

09:52AM    4           SO IT'S ABOUT THE SAFETY OF MY FAMILY AND, YOU KNOW, THE

09:52AM    5      SAFETY OF ME WHEN I'M AT WORK.      THAT'S REALLY THE BIGGEST

09:52AM    6      CONCERN THAT I HAVE.

09:52AM    7                  THE COURT:    OKAY.

09:52AM    8           SO IS IT YOUR NAME, THOUGH?      FIRST OF ALL, THE NAME WOULD

09:52AM    9      BE, LET'S START THERE.

09:52AM   10                  JUROR:   RIGHT.

09:52AM   11                  THE COURT:    YOU WOULD PREFER YOUR NAME TO BE

09:52AM   12      REDACTED?

09:52AM   13                  JUROR:   IF YOU COULD, THAT WOULD BE GREAT.

09:52AM   14           I MEAN, THEY'LL OBVIOUSLY FIND OUT SOMETHING ABOUT ME IF

09:52AM   15      THEY FIND OUT WHERE I WORK, AND YOU KNOW -- I KNOW THERE'S NO

09:52AM   16      NAMES IN HERE WITH MY FAMILY, BUT IT DOES STATE WHAT THEY DID

09:52AM   17      AND WHAT THEY CURRENTLY DO AS FAR AS MY STEPDAUGHTER AND MY

09:52AM   18      WIFE, WHAT THEY DID AND WHERE THEY WORKED, NOT THEIR NAMES.

09:52AM   19           BUT WITH THE WAY THE WORLD IS TODAY, THEY CAN FIND OUT

09:52AM   20      ANYTHING ABOUT YOU NO MATTER WHAT THEY DO.

09:52AM   21           SO FOR ME IT'S REALLY ABOUT THE SAFETY, YOU KNOW, AND THE

09:52AM   22      CONCERNS OF -- YOU KNOW,              IS IN THE NEWS OR THE HOLIDAY

09:52AM   23      SEASON OR JUST AM I GOING TO HAVE PEOPLE FOLLOWING ME AT WORK?

09:52AM   24      AM I GOING TO HAVE PEOPLE DRIVING BY?       YOU KNOW, IT'S JUST ONE

09:52AM   25      OF THOSE THINGS.



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09:52AM    1           AND ESPECIALLY WHERE WE ARE AT IN THE WORLD TODAY AND

09:53AM    2      WHERE WE ARE AT IN SILICON VALLEY.          IT'S A LITTLE BIT DIFFERENT

09:53AM    3      THAN IF I WAS, LET'S SAY, IN SACRAMENTO, UP IN THE NORTHERN

09:53AM    4      PART OF CALIFORNIA, IT'S COMPLETELY DIFFERENT.

09:53AM    5                   THE COURT:    RIGHT.

09:53AM    6                   JUROR:   SO THAT'S MY BIGGEST THING.

09:53AM    7                   THE COURT:    ALL RIGHT.   THANK YOU FOR THAT.

09:53AM    8           LET ME ASK YOU, DOES YOUR JOB ENTAIL A CERTAIN SECURITY

09:53AM    9      COMPONENT?

09:53AM   10                   JUROR:   SO KIND OF I REALLY DEAL WITH THE DIGITAL

09:53AM   11      PIECE.   SO I DEAL WITH ANYTHING DEALING WITH                 WHEN IT

09:53AM   12      COMES TO THE APPS TO ORDERING ONLINE, THINGS LIKE THAT.

09:53AM   13                   THE COURT:    I SEE.   OKAY.

09:53AM   14           AND LET ME ASK YOU, HAVE YOU HAD ANY, EXCUSE ME, ANY

09:53AM   15      SECURITY ISSUES IN THE PAST RELATED TO YOUR PERSONAL

09:53AM   16      INFORMATION, OR DO YOU KNOW ANYONE WHO HAS HAD THAT, ANYONE

09:53AM   17      CLOSE TO YOU SUCH THAT IT INCREASES THE CONCERN THAT YOU HAVE?

09:53AM   18                   JUROR:   NOT THAT I KNOW OF.

09:53AM   19                   THE COURT:    OKAY.    DO YOU HAVE -- AS I SAID, I MAY

09:54AM   20      BE ABLE TO KEEP CERTAIN INFORMATION PRIVATE, AND THAT'S WHY I'M

09:54AM   21      ASKING EACH JUROR THIS, THERE MAY BE LEGAL REASONS THAT I

09:54AM   22      CAN'T, AND SOME INFORMATION MAY HAVE TO BE RELEASED.

09:54AM   23           IF THAT WERE THE CASE, IF I WAS -- AND I'M LOOKING YOU IN

09:54AM   24      THE EYE AND I'M TELLING YOU, JUROR NUMBER 4, I'M BREAKING MY

09:54AM   25      PROMISE TO YOU, I TOLD YOU IT WOULD BE CONFIDENTIAL AND NOW



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09:54AM    1      HERE THIS FEDERAL JUDGE IS SAYING, WELL, SORRY ABOUT THAT.

09:54AM    2           AND THE MEDIA COALITION, AS I SAID, HAS CITED CERTAIN

09:54AM    3      LEGAL DOCTRINES THAT THEY BELIEVE COMPELS ME TO RELEASE

09:54AM    4      INFORMATION.

09:54AM    5           IF THAT WERE TO HAPPEN, THAT IS, IF I WERE UNABLE TO KEEP

09:54AM    6      INFORMATION THAT YOU WANT PRIVATE, WOULD THAT IN ANY WAY AFFECT

09:54AM    7      YOUR ABILITY TO CONTINUE TO BE A FAIR AND IMPARTIAL JUROR IN

09:54AM    8      THIS CASE?

09:54AM    9                   JUROR:   NO.

09:54AM   10                   THE COURT:     OKAY.   YOU COULD CONTINUE TO DO THAT?

09:54AM   11                   JUROR:   YES.

09:54AM   12                   THE COURT:     NO DOUBT ABOUT THAT?

09:54AM   13                   JUROR:   NO DOUBT ABOUT IT.

09:54AM   14                   THE COURT:     OKAY.   ALL RIGHT.

09:54AM   15           IS THERE ANYTHING ELSE YOU WOULD LIKE ME TO KNOW OR --

09:55AM   16                   JUROR:   NO.

09:55AM   17                   THE COURT:     -- ANY OTHER QUESTION YOU HAVE FOR ME?

09:55AM   18                   JUROR:   NO.

09:55AM   19                   THE COURT:     OKAY.   I'M GOING TO ASK THESE LAWYERS IF

09:55AM   20      THEY HAVE ANY QUESTIONS FOR YOU.

09:55AM   21           MR. SCHENK?

09:55AM   22                   MR. SCHENK:     NO.    THANK YOU.

09:55AM   23                   THE COURT:     MR. DOWNEY?

09:55AM   24                   MR. DOWNEY:     NO.    THANK YOU.

09:55AM   25                   JUROR:   GREAT.



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09:55AM    1                 THE COURT:     THANK YOU.   YOU CAN LEAVE YOUR

09:55AM    2      QUESTIONNAIRE HERE.     THANK YOU SO MUCH.

09:55AM    3                 JUROR:    THANK YOU.

09:55AM    4           (PAUSE IN PROCEEDINGS.)

09:55AM    5           (ALTERNATE JUROR NUMBER 5 PRESENT.)

09:56AM    6                 THE CLERK:     ALTERNATE NUMBER 5.

09:56AM    7                 THE COURT:     GOOD MORNING.

09:56AM    8                 JUROR:    GOOD MORNING.

09:56AM    9                 THE COURT:     PLEASE HAVE A SEAT.    THANK YOU.

09:56AM   10           WE'RE IN CHAMBERS NOW.

09:56AM   11           FIRST OF ALL, I'M GOING TO CALL YOU BY YOUR JUROR NUMBER

09:56AM   12      AND NOT BY YOUR NAME, AND I MEAN NO DISRESPECT FOR THAT.      JUST

09:56AM   13      FOR THIS PROCEEDING I'D LIKE TO GO THAT WAY.

09:56AM   14           SO THANK YOU FOR THAT.

09:56AM   15                 JUROR:    UH-HUH.

09:56AM   16                 THE COURT:     I'M INVITING EACH JUROR TO COME BACK AND

09:56AM   17      TALK WITH ME.   YOU REMEMBER THAT I TALKED TO YOU ABOUT THE

09:57AM   18      MEDIA COALITION AND THE MOTION THAT THEIR LAWYER FILED IN

09:57AM   19      REGARDS TO RELEASING INFORMATION, AND I WANT TO ASK YOU SOME

09:57AM   20      QUESTIONS ABOUT THAT.

09:57AM   21           BEFORE WE BEGIN, THOUGH, I DO WANT TO ASK YOU YOUR COMFORT

09:57AM   22      LEVEL ABOUT YOUR MASK.

09:57AM   23                 JUROR:    UH-HUH.

09:57AM   24                 THE COURT:     DO YOU WANT TO LEAVE YOUR MASK ON OR

09:57AM   25      TAKE IT OFF?



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09:57AM    1                 JUROR:    I CAN LEAVE IT ON.    IF EVERYONE CAN HEAR ME,

09:57AM    2      I CAN LEAVE IT ON.

09:57AM    3                 THE COURT:     THAT'S FINE.   WE'LL LEAVE OURS ON, TOO.

09:57AM    4           NOW, AS I MENTIONED, YOU FILLED OUT THE QUESTIONNAIRE WITH

09:57AM    5      THE PROMISE MADE BY ME THAT THE INFORMATION WOULD REMAIN

09:57AM    6      CONFIDENTIAL.

09:57AM    7           THE MEDIA COALITION, THROUGH THEIR LAWYER, HAS FILED A

09:57AM    8      MOTION SUGGESTING THAT THERE IS CERTAIN CASE LAW, INCLUDING

09:57AM    9      SUPREME COURT CASES, THE FIRST AMENDMENT, AND OTHER LAW AND

09:57AM   10      LEGAL DOCTRINES THAT SUGGEST THAT THE INFORMATION ON THE

09:57AM   11      QUESTIONNAIRES AND THE QUESTIONNAIRES THEMSELVES MUST BE MADE

09:57AM   12      PUBLIC.

09:57AM   13           I'M ASKING EACH JUROR TO TALK WITH ME ABOUT ANY CONCERNS,

09:58AM   14      OR LACK OF CONCERNS, THAT THEY MIGHT HAVE ABOUT THE RELEASE OF

09:58AM   15      THIS INFORMATION, AND THIS INFORMATION INCLUDES NAME,

09:58AM   16      EMPLOYMENT, ADDRESS, ALTHOUGH YOUR ADDRESS IS NOT IN HERE, THE

09:58AM   17      GEOGRAPHIC LOCATION IS, AND ANY OTHER PERSONAL INFORMATION THAT

09:58AM   18      A JUROR MIGHT FEEL OR HAVE A CONCERN ABOUT RELEASING TO THE

09:58AM   19      PUBLIC.

09:58AM   20           AND I'M SPECIFICALLY INTERESTED IN ANY SECURITY, SAFETY,

09:58AM   21      OR OTHER PRIVACY ISSUES THAT A JUROR MAY HAVE ABOUT SOME OF

09:58AM   22      THIS INFORMATION.

09:58AM   23                 JUROR:    UH-HUH.

09:58AM   24                 THE COURT:     I'D ASK YOU TO PLEASE BE CANDID WITH ME

09:58AM   25      ABOUT YOUR THOUGHTS ABOUT THAT, AND IF YOU COULD EXPRESS TO ME



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09:58AM    1      ANY CONCERNS THAT YOU HAVE, AGAIN OR NOT, ABOUT THAT.

09:58AM    2           WHAT WOULD YOU LIKE ME TO KNOW ABOUT THAT?

09:58AM    3           AND PLEASE FEEL FREE TO ASK ANY QUESTIONS ALSO.

09:58AM    4                  JUROR:   YEAH.   OF COURSE MY PREFERENCE IS THAT IT'S

09:58AM    5      NOT RELEASED.

09:58AM    6           I'LL BE HONEST, I'M A LITTLE INDIFFERENT, BUT THE CONCERNS

09:58AM    7      THAT I DO HAVE WOULD BE JUST, I GUESS, YOU KNOW, COMING INTO

09:59AM    8      THIS AS A JUROR, YOU THINK ONCE YOU SERVE YOUR TIME, IT'S KIND

09:59AM    9      OF DONE.    AND TO HAVE PEOPLE TO CONTINUE TO TRY TO TALK TO YOU

09:59AM   10      AFTERWARDS, IT'S -- IT COULD BE, LIKE, INTRUSIVE.

09:59AM   11           ANOTHER CONCERN THAT I HAVE IS I WORK FOR           AND IT

09:59AM   12      SEEMS LIKE WE'RE ALWAYS UNDER THE MEDIA ATTENTION, WHETHER IT'S

09:59AM   13      POSITIVE OR NEGATIVE.     I JUST DO NOT WANT TO BE LINKED TO MY

09:59AM   14      WORK AND WHATNOT --

09:59AM   15                  THE COURT:    OKAY.

09:59AM   16                  JUROR:   -- JUST FOR THAT PURPOSE IN PARTICULAR.

09:59AM   17           BESIDES THAT, YEAH, THAT'S MY ONLY CONCERN IS WORK AND

09:59AM   18      WHAT HAPPENS AFTER THIS.      I WOULD LIKE FOR IT NOT TO HAVE TO

09:59AM   19      FOLLOW ME AROUND AND WHATNOT.

09:59AM   20           BUT, AGAIN, THAT'S REALLY MY ONLY CONCERN.

09:59AM   21                  THE COURT:    OKAY.   DO YOU HAVE -- ARE YOU CONCERNED

09:59AM   22      WITH YOUR EMPLOYMENT, ARE YOU CONCERNED THAT THIS MIGHT AFFECT

10:00AM   23      YOUR EMPLOYMENT IN SOME WAY, YOUR ABILITY TO CONTINUE TO BE

10:00AM   24      EMPLOYED?

10:00AM   25                  JUROR:   NO, NOT THAT.    BUT JUST I KNOW WHEN



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10:00AM    1      HISTORICALLY IN THE PAST ANYTHING THAT HAS KIND OF COME UP WITH

10:00AM    2           , YOU KNOW, WE'RE VERY SENSITIVE WHEN IT COMES TO JUST OUR

10:00AM    3      NAME BEING USED IN ANY TYPE OF CONTENT THAT WASN'T APPROVED,

10:00AM    4      AND I DON'T KNOW, I JUST FEEL LIKE THE MEDIA WILL SAY WHAT THEY

10:00AM    5      WANT TO SAY TO GET THE VIEWS, AND I JUST DON'T WANT THAT TO BE

10:00AM    6      AN ISSUE WHERE IT DOES BECOME A PROBLEM WITH MY EMPLOYMENT.

10:00AM    7                 THE COURT:     I SEE.   OKAY.

10:00AM    8           WELL, THANK YOU FOR THAT.       THANK YOU.

10:00AM    9           SO IT SOUNDS LIKE YOU WOULD HAVE GREATER COMFORT IF THE

10:00AM   10      COURT WERE ABLE TO REDACT YOUR EMPLOYER --

10:00AM   11                 JUROR:    UH-HUH.

10:00AM   12                 THE COURT:     -- AND PERHAPS YOUR NAME.

10:00AM   13                 JUROR:    YEAH.   IF THIS WAS NOT ASSOCIATED WITH ME

10:00AM   14      BESIDES WHATEVER MY RESPONSES WERE WITH NO NAME ATTACHED TO IT,

10:00AM   15      AND PREFERABLY MY EMPLOYER'S NAME, THEN IT'S REALLY NOT AN

10:01AM   16      ISSUE FOR ME.

10:01AM   17                 THE COURT:     OKAY.    ALL RIGHT.

10:01AM   18                 JUROR:    YEAH.

10:01AM   19                 THE COURT:     WELL, AS I SAID, THERE ARE CERTAIN

10:01AM   20      LEGAL, I'LL CALL THEM CONSTRAINTS, BUT THERE ARE LEGAL

10:01AM   21      DOCTRINES THAT CONTROL THE COURT'S DECISION, MY DISCUSSION AS

10:01AM   22      TO WHAT CAN BE RELEASED AND WHAT CANNOT BE RELEASED.

10:01AM   23           AND JUROR NUMBER 5, IF THE COURT FOUND THAT LEGALLY I

10:01AM   24      COULD NOT KEEP THE INFORMATION THAT YOU WANT ME TO KEEP --

10:01AM   25                 JUROR:    UH-HUH.



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10:01AM    1                 THE COURT:     -- PRIVATE, IF I FOUND THAT LEGALLY I

10:01AM    2      CANNOT DO THAT, I WANT TO ASK YOU, AND IF THAT WAS MY FINDING,

10:01AM    3      WOULD THAT IN ANY WAY AFFECT YOUR ABILITY TO CONTINUE TO BE A

10:01AM    4      FAIR AND IMPARTIAL JUROR TO BOTH SIDES IN THIS CASE?

10:01AM    5                 JUROR:    IT WOULDN'T.

10:01AM    6                 THE COURT:     OKAY.   DO YOU HAVE ANY DOUBT ABOUT THAT?

10:01AM    7                 JUROR:    NO, NO DOUBTS.

10:01AM    8                 THE COURT:     DO YOU HAVE ANY OTHER QUESTIONS FOR ME,

10:01AM    9      ANYTHING ELSE ON THIS ISSUE THAT --

10:01AM   10                 JUROR:    TO BE HONEST, NONE IN PARTICULAR THAT I CAN

10:01AM   11      THINK OF RIGHT NOW.

10:01AM   12                 THE COURT:     OKAY.

10:02AM   13                 JUROR:    YEAH, THOSE WERE REALLY MY ONLY CONCERNS

10:02AM   14      WHEN YOU BROUGHT IT TO MY ATTENTION THAT IT COULD POTENTIALLY

10:02AM   15      GO OUT.

10:02AM   16                 THE COURT:     OKAY.

10:02AM   17                 JUROR:    BESIDES WHAT I WROTE ABOUT MY GIRLFRIEND

10:02AM   18      BEING NOSY, YES, I JUST DON'T WANT THAT TO COME BACK.

10:02AM   19                 THE COURT:     YOU WANT ME TO KEEP THAT PRIVATE FROM

10:02AM   20      HER?

10:02AM   21                 JUROR:    YEAH, AND EVERYONE ELSE IN THIS ROOM TO

10:02AM   22      KNOW.

10:02AM   23                 THE COURT:     OKAY.

10:02AM   24                 JUROR:    BUT, YEAH, GOING INTO IT, I ALREADY TOLD

10:02AM   25      HER, LIKE, HEY, THIS IS -- I CAN'T TALK ABOUT IT, SO I WOULD



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10:02AM    1      APPRECIATE IF YOU RIGHT NOW NOT EVEN ASK ABOUT IT KIND OF

10:02AM    2      THING.

10:02AM    3                 THE COURT:     OKAY.

10:02AM    4                 JUROR:    SO THAT'S WHAT I SET FORWARD, AND I DON'T

10:02AM    5      WANT IT TO COME BACKWARDS TO SAY, OH, IT'S IN THE NEWS THAT

10:02AM    6      THIS POTENTIAL JUROR MADE THIS COMMENT TO HIS GIRLFRIEND OR

10:02AM    7      KIND OF SITUATION EITHER.

10:02AM    8                 THE COURT:     RIGHT.

10:02AM    9                 JUROR:    BUT BESIDES THAT, I REALLY HAVE NO CONCERNS.

10:02AM   10                 THE COURT:     WELL, THANK YOU.     THANK YOU FOR YOUR

10:02AM   11      CONTINUED FIDELITY TO MY QUESTIONS, I APPRECIATE THAT, AND THE

10:02AM   12      ADMONITIONS THAT I MADE.      I KNOW IT'S DIFFICULT TO DO, AND I

10:03AM   13      APPRECIATE YOU AND YOUR COLLEAGUES', FELLOW JURORS', ATTENTION

10:03AM   14      TO THAT.

10:03AM   15           THANK YOU.

10:03AM   16           I'M GOING TO ASK THESE LAWYERS IF THEY HAVE A QUESTION FOR

10:03AM   17      YOU OR NOT.

10:03AM   18                 JUROR:    THAT'S FINE.

10:03AM   19                 THE COURT:     MR. SCHENK?

10:03AM   20                 MR. SCHENK:     NO.

10:03AM   21                 THE COURT:     MR. DOWNEY?

10:03AM   22                 MR. DOWNEY:     NO.    THANK YOU.

10:03AM   23                 THE COURT:     YOU CAN LEAVE YOUR QUESTIONNAIRE ON THE

10:03AM   24      TABLE.

10:03AM   25           THANK YOU VERY MUCH.



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10:03AM    1                   JUROR:   THANKS.   I'LL SEE YOU IN THE COURTROOM.

10:03AM    2                   THE COURT:    THANK YOU.   I THINK THAT EXHAUST OUR

10:03AM    3      JUROR'S INTERVIEWS FOR THE MORNING.

10:03AM    4           COUNSEL?

10:03AM    5                   MR. SCHENK:    IF WE WANT TO MAKE FURTHER ARGUMENTS

10:03AM    6      ABOUT TIMING FOR RELEASE, FOR INSTANCE, WAITING UNTIL AFTER

10:03AM    7      TRIAL TO RELEASE, IS THAT SOMETHING THAT THE COURT WOULD

10:03AM    8      ENTERTAIN?    WOULD WE HAVE A NEW HEARING ON IT?      OR THE SHIP HAS

10:03AM    9      SAILED?

10:03AM   10                   THE COURT:    WELL, THE MOTION IS UNDER SUBMISSION.     I

10:03AM   11      DID INDICATE, AS YOU RECALL, TO THE MOVING PARTY THAT I

10:04AM   12      INTENDED TO INTERVIEW EACH OF THE JURORS, GET THEIR FEELINGS,

10:04AM   13      RESPECTIVE FEELINGS, REVIEW THAT INFORMATION, AND THEN REVIEW

10:04AM   14      THEM, THE MOTION, AND ISSUE AN ORDER AS TO WHAT INFORMATION IS

10:04AM   15      GOING TO BE RELEASED OR NOT.

10:04AM   16           THAT'S THE PROTOCOL.

10:04AM   17           MR. DOWNEY, ANYTHING YOU'D LIKE TO SAY NOW?

10:04AM   18                   MR. DOWNEY:    WELL, I THINK, YOUR HONOR, AND WE CAN

10:04AM   19      SAY THIS IN WHATEVER FORUM YOU THINK, BUT I MUST SAY THAT WHAT

10:04AM   20      THE COLLOQUIES REVEALED WAS MORE THAN I EXPECTED.       MAYBE IT

10:04AM   21      SHOULDN'T HAVE BEEN.

10:04AM   22           BUT I THOUGHT WE SAW A NUMBER OF REACTIONS THAT HAVE

10:04AM   23      IMPLICATIONS FOR OUR TRIAL THAT WERE CONCERNING FOR ME.

10:04AM   24           I APPRECIATE THAT THE COURT ASKED THE JURORS IF THEY FELT

10:04AM   25      THEY COULD BE FAIR AND IMPARTIAL, AND I AGREE WITH YOUR HONOR,



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10:05AM    1      I THINK WE HAVE A GOOD SOLID JURY WHICH INDICATES IT BELIEVES

10:05AM    2      IT CAN BE FAIR AND IMPARTIAL, I THINK LARGELY WITHOUT

10:05AM    3      QUALIFICATION.

10:05AM    4            THAT BEING SAID, I THINK ONLY ONE JUROR OUT OF THE 15

10:05AM    5      EXPRESSED NO CONCERN WHATSOEVER ABOUT THE INFORMATION BEING

10:05AM    6      RELEASED.

10:05AM    7            AND I THINK A NUMBER OF THE CONCERNS FELL INTO, YOU KNOW,

10:05AM    8      RELATED BUT SLIGHTLY DIFFERENT CATEGORIES, SOME OF WHICH ARE,

10:05AM    9      YOU KNOW, IN ANTICIPATION OF THINGS THAT MIGHT HAPPEN, YOU

10:05AM   10      KNOW, A CONCERN ABOUT THINGS THAT MIGHT HAPPEN THAT I DON'T

10:05AM   11      THINK WE CAN ASSURE THEM AND GIVE THEM ANY REAL SOLID ASSURANCE

10:05AM   12      OF.

10:05AM   13            YOU KNOW, FOR EXAMPLE, A NUMBER OF THEM ARE CONCERNED

10:05AM   14      ABOUT RELEASE OF PERSONAL IDENTIFYING INFORMATION.     I THINK THE

10:05AM   15      COURT TRIED TO ADDRESS THAT WITH THE JURY, WITH EACH INDIVIDUAL

10:06AM   16      JUROR.   BUT, OF COURSE, DURING VOIR DIRE THE LAST NAMES OF SOME

10:06AM   17      OF THE JURORS WERE USED AND THIS WILL BE CAPABLE OF BEING

10:06AM   18      RECONSTRUCTED AND THE INFORMATION COULD BE TIED TOGETHER TO

10:06AM   19      CAUSE SOME OF THE CONSEQUENCES THAT THEY'RE CONCERNED ABOUT.

10:06AM   20            SO I THINK, YOU KNOW, TO DATE WHEN THIS MOTION WAS FILED,

10:06AM   21      WE DON'T REPRESENT THE JURORS, I'M VERY SYMPATHETIC TO, YOU

10:06AM   22      KNOW, MUCH OF WHAT THEY SAID.

10:06AM   23            BUT I -- MY CONCERN IS ONLY AS IT AFFECTS THE DEFENDANT.

10:06AM   24            I THINK THE COURT CONDUCTED AN INQUIRY AS TO WHAT EFFECT

10:06AM   25      IT WOULD HAVE ON A VARIETY OF ISSUES, INCLUDING THE TRIAL.



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10:06AM    1           I THINK IT'S, IT'S CLEAR TO ME THAT IT WILL -- THAT

10:06AM    2      DISCLOSURE OF THE QUESTIONNAIRES WILL RAISE A NUMBER OF FIFTH

10:06AM    3      AND SIXTH AMENDMENT ISSUES, SO I THINK IT WOULD BE OUR VIEW

10:06AM    4      THAT THE MOTION SHOULD BE EITHER, YOU KNOW, DENIED, OR DENIED

10:07AM    5      WITHOUT PREJUDICE TO BE REVIEWED AT A TIME THAT IT WON'T AFFECT

10:07AM    6      THE JURY.   AND I CAN ARTICULATE THOSE CONCERNS NOW OR I CAN

10:07AM    7      ARTICULATE THEM AT ANOTHER TIME.

10:07AM    8           BUT I THINK ONE DIFFERENCE BETWEEN WHERE THE RECORD HAS

10:07AM    9      BEEN AND WHERE WE ARE AS A RESULT OF THE COLLOQUIES IS, YOU

10:07AM   10      KNOW, THE BALANCING TEST THAT THE COURT WOULD ENGAGE IN, WITH

10:07AM   11      THE DEFENDANT NOT TAKING A POSITION, REALLY RELATES TO ISSUES

10:07AM   12      LIKE THE SAFETY, SECURITY ISSUES OF THE JURORS.

10:07AM   13           YOU KNOW, I, I THINK YOU SAID YESTERDAY, YOUR HONOR, YOU

10:07AM   14      THANKED US FOR SUGGESTING WE BE HERE.       I DON'T KNOW IF THAT WAS

10:07AM   15      JOCULAR OR NOT, BUT I APPRECIATE THE COURT HAVING THIS DIALOGUE

10:07AM   16      WITH THE JURORS BECAUSE I THINK THAT IT SHARPENED A NUMBER OF

10:07AM   17      ISSUES THAT ARE BURIED IN THIS ISSUE.

10:08AM   18           SO I THINK IN ADDITION TO WEIGHING THE SAFETY, SECURITY,

10:08AM   19      PRIVACY CONSIDERATIONS THAT THE COURT HAS TO DO IN READING THE

10:08AM   20      CASE LAW, I WOULD ALSO SAY THAT I THINK THE COURT NOW HAS TO

10:08AM   21      CONSIDER WHAT THE EFFECTS ON THE TRIAL ARE AND WHETHER THERE

10:08AM   22      ARE FIFTH AND SIXTH AMENDMENT ISSUES IMPLICATED FOR MS. HOLMES.

10:08AM   23           I THINK THE STATEMENTS AS TO DISTRACTION ALONE RAISE THAT

10:08AM   24      CONCERN.

10:08AM   25           BUT I THINK, YOU KNOW, THERE WERE ALSO A NUMBER OF



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10:08AM    1      ANXIETIES PRESENTED ABOUT CERTAIN SCENARIOS THAT I DON'T THINK

10:08AM    2      WE CAN ASSURE THE JURORS WON'T, WON'T COME TO PASS.

10:08AM    3           YOU KNOW, WE HAVE A 12-PERSON JURY WITH THREE ALTERNATES,

10:08AM    4      BUT I COULD COUNT UP SOME OF THE CONCERNS EXPRESSED AND SAY

10:08AM    5      I'VE GOT A CONCERN THAT, YOU KNOW, WE'LL MAKE IT WITH SOME OF

10:08AM    6      WHAT THESE JURORS SAID.

10:08AM    7           SO I WOULD ASK, I THINK I HAVEN'T TAKEN THIS POSITION, BUT

10:08AM    8      I WOULD JOIN IN THE GOVERNMENT'S POSITION THAT THIS BE, THIS

10:08AM    9      MOTION BE DENIED WITHOUT PREJUDICE OVER RENEWAL UNTIL AFTER WE

10:09AM   10      HAVE A VERDICT OR UNTIL AFTER WE OTHERWISE CONCLUDE THE TRIAL.

10:09AM   11                 THE COURT:     MR. SCHENK?

10:09AM   12                 MR. SCHENK:     I THINK THE GOVERNMENT AND THE DEFENSE

10:09AM   13      ARE IN AGREEMENT ON THIS ISSUE.

10:09AM   14           I THINK THAT THE STATE OF THE RECORD AT THE TIME OF THE

10:09AM   15      HEARING DIDN'T INCLUDE OBVIOUSLY SOME OF THE COMMENTS THAT THE

10:09AM   16      COURT HAS NOW HEARD FROM JURORS, AND JURORS HAVE EXPRESSED SOME

10:09AM   17      HESITANCY OR CONCERNS THAT SORT OF FALL INTO A COUPLE DIFFERENT

10:09AM   18      AREAS, AND ONE OF THEM WE CAN'T SOLVE.

10:09AM   19           AS MR. DOWNEY SUGGESTED, THE ABILITY TO LOOK AT

10:09AM   20      TRANSCRIPTS FROM THE ORIGINAL VOIR DIRE AND CONNECT NAMES WITH

10:09AM   21      INFORMATION EITHER BEFORE TRIAL, DURING TRIAL, OR AFTER TRIAL,

10:09AM   22      THAT POSSIBILITY REMAINS.

10:09AM   23           BUT WE CAN SOLVE AT LEAST ONE OF THE ISSUES, AND THAT IS

10:09AM   24      THE JURORS BEING APPROACHED NOT BY MEMBERS OF THE MEDIA

10:10AM   25      COALITION, WHO HAVE SUGGESTED TO THE COURT THEY DON'T INTEND TO



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10:10AM    1      DO THAT DURING THE TRIAL.

10:10AM    2           I THINK THE JURORS WOULD FEEL A MEASURE OF COMFORT IF THE

10:10AM    3      COURT TOLD THEM, I'VE HEARD WHAT YOU SAID, I APPRECIATE THE

10:10AM    4      CONCERNS THAT YOU ALL HAVE EXPRESSED TO ME, AND I'VE DECIDED

10:10AM    5      THAT I'M GOING TO DEFER RULING ON THE MEDIA MOTION UNTIL AFTER

10:10AM    6      THE TRIAL SO THAT WE CAN ALL FOCUS ON THE ISSUE AT HAND, AND

10:10AM    7      THE COURT HEARD THAT FROM SEVERAL JURORS WHO SAID, I'M TAKING

10:10AM    8      MY SERVICE AND DUTY VERY SERIOUSLY, AND I WANT TO FOCUS ON THIS

10:10AM    9      TRIAL, AND THAT RECORD DIDN'T EXIST AT THE TIME OF THE LAST

10:10AM   10      HEARING.

10:10AM   11           SO IT DOES SEEM TO ME THAT THE JURORS HAVE GIVEN THE COURT

10:10AM   12      NOW NEW INFORMATION TO DECIDE RELEASE, IF THAT IS THE RIGHT

10:10AM   13      ANSWER AND IF THAT IS SOMETHING THAT IS GOING TO HAPPEN

10:10AM   14      EVENTUALLY, THERE'S STILL MORE WORK TO BE DONE AS TO THE TIMING

10:11AM   15      QUESTION, AND THE BALANCING OF THE FIRST AMENDMENT AND THE

10:11AM   16      MEDIA'S RIGHT TO HAVE THIS INFORMATION AGAINST THE SPECIFIC

10:11AM   17      EXPRESSED CONCERNS OF JURORS REGARDING RELEASE WHILE THEY'RE

10:11AM   18      STILL SERVING.

10:11AM   19           JURORS NOTED THE CAMERAS OUTSIDE OF THE COURTROOM, THE

10:11AM   20      MEDIA ATTENTION IN THE COURTROOM, THE SORT OF HEIGHTENED

10:11AM   21      INTEREST WHILE THE TRIAL IS GOING ON, AND IT SEEMS REASONABLE

10:11AM   22      TO THINK THAT SOME OF THAT ATTENTION WILL DISSIPATE ONCE THE

10:11AM   23      TRIAL IS OVER, AND AS A RESULT IT SEEMS THAT BALANCE SUGGESTS

10:11AM   24      WE CAN ACHIEVE THE IMPORTANT GOAL OF MAINTAINING THE JURY'S

10:11AM   25      FOCUS ON THE TRIAL BY DELAYING THE RELEASE OF THE



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10:11AM    1      QUESTIONNAIRES OR THE COURT'S RULING ON IT.

10:11AM    2           AND THAT SORT OF BRINGS ME TO THE NEXT POINT, AND THAT IS

10:11AM    3      THE NEXT PROCEDURAL STEP.      WE SORT OF HAVE SUGGESTED SOME IDEAS

10:11AM    4      ABOUT HOW TO PROCEED, BUT I'M NOT SURE EXACTLY WHAT THE NEXT

10:12AM    5      THING THE COURT WOULD DO IS.

10:12AM    6           DOES THE COURT HAVE ANOTHER HEARING WHERE THE MEDIA

10:12AM    7      COALITION IS INFORMED OF THIS?      I DON'T KNOW, GIVEN AN

10:12AM    8      OPPORTUNITY TO SAY ALL THE REASONS WHY THE ARGUMENTS THAT

10:12AM    9      MR. DOWNEY AND I MAKE ARE WRONG?

10:12AM   10           DOES THE COURT INFORM THE JURY -- AND MR. DOWNEY MADE A

10:12AM   11      POINT THAT I AGREE WITH -- THE JURY WOULD LIKE MORE INFORMATION

10:12AM   12      TO SORT OF HELP ME UNDERSTAND WHAT IS GOING TO HAPPEN NEXT, AND

10:12AM   13      WOULD THE NEXT STEP BE FOR THE COURT TO SHARE WITH THE JURY ITS

10:12AM   14      REFLECTIONS OR ITS THOUGHTS AFTER IT'S NOW MET WITH ALL OF THE

10:12AM   15      JURY TO MAYBE TELL THEM THAT IT IS GOING TO DELAY OR MAYBE

10:12AM   16      REJECT THIS IDEA AND PROVIDE SOME MEASURE OF CLOSURE?

10:12AM   17           BUT IT STRIKES ME THAT IN ADDITION TO SORT OF HAVING IDEAS

10:12AM   18      ABOUT WHAT THE NEXT STEP IS, THERE'S A PROCEDURAL QUESTION

10:12AM   19      HERE?   WHAT, DO WE HAVE ANOTHER HEARING WITH THE MEDIA OR DOES

10:13AM   20      THE COURT ISSUE AN ORDER?      AND I DON'T HAVE A BEST SUGGESTION

10:13AM   21      ON THAT NEXT STEP WOULD BE.

10:13AM   22                 THE COURT:     THANK YOU FOR THOSE OBSERVATIONS.

10:13AM   23           MR. DOWNEY?

10:13AM   24                 MR. DOWNEY:     I THINK I'M IN AGREEMENT WITH

10:13AM   25      MR. SCHENK'S COMMENTS.



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10:13AM    1           THE ONLY THING I WOULD ADD IS THAT I THINK THE RECORD

10:13AM    2      WOULD BENEFIT FROM THE DEFENSE ARTICULATING THE CONCERNS IT HAS

10:13AM    3      SO THAT THEY'RE PROPERLY PART OF THE COURT'S BALANCING

10:13AM    4      ANALYSIS, BECAUSE I THINK A GOOD DEAL OF THE CASE LAW FOCUSES

10:13AM    5      ON, YOU KNOW, IS THERE A FIFTH OR SIXTH AMENDMENT ISSUE

10:13AM    6      IMPLICATED?   AND I THINK WE WOULD ALL BENEFIT FROM THAT

10:13AM    7      FORMALLY BEING INJECTED INTO THE COURT'S BALANCING JUDGMENT.

10:13AM    8                 THE COURT:     WELL, THANK YOU.

10:13AM    9           AND ONE OF THE THINGS THAT -- AND I ASKED YOU TO COMMENT,

10:13AM   10      BUT WE'RE TALKING ABOUT THE MOTION NOW, AND OBVIOUSLY WE SHOULD

10:13AM   11      HAVE THE MOVING PARTY PRESENT BEFORE WE ENGAGE IN ANY

10:13AM   12      DISCUSSIONS, AND I WANT TO BE CLEAR ON THAT.

10:13AM   13           I DON'T WANT TO TALK ABOUT THE COURT'S IMPRESSIONS AT ALL

10:14AM   14      ABOUT THIS WITHOUT THE MOVING PARTY BEING PART OF THE

10:14AM   15      CONVERSATION.

10:14AM   16           I WAS ASKING YOU FOR YOUR JUST THOUGHTS ABOUT PROCEDURAL

10:14AM   17      MATTERS, NOT SUBSTANTIVE MATTERS ON THE MOTION.      I APPRECIATE

10:14AM   18      YOUR SUGGESTIONS ON THAT.

10:14AM   19           IT DOES SEEM TO ME THAT THE COURT WOULD, AND PART OF THE

10:14AM   20      BALANCING ON THIS MOTION WOULD BENEFIT FROM THE PARTIES -- THAT

10:14AM   21      IS, THE GOVERNMENT AND THE DEFENSE -- IF YOU WISH TO PROVIDE

10:14AM   22      SOME ADDITIONAL BRIEFING OR SOMETHING IN THE ORDER,

10:14AM   23      OBSERVATIONS BASED ON WHAT YOU'VE SEEN HERE, THAT WOULD BE

10:14AM   24      HELPFUL FOR THE COURT AS FAR AS DEFERRING THE MOTION.

10:14AM   25           I THINK WHAT I WOULD DO IS GIVE YOU TIME TO FILE THAT, AND



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10:14AM    1      I WOULD PROBABLY SET ANOTHER HEARING DATE FOR THE MOTION PROPER

10:14AM    2      TO BE HEARD BASED ON WHAT YOU FILE AND BASED ON WHAT I'LL SHARE

10:14AM    3      WITH THE COALITION AS WELL AND THEIR LAWYER.

10:15AM    4           IT MAY BE THAT THEIR LAWYER SHOULD HAVE BENEFIT OF THE

10:15AM    5      TRANSCRIPT SO THAT HE KNOWS WHAT THE CONVERSATION WAS.        I THINK

10:15AM    6      THAT WOULD BE FAIR, AND I CAN UNSEAL THE TRANSCRIPT TO THE

10:15AM    7      LAWYER FOR HIS EYES ONLY AT THIS POINT SO HE WOULD BE INFORMED.

10:15AM    8      I THINK THAT'S ONLY FAIR TO HAVE HIM UNDERSTAND THE COLLOQUY OF

10:15AM    9      THE INTERVIEWS THAT WE'VE HAD.

10:15AM   10           AND I WOULD LIKE THE TRIAL TO CONTINUE.         I AM, I AM

10:15AM   11      GRATIFIED, AND I THINK ALL OF US ARE, THAT THE QUESTION THAT I

10:15AM   12      POSED TO THE JURORS, THAT FINAL QUESTION FOR THE JURORS AS TO

10:15AM   13      WHETHER OR NOT THEY COULD CONTINUE TO BE FAIR AND IMPARTIAL, WE

10:15AM   14      GOT AFFIRMATIVE YESES FROM ALL OF THEM.       THERE WERE SOME

10:15AM   15      PAUSES, THINKING ABOUT IT.      ONE OF THE JURORS THIS MORNING I

10:15AM   16      THINK WAS PROBABLY THE ONE WHO PAUSED THE MOST FROM MY

10:15AM   17      OBSERVATIONS, AND SHE LOOKED AND TWISTED HER HEAD, AND THEN SHE

10:16AM   18      SAID YES.   I ASKED HER AGAIN, WHAT DID YOU SAY?       AND SHE SAID,

10:16AM   19      YES, YES I CAN.      SO I'M TAKEN BY THAT.

10:16AM   20           I DO, HOWEVER, WISH TO REVISIT JUROR NUMBER 12, AND SHE

10:16AM   21      TALKED WITH US YESTERDAY.      YOU RECALL HER.   SHE WAS THE JUROR

10:16AM   22      WHO WAS FOLLOWED IN HER DRIVEWAY BY AN AGGRESSIVE DRIVER.

10:16AM   23           SHE EXPRESSED TO US YESTERDAY THAT SHE WAS CONCERNED ABOUT

10:16AM   24      THE QUESTIONS, AND I THINK DURING THE TESTIMONY OF ONE OF THE

10:16AM   25      WITNESSES, SHE TOLD US, I WASN'T PAYING ATTENTION, I WAS



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10:16AM    1      WRITING OUT MY ANSWERS TO WHAT THE QUESTIONS WERE.

10:16AM    2           AND THAT CAUSES ME SOME CONCERN AS TO WHETHER SHE WAS

10:16AM    3      DISTRACTED UNTOWARDLY SUCH THAT HER ABILITY TO CONTINUE TO

10:16AM    4      FOCUS MIGHT BE AT ISSUE.

10:16AM    5           AND I THOUGHT I WOULD BRING HER BACK AND ASK HER ANY

10:16AM    6      ADDITIONAL -- SOMETIMES IT'S A GOOD IDEA NOT TO ASK THE WITNESS

10:17AM    7      ANY ADDITIONAL QUESTIONS --

10:17AM    8           (LAUGHTER.)

10:17AM    9                 THE COURT:     -- BUT I THOUGHT I MIGHT BRING HER BACK

10:17AM   10      JUST TO GET DEFINITIVE WORD ON THAT.

10:17AM   11           I DON'T KNOW WHAT YOUR THOUGHTS ARE ON THAT.

10:17AM   12           MR. SCHENK?

10:17AM   13                 MR. SCHENK:     I THINK THAT'S APPROPRIATE.   THANK YOU.

10:17AM   14                 MR. DOWNEY:     YOUR HONOR, THE ONLY CONCERN -- I HAVE

10:17AM   15      NO ISSUE WITH BRINGING HER BACK AT AN APPROPRIATE TIME.

10:17AM   16           THE ONLY ISSUE IS THAT I'M A LITTLE CONCERNED ABOUT THE

10:17AM   17      IMPLICATIONS OF THE COLLOQUY WITH RESPECT TO THE OTHER JURORS.

10:17AM   18      I THINK A NUMBER OF THEM USED THE WORD "DISTRACTION," AND I

10:17AM   19      DON'T MEAN IF IT MEANS THAT WE WOULD NEED TO COLLOQUY ALL OF

10:17AM   20      THEM.

10:17AM   21           I THINK SHE DID AT THE END ANSWER THE QUESTION IN A

10:17AM   22      SIMILAR OR IDENTICAL WAY TO THE WAY THAT THE OTHER JURORS DID.

10:17AM   23           BUT I, I DO ACKNOWLEDGE THAT SHE SAID SHE WAS DISTRACTED

10:17AM   24      DURING THE PROCEEDINGS YESTERDAY.

10:17AM   25           I THOUGHT ANOTHER OF THE JURORS TODAY HAD MADE A SIMILAR



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10:17AM    1      COMMENT, AND --

10:17AM    2                   THE COURT:   I THINK THAT JUROR SAID IT WAS A

10:17AM    3      DISTRACTION.    IT WAS NOT -- FROM MY PERSPECTIVE, FACING THE

10:18AM    4      JUROR, I DID NOT RECEIVE THAT IN THE SAME WAY AS JUROR NUMBER

10:18AM    5      12.   THE DISTRACTION, IT WAS ON MY MIND, AND I TOOK IT NOT AS

10:18AM    6      SOMETHING THAT WAS AS SERIOUS OR A GREAT IMPLICATION THAT THAT

10:18AM    7      JUROR WAS NOT PAYING ATTENTION.

10:18AM    8            IT WAS A DISTRACTION LIKE PARKING OR SOMETHING LIKE THAT.

10:18AM    9      THAT'S THE WAY I TOOK IT, AND THAT'S THE WAY THE FACIAL

10:18AM   10      EXPRESSIONS AND THE INTONATION WERE, THAT IT WAS NOT AN

10:18AM   11      INTERFERENCE.

10:18AM   12            JUROR NUMBER 12 TOLD US THAT SHE WAS WRITING PROSPECTIVE

10:18AM   13      QUESTIONS FOR PURPOSES OF THE INTERVIEW DURING TESTIMONY.         YOU

10:18AM   14      KNOW, AS VETERAN TRIAL LAWYERS AND JUDGES KNOW, THAT YOU CAN'T

10:18AM   15      POLICE A JUROR'S ATTENTION.      THEIR ATTENTION WANDERS AT

10:19AM   16      DIFFERENT POINTS.

10:19AM   17            AND WE CAN'T ASK THEM, YOU KNOW, IF SOMEONE STOPS TAKING

10:19AM   18      NOTES, DOES THAT MEAN THAT THEY'RE NOT PAYING ATTENTION OR

10:19AM   19      THEY'RE JUST LISTENING PERHAPS MORE INTENTLY?        WE JUST DON'T

10:19AM   20      KNOW THAT.

10:19AM   21            THIS JUROR AFFIRMATIVELY SAID SHE WAS DOING SOMETHING

10:19AM   22      DIFFERENT, AND SO THAT'S WHY I WANTED TO FOLLOW UP WITH HER.

10:19AM   23            I DON'T GET THE SAME SENSE FROM IT THE OTHER JURORS WHO

10:19AM   24      TALKED ABOUT A DISTRACTION.      I THINK ONE OF THEM SAID, WELL,

10:19AM   25      THIS IS A DISTRACTION.     IT'S A DISTRACTION FROM THE TRIAL.



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10:19AM    1           I TOOK IT, BECAUSE WE'RE TAKING EVIDENTIARY TIME TO TALK

10:19AM    2      ABOUT THE ISSUE, THAT WAS THE DISTRACTION, I THINK, IN THE

10:19AM    3      CONTEXT OF THAT RESPONSE.

10:19AM    4           SO I THOUGHT I WOULD BRING JUROR NUMBER 12 BACK JUST TO

10:19AM    5      SEE WHAT HER SITUATION WAS AND WHETHER THERE'S BEEN ANY CHANGE.

10:19AM    6           SHE'S THE ONE ALSO WHO -- JUROR NUMBER 12 ALSO ASKED,

10:19AM    7      WELL, WHAT IF I'M RELEASED TODAY?      WHAT ABOUT MY INFORMATION?

10:19AM    8      AND THAT SEEMED TO BE A PRIMARY CONCERN TO HER.

10:19AM    9           AND I'LL JUST BE VERY CANDID, IF THERE'S AN ISSUE WITH

10:20AM   10      HER, I DON'T WANT -- I'D RATHER DEAL WITH IT UP-FRONT NOW THAN

10:20AM   11      HAVING TO DEAL WITH HER ON THE ROAD.       AND I WOULD LIKE TO GET

10:20AM   12      OUR TRIAL GOING AGAIN ON TRACK, AND I KNOW YOU WOULD, TOO.

10:20AM   13      NOBODY WANTS A MISTRIAL, NOBODY DOES.

10:20AM   14           I'D LIKE TO DO THE BEST WE CAN TO KEEP THE TRIAL MOVING

10:20AM   15      WITH RESPECT TO BOTH OF YOUR INTERESTS HERE.

10:20AM   16           SO LET'S ASK JUROR NUMBER 12 HERE.

10:20AM   17                 MR. DOWNEY:     YOUR HONOR, JUST ONE QUESTION HERE.

10:20AM   18      THIS IS UNRELATED TO JUROR 12, BUT IT OCCURS TO ME IN LIGHT OF

10:20AM   19      THE ANSWERS.

10:20AM   20           HAVE THE JURORS BEEN ADVISED EVEN INFORMALLY NOT TO

10:20AM   21      DISCUSS THIS ISSUE AMONGST THEMSELVES?

10:20AM   22                 THE COURT:     NOT BY THE COURT, NO.

10:20AM   23                 THE CLERK:     YOUR HONOR, I CAN SPEAK FOR THE RECORD.

10:20AM   24           I DID INDICATE TO THEM THAT THIS IS JUST LIKE NOT

10:20AM   25      DISCUSSING THE CASE, THIS IS NOT TO BE DISCUSSED.



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10:20AM    1                   THE COURT:    THANK YOU, MS. KRATZMANN.

10:20AM    2                   THE CLERK:    ANY OF THIS, THIS TOPIC, PLEASE, HONOR

10:20AM    3      THAT.

10:20AM    4           IT'S THE SAME ADMONISHMENT THAT THE COURT HAD GIVEN YOU.

10:21AM    5                   THE COURT:    THANK YOU, MS. KRATZMANN.   I APPRECIATE

10:21AM    6      YOUR ATTENTION TO DETAIL AND INFORMING THEM IN THAT.

10:21AM    7           AND MS. KRATZMANN SPEAKS FOR THE COURT AND I THINK THE

10:21AM    8      JURORS RESPECT THAT, AND YOU HEARD THAT THIS MORNING AND

10:21AM    9      YESTERDAY.

10:21AM   10           ANYTHING FURTHER?

10:21AM   11                   MR. DOWNEY:   JUST ON THE PROCEDURE.    WILL AN ORDER

10:21AM   12      ISSUE AS TO ANY FURTHER PROCEDURE?

10:21AM   13                   THE COURT:    I WILL -- WE WILL ISSUE A SHORT ORDER

10:21AM   14      INDICATING THAT I'M GOING TO ASK FOR ADDITIONAL BRIEFING, AND

10:21AM   15      WE'LL LOOK AT OUR SCHEDULES AND SET A BRIEFING SCHEDULE FOR

10:21AM   16      THAT.

10:21AM   17           WHAT DO YOU THINK YOU NEED FOR THAT?       DO YOU WANT TEN DAYS

10:21AM   18      OR SOMETHING?

10:21AM   19                   MR. SCHENK:   YEAH, A WEEK TO TEN DAYS WOULD BE

10:21AM   20      GREAT.   THANK YOU.

10:21AM   21                   MR. DOWNEY:   THAT SOUNDS FINE, YOUR HONOR.

10:21AM   22                   THE COURT:    I WAS WAITING FOR DECEMBER.

10:21AM   23           (LAUGHTER.)

10:21AM   24                   MR. DOWNEY:   WELL, THERE IS A TRANSCRIPT THAT WE

10:21AM   25      HAVE TO GET THROUGH.



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10:21AM    1           (PAUSE IN PROCEEDINGS.)

10:21AM    2           (JUROR NUMBER 12 PRESENT.)

10:22AM    3                  THE COURT:    GOOD MORNING.

10:22AM    4                  JUROR:    GOOD MORNING.

10:22AM    5                  THE COURT:    PLEASE HAVE A SEAT.    THANK YOU.   WE'RE

10:22AM    6      BACK ON THE RECORD WITH JUROR NUMBER 12.        I'M GOING TO IDENTIFY

10:22AM    7      YOU BY YOUR NUMBER AGAIN.       THANK YOU.

10:22AM    8           AND I BROUGHT YOU BACK THIS MORNING TO SPEAK -- WE'RE IN

10:22AM    9      CHAMBERS AGAIN.      ALL PARTIES PREVIOUSLY PRESENT YESTERDAY ARE

10:22AM   10      PRESENT HERE AGAIN WITH YOU.

10:22AM   11           AND I BROUGHT YOU BACK TO TALK WITH YOU ABOUT, AGAIN, SOME

10:23AM   12      OF YOUR COMMENTS YESTERDAY WHEN WE WERE HAVING THIS DISCUSSION.

10:23AM   13                  JUROR:    CAN WE TAKE OUR MASKS OFF?

10:23AM   14                  THE COURT:    OH, YES, WE'LL TAKE OUR MASKS OFF.

10:23AM   15      THANK YOU FOR THE INVITATION.

10:23AM   16           SO I JUST WANT TO FOLLOW UP WITH SOME OF THE THINGS THAT

10:23AM   17      YOU SAID YESTERDAY.

10:23AM   18           ONE OF THE THINGS THAT I'M INTERESTED IN IS YOU TOLD US

10:23AM   19      THAT DURING THE LATTER PART OF THE AFTERNOON, I THINK, THAT YOU

10:23AM   20      WERE -- DURING SOME OF THE TESTIMONY, YOU WERE ACTUALLY

10:23AM   21      FOCUSSED ON OUR INTERVIEW AND YOU WERE WRITING QUESTIONS DOWN

10:23AM   22      ABOUT THINGS THAT YOU WANTED TO ASK ME OR CONCERNS YOU MIGHT

10:23AM   23      HAVE HAD.

10:23AM   24                  JUROR:    UH-HUH.

10:23AM   25                  THE COURT:    AND THAT CAUSED ME SOME CONCERN ABOUT



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10:23AM    1      WHETHER OR NOT YOU --

10:23AM    2                 JUROR:    MY FOCUS, YEAH.

10:23AM    3                 THE COURT:     RIGHT, RIGHT.   CAN YOU TELL ME A LITTLE

10:23AM    4      BIT ABOUT THAT?

10:23AM    5                 JUROR:    I THINK IT WAS SUCH AN UNEXPECTED EPISODE TO

10:23AM    6      HAVE THAT, YOU KNOW, WHAT YOU HAD DISCUSSED WITH US.

10:23AM    7           AND, YOU KNOW, THOUGHTS ARE GOING THROUGH YOUR HEAD AND

10:23AM    8      WHAT DOES THIS MEAN, HOW DOES THIS -- IF OUR INFORMATION GETS

10:24AM    9      OUT, WHERE IS IT GOING AND WHO IS GOING TO DO WHAT WITH IT?

10:24AM   10           AND SO JUST ALL OF THOSE THINGS.

10:24AM   11           AND WHEN YOU SAID THAT WE WERE GOING TO TALK TO YOU, AND

10:24AM   12      JUST KIND OF BEING PREPARED, YOU KNOW?

10:24AM   13                 THE COURT:     OKAY.

10:24AM   14                 JUROR:    SO, YOU KNOW, I'LL ADMIT, IT WAS

10:24AM   15      DISTRACTING.

10:24AM   16                 THE COURT:     OKAY.    WERE YOU, WERE YOU -- DID IT --

10:24AM   17      AND I JUST NEED TO PROBE THAT FOR A MOMENT.

10:24AM   18           DID THE DISTRACTION THAT IT CAUSED YOU YESTERDAY, DID THAT

10:24AM   19      IN ANY WAY AFFECT YOUR ABILITY TO HEAR THE EVIDENCE AND TO --

10:24AM   20                 JUROR:    NONE OF THIS HAS ANYTHING TO DO WITH, WITH

10:24AM   21      BEING WILLING TO PARTICIPATE IN THIS TRIAL.

10:24AM   22                 THE COURT:     I SEE.

10:24AM   23                 JUROR:    I CAN SEPARATE IT.

10:24AM   24           IT WAS ENCOMPASSING WITH MY THOUGHTS, THOUGH, AT THAT

10:24AM   25      MOMENT.



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10:24AM    1           BUT, YOU KNOW, I'VE HAD SOME TIME TO THINK ABOUT IT AND

10:24AM    2      CALM DOWN.    I MEAN, I'M STILL CONCERNED ABOUT IT.

10:24AM    3                   THE COURT:    YES.

10:24AM    4                   JUROR:   AGAIN, WHO IS GETTING THIS INFORMATION?

10:25AM    5      WHAT ARE THEY GOING TO DO WITH IT?       HOW IS IT GOING TO BE

10:25AM    6      EXPOSED?    WHO IS GOING TO SEE WHAT?     YOU KNOW, JUST ALL OF THE

10:25AM    7      UNKNOWNS.

10:25AM    8           SO I STILL HAVE QUESTIONS ABOUT THAT, SO --

10:25AM    9                   THE COURT:    OKAY.   WILL THOSE QUESTIONS BE A

10:25AM   10      DISTRACTION TO YOU TO SIT AS A JUROR?

10:25AM   11                   JUROR:   NO, BECAUSE I'VE CALLED DOWN NOW.   I WAS

10:25AM   12      ACTUALLY -- I WAS ACTUALLY ANGRY THAT THIS WAS HAPPENING, THAT

10:25AM   13      WE WERE BEING EXPOSED.

10:25AM   14                   THE COURT:    OKAY.

10:25AM   15                   JUROR:   BUT, YOU KNOW, YOU HAVE TO BE ANGRY TO GET

10:25AM   16      OVER BEING ANGRY.

10:25AM   17           SO, YEAH, I MEAN, I'VE HAD SOME TIME TO THINK ABOUT IT AND

10:25AM   18      BE -- BE CALM WITH MY THOUGHTS.

10:25AM   19                   THE COURT:    OKAY.   IS THAT HOW YOU FEEL TODAY?

10:25AM   20                   JUROR:   YEAH.   I MEAN, I JUST -- ESPECIALLY AFTER

10:25AM   21      TALKING TO YOU AND JUST, YOU KNOW, HAVING SOME SUBSTANCE ADDED

10:25AM   22      TO WHAT IS GOING ON SORT OF JUST PUTS YOU IN A -- PUTS ME IN A

10:26AM   23      BETTER PLACE.

10:26AM   24                   THE COURT:    OKAY.   I DON'T KNOW IF I TOLD YOU, I DID

10:26AM   25      MENTION THIS TO OTHER JURORS, BUT THE LAWYER FOR THE MEDIA



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10:26AM    1      COALITION DID TELL ME THAT NONE OF HIS CLIENTS WILL CONTACT A

10:26AM    2      JUROR DURING THE TRIAL, THEY'RE JUST NOT GOING TO DO THAT.

10:26AM    3      THEY'RE NOT GOING TO REACH OUT.      THEY'RE NOT GOING TO TALK TO A

10:26AM    4      JUROR DURING THEIR JURY SERVICE.      AND HE DID TELL ME THAT.

10:26AM    5                  JUROR:   BUT THEY COULD AFTER?

10:26AM    6                  THE COURT:    HE TOLD ME THAT HE REALIZED THAT'S

10:26AM    7      IMPROPER.

10:26AM    8           HE COULD NOT GIVE THAT ASSURANCE --

10:26AM    9                  JUROR:   WHAT IS IMPROPER?    DURING THE TRIAL?

10:26AM   10                  THE COURT:    CORRECT.

10:26AM   11                  JUROR:   BUT HE COULD CONTACT US AFTER?

10:26AM   12                  THE COURT:    HE WOULD NOT AND COULD NOT GIVE ME THAT

10:26AM   13      SAME ASSURANCE POST-TRIAL OF WHAT HIS CLIENTS WILL DO.

10:26AM   14                  JUROR:   RIGHT.

10:26AM   15                  THE COURT:    I JUST WANT TO TELL YOU THAT.

10:26AM   16                  JUROR:   YEAH, WE'RE NOT UNDER THE BLANKET OF

10:26AM   17      PROTECTION AFTER THE TRIAL IS OVER.

10:26AM   18                  THE COURT:    WELL, ONE THING I DID MENTION TO ONE OR

10:26AM   19      TWO OTHER JURORS WAS THAT IN MY FINAL COMMENTS WHEN THE TRIAL

10:26AM   20      IS OVER, I WILL, AND I DO, TELL THE JURORS IN EVERY CASE I'VE

10:27AM   21      BEEN A JUDGE ON, THAT THEY ARE PERMITTED --

10:27AM   22                  JUROR:   YEAH, RIGHT.

10:27AM   23                  THE COURT:    -- TO SPEAK IF THEY WISH.

10:27AM   24                  JUROR:   RIGHT.

10:27AM   25                  THE COURT:    AND THEY'RE RELEASED FROM THE



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10:27AM    1      CONSTRAINT, THE ADMONITION --

10:27AM    2                   JUROR:   RIGHT.

10:27AM    3                   THE COURT:    -- YOU'RE RELEASED FROM THAT AT THE END

10:27AM    4      OF YOUR SERVICE.      YOU CAN TALK TO WHOEVER YOU WANT.

10:27AM    5                   JUROR:   OR CHOOSE NOT TO?

10:27AM    6                   THE COURT:    OR YOU HAVE THE RIGHT TO CHOOSE NOT TO

10:27AM    7      TALK TO ANYONE.

10:27AM    8           AND IN MY FINAL PARTING COMMENTS, I DO INFORM A JUROR THAT

10:27AM    9      YOU CAN SAY NO, AND IF YOU ARE -- IF A JUROR IS CONTINUED TO BE

10:27AM   10      CONTACTED BY SOMEONE, WHOEVER IT MIGHT BE, EVEN AFTER THEY'VE

10:27AM   11      SAID PLEASE STOP, THEY SHOULD BRING THAT TO THE COURT'S

10:27AM   12      ATTENTION.

10:27AM   13                   JUROR:   YEAH.

10:27AM   14                   THE COURT:    AND I JUST -- THAT'S WHAT YOU'LL HEAR.

10:27AM   15                   JUROR:   YEAH, I KNOW THAT.    I'VE KNOWN THAT.

10:27AM   16                   THE COURT:    YOU'VE SAT ON JURIES.

10:27AM   17                   JUROR:   YES, AND PEOPLE -- YOU WATCH "20/20" AND YOU

10:27AM   18      HAVE SIX JURORS WHO WANT TO TALK TO THE WORLD, SO --

10:27AM   19                   THE COURT:    RIGHT.   SO LET ME FOCUS BACK TO THE

10:28AM   20      CONCERNS THAT I HAVE, AND I WILL USE THAT WORD, A CONCERN THAT

10:28AM   21      I HAVE.

10:28AM   22           JUROR NUMBER 12, I'M CONCERNED THAT YESTERDAY YOU MAY HAVE

10:28AM   23      MISSED TESTIMONY BECAUSE OF YOUR DISTRACTION WITH OUR

10:28AM   24      INTERVIEWS.

10:28AM   25           AND DO YOU FEEL THAT YOU MISSED EVIDENCE OR TESTIMONY?



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10:28AM    1                   JUROR:   I MEAN, I WAS PAYING ATTENTION AND, I MEAN,

10:28AM    2      TO BE QUITE FRANK WITH YOU, THERE ARE TIMES WHERE THE TESTIMONY

10:28AM    3      IS QUITE BORING AND IT SEEMS, YOU KNOW, REPEAT.

10:28AM    4                   THE COURT:    OKAY.    AND LET ME SAY, I DON'T WANT YOU

10:28AM    5      TO TALK TO ME AT ALL ABOUT YOUR FEELINGS ABOUT THE EVIDENCE AT

10:28AM    6      ALL.

10:28AM    7                   JUROR:   OH, SORRY.

10:28AM    8                   THE COURT:    I'M NOT ASKING YOU THAT.

10:28AM    9                   JUROR:   OKAY.

10:28AM   10                   THE COURT:    I'M JUST ASKING YOU ABOUT YOUR ABILITY

10:28AM   11      TO FOCUS.

10:28AM   12                   JUROR:   YEAH, YEAH.

10:28AM   13                   THE COURT:    AND WHETHER OR NOT --

10:28AM   14                   JUROR:   I JUST MADE A FEW NOTES.

10:28AM   15                   THE COURT:    OKAY.

10:28AM   16                   JUROR:   BUT IT WASN'T LIKE I WAS NOT PAYING

10:28AM   17      ATTENTION AT ALL.      YOU KNOW, BEING DISTRACTED DOESN'T MEAN THAT

10:28AM   18      YOU'RE, YOU KNOW, YOU'RE IN ONE SPACE COMPLETELY.

10:28AM   19                   THE COURT:    RIGHT.

10:28AM   20                   JUROR:   BUT YOU'VE GOT MORE IN ONE SPACE MORE THAN

10:28AM   21      THE OTHER.

10:28AM   22                   THE COURT:    OKAY.

10:29AM   23                   JUROR:   SO THAT'S KIND OF WHERE I WAS YESTERDAY.

10:29AM   24                   THE COURT:    OKAY.    DO YOU FEEL THAT YESTERDAY YOU

10:29AM   25      WERE ABLE, AND DURING YOUR SERVICE YESTERDAY, INCLUDING THE



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10:29AM    1      TIME THAT WE'RE TALKING ABOUT HERE, DO YOU FEEL YOU WERE

10:29AM    2      PERFORMING THE DUTIES AND OBLIGATIONS OF A JUROR?       WERE YOU

10:29AM    3      ABLE TO DO THAT?

10:29AM    4                 JUROR:    YEAH, I DO.    I DON'T THINK I WAS DISTRACTED

10:29AM    5      TO THE POINT WHERE I -- YOU KNOW, SOMETIMES WORDS JUST CATCH

10:29AM    6      YOU, YOUR ATTENTION, SO I FELT THAT I COULD -- SOMETHING THAT I

10:29AM    7      THOUGHT WAS IMPORTANT, THAT I HAD AN EAR OPEN TO.

10:29AM    8                 THE COURT:     OKAY.   AND AGAIN, I WANT TO ASK YOU

10:29AM    9      AGAIN THE QUESTION ABOUT, AGAIN, KNOWING EVERYTHING THAT WE'VE

10:29AM   10      TALKED ABOUT YESTERDAY AND THIS MORNING, CAN YOU CONTINUE TO BE

10:29AM   11      A FAIR AND IMPARTIAL JUROR IN THIS CASE?

10:29AM   12                 JUROR:    I FEEL I CAN DO THAT.

10:29AM   13                 THE COURT:     OKAY.   ANY DOUBT IN YOUR MIND ABOUT

10:29AM   14      THAT?

10:29AM   15                 JUROR:    NO DOUBT ABOUT THAT, BUT I JUST -- THE

10:29AM   16      COMPROMISE THAT I FEEL WE'RE ALL UNDER RIGHT NOW, YOU KNOW --

10:30AM   17                 THE COURT:     OKAY.

10:30AM   18                 JUROR:    -- LIKE I SAID, I DON'T KNOW THAT I WILL

10:30AM   19      EVER BE WILLING TO SERVE ON ANOTHER JURY AGAIN.

10:30AM   20                 THE COURT:     OKAY.   WELL, LET ME ASK YOU ANOTHER

10:30AM   21      QUESTION, AND I HOPE YOU'LL PARDON ME, BUT I JUST WANT TO ASK

10:30AM   22      THIS.   DO YOU WANT TO CONTINUE YOUR JURY SERVICE IN THIS CASE?

10:30AM   23                 JUROR:    IF DOING -- IF I DISCONTINUE MY SERVICE,

10:30AM   24      WILL MY NAME NOT BE, MY QUESTIONNAIRE NOT BE EXPOSED?

10:30AM   25                 THE COURT:     I CAN'T GUARANTEE THAT.    I CAN'T.   I



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10:30AM    1      CAN'T ANSWER THAT QUESTION TODAY.

10:30AM    2                 JUROR:    WELL, LET ME ASK YOU THIS, WHERE IS THIS?      I

10:30AM    3      MEAN, DOES THIS PERSON HAVE -- I KNOW IT'S YOUR DECISION, BUT

10:30AM    4      IT'S ON A CASE-BY-CASE BASIS AND IT'S SORT OF

10:30AM    5      INFORMATION-BY-INFORMATION BASIS WHETHER OR NOT THIS PERSON IS

10:30AM    6      GOING TO BE GIVEN OUR INFORMATION?

10:30AM    7                 THE COURT:     WELL, LET ME TELL YOU WHAT IS GOING TO

10:31AM    8      HAPPEN NEXT.   I'VE INTERVIEWED YOU AND YOUR COLLEAGUES, YOUR

10:31AM    9      FELLOW JURORS AND I'VE RECEIVED ALL OF YOUR COMMENTS.

10:31AM   10           ONE THING I'M GOING TO DO NEXT IS THAT WE'RE GOING TO HAVE

10:31AM   11      ANOTHER HEARING ON THE ISSUE, I'M GOING TO HAVE ANOTHER HEARING

10:31AM   12      ON THE ISSUE, AND I'M GOING TO ASK LAWYERS, THE LAWYERS BEHIND

10:31AM   13      YOU, THE GOVERNMENT AND MS. HOLMES'S LAWYERS, TO ALSO GIVE ME

10:31AM   14      THEIR THOUGHTS AND OPINIONS.

10:31AM   15           THEY'RE GOING TO FILE BRIEFS AND THEY'RE GOING TO TELL ME

10:31AM   16      THEIR THOUGHTS ABOUT THIS.      SO WE'RE GOING TO HAVE ANOTHER

10:31AM   17      HEARING.

10:31AM   18           THAT PROBABLY WON'T TAKE PLACE FOR ANOTHER THREE OR FOUR

10:31AM   19      WEEKS MAYBE, PROBABLY CLOSER TO FOUR MORE WEEKS.

10:31AM   20           BEFORE WE HAVE THAT HEARING, I'LL HEAR FROM THE MOVING

10:31AM   21      PARTY, THE MEDIA COALITION'S LAWYER, AND THEN I'LL MAKE A

10:31AM   22      DECISION AFTER I HEAR ALL OF THAT.

10:31AM   23           SO IT'S A FEW WEEKS OUT BEFORE I'M GOING TO MAKE A

10:31AM   24      DECISION, AND I'M GOING TO TELL YOUR COLLEAGUES THAT, TOO.

10:31AM   25                 JUROR:    RIGHT.   BUT I GUESS MY CONCERN IS, IS



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10:31AM    1      THIS -- IS THIS A FLAT YES, THEY'RE ENTITLED TO THIS

10:32AM    2      INFORMATION AND WE AS INDIVIDUALS HAVE TO JUSTIFY WHY WE DON'T

10:32AM    3      WANT IT AND THEN YOU DECIDE WHETHER OR NOT WE HAVE A TRUE

10:32AM    4      JUSTIFICATION?

10:32AM    5                 THE COURT:     WELL, THAT IS PART OF THE PROCESS.

10:32AM    6      THAT'S WHY I WAS ASKING YOU QUESTIONS.

10:32AM    7                 JUROR:    SO IT'S SORT OF LIKE THEY'RE ENTITLED TO IT,

10:32AM    8      PERIOD, AND NOW WE JUST HAVE TO SAY YOU'RE ENTITLED TO ALL OF

10:32AM    9      THIS EXCEPT THIS, THIS, AND THAT.

10:32AM   10                 THE COURT:     THEIR LAWYER -- LET ME JUST SAY, THEIR

10:32AM   11      LAWYER, THE MEDIA COALITION'S LAWYER HAS TOLD ME JUST WHAT YOU

10:32AM   12      SAID, HE HAS SAID IN HIS PAPERS IN THE BRIEFS THAT HE HAS FILED

10:32AM   13      THAT SUPREME COURT PRECEDENT AND THE FIRST AMENDMENT INDICATE,

10:32AM   14      THE LAW INDICATES THAT THIS INFORMATION SHOULD OTHERWISE REMAIN

10:32AM   15      PUBLIC.

10:32AM   16           HOWEVER, THERE ARE CERTAIN SITUATIONS WHERE A COURT CAN IN

10:32AM   17      ITS DISCRETION SAY THAT IT'S NOT.

10:32AM   18           SO THAT'S THE LEGAL -- AND I DON'T WANT TO GET YOU

10:32AM   19      INVOLVED IN THE LEGAL PART OF IT, BUT TO YOUR QUESTION, YES,

10:32AM   20      THAT'S, THAT'S WHY I'M ASKING THESE QUESTIONS.

10:32AM   21           THE LAWYERS BEHIND YOU ARE GOING TO HELP ME WITH THEIR

10:32AM   22      MOTIONS AND THEIR THOUGHTS ON THE QUESTION.

10:33AM   23           BUT I'M JUST CONCERNED ABOUT YOUR JURY SERVICE AND YOUR

10:33AM   24      ABILITY TO CONTINUE TO BE FAIR AND IMPARTIAL IN THE CASE, AND

10:33AM   25      IF YOU CAN, THAT'S GREAT.      AND IF YOU CAN'T, THAT'S GREAT ALSO.



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10:33AM    1                 JUROR:    FOR ME THAT'S NOT THE ISSUE.    AGAIN, IT'S

10:33AM    2      JUST THE EXPOSURE THAT WE'RE ALL OPEN TO RIGHT NOW.

10:33AM    3                 THE COURT:     OKAY.   AND I ASKED YOU THAT QUESTION,

10:33AM    4      AND PARDON ME, IT WAS A VERY BLUNT QUESTION, BUT I THINK IT

10:33AM    5      DOES GET TO THE POINT, THAT IS, DO YOU -- WITH ALL OF THIS

10:33AM    6      GOING ON, DO YOU WANT TO STAY AND CONTINUE AS A JUROR IN THE

10:33AM    7      CASE?   IS THAT SOMETHING THAT YOU WISH TO DO?

10:33AM    8                 JUROR:    I MEAN, THE QUESTION I'VE ASKED MYSELF THAT

10:33AM    9      SINCE --

10:33AM   10                 THE COURT:     YEAH.

10:33AM   11                 JUROR:    -- YOU KNOW, SINCE YESTERDAY, AND --

10:33AM   12                 THE COURT:     I THOUGHT YOU MIGHT HAVE JUST FROM OUR

10:33AM   13      CONVERSATION, AND THAT'S WHY I'M BEING VERY BLUNT WITH YOU THIS

10:33AM   14      MORNING AND ASKING YOU THAT.

10:33AM   15                 JUROR:    AND I TRIED TO WEIGH THE, YOU KNOW, THE PROS

10:33AM   16      AND CONS OF THAT, AND THE VALUE.

10:33AM   17           I DIDN'T COME UP WITH AN ANSWER YET, SO I DON'T KNOW IF

10:34AM   18      THAT'S SOMETHING THAT YOU WANT TO HAVE AN ANSWER TO RIGHT NOW

10:34AM   19      TODAY, RIGHT AT THIS VERY SECOND.

10:34AM   20                 THE COURT:     WELL, I THINK I DO.    I THINK I DO.   AND

10:34AM   21      I'M SORRY TO PRESS YOU, BUT IT'S IMPORTANT FOR ME TO KNOW IF WE

10:34AM   22      CONTINUE THE TRIAL.

10:34AM   23           YOU'VE TOLD ME YOU CAN CONTINUE TO BE FAIR AND IMPARTIAL,

10:34AM   24      AND THANK YOU FOR THAT, I APPRECIATE THAT.       YOU'VE TOLD ME THAT

10:34AM   25      THREE OR FOUR TIMES.



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10:34AM    1           BUT I SUPPOSE JUST BECAUSE OF OUR CONVERSATION AND OUR

10:34AM    2      COLLOQUY AND THE EXCHANGE OF INFORMATION AND YOU TELLING ME

10:34AM    3      YOUR CONCERNS, I'M PROBING A LITTLE DEEPER WITH YOU AND ASKING

10:34AM    4      YOU, DO YOU -- YOU KNOW?

10:34AM    5                 JUROR:    AGAIN, I THINK IT'S MORE THE PRINCIPLE.

10:34AM    6      I'VE LOOKED AT MY QUESTIONNAIRE AND THERE ISN'T A LOT ON THERE

10:34AM    7      THAT -- YOU KNOW, IF MY NAME IS REDACTED ESPECIALLY, THERE'S

10:34AM    8      NOT VERY MANY DOTS TO PUT TOGETHER TO FIGURE ANYTHING OUT, AND

10:34AM    9      THERE'S NOT ANYTHING REALLY, OH MY GOSH, SHE'S THIS OR SHE'S

10:34AM   10      THAT.

10:35AM   11           I GUESS, LIKE I SAID YESTERDAY, IT'S THE PRINCIPLE.

10:35AM   12           I'M ALSO LIKE IF THIS HAS NEVER BEEN DONE BEFORE AND NOW

10:35AM   13      THEY'RE DOING IT AND THEY CAN DO, THEN IT CAN BE DONE AGAIN.

10:35AM   14           SO, YOU KNOW, I KNOW THIS AFFECTS MY ABILITY AND

10:35AM   15      WILLINGNESS TO SERVE AGAIN EVER IN A JURY.

10:35AM   16           LIKE I SAY, THERE'S NOT A LOT OF INFORMATION IN MY

10:35AM   17      QUESTIONNAIRE THAT I'M SO, OH, MY GOSH, YOU KNOW, THIS IS GOING

10:35AM   18      TO BE TOO EMBARRASSING OR I'LL BE HUMILIATED OR NOT.

10:35AM   19           BUT, AGAIN, IT'S MORE THE PRINCIPLE.

10:35AM   20                 THE COURT:     SO THAT'S WHY I ASKED THE QUESTION

10:35AM   21      BECAUSE YOU JUST TOLD ME, I MAY NEVER WANT TO SERVE ON A JURY

10:35AM   22      AGAIN FOR THESE REASONS.

10:35AM   23           AND MY QUESTION IS GEARED TOWARDS THAT.         YOU HAVE THAT --

10:35AM   24      YOU'VE TOLD US THAT IS YOUR FEELING NOW FOR FUTURE JURY

10:35AM   25      SERVICE.



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10:35AM    1           AND I SUPPOSE MY QUESTION IS, DOES THAT FEELING OVERWHELM

10:35AM    2      YOU NOW, OR IS IT YOUR FEELING NOW SUCH THAT YOU DON'T WANT TO

10:35AM    3      BE PART OF THIS JURY FOR THE SAME REASONS?

10:35AM    4           LET ME BE STRAIGHT.       I'M NOT TRYING TO TALK YOU OFF THE

10:36AM    5      JURY.

10:36AM    6                  JUROR:   NO, NO.    I KNOW.

10:36AM    7                  THE COURT:    I'M TRYING TO BE OBJECTIVE, BUT I REALLY

10:36AM    8      DO NEED TO KNOW AND WANT TO KNOW YOUR THOUGHTS ABOUT THAT.

10:36AM    9                  JUROR:   YEAH, AND I EVEN THOUGHT ABOUT THEN -- I

10:36AM   10      DON'T KNOW HOW MUCH THIS, THIS TRIAL IS ON THE NEWS OR

10:36AM   11      WHATEVER.

10:36AM   12           BUT THEN AGAIN, MAY I BE EXPOSING MYSELF TO EVEN MORE OF

10:36AM   13      WHAT I DON'T WANT TO BE EXPOSED TO IF I REMOVE MYSELF FROM THE

10:36AM   14      JURY, OR DO I JUST GO AHEAD AND STAND IN LINE AND, YOU KNOW,

10:36AM   15      AND CONTINUE?

10:36AM   16           AGAIN, I JUST DON'T THINK THAT THERE'S ENOUGH IN MY

10:36AM   17      QUESTIONNAIRE THAT I'M WORRIED ABOUT AT THIS TIME.

10:36AM   18           AGAIN, THERE MAY BE SOMETHING IN ANOTHER TYPE OF JURY

10:36AM   19      WHERE I AM EXPOSING MORE PERSONAL OR FAMILY OR FRIENDS OR

10:36AM   20      MYSELF, YOU KNOW, SITUATIONS THAT I WOULDN'T WANT PUBLIC.

10:36AM   21                  THE COURT:    OKAY.

10:36AM   22                  JUROR:   SO THERE'S BEEN A LOT INVESTED IN THIS, AND

10:37AM   23      I FEEL THAT IT IS OUR RESPONSIBILITY AND EVERYONE SHOULD -- I

10:37AM   24      WANT TO HAVE A FAIR TRIAL IF EVER I'M PUT ON, YOU KNOW, ON

10:37AM   25      TRIAL.



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10:37AM    1           AND I KNOW I CAN BE IMPARTIAL AND, YOU KNOW, BE FAIR.           SO

10:37AM    2      I WANT SOMEONE LIKE ME ON MY JURY.           SO, AGAIN --

10:37AM    3                  THE COURT:     SO WOULD YOU LIKE TO STAY ON THIS JURY?

10:37AM    4                  JUROR:   I THINK -- YES, I WOULD.

10:37AM    5                  THE COURT:     OKAY.   GREAT.     THANK YOU.

10:37AM    6                  JUROR:   OKAY.

10:37AM    7                  THE COURT:     ANYTHING ELSE YOU WOULD LIKE ME TO KNOW?

10:37AM    8                  JUROR:   NO.   I HAD A QUESTION FOR YOU AND I ASKED

10:37AM    9      AND THAT WAS GOING TO BE SOMETHING THAT I WANTED TO TALK TO YOU

10:37AM   10      ABOUT, BUT YOU ANSWERED MY QUESTION.

10:37AM   11                  THE COURT:     OKAY.   I'M GOING TO ASK THESE LAWYERS IF

10:37AM   12      THEY HAVE A QUESTION FOR YOU.

10:37AM   13           MR. SCHENK?

10:37AM   14                  MR. SCHENK:    NO.     THANK YOU, YOUR HONOR.

10:37AM   15                  MR. DOWNEY:    NO.     THANKS.

10:37AM   16                  THE COURT:     ALL RIGHT.   THANKS.

10:37AM   17                  JUROR:   THANK YOU.

10:37AM   18                  THE COURT:     YOU'RE WELCOME.      OKAY.   JUROR NUMBER 12

10:38AM   19      HAS LEFT.

10:38AM   20           COUNSEL, ANY COMMENT?

10:38AM   21                  MR. SCHENK:    AFTER OUR SESSION YESTERDAY WHEN SHE

10:38AM   22      EXPRESSED THE LEVEL OF DISTRACTION THAT SHE FELT, I LOOKED AT

10:38AM   23      SOME CASES LAST NIGHT ON THE ISSUE.          THE QUICK RESEARCH I DID

10:38AM   24      SUGGESTED THAT IT'S NOT SORT OF A PER SE EXCLUSION IF A JUROR

10:38AM   25      EXPRESSES A CONCERN ABOUT DISTRACTION.          THERE'S A LINE OF CASES



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10:38AM    1      ABOUT JURORS WHO FALL ASLEEP DURING TRIAL, SO WE KNOW THEY'RE

10:38AM    2      NOT PAYING ATTENTION, AND THE COURT DOES AN INQUIRY AT THAT

10:38AM    3      POINT, EXACTLY LIKE THE COURT JUST DID NOW.

10:38AM    4           AND TODAY WE LEARNED A LITTLE BIT MORE ABOUT THE LEVEL OF

10:38AM    5      DISTRACTION, AND IT WAS LESS THAN WHAT SHE EXPRESSED YESTERDAY.

10:38AM    6      THE UNDERSTANDING I TOOK FROM HER COMMENTS JUST NOW WAS THAT IT

10:38AM    7      WAS SOMETHING THAT SHE WAS THINKING ABOUT, BUT SHE ALSO HAD THE

10:39AM    8      ABILITY TO LISTEN TO THE TESTIMONY YESTERDAY AND SHE, I THINK,

10:39AM    9      SAID THAT SHE HAD AN EAR OPEN AND SHE COULD HEAR WHAT THE

10:39AM   10      WITNESS WAS TESTIFYING TO AND QUESTIONS THAT THE LAWYERS WERE

10:39AM   11      ASKING YESTERDAY.

10:39AM   12           SO I DON'T THINK THAT THERE IS A BASIS TO EXCUSE HER FOR

10:39AM   13      THE DISTRACTION QUESTION.

10:39AM   14                 THE COURT:     THANK YOU.

10:39AM   15                 MR. DOWNEY:     I THINK THAT'S RIGHT IN TERMS OF THE

10:39AM   16      TOTALITY OF THE COLLOQUY BETWEEN YESTERDAY AND TODAY.       I THINK

10:39AM   17      IT BASICALLY FITS TOGETHER AS MR. SCHENK HAD SAID.

10:39AM   18           I'M NOT SURE ALL OF THE COMMENTARY IS TOTALLY CONSISTENT,

10:39AM   19      BUT I THINK IN RESPONSE TO YOUR HONOR'S FUNDAMENTAL QUESTIONS

10:39AM   20      TODAY, THE ANSWERS SHE GAVE WOULD NOT BE A BASIS FOR DISMISSAL

10:39AM   21      AT THIS TIME.

10:39AM   22                 THE COURT:     ALL RIGHT.   WELL, THANK YOU.   AND I

10:39AM   23      ASKED HER THE BLUNT QUESTION WHETHER SHE WANTED TO STAY BASED

10:39AM   24      ON EVERYTHING AND I GAVE HER AN OPPORTUNITY TO EXPRESS, AND SHE

10:40AM   25      DID, SHE DID.   HER THOUGHT PROCESS WAS -- IT WAS ENGAGED, AND



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10:40AM    1      FINALLY I THINK SHE SAID YES.      SHE RECOGNIZED -- AND I APPLAUD

10:40AM    2      HER -- SHE RECOGNIZED HER CIVIC OBLIGATION AND THE SOLEMNITY OF

10:40AM    3      JURY SERVICE AND SHE TOLD US, I WOULD WANT ME ON THE JURY, SO I

10:40AM    4      THINK I'LL STAY.

10:40AM    5           SO I THINK THAT'S PROFOUND.         SO I'M NOT GOING TO REMOVE

10:40AM    6      HER, BUT I'M GLAD I CALLED HER IN TO FOLLOW UP ON THAT.

10:40AM    7           OKAY.    ANYTHING FURTHER BEFORE WE GO OFF THE RECORD?

10:40AM    8                   MR. SCHENK:   NO.   THANK YOU.

10:40AM    9                   MR. DOWNEY:   YOUR HONOR, JUST TWO HOUSEKEEPING

10:40AM   10      MATTERS.

10:40AM   11           IN LIGHT OF THE -- IN LIGHT OF WHERE WE ARE WITH RESPECT

10:40AM   12      TO THIS MATTER, IS IT THE COURT'S PLAN TO INFORM THE JURY TODAY

10:40AM   13      OF THAT, OR --

10:40AM   14                   THE COURT:    I THINK SO.    I THINK I WILL.   I DON'T

10:40AM   15      WANT TO KEEP THEM IN SUSPENSE.

10:40AM   16           SO I THINK WHEN WE GO OUT ON THE RECORD, WHAT I'M GOING TO

10:40AM   17      TELL THEM IS WE HAD THE INTERVIEW, I'M GOING TO ASK COUNSEL FOR

10:41AM   18      SOME ADDITIONAL BRIEFING ON THE ISSUE, WE'LL HAVE THAT MOTION,

10:41AM   19      THAT IS, THE MEDIA COALITION'S MOTION AS A SEPARATE HEARING,

10:41AM   20      AND I INTEND TO SCHEDULE A HEARING ON THAT SOMETIME DOWN THE

10:41AM   21      ROAD AFTER ALL COUNSEL HAVE HAD AN OPPORTUNITY TO REVIEW AND

10:41AM   22      PROVIDE INFORMATION, THEIR POSITIONS, TO THE COURT, INCLUDING

10:41AM   23      THE MOVING PARTY.     THAT WILL PROBABLY TAKE FOUR OR FIVE WEEKS

10:41AM   24      BEFORE THE HEARING IS SET I'M JUST THINKING OF THE SCHEDULE.

10:41AM   25                   MR. DOWNEY:   AND I WOULD JUST ASK THAT, AS PART OF



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10:41AM    1      THAT, THE ADMONITION BE GIVEN THAT THE JURORS NOT CONSIDER THIS

10:41AM    2      AMONGST THEMSELVES OR DISCUSS IT AMONGST THEMSELVES CONSISTENT

10:41AM    3      WITH THEIR OBLIGATIONS WITH RESPECT TO OTHER TRIAL MATTERS.

10:41AM    4            THE OTHER QUESTION I HAD, YOUR HONOR, RELATED TO THE

10:41AM    5      PRESENCE OF THE DEFENDANT.        I THINK I INDICATED THAT WE WERE

10:41AM    6      WILLING TO WAIVE THE DEFENDANT'S APPEARANCE FOR THIS

10:41AM    7      CONFERENCE.

10:41AM    8            I WANT TO JUST MAKE SURE THAT THAT'S SUFFICIENT FOR THE

10:42AM    9      COURT AND THERE'S NOT SOMETHING ELSE THAT THE COURT WANTS TO

10:42AM   10      SEE FILED.

10:42AM   11                    THE COURT:    NO.   I DON'T THINK SO.   I THINK YOU TOLD

10:42AM   12      ME PRIOR TO COMING BACK HERE THAT YOU WOULD WAIVE HER

10:42AM   13      APPEARANCE --

10:42AM   14                    MR. DOWNEY:   THAT'S CORRECT.

10:42AM   15                    THE COURT:    -- AND THAT'S NOTED.     THANK YOU FOR

10:42AM   16      THAT.

10:42AM   17            OKAY.    THANK YOU.    WE'RE OFF THE RECORD.

10:42AM   18            (SEALED PROCEEDINGS ARE CONCLUDED.)

10:45AM   19      ///

10:45AM   20      ///

          21

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10:45AM    1      ///

10:45AM    2      ///

11:04AM    3            (PROCEEDINGS IN OPEN COURT.)

11:04AM    4            (COURT CONVENED AT 11:04 A.M.)

11:04AM    5            (JURY IN AT 11:04 A.M.)

11:04AM    6                  THE COURT:   THANK YOU.   WE'RE BACK ON THE RECORD.

11:04AM    7      ALL COUNSEL ARE PRESENT.    MS. HOLMES IS PRESENT.

11:04AM    8            OUR JURY AND ALTERNATES ARE PRESENT.

11:04AM    9            GOOD MORNING AGAIN, LADIES AND GENTLEMEN.

11:04AM   10            BEFORE WE BEGIN, I DO WANT TO ASK OUR JURY IF OVER THE

11:04AM   11      EVENING WHETHER OR NOT ANY OF YOU HAD COME ACROSS ANY

11:04AM   12      INFORMATION ABOUT THE CASE, IF YOU'VE HAD ANYONE TALK TO YOU

11:04AM   13      ABOUT THE CASE IN ANY WAY, WHETHER YOU'VE LEARNED ANY

11:04AM   14      INFORMATION ABOUT THE CASE FROM ANY MEDIA OR ANY OTHER

11:04AM   15      INSTANCE.

11:04AM   16            IF THAT HAS HAPPENED, WOULD YOU PLEASE RAISE YOUR HAND,

11:05AM   17      PLEASE.

11:05AM   18            I SEE NO HANDS.

11:05AM   19            THANK YOU, LADIES AND GENTLEMEN, FOR YOUR CONTINUED

11:05AM   20      FIDELITY TO THE ADMONITION.

11:05AM   21            I DO WANT TO ASK COUNSEL AND THE JURY A QUESTION.    WE'RE

11:05AM   22      GOING UNTIL 4:00 TODAY, AND I HOPE YOU'VE GOT THAT IN YOUR

11:05AM   23      SCHEDULE.

11:05AM   24            I'VE JUST REALIZED THAT WE HAVE CLEARED OUR CALENDAR

11:05AM   25      TOMORROW.   ON THURSDAYS YOU RECALL THAT I HAVE A CIVIL



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11:05AM    1      CALENDAR, BUT WE'VE CLEARED OUR CALENDAR TOMORROW, SO IT WOULD

11:05AM    2      BE POSSIBLE THAT WE COULD HAVE TESTIMONY TOMORROW.

11:05AM    3           WOULD THAT -- IS THAT SOMETHING THAT ANY JUROR IS NOT ABLE

11:05AM    4      TO MAKE?    I KNOW WE'VE TRADITIONALLY HAD THURSDAYS OFF, AND I

11:05AM    5      EXPECT THAT YOU HAVE PLANNED ACCORDINGLY.       BUT IF WE WERE ABLE

11:05AM    6      TO HAVE EVIDENCE TOMORROW, WE WOULD PROBABLY GO UNTIL 3:00

11:05AM    7      TOMORROW, IS THAT SOMETHING THAT IS -- THAT THE JURY WOULD BE

11:05AM    8      ABLE TO DO?

11:06AM    9           RESTRAIN YOUR ENTHUSIASM, PLEASE.

11:06AM   10           YES?

11:06AM   11                  JUROR:   I MIGHT HAVE TO MOVE SOME THINGS AROUND, BUT

11:06AM   12      POTENTIALLY I COULD.

11:06AM   13                  THE COURT:    OKAY.   LET ME DO THIS, LET ME SAY THIS,

11:06AM   14      WHY DON'T -- MAY I FLOAT THAT IDEA FOR YOU NOW?      DURING OUR

11:06AM   15      BREAK, OUR NEXT BREAK, IF YOU COULD MAKE SOME INQUIRIES, IF YOU

11:06AM   16      NEED TO, ABOUT OTHER ARRANGEMENT TO BE MADE, AND THEN I'LL ASK

11:06AM   17      YOU THAT QUESTION WHEN WE COME BACK, WOULD THAT BE SUFFICIENT?

11:06AM   18                  JUROR:   (NODS HEAD UP AND DOWN.)

11:06AM   19                  THE COURT:    ALL RIGHT.   LET ME ASK THE LAWYERS, IS

11:06AM   20      THAT SOMETHING THAT YOU CAN DO?

11:06AM   21                  MR. SCHENK:    YES.

11:06AM   22                  MR. DOWNEY:    THAT'S FINE WITH US, YOUR HONOR.

11:06AM   23                  THE COURT:    OKAY.   LET'S TRY TO DO THAT.   AND I'M

11:06AM   24      DOING THIS -- WE'VE LOST SOME COURT TIME FOR SOME OTHER

11:06AM   25      PROCEDURES.   I'M TRYING TO CATCH UP AND SEE IF WE CAN KEEP OUR



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11:06AM    1      CASE ON SCHEDULE FOR EVERYONE'S CONVENIENCE, INCLUDING YOURS,

11:06AM    2      LADIES AND GENTLEMEN OF THE JURY.

11:06AM    3           SO I APPRECIATE, DURING OUR BREAK, IF YOU COULD MAKE ANY

11:06AM    4      INQUIRIES ABOUT ADJUSTING THINGS.        SO TOMORROW WE WOULD -- MY

11:06AM    5      ANTICIPATION WOULD BE, IF WE'RE ABLE TO, WE WOULD BEGIN AT 9:00

11:07AM    6      AND THEN END AT 3:00 TOMORROW.       PLEASE REMEMBER THAT WE'RE

11:07AM    7      ENDING AT 1:00 O'CLOCK ON FRIDAY.

11:07AM    8           IF, WHEN YOU CHECK IN WITH YOUR EMPLOYERS OR WHATEVER

11:07AM    9      OTHER OBLIGATIONS THAT YOU HAVE, IF THERE'S AN ALTERATION IN

11:07AM   10      THAT SCHEDULE, I WOULD APPRECIATE KNOWING THAT, TOO.       FOR

11:07AM   11      EXAMPLE, IF STARTING LATER AND ENDING EARLIER IS SOMETHING THAT

11:07AM   12      MAKES IT EASIER, I WOULD WELCOME THAT INFORMATION SO WE COULD

11:07AM   13      ADJUST OUR SCHEDULE.

11:07AM   14           ALL RIGHT.    THANK YOU VERY MUCH.     THANK YOU FOR THAT.

11:07AM   15           MR. SCHENK, YOU HAVE A WITNESS?

11:07AM   16                   MR. SCHENK:    YES.   THE UNITED STATES RECALLS

11:07AM   17      WADE MIQUELON.

11:07AM   18                   THE COURT:    SIR, IF YOU WOULD TAKE THE STAND AGAIN.

11:08AM   19      THANK YOU.

11:08AM   20           AGAIN, ADJUST THE MICROPHONE AS YOU NEED, AND THE CHAIR,

11:08AM   21      AND THERE'S WATER THERE FOR YOUR REFRESHMENT.       I ASSURE YOU WE

11:08AM   22      CHANGE THAT WATER EVERY DAY, SIR, SO IT'S FRESH.

11:08AM   23           (LAUGHTER.)

11:08AM   24                   THE WITNESS:   THANK YOU.

11:08AM   25                   THE COURT:    WHEN YOU ARE COMFORTABLE, WOULD YOU



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11:08AM    1      PLEASE STATE YOUR NAME AGAIN, PLEASE.

11:08AM    2                   THE WITNESS:   MY NAME IS WADE MIQUELON.

11:08AM    3                   THE COURT:    THANK YOU.    AND I'LL REMIND YOU, SIR,

11:08AM    4      YOU ARE STILL UNDER OATH.

11:08AM    5           (GOVERNMENT'S WITNESS, WADE MIQUELON, WAS PREVIOUSLY

11:08AM    6     SWORN.)

11:08AM    7                   THE COURT:    COUNSEL.

11:08AM    8                   MR. SCHENK:    THANK YOU, YOUR HONOR.

11:08AM    9                         DIRECT EXAMINATION (RESUMED)

11:08AM   10      Q.   GOOD MORNING, MR. MIQUELON.

11:08AM   11           DO YOU STILL HAVE THE BINDER OF DOCUMENTS IN FRONT OF YOU?

11:08AM   12      A.   I DO.

11:08AM   13      Q.   IF YOU WOULD OPEN THE BINDER UP TO TAB 372, PLEASE.

11:08AM   14           YOUR HONOR, I BELIEVE THIS IS BEING MOVED IN BASED ON A

11:08AM   15      STIPULATION BETWEEN THE PARTIES.

11:08AM   16                   MR. DOWNEY:    THAT'S CORRECT, YOUR HONOR.   NO

11:08AM   17      OBJECTION.

11:08AM   18                   THE COURT:    THANK YOU.    IT'S ADMITTED, AND IT MAY BE

11:08AM   19      PRESENTED TO THE JURY.      I'M SORRY.

11:08AM   20           (GOVERNMENT'S EXHIBIT 372 WAS RECEIVED IN EVIDENCE.)

11:08AM   21                   MR. SCHENK:    THANK YOU, YOUR HONOR.

11:08AM   22      Q.   MR. MIQUELON, WE'RE LOOKING AT A DOCUMENT THAT IS ENTITLED

11:09AM   23      THERANOS MASTER PURCHASE AGREEMENT.

11:09AM   24           DO YOU SEE THAT?

11:09AM   25      A.   YES.



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11:09AM    1      Q.   YESTERDAY AT THE CLOSE OF YOUR TESTIMONY WE DISCUSSED

11:09AM    2      EXHIBIT 300, WHICH WAS AN EMAIL THAT YOU WROTE TO OTHERS AT

11:09AM    3      WALGREENS IN ADVANCE OF A PRESENTATION BY FOLKS FROM THERANOS.

11:09AM    4           DO YOU RECALL THAT?

11:09AM    5      A.   YES.

11:09AM    6      Q.   AND THAT WAS AROUND APRIL OF 2010?

11:09AM    7      A.   CORRECT.

11:09AM    8      Q.   AND NOW WE'RE LOOKING AT THE AGREEMENT DATED IN JULY OF

11:09AM    9      2010.

11:09AM   10           COULD YOU BRIEFLY DESCRIBE FOR THE JURY WHAT WAS HAPPENING

11:09AM   11      IN THE THERANOS-WALGREENS RELATIONSHIP BETWEEN THOSE

11:09AM   12      INTERVENING MONTHS FROM THE APRIL MEETING UNTIL THIS JULY

11:09AM   13      AGREEMENT?

11:09AM   14      A.   IN THOSE EARLY MONTHS THERE WAS, AGAIN, INITIAL DILIGENCE

11:09AM   15      DONE IN TERMS OF UNDERSTANDING THERANOS, THE TECHNOLOGY, AND

11:09AM   16      UNDERSTANDING HOW IT MIGHT FIT IN TERMS OF A PARTNERSHIP WITH

11:09AM   17      WALGREENS.

11:09AM   18      Q.   OKAY.   AND DESCRIBE THE PROCESS OF GETTING TO THE STEP OF

11:09AM   19      PUTTING TOGETHER A MASTER PURCHASE AGREEMENT.

11:10AM   20      A.   THERE WAS A MULTI FUNCTIONAL TEAM THAT WAS FORMED,

11:10AM   21      INCLUDING HEALTH CARE PROFESSIONALS.     THERE WAS A CONSULTING

11:10AM   22      FIRM THAT WAS BROUGHT IN THAT HAD EXPERTISE IN LABS TO LOOK AT

11:10AM   23      THERANOS, AS WELL AS THE COMPETITIVE SET OF OTHER COMPANIES OUT

11:10AM   24      THERE.

11:10AM   25           THERE WAS ALSO A CONSULTING FIRM THAT WAS BROUGHT IN THAT



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11:10AM    1      SPECIALIZES IN DEFINING NEW BUSINESS MODELS AND HOW THEY MIGHT

11:10AM    2      WORK.

11:10AM    3      Q.   AND AS CFO, WHAT WAS YOUR ROLE IN THIS?

11:10AM    4      A.   I WOULD SAY AN EXECUTIVE SPONSOR TO HELP SUPPORT THE TEAM

11:10AM    5      TO HELP ENABLE THEM AND PROVIDE RESOURCES FOR THEM TO FORM

11:10AM    6      THEIR CONCLUSIONS.

11:10AM    7      Q.   OKAY.    AND WHEN YOU SAY "TO SUPPORT THEM," WHAT DO YOU

11:10AM    8      MEAN?

11:10AM    9      A.   THE TEAM, THE MULTI FUNCTIONAL TEAM AT WALGREENS THAT WAS

11:10AM   10      WORKING ON THE PROJECT.

11:10AM   11      Q.   OKAY.    NOW LET'S TURN TO THE DOCUMENT.       ON THE FIRST PAGE

11:10AM   12      TOWARDS THE BOTTOM THERE'S A SIGNATURE.

11:10AM   13           DO YOU SEE THAT?

11:10AM   14      A.   YES.

11:10AM   15      Q.   AND WHOSE SIGNATURE IS THAT?

11:10AM   16      A.   THAT'S MINE.

11:10AM   17      Q.   ON THE SECOND PAGE TOWARDS THE BOTTOM THERE'S ALSO A

11:11AM   18      SIGNATURE.

11:11AM   19      A.   YES.

11:11AM   20      Q.   AND WHOSE SIGNATURE IS THAT?

11:11AM   21      A.   IT SAYS MS. HOLMES.

11:11AM   22      Q.   OKAY.    NOW LET'S LOOK AT THE THIRD PAGE.      THE THIRD PAGE

11:11AM   23      IS LABELLED SCHEDULE A, AND UNDER NUMBER 2, I'D LIKE TO ASK YOU

11:11AM   24      A QUESTION.    NUMBER 2 IS PROGRAM OBJECTIVES.

11:11AM   25           DO YOU SEE THAT?



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11:11AM    1      A.     YES.

11:11AM    2      Q.     IT SAYS THAT "THE OBJECTIVES OF THIS PROGRAM INCLUDE" MAKE

11:11AM    3      BLOOD LAB -- I'M SORRY -- "MAKE BLOOD TESTING FASTER, FAR MORE

11:11AM    4      ACCESSIBLE, EFFECTIVE, ACTIONABLE BY INTRODUCING A MORE COST

11:11AM    5      EFFECTIVE, REAL-TIME BLOOD TESTING SERVICE AT WALGREENS STORES

11:11AM    6      AND WALGREENS' OTHER CLINICAL OPERATIONS NATIONWIDE."

11:11AM    7             IS THAT YOUR UNDERSTANDING OF WHAT THE OBJECTIVE WAS?

11:11AM    8      A.     YES.

11:11AM    9      Q.     AND IT DESCRIBES MAKING BLOOD TESTING FASTER AND MORE

11:11AM   10      ACCESSIBLE, EFFECTIVE AND ACTIONABLE, WHAT DID THAT MEAN?

11:12AM   11      A.     THAT WAS THE NOTION OF HAVING THERANOS LAB TESTING AT

11:12AM   12      WALGREENS.

11:12AM   13      Q.     AND WHY WAS THERANOS BLOOD TESTING AT WALGREENS FASTER?

11:12AM   14      A.     AGAIN, AS WE HAVE TALKED A LITTLE BIT YESTERDAY, WHEN YOU

11:12AM   15      LOOK AT THE THERANOS TECHNOLOGY AND THE ABILITY TO ENTER A

11:12AM   16      BLOOD SAMPLE INTO AN EDISON AND GET RESULTS IN, YOU KNOW,

11:12AM   17      15 MINUTES THAT THEN COULD BE MOVED TO THE CLOUD FOR

11:12AM   18      ASSESSMENT, THAT WOULD BE A FASTER PROCESS THAN CONVENTIONAL

11:12AM   19      LAB.

11:12AM   20      Q.     AND AT THIS STAGE OF THE RELATIONSHIP BETWEEN WALGREENS

11:12AM   21      AND THERANOS, WAS YOUR UNDERSTANDING THAT THE EDISON DEVICE

11:12AM   22      WOULD BE USED TO TEST PATIENT'S BLOOD?

11:12AM   23      A.     YES.   BUT THERE WAS A LOT OF BACK AND FORTH OVER THE

11:12AM   24      SUBJECT OF MONTHS IN TERMS OF WHETHER IT WAS BETTER TO HAVE

11:12AM   25      THAT DEVICE IN A STORE OR NOT IN A STORE, AND WHETHER IT SHOULD



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11:12AM    1      ONLY BE THE NANOTAINER OR THE BLOOD DRAW THAT WOULD BE IN THE

11:12AM    2      STORE OR WHETHER THE EDISON DEVICE WOULD BE THERE AS WELL.

11:13AM    3      Q.   OKAY.    SO THERE WAS SOME DISCUSSION ABOUT WHERE THE DEVICE

11:13AM    4      WOULD BE LOCATED.    BUT HOW ABOUT ON WHAT DEVICE THE BLOOD WOULD

11:13AM    5      BE TESTED.

11:13AM    6      A.   RIGHT.

11:13AM    7      Q.   WHAT WAS YOUR UNDERSTANDING?

11:13AM    8      A.   MY UNDERSTANDING WAS THAT THE BLOOD WOULD BE TESTED ON THE

11:13AM    9      EDISON DEVICE.

11:13AM   10      Q.   AND WHERE DID YOU GET THAT UNDERSTANDING?

11:13AM   11      A.   FROM MY DISCUSSIONS WITH SUNNY AND ELIZABETH, AND THROUGH

11:13AM   12      OUR DILIGENCE, THAT WAS OUR COMPANY'S UNDERSTANDING.

11:13AM   13      Q.   OKAY.    IF YOU COULD TURN THE PAGE NOW TO PAGE 6.   PAGE 6

11:13AM   14      IS SCHEDULE B.    AND UNDER NUMBER 2, BEST PRICE GUARANTEE.

11:13AM   15           DO YOU SEE THAT?

11:13AM   16      A.   AGAIN, WHICH SECTION?

11:13AM   17      Q.   PAGE 6, SCHEDULE B, AND THEN THE SECOND SECTION, 2.

11:13AM   18      A.   YES.

11:13AM   19      Q.   BEST PRICE GUARANTEE?

11:13AM   20      A.   RIGHT.

11:13AM   21      Q.   ON THE BOTTOM, TOWARDS THE BOTTOM OF THIS PARAGRAPH IT

11:13AM   22      SAYS, FOR PURPOSES OF THIS AGREEMENT AVAILABLE CARTRIDGES

11:14AM   23      INCLUDE FIRST GENERATION CARTRIDGES OF THERANOS SYSTEMS

11:14AM   24      VERSIONS 1, 2, AND 3 AS DEFINED BELOW, AND NOW WE SEE A, B, AND

11:14AM   25      C, VERSION 1, OR V1, VERSION 2 AND VERSION 3.



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11:14AM    1           DO YOU SEE THAT?

11:14AM    2      A.   YES.

11:14AM    3      Q.   AND WHAT WAS YOUR UNDERSTANDING ABOUT THE INFORMATION

11:14AM    4      CONVEYED IN THIS SECTION OF THE AGREEMENT?

11:14AM    5      A.   ESSENTIALLY MY UNDERSTANDING OF THIS SECTION WAS TO MAKE

11:14AM    6      SURE THAT BY WORKING WITH THERANOS WE WOULD HAVE SOME FORM OF

11:14AM    7      EXCLUSIVITY, AS WELL AS BEST -- MOST FAVORED NATION PRICING

11:14AM    8      AROUND THE TESTS THAT WERE CURRENTLY AVAILABLE ALSO AROUND THE

11:14AM    9      TESTS THAT WOULD HOPEFULLY BE DEVELOPED IN THE FUTURE.

11:14AM   10      Q.   AND WHY WAS THAT IMPORTANT TO WALGREENS?      WHY WAS FAVORED

11:14AM   11      PRICING IMPORTANT TO WALGREENS?

11:14AM   12      A.   WELL, I THINK IT WAS THE NOTION THAT IF WE WERE GOING TO

11:14AM   13      HAVE A DEEP PARTNERSHIP AND BE INVESTING TOGETHER IN RESOURCES

11:14AM   14      AND TIME AND MONEY, THAT THAT SHOULD GIVE THE COMPANY SOME

11:15AM   15      COMPETITIVE ADVANTAGE VERSUS SOMEONE ELSE WHO HADN'T DONE THAT

11:15AM   16      AND WHO MIGHT CHOOSE TO PARTNER WITH THEM.

11:15AM   17      Q.   UNDER A VERSION 1, OR V1, IT SAYS "ALL ROUTINE LABORATORY

11:15AM   18      TESTS SPECIFIED ON SCHEDULE D."

11:15AM   19           NOW, IF YOU'LL FOLLOW ME TO PAGE 23.

11:15AM   20           DO YOU SEE ON SCHEDULE D, PAGE 23, WHERE IT SAYS "ROUTINE

11:15AM   21      LABORATORY TESTS (VERSION 1); LIST ATTACHED TO END OF

11:15AM   22      AGREEMENT."

11:15AM   23           DO YOU SEE THAT?

11:15AM   24      A.   YES, I SEE THAT.

11:15AM   25      Q.   AND THEN IF WE GO TO PAGE 37, THE END OF THE AGREEMENT, DO



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11:15AM    1      YOU SEE THE FIRST PAGE OF EIGHT PAGES OF THERANOS BASE ASSAY

11:16AM    2      LIBRARY?

11:16AM    3      A.   YES.

11:16AM    4      Q.   AND IF WE COULD ON THE SCREEN SCROLL THROUGH THE NEXT

11:16AM    5      EIGHT PAGES TO SHOW THE JURY THE ASSAY LIBRARY BEGINNING ON

11:16AM    6      PAGE 37.

11:16AM    7           MR. MIQUELON, WHAT WAS YOUR UNDERSTANDING OF WHAT THIS

11:16AM    8      WAS, THE BASE ASSAYS LIBRARY?

11:16AM    9      A.   THIS WAS MY UNDERSTANDING OF THE TESTS THAT THEY WOULD BE

11:16AM   10      ABLE TO DO, AS WELL AS SCALE.    AND BY "SCALE" I MEAN DOING ONES

11:16AM   11      ON A BETA MACHINE WOULD BE ONE THING, BUT TO BE ABLE TO DEVELOP

11:16AM   12      CONSISTENT MACHINES, MULTIPLE CARTRIDGES, I.T. INFRASTRUCTURE

11:16AM   13      SYSTEMS AROUND IT WERE PART OF THE PROPOSITION, THIS WOULD BE

11:16AM   14      KIND OF THE, KIND OF THE BASE LEVEL TESTING, IF YOU WILL, THAT

11:16AM   15      WOULD BE READY FOR A LAUNCH AT SOME POINT.

11:16AM   16      Q.   OKAY.   AND NOW IF WE COULD GO BACK JUST BRIEFLY TO

11:16AM   17      EXHIBIT 300.

11:17AM   18           AT THE BOTTOM NUMBER 2 UNDER YOUR LIST OF REASONS, NUMBER

11:17AM   19      2 IS THE REASONS WHY WE'RE SO ENCOURAGED ARE 96 PERCENT OF

11:17AM   20      TESTS DONE AT BIG LABS WILL BE ABLE TO BE DONE ON THESE

11:17AM   21      DEVICES.

11:17AM   22           DID YOU UNDERSTAND THAT THE THERANOS BASE ASSAYS LIBRARY

11:17AM   23      WAS 96 PERCENT OF THE LAB TESTS DONE AT BIG LABS?

11:17AM   24      A.   MY UNDERSTANDING WAS THAT, AGAIN, THE PLATFORM THAT WAS

11:17AM   25      BUILT FOR THAT BASE LEVEL TESTING WOULD BE ABLE TO DO



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11:17AM    1      96 PERCENT OF THE TESTING DONE AT LABS THROUGH, AGAIN, THE

11:17AM    2      BLOOD, SALIVA OR THE URINE THROUGH THE IMMUNOASSAY TESTING.

11:17AM    3      Q.   AND DID YOU GET THIS UNDERSTANDING FROM YOUR CONVERSATIONS

11:17AM    4      WITH MS. HOLMES?

11:17AM    5      A.   IT WAS FROM MY CONVERSATION WITH BOTH SUNNY AND ELIZABETH.

11:17AM    6      Q.   AND ALSO FROM THE POWERPOINT SLIDE OR DOCUMENTS THAT THEY

11:17AM    7      SHOWED TO YOU, DID YOU GET THE UNDERSTANDING FROM DOCUMENTS

11:18AM    8      ALSO?

11:18AM    9      A.   THAT WAS MY UNDERSTANDING.

11:18AM   10      Q.   OKAY.   NOW, IF WE COULD GO TO -- BACK TO EXHIBIT 372,

11:18AM   11      PAGE 6.

11:18AM   12           WE TALKED ABOUT THE V1.    NOW I'D LIKE TO MOVE DOWN TO

11:18AM   13      VERSION 2.

11:18AM   14           DO YOU SEE THAT?

11:18AM   15      A.   YES.

11:18AM   16      Q.   NO, I'M SORRY.   ON 372, PAGE 6 AT THE TOP 2B UNDER BEST

11:18AM   17      PRICE GUARANTEE B?

11:18AM   18      A.   YES.

11:18AM   19      Q.   B READS, THE FOLLOWING LABORATORY TESTS INCLUDING, BUT NOT

11:18AM   20      LIMITED TO, INFLUENZA/STREP, PREGNANCY, FERTILITY,

11:18AM   21      PRENATAL/TRIMESTER, AND THEN IT CONTINUES, THAT THEY WILL

11:19AM   22      MEMORIALIZE THE CPT CODES THAT ARE INCLUDED IN VERSION TO AS

11:19AM   23      SUCH CODES BECOME AVAILABLE.

11:19AM   24           WHAT WAS YOUR UNDERSTANDING ABOUT VERSION 2?

11:19AM   25      A.   MY UNDERSTANDING ABOUT VERSION 2 IS THOSE WOULD BE PERHAPS



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11:19AM    1      MORE COMPLEX TESTS AND LESS COMMONPLACE THAN THE V1 TESTS, THAT

11:19AM    2      THEY WERE WORKING ON THOSE TO SOME DEGREE TO BRING THEM INTO

11:19AM    3      THE FUTURE.

11:19AM    4      Q.   AND THEN HOW ABOUT VERSION 3?     VERSION 3 TALKS ABOUT

11:19AM    5      PREDICTIVE TESTS.    DID YOU HAVE AN UNDERSTANDING ABOUT THOSE

11:19AM    6      TESTS?

11:19AM    7      A.   AGAIN, AS I ALLUDED TO YESTERDAY, VERSION 3 WAS IN SOME

11:19AM    8      WAYS PREDICTIVE TESTS THAT WERE NEW TO THE WORLD, AND AGAIN,

11:19AM    9      THEY WERE WORKING ON SEVERAL OF THOSE WITHOUT ANY GUARANTEE OR

11:19AM   10      PROMISE THAT THOSE WOULD COME TO FRUITION.      BUT TO THE EXTENT

11:19AM   11      THAT THEY DID, WE WOULD HOPE THAT WE WOULD HAVE PRIORITY ON

11:19AM   12      THOSE AS WELL.

11:19AM   13      Q.   SO IN 2010 WHEN YOU WERE NEGOTIATING AND SIGNING THIS

11:19AM   14      AGREEMENT, DID YOU HAVE AN UNDERSTANDING THAT THERANOS HAD THE

11:19AM   15      ABILITY TO DO SOME TESTS, LIKE THE VERSION 1 TESTS, PRESENTLY,

11:20AM   16      AND THAT THERE WERE OTHER TESTS THAT THEY WERE WORKING ON AND

11:20AM   17      WOULD BECOME AVAILABLE IN THE FUTURE?

11:20AM   18      A.   THAT WAS MY UNDERSTANDING.

11:20AM   19           AND AGAIN, TO THE EXTENT THAT THEY BECAME AVAILABLE, OR

11:20AM   20      NOT, AGAIN, VERSION 3 IS IN SOME WAYS VERY FUTURISTIC STILL,

11:20AM   21      BUT IF THEY WERE TO BECOME AVAILABLE, WE WOULD BE FIRST IN THE

11:20AM   22      QUEUE TO BE ABLE TO VISUALIZE THOSE.

11:20AM   23      Q.   I SEE.   IF YOU WOULD NOW TURN TO PAGE 10 IN THIS EXHIBIT,

11:20AM   24      THERE'S A SECTION CALLED CRITICAL VALUES.

11:20AM   25           UNDER CRITICAL VALUES IT SAYS, IN THE EVENT A RESULT



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11:20AM    1      REFLECTS ONE OR MORE VALUES AT SUCH VARIANCE WITH NORMAL AS TO

11:20AM    2      BE POTENTIALLY LIFE-THREATENING, OTHERWISE KNOWN AS A CRITICAL

11:20AM    3      VALUE, THERANOS WOULD BE SOLELY RESPONSIBLE FOR NOTIFYING THE

11:20AM    4      ORDERING PRACTITIONER, THE TECHNICIAN THAT PERFORMED THE TEST,

11:20AM    5      AND TO THE EXTENT REQUIRED BY STATE LAW, ANY OTHER INDIVIDUALS

11:21AM    6      OR ENTITIES OF THE CRITICAL VALUE AND USING COMMERCIALLY

11:21AM    7      REASONABLE EFFORTS TO VERIFY THAT THE ORDERING PRACTITIONER

11:21AM    8      RECEIVED NOTIFICATION OF THE CRITICAL VALUE.

11:21AM    9           DID YOU HAVE AN UNDERSTANDING REGARDING WHOSE OBLIGATION

11:21AM   10      IT WAS TO NOTIFY PHYSICIANS IF A BLOOD TEST RESULTED IN A

11:21AM   11      CRITICAL VALUE?

11:21AM   12      A.   YEAH, I'M NOT A HEALTH CARE PROFESSIONAL, BUT MY

11:21AM   13      UNDERSTANDING WAS THAT THE PATIENT WAS EFFECTIVELY THEIR

11:21AM   14      PATIENT AND SO IT WAS VERY IMPORTANT BECAUSE THEY WOULD HAVE

11:21AM   15      THEIR DATA, AND BECAUSE OF THE STARK LAWS THAT HAS TO BE

11:21AM   16      PROTECTED, THAT IT WOULD BE THEIR RESPONSIBILITY TO DO ANY OF

11:21AM   17      THE FOLLOW-UP WORK AROUND THE DATA OF THEIR PATIENT.

11:21AM   18      Q.   AND DID YOU EXPECT THERANOS TO FOLLOW THROUGH ON THIS?

11:21AM   19      A.   MY ASSUMPTION WOULD BE YES.

11:21AM   20      Q.   IF YOU'LL TURN NOW TO PAGE 24.

11:21AM   21           ON PAGE 24 THERE ARE SOME DEFINITIONS, AND THE ONE I WOULD

11:22AM   22      LIKE TO ASK YOU ABOUT IS NUMBER 10, DEVICE.

11:22AM   23           DEVICE READS, "DEVICE MEANS THERANOS'S READER CAPABLE OF

11:22AM   24      RUNNING CARTRIDGES, EXTRACTING DATA FROM A CARTRIDGE OR OTHER

11:22AM   25      ANALYTICAL DEVICE, TRANSMITTING DATA TO A DATABASE HOSTED BY



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11:22AM    1       THERANOS, COMMUNICATING WITH AUTHORIZED PARTIES AND PROVIDING

11:22AM    2       ANALYTICAL INFORMATION."

11:22AM    3            DID YOU UNDERSTAND THAT THE DEVICE THAT THERANOS WOULD BE

11:22AM    4       USING TO TEST BLOOD WAS THE EDISON DEVICE?

11:22AM    5       A.   THAT WAS MY UNDERSTANDING.    I DON'T KNOW AT WHAT TIME IT

11:22AM    6       WAS COINED AS THE EDISON, BUT IT WAS ESSENTIALLY THE SAME

11:22AM    7       DEVICE.

11:22AM    8       Q.   YOU UNDERSTOOD IT WAS A DEVICE MANUFACTURED BY THERANOS?

11:22AM    9       A.   RIGHT.

11:22AM   10       Q.   DID YOU UNDERSTAND THAT THERANOS WOULD BE TESTING

11:22AM   11       PATIENT'S BLOOD ON MODIFIED THIRD PARTY OR OTHER MANUFACTURER'S

11:22AM   12       DEVICE?

11:22AM   13       A.   IT WASN'T MY UNDERSTANDING, NO.

11:22AM   14       Q.   DID YOU UNDERSTAND THAT THERANOS WOULD BE TESTING BLOOD ON

11:22AM   15       UNMODIFIED THIRD PARTY DEVICES, DEVICES MANUFACTURED BY OTHER

11:22AM   16       COMPANIES AND NOT MODIFIED BY THERANOS?

11:23AM   17       A.   AGAIN, MY UNDERSTANDING WAS TO THE EXTENT THAT THEY WERE

11:23AM   18       DOING THAT, THAT WAS PART OF THE CALIBRATION PROCESS TO BE ABLE

11:23AM   19       TO MAKE SURE THAT THERANOS WAS AS ACCURATE AS.

11:23AM   20       Q.   IS THE CONCEPT THAT YOU EXPLAINED TO ME YESTERDAY, THAT

11:23AM   21       THEY MAY HAVE USED, THERANOS MAY HAVE USED THIRD PARTY DEVICES,

11:23AM   22       BUT FOR THE PURPOSE OF CONFIRMING THE ACCURACY OF THEIR DEVICE;

11:23AM   23       IS THAT RIGHT?

11:23AM   24       A.   THAT WAS MY UNDERSTANDING, YES.

11:23AM   25       Q.   IF NOW YOU'LL TURN TO EXHIBIT 488.



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11:23AM    1            DO YOU RECOGNIZE EXHIBIT 488?

11:23AM    2       A.   YES, I DO.

11:23AM    3       Q.   IS THIS AN EMAIL WITHIN WALGREENS, INCLUDING YOU, THAT

11:23AM    4       CONTAINS AS AN ATTACHMENT SOMETHING CALLED PROJECT BETA SLIDES?

11:23AM    5       A.   YES, THAT'S CORRECT.

11:23AM    6       Q.   AND WERE THOSE SLIDES DISCUSSING THE THERANOS PROJECT?

11:23AM    7       A.   YES.

11:24AM    8                    MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 488.

11:24AM    9                    MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

11:24AM   10                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:24AM   11            (GOVERNMENT'S EXHIBIT 488 WAS RECEIVED IN EVIDENCE.)

11:24AM   12                    MR. SCHENK:   THANK YOU.

11:24AM   13       Q.   FIRST LET'S JUST TALK ABOUT THE RECIPIENTS ON THE EMAIL.

11:24AM   14            DO YOU KNOW WHO THIS, GENERALLY SPEAKING, WHO THIS GROUP

11:24AM   15       OF INDIVIDUALS, WHO THIS WAS?

11:24AM   16       A.   YES.

11:24AM   17       Q.   WHO?

11:24AM   18       A.   THE GROUP THAT IT'S TO WOULD INCLUDE MANY OF THE SENIOR

11:24AM   19       LEADERS OF THE COMPANY, AS WELL AS HEALTH CARE EXPERTS IN THE

11:24AM   20       COMPANY, AS WELL AS OTHER LEADERS WHO HAVE BEEN IDENTIFIED TO

11:24AM   21       BE ON THE PROJECT TEAM.

11:24AM   22       Q.   OKAY.    AND WHEN YOU SAY "THE PROJECT TEAM"?

11:24AM   23       A.   THE THERANOS PARTNERSHIP PROJECT TEAM.

11:24AM   24       Q.   OKAY.    THE DATE ON THIS IS -- IT WAS SENT AT THE BEGINNING

11:24AM   25       OF NOVEMBER, BUT FOR A MEETING IT LOOKS LIKE AT THE BEGINNING



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11:24AM    1       OF DECEMBER OF 2011.

11:24AM    2            DO YOU SEE THAT?

11:24AM    3       A.   YES.

11:24AM    4       Q.   AND THE LAST DOCUMENT THAT WE WERE LOOKING AT WAS THE

11:24AM    5       AGREEMENT THAT WAS SIGNED IN THE SUMMER OF 2010.

11:24AM    6       A.   YES.

11:24AM    7       Q.   NOW, WE'VE MOVED ABOUT A YEAR AND A HALF LATER TO THE END

11:25AM    8       OF 2011?

11:25AM    9       A.   YES.

11:25AM   10       Q.   I WONDER IF YOU'LL EXPLAIN TO THE JURY WHAT HAPPENED IN

11:25AM   11       THAT YEAR AND A HALF WITH REGARD TO THE THERANOS PROJECT?      WHAT

11:25AM   12       WORK WAS HAPPENING?

11:25AM   13       A.   THERE WAS A LOT MORE TO DO THAN JUST SPECIFIC TO THE

11:25AM   14       TECHNOLOGY.    SO THERE WAS A LOT OF WORK TO DO TO UNDERSTAND,

11:25AM   15       FOR EXAMPLE, THE BUSINESS MODEL.

11:25AM   16            BY BUSINESS MODEL, YOU KNOW, WHERE WOULD THE MACHINES

11:25AM   17       RESIDE IN A WALGREENS ESSENTIALLY?     WHO WOULD OWN THE PATIENT?

11:25AM   18       HOW WOULD MEDICAL BILLING WOULD WORK?     WHAT I.T. AND

11:25AM   19       INFORMATION WOULD BE REQUIRED?    WHAT APPROVALS MIGHT BE

11:25AM   20       REQUIRED?

11:25AM   21            SO JUST A LOT OF OTHER WORK THAT HAD TO BE DONE TO SUPPORT

11:25AM   22       THE TECHNOLOGY.

11:25AM   23       Q.   OKAY.    AND THAT WORK WAS HAPPENING AFTER SIGNING THAT

11:25AM   24       PURCHASE AGREEMENT UP THROUGH THIS TIME WHEN WE'RE LOOKING AT

11:25AM   25       THESE SLIDES?



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11:25AM    1       A.   YEAH, THAT WORK HAD CONTINUED ON FOR PROBABLY YEARS AFTER

11:25AM    2       THIS AS WELL.

11:25AM    3       Q.   OKAY.   IF YOU'LL TURN NOW TO THE FIRST PAGE OF THE SLIDES,

11:25AM    4       IT'S PAGE 3.    IT'S CALLED PROJECT BETA.

11:26AM    5            WHAT DOES THAT MEAN?

11:26AM    6       A.   THE PROJECT HAD DIFFERENT CODE NAMES OVER TIME.     BETA WAS

11:26AM    7       ONE CODE NAME, AND I THINK AT SOME POINT IT WAS CALLED PROJECT

11:26AM    8       NORMANDY.    BUT IT WAS DIFFERENT NAMES FOR THE SAME PROJECT,

11:26AM    9       WHICH WAS THE THERANOS PARTNERSHIP.

11:26AM   10       Q.   WAS THAT AN INTERNAL WALGREENS NAME FOR THE PROJECT?

11:26AM   11       A.   CORRECT.   I DON'T KNOW -- I THINK MAYBE THE JOINT NAME WE

11:26AM   12       HAD WAS NORMANDY ULTIMATELY, BUT I'M NOT CERTAIN.

11:26AM   13       Q.   OKAY.   AND NOW IF YOU'LL TURN TO PAGE 8.

11:26AM   14            ON PAGE 8, NUMBER 6 IS WHAT I WANT TO ASK YOU ABOUT.

11:26AM   15            NUMBER 6 SAYS, "THERANOS NATIONAL ROLLOUT WITH WALGREENS

11:26AM   16       (PENDING PILOT OUTCOME)."

11:26AM   17            WHAT DOES THAT MEAN?

11:26AM   18       A.   THIS WAS THE HYPOTHESIS OR THE ILLUSTRATIVE VERSION OF IF

11:26AM   19       WE WERE TO DO A PILOT AND GET CERTAIN SUCCESS METRICS, THEN WE

11:27AM   20       WOULD EXPAND TO THE NEXT LEVEL, AND IF THAT WAS SUCCESSFUL,

11:27AM   21       THEN WE WOULD EXPAND TO THE NEXT LEVEL.

11:27AM   22            SO THIS WAS, AGAIN, KIND OF AN ILLUSTRATIVE TIMELINE OF

11:27AM   23       WHAT SUCCESS COULD LOOK LIKE AT THAT POINT.

11:27AM   24       Q.   WHEN YOU SAY HAVE A PILOT, WHAT DO YOU MEAN BY THAT?

11:27AM   25       A.   SOME LEVEL OF YOU, YOU KNOW, NUMBER OF STORES, YOU KNOW,



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11:27AM    1       WHETHER ONE OR A FEW TO BE ABLE TO UNDERSTAND, YOU KNOW, WHAT

11:27AM    2       IS THE PATIENT EXPERIENCE LIKE?    IS IT GOING WELL?    IS MEDICAL

11:27AM    3       BILLING HAPPENING PROPERLY?    ARE HEALTH CARE PLANS ACCEPTING

11:27AM    4       IT?   ARE DOCTORS RECOMMENDING IT?     THOSE KINDS OF THINGS.

11:27AM    5       Q.    AND THEN WOULD WALGREENS EVALUATE THE SUCCESS, SORT OF THE

11:27AM    6       METRICS YOU'VE DESCRIBED, TO DETERMINE WHETHER TO MOVE TO THE

11:27AM    7       NEXT PHASE?

11:27AM    8       A.    YEAH, I WOULD SAY IT WOULD BE A JOINT EVALUATION.    YOU

11:27AM    9       KNOW, BOTH PARTIES WOULD WANT THE KEY METRICS THAT WERE

11:27AM   10       IMPORTANT TO BE SATISFIED.

11:27AM   11       Q.    WAS A NATIONAL ROLLOUT EVER GUARANTEED?

11:27AM   12       A.    NO, NEVER GUARANTEED.   ALWAYS PENDING SUCCESS.

11:27AM   13       Q.    WAS THERE A PILOT AT SOME POINT?

11:27AM   14       A.    THERE WAS A PILOT.

11:27AM   15       Q.    AND WAS THERE ONE OR MORE PEOPLE AT WALGREENS WHOSE JOB IT

11:28AM   16       WAS TO EVALUATE SUCCESS TO DETERMINE WHETHER SOME OF THE

11:28AM   17       METRICS HAD BEEN MET?

11:28AM   18       A.    MULTIPLE PEOPLE.

11:28AM   19       Q.    WAS THAT YOUR JOB OR SOMEBODY ELSE'S?

11:28AM   20       A.    IT WAS NOT MY JOB.   IT WAS THE PROJECT TEAM'S.

11:28AM   21       Q.    OKAY.   NOW WE CAN TURN TO PAGE 5 -- I'M SORRY,

11:28AM   22       EXHIBIT 503.

11:28AM   23             503 LOOKS LIKE AN EMAIL FROM DR. ROSAN TO YOU CONTAINING

11:28AM   24       SOME SLIDES.

11:28AM   25             DO YOU SEE THAT?



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11:28AM    1       A.   YES.

11:28AM    2       Q.   AND ARE THE SLIDES, SLIDES THAT WERE PRESENTED TO

11:28AM    3       WALGREENS BY THERANOS?

11:28AM    4       A.   YES.

11:28AM    5                    MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 503.

11:28AM    6                    MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

11:28AM    7                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:28AM    8            (GOVERNMENT'S EXHIBIT 503 WAS RECEIVED IN EVIDENCE.)

11:28AM    9       BY MR. SCHENK:

11:28AM   10       Q.   THE DATE ON THIS ONE IS JANUARY 2012.       SO WE'VE NOW MOVED

11:28AM   11       INTO THE BEGINNING OF THE NEXT YEAR, 2012.

11:28AM   12            THE SUBJECT IS, HERE IS THE SLIDE SHOW THAT WAS PRESENTED

11:28AM   13       TO US BY SUNNY AND ELIZABETH.

11:29AM   14            MR. BALWANI AND MS. HOLMES; IS THAT CORRECT?

11:29AM   15       A.   CORRECT.

11:29AM   16       Q.   AND NOW IF WE CAN TURN TO SOME OF THE SLIDES.       THE

11:29AM   17       FIRST -- LET'S LOOK AT THE FIRST PAGE OF THE SLIDES.       IT'S

11:29AM   18       PAGE 2 OF THE EXHIBIT.

11:29AM   19            IT'S ENTITLED PROJECT NORMANDY BRIEFING.

11:29AM   20            WHAT IS PROJECT NORMANDY?

11:29AM   21       A.   PROJECT NORMANDY IS -- IT'S BASICALLY THE SAME AS PROJECT

11:29AM   22       BETA.   I THINK IT'S WHAT THE NAME MORPHED INTO.

11:29AM   23       Q.   OKAY.    THE RELATIONSHIP BETWEEN WALGREENS AND THERANOS --

11:29AM   24       A.   RIGHT.

11:29AM   25       Q.   -- WAS CALLED PROJECT NORMANDY?



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11:29AM    1       A.   RIGHT.

11:29AM    2       Q.   IF WE CAN TURN TO PAGE 3.

11:29AM    3            PAGE 3 IS CALLED WALGREENS THERANOS PARTNERSHIP

11:29AM    4       OBJECTIVES.

11:29AM    5            DO YOU SEE THAT?

11:29AM    6       A.   YES.

11:29AM    7       Q.   AND ABOUT THREE UP FROM IT THE BOTTOM WE SEE, "NEW GROWTH

11:29AM    8       DRIVER FOR EMPLOYER BUSINESS.

11:29AM    9            "LOWEST COST, HIGHEST QUALITY TESTING FROM A FINGERSTICK."

11:29AM   10            WHEN MS. HOLMES AND MR. BALWANI WERE DESCRIBING THE

11:30AM   11       BUSINESS OPPORTUNITY FOR WALGREENS, DID THEY TALK ABOUT COST?

11:30AM   12       A.   WE DID.

11:30AM   13       Q.   AND WHAT DID YOU HEAR?

11:30AM   14       A.   WE TALKED ABOUT THE OPPORTUNITY AT SCALE, AGAIN, TO BE

11:30AM   15       ABLE TO BE BETTER, FASTER, AND CHEAPER THAN A CONVENTIONAL LAB

11:30AM   16       BECAUSE YOU WERE EFFECTIVELY CUTTING OUT A LOT OF WASTE IN

11:30AM   17       TERMS OF REAL ESTATE, SUPPLY CHAIN, HANDOFFS, EXPENSES,

11:30AM   18       CONVENTIONAL MACHINES.

11:30AM   19       Q.   AND IF THERANOS USED CONVENTIONAL MACHINES, FOR EXAMPLE,

11:30AM   20       WOULD YOU LOSE SOME OF THE COST BENEFIT THAT YOU JUST

11:30AM   21       DESCRIBED?

11:30AM   22       A.   YOU WOULD.

11:30AM   23       Q.   AND IF YOU NEEDED TO USE COURIERS, OR HANDOFF AS YOU JUST

11:30AM   24       DESCRIBED, WOULD YOU ALSO LOSE SOME OF THE COST BENEFIT?

11:30AM   25       A.   YOU WOULD LOSE SOME.



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11:30AM    1       Q.   IT NEXT SAYS, "HIGHEST QUALITY TESTING FROM A

11:30AM    2       FINGERSTICK."

11:30AM    3            WHAT WAS YOUR UNDERSTANDING OF WHAT THAT REFERRED TO?

11:30AM    4       A.   MY UNDERSTANDING WAS THAT THE TEST RESULTS FOR THE TESTS

11:30AM    5       THAT THEY WERE DOING AND VALIDATING WERE AS GOOD AS, THEY WERE

11:31AM    6       HIGHLY CORRELATED TO A TRADITIONAL LAB.

11:31AM    7            THE QUALITY COMES IN AGAIN BECAUSE, LIKE I SAID BEFORE, A

11:31AM    8       FEW REASONS.    NUMBER ONE IS I WAS TOLD THAT YOU COULD CALIBRATE

11:31AM    9       EVERY MACHINE VERSUS ANOTHER MACHINE SO YOU DON'T HAVE THIS

11:31AM   10       ISSUE OF DIFFERENT CALIBRATIONS FOR DIFFERENT MACHINES FOR

11:31AM   11       DIFFERENT TESTS, AS WELL AS THE FACT THAT SOME TESTS ARE

11:31AM   12       ULTIMATELY REJECTED BY A CONVENTIONAL LAB AND THAT THEIR

11:31AM   13       REJECTION RATE WAS THUS FAR LOWER THAN THAT.

11:31AM   14            AND ALSO JUST IS THE FACT THAT IF YOU'RE ABLE TO, YOU

11:31AM   15       KNOW, GET A TEST DONE AND RESULTS BACK SOONER, THAT'S ALSO

11:31AM   16       BENEFICIAL FOR A PATIENT.

11:31AM   17       Q.   YOU DESCRIBED THE CALIBRATION BETWEEN MACHINES.

11:31AM   18            COULD YOU EXPLAIN THAT TO ME?

11:31AM   19       A.   AGAIN, MY UNDERSTANDING IS THAT THERE'S AN ACCEPTABLE

11:31AM   20       RANGE FOR ANY GIVEN MACHINE FOR WHAT THE TOLERANCE CAN BE, BUT

11:31AM   21       THAT TWO DIFFERENT MACHINES FROM TWO DIFFERENT MANUFACTURERS

11:31AM   22       FOR THE SAME TEST MIGHT HAVE SLIGHTLY DIFFERENT CALIBRATION

11:31AM   23       PARAMETERS.

11:31AM   24            SO IF YOU -- AGAIN, I USE THE EXAMPLE IF YOU GOT A PSA

11:32AM   25       TEST ONE DAY ON ONE MACHINE AND THE RESULTS CAME BACK ON



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11:32AM    1       ANOTHER MACHINE, THEY MAY NOT BE EXACTLY APPLES AND APPLES, BUT

11:32AM    2       BECAUSE IF YOU STAYED WITHIN THE THERANOS SYSTEM ON THEIR

11:32AM    3       MACHINES, THAT THOSE MACHINES ESSENTIALLY WOULD BE CALIBRATED

11:32AM    4       VERSUS EACH OTHER AND THEN YOU WOULD BE RELYING UPON THAT DATA

11:32AM    5       AT A HIGHER LEVEL.

11:32AM    6       Q.   AND WHO DID YOU GET THAT UNDERSTANDING FROM?

11:32AM    7       A.   JUST I THINK THROUGH THE DISCUSSIONS WITH ELIZABETH AND

11:32AM    8       SUNNY.

11:32AM    9       Q.   AND IT ALSO SAYS THIS HIGHEST QUALITY TESTING FROM A

11:32AM   10       FINGERSTICK.

11:32AM   11            DID YOU HAVE AN UNDERSTANDING ABOUT HOW THE BLOOD WOULD BE

11:32AM   12       DRAWN?

11:32AM   13       A.   I DID.

11:32AM   14       Q.   AND WHAT WAS YOUR UNDERSTANDING?

11:32AM   15       A.   AGAIN, FROM WHAT I WITNESSED AND EXPERIENCED PERSONALLY IS

11:32AM   16       A FINGERSTICK WOULD GO, WOULD PROBABLY GO INTO WHAT WAS CALLED

11:32AM   17       A NANOTAINER OR A BCD, AND THAT BCD WOULD GO INTO THE THERANOS

11:32AM   18       MACHINE.

11:32AM   19       Q.   YOU SAID WHAT YOU EXPERIENCED PERSONALLY.     WHAT DO YOU

11:32AM   20       MEAN?

11:32AM   21       A.   MYSELF AND A FEW OTHER EXECUTIVES HAD OUR BLOOD TESTED.        I

11:32AM   22       THINK I HAD MY TESTED TWICE.

11:32AM   23       Q.   AND DO YOU RECALL WHERE YOU WERE WHEN THAT HAPPENED?

11:33AM   24       A.   I BELIEVE I WAS ONE TIME -- THE FIRST TIME WAS IN THE

11:33AM   25       PALO ALTO THERANOS OFFICE, AND THE SECOND TIME I THINK I WAS AT



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11:33AM    1       THE PILOT IN PHOENIX.

11:33AM    2       Q.   WOULD THAT HAVE BEEN THE MEETING IN 2010 AROUND THE MARCH

11:33AM    3       TIMEFRAME WHEN YOU WENT OUT TO PALO ALTO, OR WAS THAT A

11:33AM    4       DIFFERENT TIME?

11:33AM    5       A.   I DON'T RECALL THE FIRST TIME EXACTLY THE DATE.

11:33AM    6       Q.   WAS THE BLOOD DRAWN FROM YOUR FINGER?

11:33AM    7       A.   YES.

11:33AM    8       Q.   AND WHAT DO YOU RECALL FROM THAT?

11:33AM    9       A.   JUST GETTING MY RESULTS LATER.    AGAIN, IT HAD TO GO, FOR

11:33AM   10       LEGAL REASONS, THROUGH A PHYSICIAN.    SO I THINK THE FIRST TIME

11:33AM   11       DR. ROSAN, WHO WAS A PHYSICIAN, GOT THE RESULTS AND THEN

11:33AM   12       PROVIDED THOSE TO ME.

11:33AM   13       Q.   AND WHEN YOU HAD THE DEMO, DID MS. HOLMES EXPLAIN ANYTHING

11:33AM   14       TO YOU ABOUT THE EXPERIENCE YOUR FINGERSTICK, OR YOUR BLOOD WAS

11:33AM   15       BEING TESTED VIA A FINGERSTICK, BUT IN THE FUTURE WALGREENS

11:33AM   16       PATIENTS MIGHT NOT HAVE THEIR BLOOD TESTED THROUGH A

11:34AM   17       FINGERSTICK?   DO YOU RECALL HER SAYING ANYTHING LIKE THAT?

11:34AM   18       A.   NOT AT THE TIME.

11:34AM   19       Q.   COULD WE NOW TURN TO PAGE 8.

11:34AM   20            PAGE 8, THE SLIDE IS ENTITLED PROJECT NORMANDY:     THE

11:34AM   21       WORLD'S FIRST FINGERSTICK BASED CLIA-CERTIFIED LAB THROUGH

11:34AM   22       RETAIL.

11:34AM   23            AND THE FIRST BULLET SAYS 99.9 PERCENT LESS BLOOD.

11:34AM   24            WHAT WAS YOUR UNDERSTANDING THAT THAT WAS A REFERENCE TO?

11:34AM   25       A.   THAT'S JUST A RELATIVE COMPARISON OF THE AMOUNT OF BLOOD



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11:34AM    1       IN A NANOTAINER VERSUS THE AMOUNT OF BLOOD TAKEN THROUGH

11:34AM    2       VENIPUNCTURE.

11:34AM    3       Q.   AND IF THERANOS WAS TESTING PATIENT'S BLOOD WITH A VEIN

11:34AM    4       DRAW, WOULD IT DRAW LESS BLOOD THEN OR ONLY IF IT USED

11:34AM    5       FINGERSTICK?

11:34AM    6       A.   MY UNDERSTANDING -- I NEVER SAW -- IF YOUR QUESTION IS I

11:34AM    7       NEVER SAW THE NANOTAINER DRAW BLOOD FROM A VEIN.     IT WAS ALWAYS

11:34AM    8       FROM A FINGER.

11:34AM    9       Q.   NO, I'M SORRY.

11:34AM   10            THE SLIDE SUGGESTS 99.9 PERCENT LESS BLOOD, AND I'M JUST

11:35AM   11       WONDERING IF THAT IS ONLY TRUE IF YOU RECEIVE A FINGERSTICK AS

11:35AM   12       OPPOSED TO A VEIN DRAW?

11:35AM   13       A.   YES, YES.

11:35AM   14       Q.   THE NEXT BULLET SAYS, "STATE OF THE ART RESULT TURN

11:35AM   15       AROUND:   4-24 HOURS."

11:35AM   16            WHAT DID YOU UNDERSTAND THAT TO MEAN?

11:35AM   17       A.   AGAIN, THAT WAS THE RANGE THAT WE WERE LOOKING AT, AND HOW

11:35AM   18       LONG IT TAKES WAS TO SOME EXTENT WAS DEPENDENT UPON THE

11:35AM   19       BUSINESS MODEL WE RELIED UPON.

11:35AM   20            IF YOU WERE GOING TO HAVE AN EDISON DEVICE IN A WALGREENS,

11:35AM   21       THEORETICALLY YOU COULD GET A RESULT MUCH FASTER THAN IF YOU

11:35AM   22       WERE TAKING NANOTAINERS AND MOVING THEM TO A SITE WHERE YOU HAD

11:35AM   23       MACHINES AT CENTRALLY.

11:35AM   24       Q.   AND WAS FASTER TURN AROUND TIME ATTRACTIVE TO WALGREENS?

11:35AM   25       A.   I THINK IT'S ATTRACTIVE TO PATIENTS AGAIN, JUST BECAUSE IF



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11:35AM    1       YOU THINK ABOUT GATEWAY TO HEALTH CARE, LAB IS A LARGE GATEWAY.

11:35AM    2       SO FOR SURE TO WALGREENS.

11:35AM    3            ALSO WE TALKED ABOUT THE POSSIBILITY IN RURAL AREAS IN

11:35AM    4       MARKETS THAT ARE LESS DEVELOPED AND WHERE PEOPLE DON'T HAVE

11:36AM    5       IMMEDIATE ACCESS AND IT CAN LEAD TO VERY PROBLEMATIC HEALTH

11:36AM    6       SITUATIONS.

11:36AM    7       Q.   AND THE THIRD BULLET SAYS "NATION'S LOWEST COST AND

11:36AM    8       HIGHEST QUALITY LABORATORY PROVIDER."

11:36AM    9            DID YOU HAVE AN UNDERSTANDING THAT THERANOS WAS

11:36AM   10       REPRESENTING ITSELF TO BE THE HIGHEST QUALITY LAB?

11:36AM   11       A.   I THINK OUR COMMON UNDERSTANDING WAS THAT IF THE

11:36AM   12       TECHNOLOGY WORKED AS WE WERE TOLD, THAT IT WOULD BE BETTER,

11:36AM   13       FASTER, CHEAPER, AND THAT WE WOULD BE ABLE TO PROVIDE THE BEST

11:36AM   14       AND LOWEST, YOU KNOW, COST NETWORK TOGETHER.

11:36AM   15       Q.   AND WHERE DID THAT GET THAT UNDERSTANDING FROM?

11:36AM   16       A.   I THINK BOTH FROM THE ATTESTATIONS THAT WERE MADE TO US

11:36AM   17       ABOUT THE TECHNOLOGY, AS WELL AS OUR JOINT WORK AS FAR AS

11:36AM   18       UNDERSTANDING THE MARKET SIZE, CURRENT COSTS, THE PAYOR

11:36AM   19       PREFERENCES AND THE LIKE.

11:36AM   20       Q.   THE NEXT PAGE, PAGE 9, THIS DESCRIBES THE PROCESS, THE

11:36AM   21       PROJECT NORMANDY PROCESS.

11:36AM   22            AND UNDER THE PSC COLUMN THERE'S A SECTION CALLED SAMPLE

11:37AM   23       COLLECTION.

11:37AM   24            DO YOU SEE THE SECOND BULLET UNDER SAMPLE COLLECTION?

11:37AM   25       A.   YES.



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11:37AM    1       Q.   THE SECOND BULLET READS "TECHNICIAN PRICKS PATIENT'S

11:37AM    2       FINGER."

11:37AM    3            DOES THIS DESCRIPTION, A SAMPLE COLLECTION, DESCRIBE VEIN

11:37AM    4       DRAWS?

11:37AM    5       A.   NO.

11:37AM    6       Q.   UNDER THE SECOND COLUMN, CLIA LAB, IN THE SECOND BULLET IT

11:37AM    7       READS "SAMPLES ACCESSED AND QUEUED FOR ANALYSIS ON THERANOS

11:37AM    8       DEVICES USING THERANOS LDT'S IN THERANOS LAB."

11:37AM    9            DOES THIS COLUMN SUGGEST THAT THE SAMPLES ARE GOING TO BE

11:37AM   10       TESTED ON THIRD PARTY DEVICES?

11:37AM   11       A.   NO.

11:37AM   12       Q.   WOULD YOU TURN TO PAGE 11, PLEASE.

11:37AM   13            PAGE 11 IS ENTITLED FASTER SCALEABILITY AT WAG.

11:38AM   14            UNDER SCALEABILITY, THE FIRST BULLET SAYS, "SMALLER SPACE

11:38AM   15       REQUIREMENTS AT RETAIL."

11:38AM   16            WHAT DID YOU UNDERSTAND THAT TO MEAN?

11:38AM   17       A.   AGAIN, I THINK IT'S THE WHOLE NOTION THAT RATHER THAN

11:38AM   18       HAVE, YOU KNOW, INCREMENTAL ASSETS OF LAB TESTING AND

11:38AM   19       INDUSTRIAL COURTS AND BUILDINGS AND THEN ULTIMATELY EVEN GOING

11:38AM   20       TO CONVENTIONAL LAB WITH VERY LARGE FACILITIES AND MACHINES,

11:38AM   21       THAT IT DOESN'T TAKE A LOT OF INCREMENTAL SPACE TO DO THAT.

11:38AM   22            IN FACT, AT THE TIME WE HAD A LOT OF TAKE CARE CLINICS, SO

11:38AM   23       YOU COULD ARGUE THAT THE INFRASTRUCTURE IS ALREADY BUILT THERE

11:38AM   24       AND THERE'S REALLY NO INCREMENTAL INVESTMENT FROM THAT POINT OF

11:38AM   25       VIEW.



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11:38AM    1       Q.   OKAY.    WAS IT ATTRACTIVE TO WALGREENS TO NEED LESS RETAIL

11:38AM    2       SPACE?

11:38AM    3       A.   WELL, I THINK WHAT WAS ATTRACTIVE WAS BEING ABLE TO

11:38AM    4       LEVERAGE THE CURRENT FOOTPRINT OF 8,000 STORES POTENTIALLY

11:38AM    5       WITHOUT ADDING EXTRA, YOU KNOW, RETAIL SPACE.

11:38AM    6       Q.   AND WAS THE ASSUMPTION THAT THE AMOUNT OF SPACE THE DEVICE

11:39AM    7       TOOK UP WAS A FACTOR IN THE AMOUNT OF RETAIL SPACE GENERALLY

11:39AM    8       THAT WAS NEEDED?

11:39AM    9       A.   I MEAN, AT THE END OF THE DAY IT DIDN'T TAKE UP ANY SPACE

11:39AM   10       REALLY.

11:39AM   11            IT'S ALSO THE OTHER NOTIONS IN HERE JUST ABOUT BEING ABLE

11:39AM   12       TO LEVERAGE YOUR CURRENT STAFF, YOUR PHARMACIES, YOUR NURSE

11:39AM   13       PRACTITIONERS, YOUR PHARMACY TECHS.

11:39AM   14       Q.   AND WHEN YOU SAID IT DIDN'T TAKE UP ANY SPACE, WHAT DID

11:39AM   15       YOU MEAN?

11:39AM   16       A.   EFFECTIVELY HOUSING, YOU KNOW, NANOTAINERS IS NOT -- IT

11:39AM   17       DOESN'T TAKE UP A LOT OF SPACE.

11:39AM   18       Q.   I SEE.   OKAY.

11:39AM   19            FURTHER DOWN IN THE SLIDE IT TALKS ABOUT STAGES 1, 2, AND

11:39AM   20       3.   THE THIRD ONE WAS A NATIONAL ROLLOUT.

11:39AM   21            DID YOU DISCUSS THE IDEA OF A NATIONAL ROLLOUT WITH

11:39AM   22       MS. HOLMES AND MR. BALWANI?

11:39AM   23       A.   YES.

11:39AM   24       Q.   AND DID YOU TELL THEM THAT A NATIONAL ROLLOUT WAS

11:39AM   25       GUARANTEED?



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11:39AM    1       A.   NO.

11:39AM    2       Q.   AND WHAT WAS NECESSARY BEFORE WALGREENS WOULD GO NATIONAL

11:39AM    3       WITH THERANOS?

11:39AM    4       A.   JUST TO BE SUCCESSFUL AT EVERY PHASE OF EXPANSION, SO

11:39AM    5       STARTING WITH, YOU KNOW, ONE OR A FEW STORES AND MOVING TO

11:40AM    6       MORE, OR A STATE AND MOVING TO MORE.

11:40AM    7            BUT BEING ABLE TO BE SUCCESSFUL IN TERMS OF EFFICACY,

11:40AM    8       SAFETY, BUSINESS MODEL, CLINICAL ACCEPTANCE, INSURANCE COMPANY

11:40AM    9       ACCEPTANCE.

11:40AM   10            I MEAN, THERE ARE A LOT OF DIFFERENT VARIABLES, BUT

11:40AM   11       EFFECTIVELY TESTING FOR EACH OF THOSE TO ENSURE SUCCESS AND, IF

11:40AM   12       NOT, TRYING TO MODIFY AND RECTIFY AND FIX THE BUSINESS MODEL IF

11:40AM   13       POSSIBLE.

11:40AM   14       Q.   OKAY.    WOULD YOU TURN TO PAGE 28?

11:40AM   15            THIS SLIDE IS ENTITLED THERANOS'S FINGERSTICK BASED

11:40AM   16       LABORATORY.

11:40AM   17            THE SECOND BULLET IS, "NO REGULATORY RISK."

11:40AM   18            DO YOU HAVE A RECOLLECTION, WHAT DOES THAT MEAN?

11:40AM   19       A.   THERE WAS, AGAIN, A LOT OF DISCUSSIONS ON WHAT REGULATORY

11:40AM   20       REQUIREMENTS WERE OR WERE NOT BOTH FROM A, YOU KNOW, A CMS

11:41AM   21       STANDPOINT AS WELL AS FDA.    TO SOME EXTENT THIS TECHNOLOGY WAS

11:41AM   22       NEW TO THE WORLD AND SO IT RAISED QUESTIONS THAT MAYBE HADN'T

11:41AM   23       BEEN RAISED BEFORE.

11:41AM   24            SO, FOR EXAMPLE, IF YOU NEED LAB CERTIFICATION, WHERE IS

11:41AM   25       THE LAB?    IF YOU HAD A THERANOS MACHINE IN A WALGREENS STORE,



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11:41AM    1       DOES THAT MEAN THAT'S THE LAB?    OR IF THE DATA IS GOING TO

11:41AM    2       PALO ALTO, IS THAT THE LAB?

11:41AM    3            BUT AGAIN, THESE WERE DIFFERENT DISCUSSIONS THAT WERE

11:41AM    4       EVOLVING AND WE WERE TRYING TO REFINE OUR UNDERSTANDING TO

11:41AM    5       UNDERSTAND WHAT WAS REQUIRED AND WHAT WAS NOT.

11:41AM    6       Q.   OKAY.   AND WAS THERANOS SUGGESTING TO YOU THAT THERE WAS

11:41AM    7       NO OR THERE WAS LESS REGULATORY RISK CREATING THIS PARTNERSHIP

11:41AM    8       WITH THERANOS AND WALGREENS?

11:41AM    9       A.   I THINK IN FAIRNESS, THIS WAS A DISCUSSION THAT WENT ON AT

11:41AM   10       LEAST A YEAR OR MORE IN TERMS OF WHAT WAS THEIR UNDERSTANDING.

11:41AM   11       WE WERE SEEKING ADVICE, INCLUDING EXTERNALLY ON THE MATTER.

11:41AM   12            I'M PRETTY SURE THEY WERE SEEKING ADVICE, TOO, AND HAVING

11:41AM   13       SOME CONVERSATIONS.

11:41AM   14            BUT, AGAIN, BECAUSE OF THE NEW TO THE WORLD NATURE OF THIS

11:42AM   15       TECHNOLOGY, IT REQUIRED SOME WORK TO UNDERSTAND.

11:42AM   16       Q.   FROM A REGULATORY PERSPECTIVE?

11:42AM   17       A.   YES.

11:42AM   18       Q.   OKAY.   AT THE BOTTOM OF THE SLIDE WE CAN SEE "LOWEST COST,

11:42AM   19       HIGHEST QUALITY TESTING FROM A FINGERSTICK."

11:42AM   20            AGAIN, WAS THAT SORT OF CONSISTENT WITH YOUR UNDERSTANDING

11:42AM   21       OF WHAT THERANOS WAS OFFERING?

11:42AM   22       A.   YES, THAT WHAT WE BELIEVED IT WAS OFFERING, YES.

11:42AM   23       Q.   IF YOU'LL TURN TO THE NEXT PAGE, 29.

11:42AM   24            IT'S ENTITLED ONE DISRUPTION AT A TIME.       THERE ARE A FEW

11:42AM   25       BULLETS.    THE FIRST ONE IS THE FIRST LAUNCH IN 2012, AND THE



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11:42AM    1       SECOND LAUNCH EARLY TO MID-2013, AND THE THIRD LAUNCH 2014 AND

11:42AM    2       AFTER.

11:42AM    3            THE THIRD LAUNCH SAYS "THERANOS MINILABS IN ALL WALGREENS

11:42AM    4       STORES (AS APPROPRIATE)."

11:42AM    5            DID YOU UNDERSTAND THAT THERE WERE STAGES THAT WERE

11:42AM    6       NECESSARY TO SUCCESSFULLY COMPLETE BEFORE THE THERANOS DEVICE

11:42AM    7       WOULD ENTER ALL STORES, ALL WALGREENS STORES?

11:42AM    8       A.   YES.   EVERY STAGE IS ALWAYS CONTINGENT UPON SUCCESS OF THE

11:43AM    9       PRIOR STAGE.

11:43AM   10       Q.   AND WAS THAT COMMUNICATED TO MS. HOLMES?

11:43AM   11       A.   I'M SURE THAT WAS CLEARLY UNDERSTOOD.

11:43AM   12       Q.   AND WHY DO YOU SAY THAT?

11:43AM   13       A.   WELL, FOR ONE BECAUSE WE WOULD DEFINE SUCCESS OBJECTIVES

11:43AM   14       AND TALK ABOUT WHAT HAD TO HAPPENED FOR THE NEXT PHASE.

11:43AM   15            I BELIEVE ALSO AS WE WENT ALONG CONTRACTUALLY, THERE WERE

11:43AM   16       PARAMETERS PUT ON THE CONTRACT BECAUSE WE WERE GOING TO A NEW

11:43AM   17       FRONTIER.

11:43AM   18            BUT, AGAIN, AT THE END OF THE DAY, THAT'S THE REASON THAT

11:43AM   19       YOU PILOT AND YOU EXPAND THE PILOT AND YOU HAVE EXPAND THE

11:43AM   20       PILOT PILOT IS BECAUSE YOU WANT TO BE ABLE TO ENSURE THAT

11:43AM   21       YOU'VE GOT IT RIGHT.

11:43AM   22       Q.   IF YOU'LL NOW TURN TO EXHIBIT 617.

11:43AM   23            YOUR HONOR, I BELIEVE WE'RE OFFERING THIS BASED ON A

11:43AM   24       STIPULATION OF THE PARTIES.

11:43AM   25                   MR. DOWNEY:   WE HAVE NO OBJECTION, YOUR HONOR.



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11:43AM    1                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:43AM    2            (GOVERNMENT'S EXHIBIT 617 WAS RECEIVED IN EVIDENCE.)

11:44AM    3       BY MR. SCHENK:

11:44AM    4       Q.   EXHIBIT 617 LOOKS TO BE AN AMENDED AND RESTATED THERANOS

11:44AM    5       MASTER SERVICES AGREEMENT.

11:44AM    6            DO YOU SEE THAT?

11:44AM    7       A.   YES.

11:44AM    8       Q.   AND THIS ONE IS DATED IN JUNE OF 2012.         YOU DESCRIBED

11:44AM    9       ONGOING WORK AND NEGOTIATION BETWEEN WALGREENS AND THERANOS.

11:44AM   10            WAS THAT STILL HAPPENING NOW, BRINGING US UP TO MID-2012?

11:44AM   11       A.   YES.

11:44AM   12       Q.   ON THE SECOND PAGE OF THIS DOCUMENT THERE'S A SIGNATURE.

11:44AM   13            DO YOU SEE THAT?

11:44AM   14       A.   YES.

11:44AM   15       Q.   IS THAT SIGNATURE ABOVE MS. HOLMES'S NAME?

11:44AM   16       A.   YES.

11:44AM   17       Q.   AND ON THE THIRD PAGE THERE'S A SIGNATURE.

11:44AM   18            IS THAT YOUR SIGNATURE?

11:44AM   19       A.   YES.

11:44AM   20       Q.   AND NOW LET'S TURN TO THE FOURTH PAGE, SCHEDULE A.

11:45AM   21            ON PAGE 4 THERE'S A PARAGRAPH ENTITLED PHASED DISRUPTION.

11:45AM   22       A.   OKAY.

11:45AM   23       Q.   DO YOU SEE THAT PARAGRAPH?

11:45AM   24       A.   YES.

11:45AM   25       Q.   AND THERE'S A SENTENCE WITHIN IT THAT READS, "WITH THAT IN



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11:45AM    1       MIND, AT THE COMMENCEMENT OF THIS AGREEMENT, IT IS THE PARTIES'

11:45AM    2       INTENTION FOR WALGREENS TO ACT AS A PATIENT SERVICE CENTER AND

11:45AM    3       COLLECT BLOOD SAMPLES VIA FINGERSTICK TECHNOLOGY, SMALL SAMPLES

11:45AM    4       OF URINE, SALIVA, FECES OR SWABS WITH LABORATORY TESTING TO BE

11:45AM    5       PERFORMED BY THERANOS IN A CLIA-CERTIFIED OFFSITE LABORATORY."

11:45AM    6            DO YOU SEE THAT?

11:45AM    7                   THE COURT:    MR. SCHENK, JUST GIVE ME A MOMENT.

11:45AM    8            (PAUSE IN PROCEEDINGS.)

11:45AM    9                   MR. SCHENK:   MS. KRATZMANN, CAN WE SHIFT TO THE

11:45AM   10       ELMO?

11:45AM   11                   THE CLERK:    YES, COUNSEL.

11:46AM   12                   MR. SCHENK:   THANK YOU.

11:46AM   13                   THE COURT:    ALL RIGHT.   THANK YOU, MR. SCHENK.   YOU

11:46AM   14       MAY PROCEED.

11:46AM   15                   MR. SCHENK:   THANK YOU.

11:46AM   16       Q.   SO I JUST READ TO YOU A SENTENCE IN THE MIDDLE OF

11:46AM   17       PARAGRAPH 3.

11:46AM   18            DO YOU SEE THAT SENTENCE?

11:46AM   19       A.   YES.

11:46AM   20       Q.   IS THAT ACCURATE?     WAS IT THE PARTIES' INTENTION AND WAS

11:46AM   21       IT YOUR UNDERSTANDING THAT THERANOS WAS GOING TO OFFER THIS

11:46AM   22       BLOOD TESTING SERVICES AND COLLECT BLOOD SAMPLES VIA

11:46AM   23       FINGERSTICK TECHNOLOGY?

11:46AM   24       A.   YES.

11:46AM   25       Q.   AND THIS IS AN AMENDED AGREEMENT.      THE FINGERSTICK ASPECT



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11:46AM    1       DID NOT CHANGE FROM THE FIRST TO THE SECOND; IS THAT RIGHT?

11:46AM    2       A.   THAT'S CORRECT.

11:46AM    3       Q.   YOUR UNDERSTANDING WAS STILL THAT THERANOS WAS GOING TO

11:46AM    4       PERFORM BLOOD TESTING ON BLOOD DRAWN FROM THE FINGER?

11:46AM    5       A.   YES.

11:46AM    6       Q.   IF YOU COULD TURN IN YOUR BINDER TO PAGE 6.

11:47AM    7            DO YOU SEE AT THE BOTTOM OF PAGE 6 THERE'S A SECTION THAT

11:47AM    8       BEGINS INNOVATION FEE?

11:47AM    9       A.   YES.

11:47AM   10       Q.   AND THEN THE LANGUAGE ABOUT AN INNOVATION FEE CONTINUES ON

11:47AM   11       THE NEXT PAGE.

11:47AM   12            WHAT WAS THE INNOVATION FEE?

11:47AM   13       A.   THE INNOVATION FEE, TO MY UNDERSTANDING, WAS THAT WE WERE

11:47AM   14       AT THE POINT WHERE WE HAD EVOLVED A BUSINESS MODEL AND WE WERE

11:47AM   15       GETTING READY TO COMMERCIALIZE, AND SO THIS AGREEMENT

11:47AM   16       SUPERSEDED THE PRIOR AGREEMENT FROM THE STANDPOINT THAT IT

11:47AM   17       REFLECTED THE LATEST UNDERSTANDING.

11:47AM   18            THE INNOVATION FEE WAS DERIVED TO SECURE THE PARTNERSHIP

11:48AM   19       IN EXCLUSIVITY, THE PRICING, ET CETERA, AND PROVIDE FUNDS TO

11:48AM   20       THERANOS THAT WOULD HELP ENABLE THEM TO CREATE THE SCALE TO

11:48AM   21       BEGIN EXPANDING THE VALUE PROPOSITION.

11:48AM   22       Q.   MONEY WOULD BE PAID FROM WALGREENS TO THERANOS?

11:48AM   23       A.   THAT'S CORRECT.

11:48AM   24       Q.   AND IT HAS A SCHEDULE HERE, OR MILESTONES THAT SHOULD BE

11:48AM   25       MET BEFORE MONEY IS DISTRIBUTED.



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11:48AM    1            DO YOU SEE THAT?

11:48AM    2       A.   YES.

11:48AM    3       Q.   DID WALGREENS END UP MAKING PAYMENTS TO THERANOS?

11:48AM    4       A.   MY UNDERSTANDING IS YES.

11:48AM    5       Q.   AND DO YOU RECALL THE AMOUNT OF MONEY THAT WALGREENS PAID

11:48AM    6       TO THERANOS?

11:48AM    7       A.   I BELIEVE THERE WAS $100 MILLION IN INNOVATION FEE, AND

11:48AM    8       MAYBE A $40 MILLION CONVERTIBLE NOTE.

11:48AM    9       Q.   AND WHAT IS A CONVERTIBLE NOTE?

11:48AM   10       A.   A WAY TO FUND THEM, BUT IT HAS THE -- EFFECTIVELY A LOAN

11:48AM   11       TO THE COMPANY THAT ALSO PROVIDED THE COMPANY WITH THE ABILITY

11:48AM   12       TO CONVERT THAT INTO EQUITY.

11:49AM   13       Q.   SO THE INNOVATION FEE AND THE CONVERTIBLE NOTE ARE

11:49AM   14       DIFFERENT IN THE EQUITY ASPECT?

11:49AM   15       A.   CORRECT.

11:49AM   16       Q.   AND THE INNOVATION FEE DIDN'T GIVE WALGREENS EQUITY, ANY

11:49AM   17       OWNERSHIP OF THERANOS; IS THAT RIGHT?

11:49AM   18       A.   THAT'S CORRECT.

11:49AM   19       Q.   BUT WALGREENS ALSO PURCHASED EQUITY IN THERANOS; IS THAT

11:49AM   20       RIGHT?

11:49AM   21       A.   CORRECT.

11:49AM   22       Q.   WAS WALGREENS THEREFORE AN INVESTOR IN THERANOS IN

11:49AM   23       ADDITION TO BEING A BUSINESS PARTNER?

11:49AM   24       A.   THAT WOULD BE CORRECT.

11:49AM   25       Q.   IF YOU COULD TURN NOW TO PAGE 9.



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11:49AM    1            ON PAGE 9 THERE'S ANOTHER SECTION ABOUT CRITICAL VALUES.

11:49AM    2            DO YOU SEE THAT?

11:49AM    3       A.   YES.

11:49AM    4       Q.   AND DID YOU CONTINUE TO UNDERSTAND THAT IF THERANOS TESTED

11:49AM    5       A PATIENT'S BLOOD AND THE VALUE, THE RESULT WAS DETERMINED TO

11:50AM    6       BE CRITICAL, THERE WAS AN OBLIGATION PLACED ON ONE OF THE

11:50AM    7       PARTIES TO ALERT THE RELEVANT PHYSICIAN OR SOMEONE ELSE?

11:50AM    8       A.   THAT WAS MY UNDERSTANDING, AGAIN, BECAUSE IT WAS THEIR

11:50AM    9       PATIENT, THEY HAD THE DATA, THEY HAD THE LAB EXPERTISE, SO THAT

11:50AM   10       WOULD BE THEIR RESPONSIBILITY.

11:50AM   11       Q.   OKAY.   IF YOU COULD NOW TURN TO PAGE 23.

11:50AM   12            ON PAGE 23 WE AGAIN SEE THE TERM "DEVICE" DEFINED.

11:50AM   13            DO YOU SEE THAT?

11:50AM   14       A.   YES.

11:50AM   15       Q.   DID YOU CONTINUE TO UNDERSTAND THAT THE DEVICE THAT

11:50AM   16       THERANOS WOULD USE TO TEST PATIENT'S BLOOD WAS THE THERANOS

11:50AM   17       ANALYZER?

11:50AM   18       A.   YES.

11:50AM   19       Q.   AND DID YOU UNDERSTAND THAT THERANOS WOULD BE MODIFYING

11:51AM   20       THIRD PARTY DEVICES TO TEST PATIENT'S BLOOD BY THIS TIME?     DID

11:51AM   21       YOU HAVE THAT UNDERSTANDING?

11:51AM   22       A.   NO.

11:51AM   23       Q.   HOW ABOUT USING UNMODIFIED THIRD PARTY DEVICES TO TEST

11:51AM   24       PATIENT'S BLOOD?   LEAVING ASIDE THE POINT YOU MADE TO ME ABOUT

11:51AM   25       USING THIRD PARTY DEVICES TO CONFIRM ACCURACY OF THERANOS'S



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11:51AM    1       DEVICES, HOW ABOUT PURE USE OF A THIRD PARTY DEVICES TO TEST

11:51AM    2       PATIENT'S BLOOD?

11:51AM    3       A.   I WOULD SAY IF THAT WOULD BE DONE, THAT WOULD BE A VERY

11:51AM    4       SMALL PART OF THE VALUE PROPOSITION.      THERE MIGHT BE ESOTERIC

11:51AM    5       TESTS OR SOMETHING THAT WOULD REQUIRE THAT.         THAT WOULDN'T

11:51AM    6       BE -- YOU KNOW, THAT WOULDN'T SURPRISE ME.

11:51AM    7            BUT, AGAIN, THE VAST MAJORITY OF TESTS WE UNDERSTOOD WOULD

11:51AM    8       BE DONE ON A THERANOS MACHINE.

11:51AM    9       Q.   IF YOU'LL TURN TO PAGE 26.

11:52AM   10            AT THE BOTTOM OF PAGE 26 THERE'S SOME CRITERIA FOR A

11:52AM   11       NATIONAL ROLLOUT.    AND I'M WONDERING IF IN THIS AGREEMENT THE

11:52AM   12       NATIONAL ROLLOUT WAS PROMISED OR GUARANTEED, OR IF INSTEAD

11:52AM   13       CERTAIN CRITERIA HAD TO BE MET BEFORE WALGREENS WOULD GO

11:52AM   14       NATIONAL WITH THE THERANOS TECHNOLOGY?

11:52AM   15       A.   I THINK IT WAS ALWAYS UNDERSTOOD THAT EACH LEVEL OF

11:52AM   16       EXPANSION WOULD HAVE TO BE SUCCESSFUL TO MOVE TO THE NEXT

11:52AM   17       LEVEL.

11:52AM   18       Q.   OKAY.   YOU SAID YOU THINK IT WAS ALWAYS UNDERSTOOD.       WHERE

11:52AM   19       DID YOU GET THAT UNDERSTANDING FROM?

11:52AM   20       A.   I THINK THROUGH ALL OF OUR DIALOGUE AND OUR TEAM DIALOGUE

11:52AM   21       AND OUR PROJECT MANAGER DIALOGUE AND THE MULTI PEOPLE THAT

11:52AM   22       SUPPORTED THAT.

11:52AM   23            SO, AGAIN, UNDERSTANDING A LOT OF THINGS ABOUT THE

11:52AM   24       TESTING, NOT JUST THE TESTING ACCURACY, BUT ALSO THE PATIENT

11:52AM   25       EXPERIENCE, THE ACCEPTANCE OF PAYORS, THE ACCEPTANCE OF



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11:52AM    1       CLINICIANS.

11:52AM    2       Q.   DID YOU EVER TELL MS. HOLMES OR MR. BALWANI THAT A

11:52AM    3       NATIONAL ROLLOUT WAS GUARANTEED?

11:53AM    4       A.   NO.

11:53AM    5       Q.   DID YOU EVER HEAR ANYONE ELSE FROM WALGREENS TELL

11:53AM    6       MS. HOLMES OR MR. BALWANI THAT A NATIONAL ROLLOUT WITH

11:53AM    7       WALGREENS WAS GUARANTEED?

11:53AM    8       A.   NO.

11:53AM    9       Q.   WOULD YOU NOW TURN TO PAGE 29.

11:53AM   10            PAGE 29 IS ENTITLED CONVERTIBLE PROMISSORY NOTE.     IS THIS

11:53AM   11       THE PURCHASE OF EQUITY THAT YOU REFERRED TO A MOMENT AGO?

11:53AM   12       A.   IT'S MY RECOLLECTION, YES.

11:53AM   13       Q.   HOW MUCH DID WALGREENS SPEND TO PURCHASE THIS NOTE?

11:53AM   14       A.   HOW MUCH MONEY?

11:53AM   15       Q.   YES.

11:53AM   16       A.   I BELIEVE IT WAS A $40 MILLION NOTE.

11:53AM   17       Q.   I'M SORRY?

11:53AM   18       A.   I BELIEVE IT WAS A $40 MILLION NOTE.

11:53AM   19       Q.   THANK YOU.

11:53AM   20            WOULD YOU NOW TURN TO EXHIBIT 971?

11:54AM   21            DO YOU SEE THAT EXHIBIT?

11:54AM   22       A.   YES.

11:54AM   23       Q.   WHAT IS THIS DOCUMENT?

11:54AM   24       A.   THIS IS JUST AN EMAIL CHAIN FROM ELIZABETH TO ME AND A

11:54AM   25       NOTE FROM MYSELF TO MS. DEBBIE GARZA.



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11:54AM    1       Q.   THANK YOU.

11:54AM    2            THE GOVERNMENT OFFERS 971, YOUR HONOR.

11:54AM    3                   MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

11:54AM    4                   THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:54AM    5            (GOVERNMENT'S EXHIBIT 971 WAS RECEIVED IN EVIDENCE.)

11:54AM    6       BY MR. SCHENK:

11:54AM    7       Q.   IF WE CAN START WITH AN EMAIL ON THE BOTTOM, MS. HOLMES'S

11:54AM    8       EMAIL TO MR. MIQUELON IN AUGUST OF 2013.

11:54AM    9            SO MORE TIME NOW HAS PASSED.      THE AMENDED AGREEMENT WAS

11:54AM   10       JUNE OF 2012.    WE'VE NOW MOVED ABOUT A YEAR LATER, AUGUST 2013.

11:55AM   11       MS. HOLMES IS WRITING YOU THIS EMAIL, AND THE SUBJECT IS FINAL

11:55AM   12       ROLLOUT PLAN.

11:55AM   13            DO YOU SEE THAT?

11:55AM   14       A.   YES.

11:55AM   15       Q.   AND IN THE EMAIL SHE WRITES, "WE HAVE CEMENTED WHAT WE

11:55AM   16       BELIEVE TO BE THE MOST EFFECTIVE ROLLOUT STRATEGY FOR REALIZING

11:55AM   17       BROAD NATIONAL SCALE AS FAR AS POSSIBLE."

11:55AM   18            IN THE NEXT PARAGRAPH SHE TALKS ABOUT MAXIMIZING SPEED OF

11:55AM   19       DEPLOYMENT.   "THIS DEPLOYMENT PLAN ACHIEVES NATIONAL

11:55AM   20       DISTRIBUTION OF THERANOS SERVICES AT WALGREENS BY THE END OF

11:55AM   21       2014."

11:55AM   22            DO YOU SEE THAT?

11:55AM   23       A.   YES.

11:55AM   24       Q.   AND IF WE TURN THE PAGE, THERE'S A NUMBERED LIST THAT

11:55AM   25       MS. HOLMES WRITES, THE WORK THAT NEEDS TO BE DONE IN ORDER TO



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11:55AM    1       ACHIEVE THAT GOAL.

11:55AM    2            DO YOU SEE THAT LIST?

11:55AM    3       A.   YES.

11:55AM    4       Q.   IN THE LIST THE FIRST PARAGRAPH DISCUSSES TRAINING.      WHO

11:55AM    5       NEEDS TO BE TRAINED?

11:55AM    6       A.   THIS WAS SPEAKING TO THE ABILITY FOR WALGREENS TO MAKE

11:56AM    7       SURE OUR STAFF WAS PROPERLY TRAINED WITH RESPECT TO PATIENTS.

11:56AM    8       Q.   OKAY.    SO TO ACHIEVE THIS NATIONAL ROLLOUT, THE FIRST

11:56AM    9       OBLIGATION, THE FIRST NEED WAS WALGREENS, WALGREENS NEEDED TO

11:56AM   10       TRAIN?

11:56AM   11       A.   RIGHT.

11:56AM   12       Q.   THE SECOND IS TALKING ABOUT SPACE.     WHAT SPACE IS BEING

11:56AM   13       DISCUSSED?

11:56AM   14       A.   WE JUST HAD LOTS OF DISCUSSIONS ABOUT, TO PROVIDE A GREAT

11:56AM   15       PATIENT EXPERIENCE, WHAT WOULD NEED TO BE TRUE IN A WALGREENS

11:56AM   16       STORE?   HOW MUCH PRIVACY WOULD YOU WANT?    WHAT WOULD THE

11:56AM   17       ENVIRONMENT BE LIKE?

11:56AM   18            AND SO THERE WAS A LOT OF DISCUSSION ON HOW WE MIGHT TIER

11:56AM   19       THOSE BASED UPON PATIENT VOLUME.

11:56AM   20       Q.   AND WAS THAT WORK THAT ALSO WALGREENS NEEDED TO DO, THE

11:56AM   21       PHYSICAL SPACE INSIDE OF A WALGREENS STORE?

11:56AM   22       A.   YES.

11:56AM   23       Q.   AND THE THIRD PARAGRAPH TALKS ABOUT PREPURCHASE PAYMENTS

11:56AM   24       FROM WALGREENS SOONER THAN ANTICIPATED.

11:56AM   25            DO YOU SEE THAT?   THAT'S IN THE THIRD LINE?



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11:56AM    1       A.   YES.

11:56AM    2       Q.   AND WHAT IS THAT A REFERENCE TO?

11:57AM    3       A.   I BELIEVE THAT'S A REFERENCE TO THE $100 MILLION AND

11:57AM    4       ACCELERATING THAT.

11:57AM    5       Q.   THE INNOVATION FEE?

11:57AM    6       A.   THE INNOVATION FEE.

11:57AM    7       Q.   AND MS. HOLMES WAS SUGGESTING THAT THERANOS NEEDED THAT

11:57AM    8       MONEY SOONER?

11:57AM    9       A.   CORRECT.

11:57AM   10       Q.   AND SO WALGREENS NEEDED TO PAY THE INNOVATION FEE SOONER

11:57AM   11       THAN THE SCHEDULE IN THE AGREEMENT?

11:57AM   12       A.   THAT WAS THE REQUEST.

11:57AM   13       Q.   AND THE FOURTH WAS THE OPERATIONAL STRUCTURE.     WHAT WAS

11:57AM   14       YOUR UNDERSTANDING ABOUT THAT WORK?

11:57AM   15       A.   AGAIN, I DON'T KNOW IF I HAVE A DEEP UNDERSTANDING, BUT I

11:57AM   16       THINK WHAT IT'S REFERRING TO IS, AGAIN, TO MAKE SURE THAT WE

11:57AM   17       HAVE THE PROPER TAKING OF THE SAMPLE, STORAGE OF THE SAMPLE,

11:57AM   18       PROTECTING THE SAMPLE, SHIPPING OF THE SAMPLE TO MAKE SURE THAT

11:57AM   19       THE ENTIRE SUPPLY CHAIN IN THIS BUSINESS MODEL WOULD NOT BE

11:57AM   20       COMPROMISED.

11:57AM   21       Q.   AND THEN FINALLY THE FIFTH AREA THAT NEEDS WORK IS

11:57AM   22       MARKETING.

11:57AM   23            DO YOU SEE THAT?

11:57AM   24       A.   YES.

11:57AM   25       Q.   AND IN THIS LIST THAT MS. HOLMES WROTE IN AUGUST OF 2013



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11:58AM    1       OF THE THINGS THAT NEEDED TO BE DONE IN ORDER TO SPEED TOWARDS

11:58AM    2       A NATIONAL ROLLOUT, DID SHE DISCUSS WORK ON THERANOS'S

11:58AM    3       TECHNOLOGY?

11:58AM    4       A.   NO.

11:58AM    5       Q.   DID SHE TALK ABOUT THE FINGERSTICK CAPABILITY OF

11:58AM    6       THERANOS'S TECHNOLOGY?

11:58AM    7       A.   NO.

11:58AM    8       Q.   DID SHE TALK ABOUT THE NEED TO VALIDATE ASSAYS?

11:58AM    9       A.   NO.

11:58AM   10       Q.   DID -- OF THESE FIVE, ARE ANY OF THEM WORK THAT THERANOS

11:58AM   11       ITSELF NEEDS TO DO?

11:58AM   12       A.   NO.

11:58AM   13       Q.   AND THEN IF WE GO BACK TO THE FIRST PAGE AT THE TOP, YOU

11:58AM   14       FORWARDED THIS EMAIL TO SOMEONE NAMED DEBBIE GARZA.

11:58AM   15            DO YOU SEE THAT?

11:58AM   16       A.   YES.

11:58AM   17       Q.   AND WHO IS GARZA?

11:58AM   18       A.   SHE WAS OUR HEAD OF GOVERNMENT RELATIONS.

11:58AM   19       Q.   AND YOU WROTE IN THE SECOND SENTENCE, "I'M NOT WORRIED

11:58AM   20       ABOUT THEM OR LABS... I'M WORRIED ABOUT US."

11:59AM   21            WHAT DID YOU MEAN BY THAT?

11:59AM   22       A.   MY UNDERSTANDING AT THE TIME WAS THAT THE TECHNOLOGY WAS

11:59AM   23       WORKING PERFECTLY AND IT WAS ALL ABOUT RAMPING UP FOR SCALE,

11:59AM   24       AND SO IT WAS, I THINK, A POINT OF FRUSTRATION THAT MAYBE WE

11:59AM   25       WEREN'T DOING OUR PART BECAUSE OF THE ITEMS THAT SHE HAD



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11:59AM    1       LISTED, THAT MAYBE WE WEREN'T TRAINING PEOPLE FAST ENOUGH

11:59AM    2       PROPERLY, MAYBE WE WEREN'T GETTING OUR EXPERIENCE RIGHT FAST

11:59AM    3       ENOUGH.

11:59AM    4       Q.   THANK YOU.

11:59AM    5            WOULD YOU NOW TURN TO EXHIBIT 1254.

11:59AM    6            WHAT IS THIS DOCUMENT?

11:59AM    7       A.   I BELIEVE THIS IS AN EMAIL THAT FORWARDS AN ARTICLE ON

11:59AM    8       THERANOS.

11:59AM    9       Q.   FIRST AN EMAIL FROM MR. BALWANI TO FOLKS AT WALGREENS AND

11:59AM   10       THEN FROM MR. -- DR. ROSAN AT WALGREENS TO YOU; IS THAT RIGHT?

11:59AM   11       A.   THAT'S CORRECT.      THAT'S RIGHT.

12:00PM   12                   MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 1254.

12:00PM   13                   MR. DOWNEY:    YOUR HONOR, I DON'T OBJECT TO THE

12:00PM   14       EMAIL, BUT THE ARTICLE CONTAINS A GOOD AMOUNT OF HEARSAY, THE

12:00PM   15       ATTACHMENT.

12:00PM   16                   MR. SCHENK:    YOUR HONOR, I'M CERTAINLY NOT OFFERING

12:00PM   17       THE ARTICLE FOR ITS TRUTH.

12:00PM   18                   THE COURT:    IT'S BEING OFFERED FOR WHAT PURPOSE?

12:00PM   19                   MR. SCHENK:    I'M SORRY?

12:00PM   20                   THE COURT:    WHAT PURPOSE?

12:00PM   21                   MR. SCHENK:    TO SHOW THE STATE OF MIND OF THE

12:00PM   22       INDIVIDUAL WHO SENT IT.     I THINK IT'S ALSO 801(D)(2)(E).

12:00PM   23                   THE COURT:    ALL RIGHT.    I'LL ADMIT THIS.

12:00PM   24            LADIES AND GENTLEMEN, THE ARTICLE THAT YOU'LL SEE IN JUST

12:00PM   25       A MOMENT IS NOT BEING OFFERED FOR THE TRUTH OF THE MATTER



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12:00PM    1       ASSERTED IN THE ARTICLE.      IT'S ONLY FOR THE STATE OF MIND OF

12:00PM    2       THE SENDERS, SO IT WILL BE RECEIVED FOR THAT PURPOSE ONLY.

12:00PM    3                    MR. SCHENK:   THANK YOU, YOUR HONOR.

12:00PM    4            (GOVERNMENT'S EXHIBIT 1254 WAS RECEIVED IN EVIDENCE.)

12:00PM    5                    THE COURT:    IT MAY BE PUBLISHED.

12:00PM    6       BY MR. SCHENK:

12:00PM    7       Q.   MR. MIQUELON, LET'S START FIRST WITH THE EMAIL AT THE

12:00PM    8       BOTTOM.

12:00PM    9            MR. BALWANI SENT AN EMAIL TO DR. ROSAN, SOMEONE NAMED

12:01PM   10       BRAD WASSON.    WHO WAS THAT?

12:01PM   11       A.   THAT WAS THE BROTHER OF THE CEO GREG WASSON, AND HE WAS A

12:01PM   12       HEALTH CARE PHARMACY LEADER WHO WAS ON THE MULTI FUNCTIONAL

12:01PM   13       TEAM AT THAT TIME.

12:01PM   14       Q.   AND ON THE CC LINE, MR. ASHWORTH, WHO WAS THAT?

12:01PM   15       A.   HE WAS ANOTHER HEALTH CARE EXECUTIVE AT WALGREENS AND HE

12:01PM   16       WAS ALSO INVOLVED IN THE PROJECT IN TERMS OF I BELIEVE HELPING

12:01PM   17       TO MAKE SURE THAT WE WERE OPERATIONALIZING IT TO THE BEST

12:01PM   18       STANDARD POSSIBLE.

12:01PM   19       Q.   AND THE ARTICLE WAS SENT ON NOVEMBER 18TH, 2013.

12:01PM   20            DO YOU REMEMBER WHAT WAS HAPPENING SORT OF ROUGHLY AROUND

12:01PM   21       THAT TIME?

12:01PM   22       A.   I BELIEVE THAT WAS SHORTLY AFTER, I DON'T REMEMBER THE

12:01PM   23       EXACT DATE, THAT WE HAD LAUNCHED THE PILOTS IN PHOENIX.

12:01PM   24       Q.   LAUNCHED THE PILOTS WITH THERANOS?

12:01PM   25       A.   CORRECT.



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12:01PM    1       Q.   AND THEN JUST ABOVE THIS EMAIL, DR. ROSAN FORWARDED THIS

12:02PM    2       TO YOU; IS THAT RIGHT?

12:02PM    3       A.   CORRECT.

12:02PM    4       Q.   AND IF YOU'LL NOW TURN TO PAGE 2, I WANT TO ASK YOU SOME

12:02PM    5       QUESTIONS ABOUT THE ARTICLE.

12:02PM    6            AND WHAT I'M WONDERING IS IF THE SENTENCES OR STATEMENTS

12:02PM    7       I'M GOING TO BE READING TO YOU, IF THEY'RE CONSISTENT WITH YOUR

12:02PM    8       UNDERSTANDING OF THE THERANOS TECHNOLOGY AT THE TIME, NOVEMBER

12:02PM    9       OF 2013.

12:02PM   10       A.   OKAY.

12:02PM   11       Q.   SO THE ARTICLE BEGINS, "A NUMBER OF STARTUPS ARE SELLING

12:02PM   12       PORTABLE DIAGNOSTIC LABORATORIES THAT REQUIRE JUST A DROP OF

12:02PM   13       THE PATIENT'S BLOOD, MADE POSSIBLE BY ADVANCES IN THE FIELD OF

12:02PM   14       MICROFLUIDICS.   BUT PERHAPS LAB TESTS CAN BE MADE FASTER,

12:02PM   15       EASIER, AND MORE ACCURATE WITH A TURN-OF-THE-LAST CENTURY

12:02PM   16       TECHNOLOGY AUTOMATION."

12:02PM   17            DID YOU HAVE AN UNDERSTANDING THAT THAT WAS THE

12:02PM   18       DESCRIPTION OF THE THERANOS TECHNOLOGY?

12:02PM   19       A.   YES.

12:02PM   20       Q.   AND THE ARTICLE IS PLACED INTO AN EMAIL BY MR. BALWANI; IS

12:02PM   21       THAT RIGHT?

12:02PM   22       A.   YES.

12:02PM   23       Q.   AND ABOVE THE ARTICLE -- OR BELOW THE ARTICLE, DOES

12:02PM   24       MR. BALWANI PUT ANY CAVEATS?    DOES MR. BALWANI SAY, LOOK WHAT

12:03PM   25       THEY'RE WRITING, THE PRESS DOESN'T UNDERSTAND OUR TECHNOLOGY,



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12:03PM    1       OR WE NEED TO CORRECT THIS?     OR ARE THERE ANY CAVEATS?

12:03PM    2       A.   NOT THAT I SEE.

12:03PM    3       Q.   THE NEXT PARAGRAPH READS, "THAT'S THE BET THE

12:03PM    4       SILICON VALLEY COMPANY THERANOS IS MAKING AND THE COMPANY

12:03PM    5       RECENTLY SEALED A DEAL WITH WALGREENS'S PHARMACY TO DELIVER

12:03PM    6       ON-SITE LABORATORY SERVICES TO MANY OF ITS STORES."

12:03PM    7            IS THAT CONSISTENT WITH YOUR UNDERSTANDING?

12:03PM    8       A.   THAT'S CONSISTENT.

12:03PM    9       Q.   IN THE NEXT PARAGRAPH IT TALKS ABOUT HENRY FORD AND IT

12:03PM   10       SAYS, "THERANOS'S SELLING POINT IS MUCH SMALLER THAN A MODEL T,

12:03PM   11       A CAPSULE-SIZED LAB VIAL, AND JUST ONE NEEDS TO BE FILLED FOR

12:03PM   12       THE COMPANY TO RUN NEARLY ANY STANDARD LAB TEST."

12:03PM   13            WAS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE

12:03PM   14       THERANOS TECHNOLOGY CAPABILITIES?

12:03PM   15       A.   YES.

12:03PM   16       Q.   FURTHER DOWN IT SAYS, "HERE HOW IT WORKS:      BLOOD IS DRAWN

12:03PM   17       WITH A FINGERSTICK RATHER THAN A NEEDLE IN THE ARM.     (IT CAN

12:04PM   18       ALSO RUN URINE TESTS WITH JUST A DROP OF THAT.)      THERE ARE NO

12:04PM   19       BOTCHED STICKS - OF COURSE THERE ARE NO PHLEBOTOMISTS, ONLY

12:04PM   20       MACHINES IN THERANOS LABS."

12:04PM   21            IS THAT CONSISTENT WITH THE WAY THE TECHNOLOGY WAS

12:04PM   22       DESCRIBED TO YOU?

12:04PM   23       A.   YES.

12:04PM   24       Q.   THE NEXT PARAGRAPH READS, "THE BAD NEWS FOR WORKERS MAY BE

12:04PM   25       GOOD NEWS FOR ACCURACY BECAUSE HUMAN HANDLING OF SAMPLES



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12:04PM    1       ACCOUNTS FOR THE LION'S SHARE OF VARIATION AMONG RESULTS,

12:04PM    2       FOUNDER AND CEO ELIZABETH HOLMES SAID LAST WEEK AT A TECHNOLOGY

12:04PM    3       CONFERENCE IN NEW YORK.    AUTOMATION ELIMINATES SPILLS, TESTS

12:04PM    4       DONE IN ERROR, AND OTHER MISHANDLING OF THE SAMPLE."

12:04PM    5            WAS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE

12:04PM    6       THERANOS CAPABILITIES?

12:04PM    7       A.   THAT WAS MY UNDERSTANDING, AND ANOTHER REASON WHY THE

12:04PM    8       RESULTS WOULD BE BETTER IS BECAUSE OF THE HANDLING CHAIN FOR

12:04PM    9       CONVENTIONAL LAB.

12:04PM   10       Q.   AND WHAT DO YOU MEAN BY THAT, THE HANDLING CHAIN?

12:04PM   11       A.   AGAIN, IF SOMEONE IS DRAWING A VENIPUNCTURE AND MULTIPLE

12:04PM   12       TEST TUBES, IT MIGHT BE COURIERRED ONCE OR TWICE, IT MIGHT BE

12:05PM   13       SITTING AROUND AWHILE.    THERE ARE JUST MORE THINGS THAT COULD

12:05PM   14       GO WRONG.

12:05PM   15       Q.   OKAY.   NOW, IF YOU'LL TURN TO THE NEXT PAGE, PAGE 3 OF THE

12:05PM   16       EXHIBIT.    THE SECOND PARAGRAPH READS, "THE MACHINES METE OUT

12:05PM   17       BITS OF 'MICRO-SAMPLE' FOR EACH TEST A DOCTOR HAS ORDERED.        IN

12:05PM   18       CONVENTIONAL TESTING, EACH TEST REQUIRED A DEDICATED VIAL,

12:05PM   19       WHICH ADDS DRAMATICALLY TO THE AMOUNT OF BLOOD REQUIRED.

12:05PM   20       THERANOS IS EVEN ABLE TO SAVE SOME OF THE TINY SAMPLE IN CASE

12:05PM   21       THE DOCTOR REQUESTS FURTHER TESTS AFTER SEEING THE INITIAL

12:05PM   22       RESULTS."

12:05PM   23            WAS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE

12:05PM   24       THERANOS TECHNOLOGY?

12:05PM   25       A.   MY UNDERSTANDING WAS THAT THEORETICALLY IT WAS POSSIBLE.



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12:05PM    1       I DON'T KNOW IF THEY WERE DOING IT THEN.

12:05PM    2            BUT IF YOU HAD -- AGAIN, A CARTRIDGE WOULD HAVE TESTS ON

12:05PM    3       IT, YOU COULD MAYBE RUN 13 TESTS, AND THEN IF THE MARKERS CAME

12:05PM    4       UP A CERTAIN WAY AND YOU WANTED TO GO BACK AND RERUN ANOTHER

12:06PM    5       ONE, THAT COULD BE DONE.

12:06PM    6            I DON'T KNOW IF IT COULD BE DONE AT THAT TIME OR IF THAT

12:06PM    7       WAS PART OF THE VISION --

12:06PM    8       Q.   IF -- I'M SORRY.   GO AHEAD.

12:06PM    9       A.   SO I DON'T KNOW IF IT WAS FUTURISTIC OR CURRENT, BUT THAT

12:06PM   10       WAS PART OF THE VISION AT LEAST.

12:06PM   11       Q.   IN YOUR DISCUSSIONS WITH EITHER MS. HOLMES OR MR. BALWANI,

12:06PM   12       THEY DESCRIBED THIS CAPABILITY OR THIS POSSIBILITY?

12:06PM   13       A.   I THINK MORE OF A POSSIBILITY VERSUS A CURRENT CAPABILITY

12:06PM   14       TO BE HONEST.

12:06PM   15       Q.   THE NEXT PARAGRAPH READS, "ALL OF THE DIAGNOSTIC

12:06PM   16       TECHNOLOGY IS INTEGRATED, WHICH INCREASES PRECISION.     EACH

12:06PM   17       MACHINE IN A CONVENTIONAL LAB MAY CALIBRATE DIFFERENTLY, AND

12:06PM   18       THE MIX OF BRANDS AND AGES IN MEANS RESULTS COME WITH AN

12:06PM   19       IMPLIED 'OR SO' AT THE END.    PLOTTING RESULTS OVER TIME IS

12:06PM   20       THEREFORE MOSTLY USELESS."

12:06PM   21            IS THIS THE CONCEPT THAT YOU WERE EXPLAINING TO ME EARLIER

12:06PM   22       ABOUT THE CALIBRATION BETWEEN MACHINES?

12:06PM   23       A.   CORRECT.

12:06PM   24       Q.   SO WAS THIS CONSISTENT WITH YOUR UNDERSTANDING OF THE

12:06PM   25       THERANOS TECHNOLOGY?



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12:06PM    1       A.   CORRECT.

12:06PM    2       Q.   WAS THERE A TIME WHEN YOU WERE MEETING WITH MS. HOLMES AND

12:07PM    3       MR. BALWANI THAT THEY SHOWED YOU A THERANOS DEVICE THAT WAS

12:07PM    4       COVERED IN PLASTIC OR IN SOME TYPE OF COVERING?

12:07PM    5       A.   YES.

12:07PM    6       Q.   AND WHEN WAS THAT?

12:07PM    7       A.   I DON'T RECALL IF IT WAS MY FIRST OR SECOND TRIP TO

12:07PM    8       THERANOS, BUT IT WAS PRETTY EARLY ON IN THE CONVERSATIONS.

12:07PM    9       Q.   AND WHAT DO YOU RECALL -- FIRST OF ALL, DO YOU RECALL

12:07PM   10       EITHER MS. HOLMES OR MR. BALWANI DESCRIBING THAT DEVICE TO YOU?

12:07PM   11                    MR. DOWNEY:   I WOULD OBJECT TO THE FORM.    I THINK HE

12:07PM   12       COULD ASK INDIVIDUALLY ABOUT THE TWO INDIVIDUALS.        HE'S ASKING

12:07PM   13       A COMPOUND QUESTION EFFECTIVELY THAT I BELIEVE ASKS FOR AN

12:07PM   14       AMBIGUOUS ANSWER.

12:07PM   15                    MR. SCHENK:   I CAN CLARIFY.

12:07PM   16                    THE COURT:    SURE.   GO AHEAD.

12:07PM   17       BY MR. SCHENK:

12:07PM   18       Q.   DO YOU RECALL MS. HOLMES TALKING TO YOU ABOUT THIS DEVICE

12:07PM   19       THAT WAS COVERED IN SOME MATERIAL?

12:07PM   20       A.   MY RECOLLECTION IS MORE MR. BALWANI DESCRIBING IT AND

12:07PM   21       SHOWING IT TO ME.

12:07PM   22       Q.   OKAY.    AND WHAT DO YOU RECALL MR. BALWANI SAYING?

12:07PM   23       A.   THAT THEY WERE DOING SOME KIND OF WORK FOR THE MILITARY,

12:08PM   24       EARLY WORK UNDER NDA, COULDN'T SAY MUCH, BUT THAT THEY HAD

12:08PM   25       EFFECTIVELY HAD ONE OF THESE HELIVAC I BELIEVE IN AFGHANISTAN.



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12:08PM    1            BUT TO BE ABLE TO SEE IN THE FUTURE, IF THERE WAS AN

12:08PM    2       OPPORTUNITY FOR THE MILITARY TO BE ABLE TO DO ACCURATE

12:08PM    3       ON-LOCATION REALTIME DIAGNOSTICS WERE NEEDED.

12:08PM    4       Q.   AND WERE YOU IMPRESSED BY THAT?

12:08PM    5       A.   YES, I WAS IMPRESSED BY THAT.

12:08PM    6       Q.   WHY?

12:08PM    7       A.   AGAIN, I THINK TO BE ABLE TO HAVE, YOU KNOW, THE MILITARY

12:08PM    8       PILOTING A NEW TECHNOLOGY IS -- ESPECIALLY OF THIS SORT IS

12:08PM    9       IMPRESSIVE.

12:08PM   10       Q.   THANK YOU.

12:08PM   11            YOUR HONOR, MAY I HAVE JUST ONE MOMENT?

12:08PM   12                   THE COURT:    YES.

12:09PM   13            (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

12:09PM   14                   MR. SCHENK:    NO FURTHER QUESTIONS, YOUR HONOR.

12:09PM   15                   THE COURT:    CROSS-EXAMINATION?

12:09PM   16                   MR. DOWNEY:    YES, YOUR HONOR.

12:09PM   17                   THE COURT:    FOLKS, STAND UP AND STRETCH FOR A MOMENT

12:09PM   18       WHILE WE DO THE LINE CHANGE.

12:09PM   19            YOU CAN STRETCH IF YOU WOULD LIKE TO, SIR.     IF YOU WANT TO

12:09PM   20       STAND UP, GO AHEAD AND FEEL FREE.

12:09PM   21                   THE WITNESS:   THANK YOU.   I APPRECIATE THAT.

12:10PM   22                                 CROSS-EXAMINATION

12:10PM   23       BY MR. DOWNEY:

12:10PM   24       Q.   GOOD AFTERNOON, MR. MIQUELON.      MY NAME IS KEVIN DOWNEY AND

12:10PM   25       I REPRESENT MS. HOLMES.



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12:10PM    1            I'M GOING TO REMOVE MY MASK SO WE CAN HEAR EACH OTHER MORE

12:10PM    2       CLEARLY.

12:10PM    3            I'D LIKE TO ASK YOU ABOUT WALGREENS IN 2010.

12:10PM    4       A.   UH-HUH.

12:10PM    5       Q.   AS I UNDERSTAND IT, IN THAT TIME PERIOD YOU HAD AROUND

12:11PM    6       8,000 STORES OR SO?

12:11PM    7       A.   ROUGHLY.

12:11PM    8       Q.   AND DID THAT NUMBER CONTINUE TO BE TRUE IN 2014 WHEN YOU

12:11PM    9       LEFT?

12:11PM   10       A.   MORE OR LESS.

12:11PM   11       Q.   OKAY.   AND MOST OF THE BUSINESS OF WALGREENS AT THAT TIME

12:11PM   12       WAS PHARMACY BUSINESS ON ONE SIDE OF THE BUSINESS; CORRECT?

12:11PM   13       A.   THE BUSINESS -- THE PHARMACY WOULD BE BROKEN CONCEPTUALLY

12:11PM   14       INTO TWO PARTS.   THERE WAS WHAT WE CALL THE FRONT END, SO IT

12:11PM   15       WAS THE EVERYDAY KIND OF CONSUMER PRODUCTS THAT EVERYBODY BUYS,

12:11PM   16       AND THEN THE PHARMACY IN THE BACK OF THE STORE.

12:11PM   17       Q.   AND WERE THOSE WALGREENS STORES IN OTHER BUSINESSES AT

12:11PM   18       THAT TIME?

12:11PM   19       A.   WALGREENS WAS IN SOME HEALTH CARE CLINICS, SOME INFUSION

12:11PM   20       AND SPECIALTY TYPE BUSINESSES IN PHARMACY.

12:11PM   21       Q.   AND WOULD THOSE FACILITIES TYPICALLY BE EITHER IN THE

12:11PM   22       STORE OR ADJACENT TO THE STORE?

12:11PM   23       A.   THE HEALTH CARE CLINICS WOULD BE IN THE STORE, BUT THE

12:11PM   24       INFUSION AND OTHER SPECIALTY CLINICS WOULD BE COMPLETELY

12:12PM   25       SEPARATE.



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12:12PM    1       Q.   OKAY.    AND TELL US WHETHER IN 2010 WALGREENS WAS LOOKING

12:12PM    2       TO EXPAND ITS OFFERING OF HEALTH SERVICES.

12:12PM    3       A.   I THINK THAT'S BEEN AN EVOLVING STRATEGY OF THE COMPANY

12:12PM    4       FOR -- EVEN BEFORE THAT.

12:12PM    5       Q.   WOULD YOU DESCRIBE WHAT THAT STRATEGY WAS?

12:12PM    6       A.   TO CONTINUE TO MOVE DEEPER INTO HEALTH CARE, TO PROVIDE

12:12PM    7       SERVICES THAT MADE HEALTH CARE MORE ACCESSIBLE TO CUSTOMERS.

12:12PM    8       Q.   SO THAT WOULD INCLUDE THINGS LIKE THE VACCINATION THAT YOU

12:12PM    9       MENTIONED?

12:12PM   10       A.   CORRECT.

12:12PM   11       Q.   AND IT WOULD ALSO INCLUDE NEW BUSINESSES, LIKE POTENTIALLY

12:12PM   12       BLOOD TESTING; CORRECT?

12:12PM   13       A.   YES.

12:12PM   14       Q.   AND IN 2010 WITHIN THE COMPANY, WAS THERE A TEAM LOOKING

12:12PM   15       FOR OPPORTUNITIES IN TERMS OF PROVIDING HEALTH CARE

12:12PM   16       OPPORTUNITIES WITHIN THE STORES?

12:12PM   17       A.   YES.

12:12PM   18       Q.   AND WHO LED THAT TEAM?

12:12PM   19       A.   I BELIEVE IN 2010 IT WAS COLLIN WATTS WHO WAS OUR HEAD OF

12:13PM   20       INNOVATION.

12:13PM   21       Q.   AND WERE YOU INVOLVED IN THOSE EFFORTS?

12:13PM   22       A.   I WAS ONE OF THE SPONSORS TO THAT TEAM.

12:13PM   23       Q.   AND CAN YOU SAY A LITTLE BIT ABOUT WHY OFFERING THESE

12:13PM   24       HEALTH CARE SERVICES WAS GOOD FOR WALGREENS BUSINESS?     DID IT

12:13PM   25       INCREASE THE NUMBER OF CUSTOMERS WHO CAME INTO THE STORE?



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12:13PM    1       A.   I THINK PHILOSOPHICALLY ANYTHING THAT IS GOOD FOR

12:13PM    2       WALGREENS, YOU KNOW, CUSTOMERS AS A PATIENT IS GOOD FOR

12:13PM    3       EVERYONE.

12:13PM    4            BUT, AGAIN, THE CONCEPT WAS TO SAY THAT IF YOU COULD MAKE

12:13PM    5       THESE SERVICES MORE ACCESSIBLE TO THE AVERAGE PERSON, THAT THAT

12:13PM    6       WOULD LEAD TO PEOPLE TAKING BETTER CONTROL OF THEIR HEALTH CARE

12:13PM    7       WHICH WOULD LEAD TO BETTER OUTCOMES.

12:13PM    8       Q.   AND DID YOU ALSO BELIEVE THAT JUST AS PART OF THE BUSINESS

12:13PM    9       MODEL IT WOULD BRING MORE CUSTOMERS TO WALGREENS?

12:13PM   10       A.   THAT WOULD BE PART OF IT, BUT THERE ARE MANY ASPECTS OF

12:14PM   11       BENEFITS.

12:14PM   12       Q.   AND WAS THERE ANY ANALYSIS DONE OF THE EFFECT ON

12:14PM   13       NON-HEALTH CARE SERVICE SALES IF THOSE TYPES OF SERVICES WERE

12:14PM   14       PLACED IN A STORE?

12:14PM   15       A.   I DON'T KNOW IF THERE WAS OR NOT, WHETHER THERE WAS AN

12:14PM   16       ANALYSIS AND WHAT WOULD THAT MEAN FOR INCREMENTAL PRESCRIPTIONS

12:14PM   17       OR FOR FRONT-END PURCHASES.

12:14PM   18            PART OF WHAT WAS VERY IMPORTANT, I THINK, WAS JUST

12:14PM   19       BECOMING MORE RELEVANT TO CUSTOMERS AND MORE RELEVANT TO HEALTH

12:14PM   20       PLANS.

12:14PM   21       Q.   OKAY.   SO IN 2010, YOU WERE LOOKING AT A NUMBER OF

12:14PM   22       POTENTIAL PARTNERS IN THAT SPACE; IS THAT RIGHT?

12:14PM   23       A.   WE WERE.

12:14PM   24       Q.   AND FROM THE PERSPECTIVE OF THE POTENTIAL PARTNERS,

12:14PM   25       WALGREENS WAS AN ATTRACTIVE OPTION AS WELL; CORRECT?



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12:14PM    1       A.   I WOULD THINK SO.

12:14PM    2       Q.   AND THAT'S IN PART BECAUSE YOU HAD SO MANY STORES AND

12:14PM    3       LOCATIONS?

12:14PM    4       A.   CORRECT.

12:14PM    5       Q.   AND ALSO YOUR STORES TEND TO BE CONVENIENTLY LOCATED?

12:14PM    6       THEY'RE IN PLACES THAT PEOPLE CAN GET TO AND SHOP AND GET THEIR

12:15PM    7       PRESCRIPTIONS; RIGHT?

12:15PM    8       A.   CORRECT.   ALSO I BELIEVE AT THAT TIME THE COMPANY WAS

12:15PM    9       DOING CLOSE TO A THIRD OF ALL PRESCRIPTIONS IN THE COUNTRY, SO

12:15PM   10       YOU COULD ARGUE THAT YOU WOULD ALREADY HAVE A LARGE PATIENT

12:15PM   11       BASE FROM WHICH TO GIVE THEM ADDITIONAL BENEFITS.

12:15PM   12       Q.   AND DID THE COMPANY ALSO HAVE A LOT OF EXPERTISE IN RETAIL

12:15PM   13       AND CONSUMER OFFERINGS?

12:15PM   14       A.   I WOULD SAY YES.

12:15PM   15       Q.   AND WERE YOU LOOKING FOR WAYS TO TAKE THAT EXPERTISE AND

12:15PM   16       PUT IT IN NEW KINDS OF SERVICES?

12:15PM   17       A.   I MIGHT SAY IT DIFFERENTLY.    I THINK WE WERE LOOKING FOR

12:15PM   18       PEOPLE WHO HAD EXPERTISE IN DIFFERENT PARTS OF HEALTH CARE THAT

12:15PM   19       WOULD MARRY NICELY WITH THE CAPABILITIES THAT WE COULD BRING.

12:15PM   20       Q.   OKAY.   LET ME ASK YOU TO LOOK BACK AT EXHIBIT 300, WHICH I

12:15PM   21       THINK MR. SCHENK SHOWED YOU AND WHICH I BELIEVE IS IN EVIDENCE.

12:16PM   22            AND THIS IS AN EMAIL FROM YOU TO GREG WASSON AND OTHERS

12:16PM   23       FORWARDING THE BRIEFING POWERPOINT THAT YOU GOT FROM THERANOS.

12:16PM   24            DO YOU RECALL THAT?

12:16PM   25       A.   YES.



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12:16PM    1       Q.   AND IN THE EMAIL THAT YOU SENT TO MR. WASSON, YOU SAY, I

12:16PM    2       THINK YOU OMITTED A WORD, BUT YOU SAY "AS MOST OF YOU KNOW,

12:16PM    3       PROVIDING DIAGNOSTIC SERVICES IN THE STORES, RETAIL CLINICS,

12:16PM    4       WORKSITE HEALTH CENTERS, HOME CARE, ET CETERA, IS IN OUR

12:16PM    5       STRATEGIC DOCUMENT AND HAS BEEN PART OF BOARD DISCUSSIONS."

12:16PM    6            WHAT IS THE -- WHAT WAS THE STRATEGIC DOCUMENT?

12:16PM    7       A.   THE COMPANY HAS, YOU KNOW, A STRATEGIC PLAN AND A PROCESS

12:17PM    8       AROUND EVOLVING THAT AND DEVELOPING THAT.

12:17PM    9            BUT, AGAIN, THAT EXTENSION INTO DEEPER, MORE ACCESSIBLE

12:17PM   10       HEALTH CARE SERVICES WAS A MULTI-YEAR OBJECTIVE.

12:17PM   11       Q.   AND WAS THAT SOMETHING THAT WAS BEING ENCOURAGED BY THE

12:17PM   12       BOARD OF DIRECTORS AS WELL?

12:17PM   13       A.   YES.

12:17PM   14       Q.   AND THAT WAS THE SUBJECT OF DISCUSSION AT BOARD MEETINGS?

12:17PM   15       A.   SOMETIMES.

12:17PM   16       Q.   YOU TALKED ABOUT THE MEETING THAT YOU HAD WITH MR. BALWANI

12:17PM   17       AND MS. HOLMES IN PALO ALTO.

12:17PM   18            DID YOU ALSO MEET WITH OTHER POTENTIAL PARTNERS AT CERTAIN

12:17PM   19       TIMES?

12:17PM   20       A.   WE DID.

12:17PM   21       Q.   WERE YOU PERSONALLY INVOLVED IN THAT?

12:17PM   22       A.   I WAS INVOLVED IN A FEW OF THOSE.

12:17PM   23       Q.   AND WERE THOSE -- WERE ANY OF THOSE RELATED TO PROVIDING

12:17PM   24       BLOOD TESTING SERVICES OR CLINICAL LAB SERVICES?

12:17PM   25       A.   YES.



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12:17PM    1       Q.     AND WHICH ENTITY DID YOU PARTICIPATE IN THOSE MEETINGS

12:18PM    2       FOR?

12:18PM    3       A.     I DON'T KNOW IF I COULD REMEMBER THE NAMES.   THERE WAS A

12:18PM    4       GENTLEMAN, A SMALL STARTUP OUT OF RICE UNIVERSITY; THERE WAS A

12:18PM    5       STARTUP OUT OF ISRAEL; WE DID HIRE A CONSULTING FIRM TO LOOK AT

12:18PM    6       THE SPACE AND THEY IDENTIFIED 180 COMPANIES THAT WERE DOING

12:18PM    7       SOMETHING IN THE LAB TECHNOLOGY SPACE TO ASSESS.     BUT WE DIDN'T

12:18PM    8       TALK TO ALL 180, BUT WE HAD THE ANALYSIS DONE.

12:18PM    9       Q.     BUT THIS WAS ENOUGH OF A PRIORITY THAT YOU TOOK ALL OF

12:18PM   10       THOSE STEPS; IS THAT CORRECT?

12:18PM   11       A.     YES.

12:18PM   12       Q.     OKAY.   WHEN YOU FIRST HEARD ABOUT THERANOS, FIRST OF ALL,

12:18PM   13       DID YOU HEAR ABOUT IT INTERNALLY OR EXTERNALLY?

12:18PM   14       A.     INTERNALLY THROUGH DR. ROSAN.

12:18PM   15       Q.     DR. ROSAN IS DR. JAY ROSAN?

12:19PM   16       A.     THAT'S CORRECT.

12:19PM   17       Q.     AND REMIND US WHAT HIS TITLE WAS AT WALGREENS?

12:19PM   18       A.     I DON'T RECALL HIS TITLE, BUT HE WAS EFFECTIVELY THE CHIEF

12:19PM   19       MEDICAL EXPERT, IF YOU WILL, FOR THE INNOVATION TEAM.

12:19PM   20       Q.     AND WHEN YOU SAY "INNOVATION TEAM," WHAT WAS THE

12:19PM   21       INNOVATION TEAM?

12:19PM   22       A.     THE INNOVATION TEAM WAS A TEAM THAT WAS LOOKING TO

12:19PM   23       IDENTIFY NOT ONLY NEW, NEW PROJECTS, JOINT VENTURES AND

12:19PM   24       PARTNERSHIPS IN THE HEALTH CARE SPACE, BUT ALSO ULTIMATELY

12:19PM   25       PEOPLE FROM THAT TEAM WOULD BECOME PART OF THE WORKING TEAM TO



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12:19PM    1       HELP COMMERCIALIZE IT.

12:19PM    2       Q.   AND I THINK YOU INDICATED BEFORE THAT YOU WENT TO THE

12:19PM    3       FIRST MEETING AT THERANOS WITH DR. ROSAN?

12:19PM    4       A.   I DID.

12:19PM    5       Q.   AND PRIOR TO THAT MEETING, DO YOU RECALL WHAT HE SAID TO

12:19PM    6       YOU ABOUT THERANOS?

12:19PM    7       A.   MORE OR LESS, BECAUSE WE HAD TALKED TO THESE OTHER

12:19PM    8       COMPANIES AND HE SAID THAT HE HAD HEARD ABOUT A COMPANY CALLED

12:19PM    9       THERANOS, AND FROM WHAT HE HAD HEARD, THIS MAY BE THE MOST

12:20PM   10       EXCITING AND FARTHEST AHEAD COMPANY IN THIS SPACE.

12:20PM   11       Q.   AND HE WANTED YOU TO TAKE THE TIME TO MEET WITH THEM?

12:20PM   12       A.   YES.

12:20PM   13       Q.   AT THE TIME THAT HE MADE THAT REQUEST TO YOU, YOU WERE THE

12:20PM   14       CHIEF FINANCIAL OFFICER OF THE COMPANY; CORRECT?

12:20PM   15       A.   CORRECT.

12:20PM   16       Q.   AND YOU HAD A BROAD PORTFOLIO; CORRECT?

12:20PM   17       A.   CORRECT.

12:20PM   18       Q.   AND YOU HAD SEVERAL HUNDRED PEOPLE REPORTING TO YOU AT

12:20PM   19       THAT TIME?

12:20PM   20       A.   MORE OR LESS, YEAH.

12:20PM   21       Q.   AND YOU WOULD, FROM THAT POINT FORWARD IN 2010 UNTIL THE

12:20PM   22       TIME THAT YOU LEFT WALGREENS IN 2014, HAVE SOME ENGAGEMENT WITH

12:20PM   23       THERANOS; CORRECT?

12:20PM   24       A.   YES.

12:20PM   25       Q.   AND GIVE US A SENSE OF HOW MUCH OF YOUR TIME YOU SPENT



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12:20PM    1       DEALING WITH THERANOS DURING THE PERIOD OF 2010 TO 2014?

12:20PM    2       A.   IT WOULD BE HARD TO QUANTIFY THE HOURS.       I WOULD SAY I

12:21PM    3       PROBABLY INTERACTED WITH, YOU KNOW, SUNNY AND ELIZABETH I'M

12:21PM    4       GUESSING MAYBE 10 TO 15 TIMES.

12:21PM    5            I, AGAIN, VISITED THERANOS I DON'T KNOW HOW MANY TIMES,

12:21PM    6       PROBABLY FOUR OR FIVE TIMES.

12:21PM    7            I MADE A LOT OF INTRODUCTIONS TO OTHER PARTNERS THAT I

12:21PM    8       THOUGHT WOULD BE BENEFIT INITIAL TO THE MODEL.

12:21PM    9            BUT I WOULD SAY AROUND THE LAUNCH OF THE PILOT IN 2013 IS

12:21PM   10       WHERE MY INVOLVEMENT DIMINISHED BECAUSE WE HAD A WORKING TEAM

12:21PM   11       THAT WAS TAKING OVER.   SO I WOULD SAY THAT'S PROBABLY WHERE MY

12:21PM   12       TIME BECAME, YOU KNOW, VERY MINUSCULE.

12:21PM   13       Q.   OKAY.   AND WERE THERE OTHERS AT WALGREENS WHO SPENT A

12:21PM   14       SUBSTANTIAL AMOUNT OF THEIR TIME ON THERANOS?

12:21PM   15       A.   THERE WERE PEOPLE WHO WERE FULLY DEDICATED.

12:21PM   16       Q.   AND WOULD THAT INCLUDE DR. ROSAN?

12:21PM   17       A.   I WOULDN'T SAY HE WAS FULLY DEDICATED.        MAYBE HE WAS, IF I

12:21PM   18       HAD TO GUESS, MAYBE A THIRD OF HIS TIME OR SOMETHING.

12:21PM   19       Q.   SO, SO DR. ROSAN WAS INTERACTING A LOT WITH MR. BALWANI

12:22PM   20       AND MS. HOLMES?

12:22PM   21       A.   MORE FREQUENTLY THAN ME FOR SURE.

12:22PM   22       Q.   OKAY.   AND OTHERS AT WALGREENS WERE INTERACTING WITH

12:22PM   23       INDIVIDUALS AT THERANOS; CORRECT?

12:22PM   24       A.   CORRECT.

12:22PM   25       Q.   IS IT FAIR TO SAY THAT GIVEN YOUR SENIOR ROLE, YOU REALLY



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12:22PM    1       ENGAGED ONLY ON SIGNIFICANT ISSUES?

12:22PM    2       A.   THAT'S PROBABLY SAFE TO SAY.    I THINK THE ROLE OF A

12:22PM    3       SPONSOR ON THESE TEAMS IS TO ENABLE THE TEAM.

12:22PM    4            AGAIN, I THINK AS I SAID BEFORE, I NEVER PRETENDED TO BE A

12:22PM    5       HEALTH CARE PROFESSIONAL, SO MY JOB IS MORE IN LINE OF HELPING

12:22PM    6       TO COMMERCIALIZE AND MAKING SURE THE TEAM HAS THE RIGHT

12:22PM    7       RESOURCES TO DO THEIR JOB.

12:22PM    8       Q.   OKAY.   AND IN CONNECTION WITH THERANOS, IS IT TRUE THAT

12:22PM    9       YOU TRIED TO MAINTAIN A HIGH LEVEL RELATIONSHIP WITH MS. HOLMES

12:22PM   10       AS THE PROJECT MOVED FORWARD?

12:22PM   11       A.   DEFINITELY.

12:22PM   12       Q.   DO YOU RECALL WHEN YOU FIRST ENGAGED WITH DR. ROSAN ABOUT

12:23PM   13       THERANOS AND HE DESCRIBED IT, DID HE DESCRIBE IT AS BEING THE

12:23PM   14       TECHNOLOGY THAT HE SAW AS THE FURTHEREST ALONG TO BE

12:23PM   15       COMMERCIALIZED?

12:23PM   16       A.   THAT -- I DON'T KNOW THAT HE WAS A LAB EXPERT PER SE

12:23PM   17       EITHER, BUT HIS UNDERSTANDING FROM WHAT HE HAD HEARD THAT THEY

12:23PM   18       WERE FARTHEST ALONG.

12:23PM   19            HE ALSO MET WITH SOME OF THE COMPANIES THAT I HAD MET

12:23PM   20       WITH, BUT I BELIEVE IT MIGHT HAVE BEEN AT HIS DIRECTION THAT WE

12:23PM   21       HIRED A CONSULTING FIRM TO BE ABLE TO GIVE US A BETTER

12:23PM   22       ASSESSMENT OF THE LAB SPACE.

12:23PM   23       Q.   AND THAT CONSULTANT REPORTED TO HIM FOR PURPOSES OF

12:23PM   24       ASSESSING OPPORTUNITIES?

12:23PM   25       A.   I CAN'T SAY THAT FOR CERTAIN.



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12:23PM    1       Q.   LET'S TALK A LITTLE BIT ABOUT THE FIRST MEETING THAT YOU

12:24PM    2       TALKED ABOUT DURING YOUR DIRECT EXAMINATION.

12:24PM    3            HOW MUCH INFORMATION DID YOU KNOW ABOUT THERANOS BEFORE

12:24PM    4       YOU SHOWED UP FOR THE MEETING?

12:24PM    5       A.   VERY LITTLE.

12:24PM    6       Q.   OKAY.   BUT DID YOU RECOGNIZE THAT MS. HOLMES WAS A VERY

12:24PM    7       YOUNG ENTREPRENEUR?

12:24PM    8       A.   YES.

12:24PM    9       Q.   SHE WAS IN HER MID-TWENTIES AT THE TIME?

12:24PM   10       A.   YES.

12:24PM   11       Q.   AND I THINK YOU TESTIFIED THAT THE COMPANY WAS SIX AND A

12:24PM   12       HALF, SEVEN YEARS OLD; IS THAT CORRECT?

12:24PM   13       A.   YES.

12:24PM   14       Q.   AND YOU KNEW AT THAT TIME THAT THEY WERE TRYING TO DO A

12:24PM   15       CONSUMER FOCUSSED DEPLOYMENT?

12:24PM   16       A.   I DON'T KNOW IF IT WAS THAT DAY OR NOT -- YOU MEAN WITH

12:24PM   17       RESPECT TO SAFEWAY?    IS THAT THE QUESTION?

12:24PM   18       Q.   THE QUESTION WAS IN GENERAL.     YOU UNDERSTOOD THAT THEY

12:24PM   19       WERE LOOKING FOR A RETAIL PARTNER TO DO A CONSUMER DEPLOYMENT

12:24PM   20       WITH?

12:24PM   21       A.   YES.    WE SHARED THE VISION THAT PART OF THE DISRUPTIVE

12:25PM   22       FORCE WOULD BE BRINGING LABORATORY SERVICES AS CLOSE TO THE

12:25PM   23       CUSTOMER INTO THE COMMUNITY.

12:25PM   24       Q.   AND THIS WAS SOMETHING THAT THEY HAD NOT DONE BEFORE;

12:25PM   25       CORRECT?



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12:25PM    1       A.   THAT THERANOS HAD NOT DONE?

12:25PM    2       Q.   RIGHT.

12:25PM    3       A.   AGAIN, I DON'T KNOW WHAT DEGREE THEY WERE IN SAFEWAY, I

12:25PM    4       DON'T HAVE KNOWLEDGE OF THAT.     BUT I DO KNOW THEY WERE DOING

12:25PM    5       SOMETHING WITH SAFEWAY.

12:25PM    6       Q.   THEY WERE HAVING DISCUSSIONS WITH SAFEWAY IN PARALLEL WITH

12:25PM    7       WALGREENS?

12:25PM    8       A.   I'M NOT TOTALLY PRIVY TO IT, BUT I KNEW THERE WERE SOME

12:25PM    9       DISCUSSIONS, BUT I DON'T KNOW THE EXTENT OF IT.

12:25PM   10       Q.   AND AFTER YOU CAME BACK FROM THAT MEETING, YOU SENT AN

12:25PM   11       EMAIL TO THE CEO OF WALGREENS; CORRECT?

12:25PM   12       A.   CORRECT.

12:25PM   13       Q.   I WANT YOU TO LOOK AGAIN AT THAT EMAIL WHICH IS

12:25PM   14       EXHIBIT 278 WHICH MR. SCHENK SHOWED YOU DURING YOUR DIRECT

12:25PM   15       EXAMINATION.

12:26PM   16            AND THIS IS AN EMAIL THAT YOU SENT SHORTLY AFTER THE

12:26PM   17       MEETING; CORRECT?

12:26PM   18       A.   YES.

12:26PM   19       Q.   AND YOU WROTE TO INFORM GREG WASSON, WHO WAS THE CEO AT

12:26PM   20       THE TIME; CORRECT?

12:26PM   21       A.   YEP.

12:26PM   22       Q.   AND YOU SAID, "WORTH A PEEK, BUT PLEASE DON'T FORWARD DUE

12:26PM   23       TO CONFIDENTIAL AGREEMENT."

12:26PM   24       A.   YEP.

12:26PM   25       Q.   "MANY COMPANIES TECHNOLOGIES AND ACCURACY NOW SURPASS THAT



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12:26PM    1       OF LABS BUT THE KEY IS WHO GETS FDA APPROVAL FIRST."

12:26PM    2            IS THAT -- DID YOU -- WHERE DID YOU GET THAT KNOWLEDGE?

12:26PM    3       A.   I BELIEVE THAT WAS -- THAT KNOWLEDGE WAS FROM DR. ROSAN

12:26PM    4       WHICH CAME TO BE NOT ONLY FOR FDA DEVICES, BUT ALSO FOR CMS

12:26PM    5       APPROVALS.

12:26PM    6       Q.   AND THEN YOU GO ON AND SAY "AND THEY APPEAR IN THE LEAD."

12:26PM    7       CORRECT?

12:26PM    8       A.   YES.

12:26PM    9       Q.   AND THAT REFERS TO THERANOS?

12:26PM   10       A.   YES, BECAUSE A LOT OF THE COMPANIES THAT WE BENCHMARKED

12:27PM   11       WERE ABLE TO DO, YOU KNOW, ONE TEST WELL, BUT THEY WEREN'T ABLE

12:27PM   12       TO -- YOU KNOW, AGAIN, AS I DESCRIBED, THE PLATFORM TO DO A

12:27PM   13       BROAD ARRAY OF TESTS ON A SINGLE PLATFORM.

12:27PM   14       Q.   SO WHEN YOU SAY THEY COULD DO ONE TEST WELL, THEY MIGHT BE

12:27PM   15       ABLE TO SAY TEST, FOR EXAMPLE, FOR GLUCOSE?

12:27PM   16       A.   RIGHT.

12:27PM   17       Q.   BUT NOT FOR A RANGE OF TESTS; RIGHT?

12:27PM   18       A.   CORRECT.

12:27PM   19       Q.   AND PART OF WHAT ATTRACTED YOU TO WHAT THERANOS WAS DOING

12:27PM   20       WAS THAT THEY WERE DEVELOPING TESTS THAT WOULD DO IT ON A BROAD

12:27PM   21       RANGE OF ASSAYS; CORRECT?

12:27PM   22       A.   YES.

12:27PM   23       Q.   YOU GO ON IN THIS EMAIL TO SAY TO MR. WASSON, "NOTICE THE

12:27PM   24       CORRELATION DATA OF WHAT IS THE TOUGHEST OF ALL TESTS...

12:27PM   25       99 PERCENT."



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12:27PM    1            AND I WANT TO ASK YOU TO LOOK AT SLIDE 8 IN THE ATTACHED

12:27PM    2       SLIDES.

12:28PM    3            I BEG YOUR PARDON.    IT'S PAGE 10 AT THE BOTTOM OF THE

12:28PM    4       ATTACHED SLIDE.

12:28PM    5            IS THIS THE CORRELATION DATA THAT YOU WERE REFERRING TO IN

12:28PM    6       YOUR COVER EMAIL?

12:28PM    7       A.   I BELIEVE SO.

12:28PM    8       Q.   AND CAN YOU EXPLAIN, AS YOU UNDERSTOOD IT AT THE TIME,

12:28PM    9       WHAT CORRELATION DATA WAS?

12:28PM   10       A.   IT WAS THERANOS VALIDATING FOR ANY GIVEN TEST HOW ACCURATE

12:28PM   11       A THERANOS MACHINE WAS VERSUS A CONVENTIONAL LAB MACHINE.

12:28PM   12       Q.   SO DOES, DOES -- IS THAT A COMPARISON OF HOW THE TWO TESTS

12:28PM   13       PERFORM RELATIVE TO SOME FORM OF STANDARD MEASUREMENT?

12:28PM   14       A.   THAT WAS MY UNDERSTANDING, YES.

12:28PM   15       Q.   OKAY.   AND YOU -- WHEN YOU REVIEWED THIS SLIDE IN THE

12:28PM   16       POWERPOINT, YOU THOUGHT THAT THIS WAS THE CORRELATION DATA FOR

12:29PM   17       THE TOUGHEST OF ALL TESTS; CORRECT?

12:29PM   18       A.   THAT WAS MY UNDERSTANDING, YES.

12:29PM   19       Q.   AND YOU NOTE THAT THE CORRELATION DATA WAS 99 PERCENT;

12:29PM   20       CORRECT?

12:29PM   21       A.   CORRECT.   AGAIN, I'M NOT A HEALTH CARE PROFESSIONAL, SO

12:29PM   22       THAT WAS MY UNDERSTANDING.     BUT, YES.

12:29PM   23       Q.   AND WHY WAS THE CORRELATION DATA IMPORTANT TO YOU IN

12:29PM   24       EVALUATING THIS ON WALGREENS'S BEHALF?

12:29PM   25       A.   WELL, MY ASSUMPTION WAS THAT IN ORDER TO BE ABLE TO GET



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12:29PM    1       THE PROPER APPROVALS AND PROVIDE THE PATIENT ACCURACY, THAT THE

12:29PM    2       BETTER THE CORRELATOR, THE BETTER.

12:29PM    3       Q.   SO YOU RECOGNIZED THE CORRELATION DATA MIGHT BE IMPORTANT

12:29PM    4       FOR PURPOSES OF GETTING FDA APPROVAL, FOR EXAMPLE?

12:29PM    5       A.   OR CMS.    THAT WAS MY UNDERSTANDING.

12:29PM    6       Q.   AND ONE OF THE REGULATORS MIGHT BE INTERESTED IN THAT

12:29PM    7       DATA; CORRECT?

12:29PM    8       A.   CORRECT.

12:29PM    9       Q.   AND IN CONNECTION WITH THIS PRESENTATION, THAT'S THE SLIDE

12:30PM   10       THAT YOU POINTED OUT TO THE CEO WHEN YOU TRANSMITTED IT TO HIM

12:30PM   11       AFTER THE MEETING; CORRECT?

12:30PM   12       A.   IT APPEARS THAT WAY.

12:30PM   13       Q.   NOW, YOU TESTIFIED ABOUT THE THERANOS PLATFORM, AND I WANT

12:30PM   14       TO TAKE A MOMENT JUST TO BREAK THAT DOWN TO MAKE SURE THAT

12:30PM   15       WE'RE USING COMMON TECHNOLOGY, COMMON TERMINOLOGY ABOUT THE

12:30PM   16       TECHNOLOGY.

12:30PM   17            IN THE MEETING WITH MS. HOLMES AND MR. BALWANI, THEY

12:30PM   18       SHOWED YOU A SLIDE WHICH DESCRIBED THE THERANOS SYSTEMS;

12:30PM   19       CORRECT?

12:30PM   20       A.   YES.

12:30PM   21       Q.   AND IS THAT THE PLATFORM THAT YOU HAVE BEEN REFERRING TO

12:30PM   22       IN YOUR TESTIMONY?

12:30PM   23       A.   YES.

12:30PM   24       Q.   AND THAT CONSISTED OF ACTUALLY SEVERAL DIFFERENT

12:30PM   25       TECHNOLOGIES, DIDN'T IT?



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12:30PM    1       A.   YES.

12:31PM    2       Q.   AND ONE OF THE TECHNOLOGIES WAS AN ANALYZER; CORRECT?

12:31PM    3       A.   YES.

12:31PM    4       Q.   AND ANOTHER PIECE OF THE TECHNOLOGY WAS THE ASSAY WHICH

12:31PM    5       WAS PLACED IN A CARTRIDGE THAT WOULD BE PUT INTO THE DEVICE FOR

12:31PM    6       PURPOSES OF BEING ANALYZED; CORRECT?

12:31PM    7       A.   THAT'S CORRECT.

12:31PM    8       Q.   AND YOU RECOGNIZED THAT THE ASSAYS WERE, WERE -- EACH OF

12:31PM    9       THEM HAD TO BE DEVELOPED BEFORE THEY WERE CAPABLE OF BEING USED

12:31PM   10       IN CONNECTION WITH A CARTRIDGE; CORRECT?

12:31PM   11       A.   CORRECT.

12:31PM   12       Q.   BUT THERANOS HAD DEVELOPED TO A CERTAIN LEVEL, AT LEAST,

12:31PM   13       SOME OF THOSE ASSAYS UNDER A METHOD; CORRECT?

12:31PM   14       A.   MY UNDERSTANDING WAS YES.

12:31PM   15       Q.   AND THEY BELIEVED THAT USING THAT METHOD, THEY WOULD BE,

12:31PM   16       THEY WOULD BE ABLE TO REPLICATE IT FOR ESSENTIALLY ALL COMMONLY

12:31PM   17       ORDERED ASSAYS; CORRECT?

12:31PM   18       A.   THAT WAS MY UNDERSTANDING, YES.

12:31PM   19       Q.   AND THAT'S WHAT THEY SUGGESTED IN THAT MEETING IN MARCH OF

12:32PM   20       2010; CORRECT?

12:32PM   21       A.   CORRECT.

12:32PM   22       Q.   AND ANOTHER PIECE OF THE TECHNOLOGY WAS THE GOVERNMENT

12:32PM   23       SOFTWARE THAT ASSOCIATED WITH THE SYSTEM; CORRECT?

12:32PM   24       A.   CORRECT.

12:32PM   25       Q.   AND THERE WAS SOFTWARE THAT WAS PART OF THE DEVICE;



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12:32PM    1       CORRECT?

12:32PM    2       A.   CORRECT.

12:32PM    3       Q.   AND THERE WAS SOFTWARE THAT WAS PLACED WITHIN SYSTEMS AT

12:32PM    4       THERANOS TO COMMUNICATE WITH THE DEVICES; CORRECT?

12:32PM    5       A.   CORRECT.

12:32PM    6       Q.   AND IT WAS REALLY THAT SOFTWARE THAT OPENED UP A LOT OF

12:32PM    7       THE CAPABILITIES OF THERANOS TECHNOLOGY FOR THE FUTURE;

12:32PM    8       CORRECT?

12:32PM    9       A.   PART OF WHAT DID, YES, CORRECT.

12:32PM   10       Q.   WELL, LET ME ASK YOU TO LOOK WITHIN EXHIBIT 278.

12:33PM   11            THAT'S EXHIBIT 278, SLIDE 11.

12:33PM   12            DO YOU SEE THAT?

12:33PM   13       A.   SLIDE 11 YOU SAID?

12:33PM   14       Q.   IT'S LABELLED THERANOS:    CUSTOMIZED DATA INTEGRATION AND

12:33PM   15       STANDARDIZATION.

12:33PM   16       A.   YES, I SEE THAT.

12:33PM   17       Q.   AND THIS IS ONE MUCH THE SLIDES THAT YOU DISCUSSED IN THAT

12:33PM   18       MARCH OF 2010 MEETING; CORRECT?

12:33PM   19       A.   YES, CORRECT.

12:33PM   20       Q.   AND ONE OF THE CAPACITIES THAT THERANOS WAS INTERESTED IN

12:33PM   21       DEVELOPING WAS PREDICTIVE HEALTH ASSETS; CORRECT?

12:33PM   22       A.   I BELIEVE THAT WAS KIND OF THE END GAME, IF YOU WILL, IN

12:33PM   23       TERMS OF ASPIRATION FOR THEM.

12:33PM   24       Q.   AND EXPLAIN WHAT THAT MEANT AND WHAT THEY DESCRIBED TO YOU

12:33PM   25       THAT THEY WERE TRYING TO DO?



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12:33PM    1       A.    A LOT OF DIFFERENT DISCUSSIONS.

12:33PM    2             YOU KNOW, ONE DISCUSSION WOULD BE IF YOU HAD YOUR, YOU

12:33PM    3       KNOW, LIKE A 23 & ME TEST, IT MIGHT SAY THAT YOU HAVE A MARKER

12:34PM    4       FOR A CERTAIN CANCER MAYBE, BUT IT DOESN'T MEAN THAT YOU'RE

12:34PM    5       GOING TO GET IT.   IT JUST MEANS THAT YOU MIGHT.

12:34PM    6             AND, YOU KNOW, PREDICTIVE TESTING WHERE YOU COULD BE

12:34PM    7       LOOKING AT IT, AND SO THAT WAS ONLY USEFUL TO SOME EXTENT.

12:34PM    8             BEING ABLE TO MEASURE BLOOD FREQUENTLY, ACCURATELY, ACROSS

12:34PM    9       A LOT OF DIFFERENT MARKERS MIGHT HELP THAT PERSON INTERVENE THE

12:34PM   10       PROCESS UPSTREAM, AND THAT BECOMES A MUCH HIGHER LEVEL OF

12:34PM   11       CLINICAL OUTCOME THAN JUST HELPING SOMEBODY WHO IS ALREADY

12:34PM   12       SICK.

12:34PM   13       Q.    AND WAS ANOTHER POTENTIAL CAPACITY OF THE TECHNOLOGY THAT

12:34PM   14       THEY WERE INVENTING THE ABILITY TO AGGREGATE DATA TO OBSERVE

12:34PM   15       EITHER TRENDS IN HEALTH IN THE LARGER POPULATION OR OTHER

12:34PM   16       THINGS?

12:34PM   17       A.    I THINK FOR SURE THAT WAS PART OF WHAT THEY WERE WORKING

12:34PM   18       ON.

12:34PM   19       Q.    AND SOME OF IT COULD HAVE PUBLIC HEALTH APPLICATIONS;

12:34PM   20       CORRECT?

12:34PM   21       A.    YES.

12:34PM   22       Q.    AND ALL OF THAT WAS DISCUSSED IN THIS EARLY MEETING;

12:35PM   23       CORRECT?

12:35PM   24       A.    I CAN'T SAY IF ALL OF THAT WAS DISCUSSED ON THE FIRST DAY,

12:35PM   25       BUT OVER TIME WE DISCUSSED A LOT OF THAT.



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12:35PM    1       Q.   YOU RECALL AT SOME POINT DURING YOUR 10 OR 15 MEETINGS

12:35PM    2       WITH THEM THOSE DISCUSSIONS?

12:35PM    3       A.   YES.

12:35PM    4                   MR. DOWNEY:   YOUR HONOR, IS THIS A GOOD TIME TO

12:35PM    5       BREAK?

12:35PM    6                   THE COURT:    I'M NOT CERTAIN.   I THINK WE -- PERHAPS

12:35PM    7       WE SHOULD TAKE ABOUT A 25 MINUTE BREAK.

12:35PM    8                   MR. DOWNEY:   OKAY.   I THINK I'M AT A LOGICAL POINT.

12:35PM    9                   THE COURT:    OKAY.   LET'S DO THAT.   LADIES AND

12:35PM   10       GENTLEMEN, LET'S TAKE ABOUT A 25 MINUTE BREAK NOW.

12:35PM   11            BEFORE WE DO THAT, I DO WANT TO FOLLOW UP WITH MY

12:35PM   12       CONVERSATION WITH YOU BOTH THIS MORNING AND YESTERDAY, LADIES

12:35PM   13       AND GENTLEMEN.

12:35PM   14            I DO WANT TO TELL YOU ABOUT NEXT STEPS, AND I THINK YOU

12:35PM   15       INQUIRED, SOME OF YOU INQUIRED ABOUT THAT.

12:35PM   16            WHAT I INTEND TO DO -- AND THIS IS IN RELATION TO OUR

12:35PM   17       CONVERSATIONS REGARDING THE QUESTIONNAIRES.

12:35PM   18            WHAT I INTEND TO DO IS I'M GOING TO GET -- I'VE ASKED THE

12:35PM   19       LAWYERS TO PROVIDE ME ANY BRIEFING THAT THEY WISH ON SOME OF

12:36PM   20       THE LEGAL ISSUES, THAT IS, THE LAWYERS IN THE COURTROOM.

12:36PM   21            I'LL RECEIVE THOSE, I'LL TALK TO THE MOVING PARTY, YOU

12:36PM   22       HEARD ME TALK ABOUT THE MOVING PARTY FOR THE MOTION, AND

12:36PM   23       PROVIDE INFORMATION TO HIM.

12:36PM   24            IN ALL LIKELIHOOD, I AM GOING TO SET ANOTHER HEARING FOR

12:36PM   25       THAT MOVING PARTY'S MOTION TO RELEASE THE INFORMATION IN THE



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12:36PM    1       QUESTIONNAIRES.

12:36PM    2            JUST GIVEN THE BRIEFING SCHEDULE, WHAT THAT MEANS IS EACH

12:36PM    3       SIDE IS PERMITTED AN OPPORTUNITY TO PRESENT TO ME THEIR LEGAL

12:36PM    4       OPINIONS ABOUT WHAT THE LAW IS ON THIS ISSUE, AND THEY'RE GIVEN

12:36PM    5       CERTAIN TIME, ONCE THEY RECEIVE THE OTHER SIDE'S MOTION, AND I

12:36PM    6       GIVE THEM TIME TO RESPOND, SO WE HAVE A BACK AND FORTH.

12:36PM    7            I THEN SET A HEARING, ANOTHER HEARING.        AND THAT'S WHAT I

12:36PM    8       INTEND TO DO IN REGARDS TO THIS ISSUE.

12:36PM    9            THAT HEARING, I DON'T HAVE A DATE FOR IT YET, BUT I

12:36PM   10       ANTICIPATE THAT HEARING WILL BE ANOTHER FIVE WEEKS AWAY,

12:36PM   11       SOMETHING LIKE THAT, JUST GIVEN THE BRIEFING SCHEDULE.       THAT'S

12:37PM   12       MY SENSE OF IT.    BUT I'LL KEEP YOU INFORMED OF THAT.

12:37PM   13            AND THEN AFTER THE HEARING I'LL HEAR FROM ALL OF THE

12:37PM   14       PARTIES, AND AT THAT POINT THEN I BELIEVE THAT I'LL BE ABLE TO

12:37PM   15       MAKE DECISIONS AS TO THE THINGS THAT WE TALKED ABOUT AND THE

12:37PM   16       THINGS THAT WERE RAISED IN THE MOTION BY THE MOVING PARTY, THE

12:37PM   17       MEDIA COALITION.

12:37PM   18            SO I JUST WANT TO KEEP YOU UP TO DATE ON THAT.       THAT'S THE

12:37PM   19       STATUS OF THINGS NOW.    NOTHING IS GOING TO CHANGE UNTIL I'VE

12:37PM   20       HAD ALL OF THOSE HEARINGS.

12:37PM   21            SO THE MATERIAL REMAINS AS IT CURRENTLY IS, AND THAT WON'T

12:37PM   22       CHANGE UNTIL AFTER I'VE HAD AN OPPORTUNITY TO HEAR FROM

12:37PM   23       EVERYONE.

12:37PM   24            SO THAT'S THE LATEST UPDATE.    THANK YOU VERY MUCH FOR YOUR

12:37PM   25       PATIENCE THIS MORNING.



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12:37PM    1            ONE MORE THING.     I THINK I'VE TALKED TO YOU ABOUT TOMORROW

12:37PM    2       BEING -- I'VE BEEN ABLE TO CLEAR THAT FOR OUR PURPOSES.

12:37PM    3            DURING THIS BREAK I'M GOING TO ASK YOU IF YOU COULD,

12:37PM    4       PLEASE, TO CONTACT THE PARTIES THAT YOU NEED TO TO SEE IF YOU

12:37PM    5       CAN MAKE THAT WORK, COME TO COURT TOMORROW AND MAKE IT WORK.

12:38PM    6            IT WOULD BE FROM 9:00 TO 3:00.    I WOULDN'T WANT TO KEEP

12:38PM    7       YOU UNTIL 4:00 TOMORROW, BUT 9:00 TO 3:00 TOMORROW.       IF YOU

12:38PM    8       NEED TO ADJUST THAT, I'LL BE HAPPY TO HEAR THAT INFORMATION

12:38PM    9       WHEN WE COME BACK FROM OUR BREAK IF YOU'RE ABLE TO MAKE IT

12:38PM   10       TOMORROW OR IF WE NEED TO ADJUST THAT SCHEDULE.

12:38PM   11            ALL RIGHT.   LET'S TAKE OUR BREAK.

12:38PM   12            SIR, YOU CAN STAND DOWN.

12:38PM   13                  THE CLERK:    COURT IS IN RECESS.

12:38PM   14            (JURY OUT AT 12:38 P.M.)

12:38PM   15                  THE COURT:    PLEASE BE SEATED.   THANK YOU.

12:38PM   16            THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT FOR THE

12:38PM   17       BREAK, AND OUR WITNESS HAS LEFT THE COURTROOM.      ALL COUNSEL AND

12:39PM   18       MS. HOLMES ARE PRESENT.

12:39PM   19            ANYTHING FURTHER BEFORE WE BREAK, MR. SCHENK?

12:39PM   20                  MR. SCHENK:    NO, YOUR HONOR.    THANK YOU.

12:39PM   21                  MR. DOWNEY:    NO, YOUR HONOR.    THANK YOU.

12:39PM   22                  THE COURT:    SO IF WE ARE ABLE TO CONVENE TOMORROW,

12:39PM   23       HAVE A SESSION TOMORROW, YOU'LL BE ABLE TO HAVE WITNESSES I

12:39PM   24       TAKE IT, MR. SCHENK.

12:39PM   25                  MR. SCHENK:    YES.



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12:39PM    1                  THE COURT:   OKAY.   GREAT.   THANK YOU.

12:39PM    2                  THE CLERK:   COURT IS IN RECESS.

12:39PM    3            (LUNCH RECESS TAKEN AT 12:39 P.M.)

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12:39PM    1                                AFTERNOON SESSION

01:12PM    2            (JURY IN AT 1:12 P.M.)

01:12PM    3                  THE COURT:    THANK YOU.   WE'RE BACK ON THE RECORD.

01:12PM    4            ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

01:12PM    5            MR. DOWNEY, YOU'D LIKE TO CONTINUE WITH YOUR EXAMINATION?

01:12PM    6                  MR. DOWNEY:   YES, SIR.    THANK YOU.

01:12PM    7       Q.   MR. MIQUELON, BEFORE THE BREAK WE WERE TALKING ABOUT THE

01:12PM    8       THERANOS SYSTEMS THAT WERE PRESENTED TO YOU IN MARCH OF 2010 IN

01:12PM    9       YOUR VERY FIRST MEETING WITH MS. HOLMES AND MR. BALWANI.

01:12PM   10            I'D LIKE TO JUST ESTABLISH WHAT THE CHRONOLOGY WAS OF YOUR

01:13PM   11       RELATIONSHIP WITH THERANOS, OR I SHOULD SAY WALGREENS'S

01:13PM   12       RELATIONSHIP WITH THERANOS BETWEEN THAT MEETING AND THE TIME

01:13PM   13       THAT YOU LEFT IN AUGUST OF 2014.

01:13PM   14            AM I RIGHT THAT YOUR FIRST MEETING AND INTRODUCTION INTO

01:13PM   15       THERANOS WAS IN THE MEETING OF MARCH OF 2010; CORRECT?

01:13PM   16       A.   CORRECT.

01:13PM   17       Q.   AND COMING OUT OF THAT MEETING, BOTH SIDES MET AND

01:13PM   18       EVALUATED THE POSSIBILITY OF A DEAL FOR A FEW MONTHS; CORRECT?

01:13PM   19       A.   CORRECT.

01:13PM   20       Q.   AND IN JULY OF 2010, THE PARTIES SIGNED THEIR FIRST

01:13PM   21       AGREEMENT; CORRECT?

01:13PM   22       A.   THAT'S CORRECT.

01:13PM   23       Q.   AND THAT AGREEMENT CONTEMPLATED AT THAT TIME THAT THERANOS

01:13PM   24       DEVICES WOULD BE DEPLOYED WITHIN WALGREENS STORES; CORRECT?

01:13PM   25       A.   AT SOME POINT, YES, CORRECT.



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01:14PM    1       Q.   AND FROM THAT POINT IN JULY OF 2010 FOR ABOUT A YEAR AND A

01:14PM    2       HALF, THE PARTIES WORKED ON ALL OF THE THINGS THAT WOULD GO

01:14PM    3       INTO HAVING THAT TYPE OF LAUNCH; CORRECT?

01:14PM    4       A.   THAT'S CORRECT.

01:14PM    5       Q.   AND THAT INCLUDED THINGS LIKE INSURANCE REIMBURSEMENT;

01:14PM    6       CORRECT?

01:14PM    7       A.   YES.

01:14PM    8       Q.   BUSINESS MODEL; CORRECT?

01:14PM    9       A.   YES.

01:14PM   10       Q.   AND OTHER ITEMS?

01:14PM   11       A.   YES.

01:14PM   12       Q.   IN EARLY 2012, THOUGH, THE PARTIES STARTED TO DISCUSS A

01:14PM   13       POTENTIAL CHANGE IN THE BUSINESS MODEL; CORRECT?

01:14PM   14       A.   YES.

01:14PM   15       Q.   AND THAT CHANGE WOULD INVOLVE THERANOS DEVICES NOT BEING

01:14PM   16       DEPLOYED IN THERANOS STORES; CORRECT?     IN WALGREENS STORES?

01:14PM   17       A.   CORRECT.

01:14PM   18       Q.   AND THE PARTIES WORKED ON A NEW AGREEMENT TO GOVERN THEIR

01:14PM   19       RELATIONSHIP FOR SEVERAL MONTHS AFTER THOSE DISCUSSIONS IN

01:14PM   20       EARLY 2012; CORRECT?

01:14PM   21       A.   YES.

01:14PM   22       Q.   AND THE PARTIES ENTERED INTO A NEW AGREEMENT AMENDING THE

01:14PM   23       FIRST AGREEMENT IN JUNE OF 2012; CORRECT?

01:15PM   24       A.   YES.

01:15PM   25       Q.   AND FROM THAT POINT FORWARD, THE INTENT WAS NOT THAT



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01:15PM    1       THERANOS DEVICES WOULD BE PLACED IN WALGREENS STORES, BUT

01:15PM    2       RATHER THAT THERE WOULD BE CENTRAL LABS IN WHICH THE BLOOD

01:15PM    3       ANALYSIS WOULD BE DONE; CORRECT?

01:15PM    4       A.     MY UNDERSTANDING WAS THAT THERE WOULD BE A CENTRAL

01:15PM    5       LOCATION WHERE THE THERANOS MACHINES WOULD DO THE LAB WORK.

01:15PM    6       Q.     AND THAT WOULD BE A LABORATORY CERTIFIED UNDER CLIA;

01:15PM    7       CORRECT?

01:15PM    8       A.     CORRECT.

01:15PM    9       Q.     AND IT WAS POSSIBLE ALSO THAT THERE WOULD BE MORE THAN ONE

01:15PM   10       LAB?    THERE MIGHT BE REGIONAL LABS WHERE THAT WAS DONE;

01:15PM   11       CORRECT?

01:15PM   12       A.     I THINK THAT WAS PART OF THE DISCUSSIONS, THAT OVER TIME

01:15PM   13       IT MIGHT MAKE SENSE TO HAVE MULTIPLE LABS WITH THERANOS

01:15PM   14       MACHINES, CORRECT.

01:15PM   15       Q.     AND AFTER THAT POINT WHEN THAT AGREEMENT WAS REACHED IN

01:15PM   16       JUNE OF 2012, A LITTLE OVER A YEAR LATER THERANOS STORES -- OR

01:15PM   17       THERANOS SITES WERE LAUNCHED IN WALGREENS STORES ORIGINALLY IN

01:16PM   18       PALO ALTO; CORRECT?

01:16PM   19       A.     I BELIEVE THERE WAS ONE IN PALO ALTO FIRST.

01:16PM   20       Q.     AND THAT HAPPENED AROUND SOMETIME -- I THINK WITH FRIENDS

01:16PM   21       AND FAMILY FIRST IN SEPTEMBER OF 2013; CORRECT?

01:16PM   22       A.     THAT DATE SOUNDS CORRECT.

01:16PM   23       Q.     AND THEN THERE WAS A LAUNCH IN -- A COMMERCIAL LAUNCH IN

01:16PM   24       PALO ALTO AND IN SOME STORES IN ARIZONA IN NOVEMBER OF 2013;

01:16PM   25       CORRECT?



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01:16PM    1       A.   THAT'S ABOUT THE RIGHT TIMEFRAME.

01:16PM    2       Q.   NOW, WHEN YOU LOOK AT THE REPRESENTATIONS THAT WERE MADE

01:16PM    3       IN THE ORIGINAL MEETING THAT YOU HAD WITH MS. HOLMES, MANY OF

01:16PM    4       THOSE REPRESENTATIONS WOULD NO LONGER BE RELEVANT TO THE SECOND

01:16PM    5       BUSINESS MODEL; CORRECT?

01:16PM    6       A.   YOU WOULD PROBABLY HAVE TO PARSE THEM ONE BY ONE FOR ME TO

01:16PM    7       SAY THAT.

01:16PM    8       Q.   OKAY.   WELL, LET'S TALK, FOR EXAMPLE, ABOUT

01:16PM    9       REPRESENTATIONS RELATED TO THE SPEED OF PROCESSING THE SAMPLES.

01:16PM   10            DO YOU RECALL TALKING ABOUT THAT ON YOUR DIRECT

01:17PM   11       EXAMINATION?

01:17PM   12       A.   YES.

01:17PM   13       Q.   AND THERE WERE REPRESENTATIONS WHICH INDICATED THAT

01:17PM   14       THERANOS PROJECTED THAT BLOOD TESTS COULD BE PERFORMED IN LESS

01:17PM   15       THAN 30 MINUTES.

01:17PM   16            DO YOU RECALL THAT?

01:17PM   17       A.   YES.

01:17PM   18       Q.   AND THE ASSUMPTION BEHIND THAT WAS THAT THE BUSINESS MODEL

01:17PM   19       WOULD BE THAT THE DEVICES WORK IN THE WALGREENS STORES;

01:17PM   20       CORRECT?

01:17PM   21       A.   THAT WAS THE ORIGINAL -- YES, FOR THAT ASSUMPTION, THAT

01:17PM   22       WAS THE ORIGINAL DESIGN.

01:17PM   23       Q.   BUT THE AGREEMENT THAT THE PARTIES REACHED IN THE SUMMER

01:17PM   24       OF 2012 CHANGED HOW THAT MODEL WOULD WORK; CORRECT?

01:17PM   25       A.   THAT'S CORRECT.



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01:17PM    1       Q.   AND THE TESTING WOULD NOT BE IN STORES, BUT IT WOULD BE

01:17PM    2       OFFSITE; CORRECT?

01:17PM    3       A.   THAT'S CORRECT.

01:17PM    4       Q.   AND BOTH PARTIES AGREED TO THAT; CORRECT?

01:17PM    5       A.   CORRECT.

01:17PM    6       Q.   AND THAT WOULD ELIMINATE THE CAPACITY TO TEST WITHIN 15 TO

01:17PM    7       30 MINUTES; CORRECT?

01:17PM    8       A.   THAT'S CORRECT.

01:17PM    9       Q.   AND ALSO THERE WERE DISCUSSIONS IN 2010 THAT CERTAIN COSTS

01:18PM   10       ASSOCIATED WITH BLOOD TESTING WOULD BE ELIMINATED IF THE

01:18PM   11       DEVICES WERE IN THE STORE; CORRECT?

01:18PM   12       A.   CORRECT.

01:18PM   13       Q.   AND THINGS LIKE COURIER SERVICES THAT WOULD HAVE TO TAKE

01:18PM   14       THE BLOOD FROM ONE LOCATION TO ANOTHER, FOR EXAMPLE?

01:18PM   15       A.   THAT'S CORRECT.

01:18PM   16       Q.   AND AN INFRASTRUCTURE TO REFRIGERATE SAMPLES FOR A PERIOD

01:18PM   17       BEFORE THEY WERE TRANSPORTED?

01:18PM   18       A.   THAT'S -- FROM MY UNDERSTANDING, THAT'S CORRECT.

01:18PM   19       Q.   OKAY.    BUT WHEN THE MODEL CHANGED IN THE SUMMER OF 2012,

01:18PM   20       SOME OF THOSE COSTS WOULD HAVE TO BE INCURRED; CORRECT?

01:18PM   21       A.   RIGHT.   AND AGAIN, FROM MY UNDERSTANDING WHAT CHANGED IN

01:18PM   22       THE MODEL IS FORSAKE OF THE PILOT -- A COUPLE OF THINGS.

01:18PM   23            ONE IS THAT, AS WE THOUGHT ABOUT THE APPROVALS IN THIS

01:18PM   24       UNDEFINED, YOU KNOW, WHERE IS THE LAB BY BEING ABLE TO PILOT

01:18PM   25       WITHOUT THE MACHINE IN THE WALGREENS STORE, IT MITIGATED THAT



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01:19PM    1       CONCERN UNTIL THAT COULD BE CLARIFIED.

01:19PM    2            SECOND, JUST IN TERMS OF MAKING SURE THAT WE COULD EXECUTE

01:19PM    3       WITH EXCELLENCE, YOU KNOW, THERE IS A LITTLE BIT MORE

01:19PM    4       COMPLEXITY IN ASKING A PHARMACY TO KEEP CARTRIDGES AND TO

01:19PM    5       UNDERSTAND HOW TO USE THOSE PROPERLY.

01:19PM    6            AND SO WE FELT THAT IT WAS A GOOD WAY TO KEEP THE PATIENT

01:19PM    7       LEARNING, WHICH WAS VERY IMPORTANT.

01:19PM    8       Q.   AT THE TIME THAT YOU LEFT WALGREENS IN AUGUST OF 2014,

01:19PM    9       THERE WERE ABOUT 40 THERANOS LOCATIONS OPERATING IN WALGREENS

01:19PM   10       STORES; CORRECT?

01:19PM   11       A.   IT MIGHT HAVE BEEN.       I DON'T KNOW THE EXACT NUMBER.

01:19PM   12       Q.   YOU KNOW THERE WERE SEVERAL DOZEN, WHATEVER THE EXACT

01:19PM   13       NUMBER WAS?

01:19PM   14       A.   RIGHT.

01:19PM   15       Q.   AND YOU KNOW THAT THOSE LOCATIONS WERE IN BOTH ARIZONA AND

01:19PM   16       CALIFORNIA; CORRECT?

01:19PM   17       A.   I THINK THAT'S MY RECOLLECTION.

01:19PM   18       Q.   OKAY.    AND IN THE TERMINOLOGY THAT THE PARTIES USED, THE

01:19PM   19       PHASE OF THE AGREEMENT WHEN THE DEVICES WOULD BE IN A CENTRAL

01:19PM   20       LAB WAS REFERRED TO AS PHASE I; CORRECT?

01:20PM   21       A.   I'D HAVE TO GO BACK TO THE AGREEMENT TO BE SURE ABOUT

01:20PM   22       THAT.

01:20PM   23       Q.   OKAY.    BUT THERE WAS A SECOND PHASE THAT ASSUMED IF THE

01:20PM   24       DEVICES GOT CERTAIN REGULATORY APPROVALS, THAT THE DEVICES

01:20PM   25       MIGHT THEN BE DEPLOYED TO THE WALGREENS STORES AS ORIGINALLY



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01:20PM    1       CONTEMPLATED WHEN YOU TALKED TO MS. HOLMES IN MARCH OF 2010?

01:20PM    2       A.     YES.   BUT TO SOME EXTENT THAT WAS JUST BASED UPON THE

01:20PM    3       MATH.    IF YOU HAD A SPECIFIC SITE THAT WAS DOING LOTS OF

01:20PM    4       VOLUME, IT MIGHT MAKE SENSE TO HAVE A MACHINE THERE AND THE

01:20PM    5       CARTRIDGE INVENTORY, VERSUS ANOTHER SITE WHERE YOU MIGHT HAVE

01:20PM    6       VERY LOW VOLUME, THAT MIGHT MAKE SENSE.      BUT I WOULD SAY THE

01:20PM    7       ECONOMICS WOULD HAVE DICTATED THAT.

01:20PM    8       Q.     SO IN CERTAIN CASES THE ECONOMICS MIGHT LEAD THE PARTIES

01:20PM    9       TO THINK THAT IT'S REALLY NOT WORTH DEPLOYING A DEVICE IN A

01:20PM   10       STORE; CORRECT?

01:20PM   11       A.     RIGHT.   I THINK THAT WAS ALWAYS A CONSIDERATION, WHAT IS

01:20PM   12       THE SMARTEST EXECUTION BASED ON WHAT IS ACCEPTABLE.

01:20PM   13       Q.     SO THAT STORE MIGHT STICK WITH THE MODEL WHERE THE SAMPLES

01:20PM   14       WERE PROCESSED WITHIN THE CENTRAL CLIA LAB; IS THAT CORRECT?

01:21PM   15       A.     RIGHT.

01:21PM   16       Q.     BUT WE SAW REFERENCE IN SOME OF THE DOCUMENTS THAT WE LOOK

01:21PM   17       AT TO REGULATORY RISKS.    IS THIS ONE OF THE ISSUES THAT

01:21PM   18       MOTIVATED PEOPLE TO MOVE -- MOTIVATED WALGREENS AND THERANOS TO

01:21PM   19       ELECT TO GO TO THIS MODEL?

01:21PM   20       A.     AGAIN, I THINK EARLY ON THAT WAS PART OF THE

01:21PM   21       CONSIDERATION, AGAIN, BECAUSE OF THIS ISSUE OF WHERE IS THE

01:21PM   22       LAB?    IS IT WHERE THE EDISON IS OR IS IT WHERE THE DATA

01:21PM   23       ULTIMATELY RESIDES IN THE CLOUD?

01:21PM   24              THAT WAS SOMETHING THAT I BELIEVE AT THAT TIME WAS NOT

01:21PM   25       CLEAR YET, AND SO WHAT WAS SEEN AS THE, YOU KNOW, THE MORE



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01:21PM    1       PRUDENT CHOICE WAS TO KEEP THE LAB OUTSIDE OF THE STORE.

01:21PM    2            BUT ALSO JUST IN TERMS OF PATIENT EXPERIENCE, MAKING SURE

01:21PM    3       THERE WAS NO RISK OF STORES NOT USING THE RIGHT CARTRIDGE OR

01:21PM    4       UNDERSTANDING HOW TO RUN IT.    WE FELT THAT THAT WAS GOING TO BE

01:21PM    5       A BETTER WAY TO LEARN.

01:21PM    6       Q.   OKAY.    AND I WANT TO GO BACK THROUGH THAT CHRONOLOGY WITH

01:22PM    7       YOU A LITTLE BIT AND FILL IN WHAT HAPPENED AT THE CRITICAL

01:22PM    8       POINTS.

01:22PM    9            BUT IS IT FAIR TO SAY THAT IF YOU WANT TO EVALUATE THE

01:22PM   10       REPRESENTATIONS THAT THE PARTIES WERE MAKING TO EACH OTHER, YOU

01:22PM   11       HAVE TO LOOK AT THE POINT IN TIME WHERE THE PARTIES WERE IN THE

01:22PM   12       COURSE OF THE CHRONOLOGY THAT WE'VE JUST DISCUSSED?

01:22PM   13       A.   I THINK CONTEXT IS IMPORTANT, RIGHT.

01:22PM   14       Q.   ALL RIGHT.   NOW, WE WERE DISCUSSING BEFORE THE BREAK THE

01:22PM   15       ORIGINAL MEETING THAT YOU HAD, AND THEN YOUR TRANSMISSION OF

01:22PM   16       THE THERANOS POWERPOINT TO THE CEO, AND WE DISCUSSED THE

01:22PM   17       TECHNOLOGY.

01:22PM   18            DID -- WERE THERE THEN MEETINGS WITHIN WALGREENS TO

01:22PM   19       CONSIDER WHETHER OR NOT TO PROCEED WITH A DEAL WITH THERANOS?

01:22PM   20       A.   MULTIPLE.

01:22PM   21       Q.   AND WERE THEY AT SENIOR LEVELS?

01:22PM   22       A.   AT EVERY LEVEL FROM LOWER WORKING TEAM TO HIGHER LEVEL ON

01:23PM   23       THE TEAM TO THE HIGHEST LEVEL OF THE COMPANY.

01:23PM   24       Q.   LET ME ASK YOU TO LOOK AT EXHIBIT 300, WHICH WILL BE IN

01:23PM   25       YOUR WHITE BINDER.



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01:23PM    1            YOUR HONOR, I BELIEVE 300 IS --

01:23PM    2                    THE COURT:    IT'S IN EVIDENCE.

01:23PM    3                    MR. DOWNEY:   IT'S IN EVIDENCE, YES.   IT IS IN

01:23PM    4       EVIDENCE.

01:23PM    5       Q.   THE ADDRESSEES FOR THE EMAIL THAT YOU SENT IN LATE APRIL

01:23PM    6       ARE ALL OF THE -- AMONG THE MOST SENIOR EXECUTIVES, INCLUDING

01:23PM    7       THE MOST SENIOR EXECUTIVES IN THE COMPANY; CORRECT?

01:23PM    8       A.   THAT IS CORRECT.

01:23PM    9       Q.   AND DO YOU RECALL THE DISCUSSION THAT FOLLOWED FROM

01:23PM   10       SETTING UP THIS MEETING?

01:24PM   11       A.   I DON'T KNOW IF I RECALL THE DISCUSSION THAT FOLLOWED.        I

01:24PM   12       RECALL HAVING THE MEETING.

01:24PM   13       Q.   AND WAS THERE A DISCUSSION IN THE MEETING ABOUT WHETHER OR

01:24PM   14       NOT TO PURSUE A RELATIONSHIP WITH THERANOS?

01:24PM   15       A.   YES.

01:24PM   16       Q.   OKAY.    AND THEN WHAT WAS THE CONCLUSION OF THAT MEETING?

01:24PM   17       A.   I THINK THE CONCLUSION OF THE MEETING WAS THAT THIS

01:24PM   18       APPEARS TO BE REALLY EXCITING, LET'S KEEP WORKING WITH THEM,

01:24PM   19       LET'S SEE WHERE THIS WILL GO.

01:24PM   20       Q.   AND DID THE COMPANY DECIDE THAT YOU WANTED TO TAKE FURTHER

01:24PM   21       STEPS TO TRY TO EVALUATE WHETHER OR NOT SUCH A RELATIONSHIP

01:24PM   22       WOULD BE GOOD FOR WALGREENS?

01:24PM   23       A.   YES.

01:24PM   24       Q.   AND WERE SOME OF THOSE STEPS TO EVALUATE HOW A BUSINESS

01:24PM   25       MODEL MIGHT WORK?



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01:24PM    1       A.     YES.

01:24PM    2       Q.     AND WERE SOME OF THOSE STEPS TO EVALUATE THE FINANCIAL

01:24PM    3       CONDITION OF THERANOS?

01:24PM    4       A.     TO THE EXTENT THAT WE COULD.

01:24PM    5       Q.     OKAY.   WELL, YOU BECAME A BIT FAMILIAR WITH THE INVESTOR

01:24PM    6       BASE OF THERANOS; CORRECT?

01:24PM    7       A.     JUST THROUGH TIDBITS OF CONVERSATION.    BUT WE NEVER GOT,

01:24PM    8       YOU KNOW, TO MY KNOWLEDGE A CAP TABLE, IF YOU WILL, THAT SHOWS

01:25PM    9       SPECIFIC INVESTORS AND INVESTMENTS.

01:25PM   10       Q.     OKAY.   AND DID YOU AT THE TIME ALSO LOOK AT WHETHER OR NOT

01:25PM   11       IT WAS POSSIBLE THAT INSURERS MIGHT REIMBURSE FOR THERANOS

01:25PM   12       SYSTEMS WHICH WOULD BE A KEY TO THE SUCCESS OF THE PROGRAM?

01:25PM   13       A.     WE DID.

01:25PM   14       Q.     AND WHY WAS THAT IMPORTANT TO THE PROGRAM?

01:25PM   15       A.     YOU KNOW, THE VAST MAJORITY OF HEALTH CARE REIMBURSEMENT

01:25PM   16       COMES THROUGH SOME INTERMEDIARY, SO WHETHER IT'S A PRESCRIPTION

01:25PM   17       OR A VACCINE OR A LAB, MAKING SURE THOSE PAYORS ARE WILLING TO

01:25PM   18       PAY FOR IT IS FAIRLY IMPORTANT.

01:25PM   19       Q.     DID YOU ALSO LOOK AT THE PATENTS THAT THERANOS HAD

01:25PM   20       OBTAINED?

01:25PM   21       A.     I DIDN'T PERSONALLY.    I DO KNOW, THOUGH, THAT THERE WAS

01:25PM   22       SOME WORK TO TRY TO UNDERSTAND THE BREADTH OF PATENTS.

01:25PM   23       Q.     OKAY.   AND DO YOU RECALL WHAT THE CONCLUSION OF THAT WORK

01:25PM   24       WAS?

01:25PM   25       A.     AGAIN, I'M NOT A PATENT ATTORNEY EITHER.     MY RECOLLECTION



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01:26PM    1       IS THAT THERE WERE, YOU KNOW, DOZENS, IF NOT MORE, PATENTS.

01:26PM    2       Q.   OKAY.   AND DO YOU KNOW WHAT THE CONCLUSION -- DO YOU KNOW

01:26PM    3       WHAT THE CONCLUSION WAS, IF ANY, AS TO THE STRENGTH OF THOSE

01:26PM    4       PATENTS?

01:26PM    5       A.   AGAIN, I'M NOT A PATENT ATTORNEY.     I CAN ONLY SPECULATE.

01:26PM    6       Q.   DID YOU ALSO TRY TO TAKE STEPS -- DID WALGREENS TRY TO

01:26PM    7       TAKE STEPS TO EVALUATE THE TECHNOLOGY AND HOW DEVELOPED IT WAS?

01:26PM    8       A.   AS BEST WE COULD.

01:26PM    9       Q.   OKAY.   WHAT DID YOU DO TO DO THAT?

01:26PM   10       A.   AGAIN, YOU KNOW, ONE OF THE STEPS WE TOOK, AGAIN, WAS TO

01:26PM   11       HIRE A LAB FIRM TO LOOK AT THE SPACE AND TO DO THE BEST VETTING

01:26PM   12       THAT THEY COULD.

01:26PM   13            ANOTHER STEP THAT WE TOOK WAS WE INTRODUCED THERANOS TO

01:26PM   14       JOHNS HOPKINS AND THERE WAS I KNOW SOME DISCUSSION THERE AS

01:26PM   15       WELL.

01:26PM   16       Q.   DID THE LAB FIRM MAKE CONCLUSIONS REGARDING THERANOS?

01:26PM   17       A.   THEY DID.

01:26PM   18       Q.   DID THOSE CONCLUSIONS LEAD YOU TO BELIEVE THAT A

01:27PM   19       PARTNERSHIP WITH THERANOS WOULD BE WORTHWHILE?

01:27PM   20       A.   I BELIEVE A GENERAL CONCLUSION THAT THEY HAD, AND I THINK

01:27PM   21       THAT THEY WERE OPERATING ON, THE DATA THAT THEY WERE VERSUS

01:27PM   22       TAKING A MACHINE APART, IF YOU WILL, THEY THOUGHT THERANOS WAS

01:27PM   23       PROBABLY, OF THE 150 OR 180 COMPANIES IN THIS SPACE, THEY

01:27PM   24       THOUGHT, FOR WHAT WE WERE LOOKING FOR, THAT WAS PROBABLY THE

01:27PM   25       FARTHEST AHEAD.



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01:27PM    1            I THINK THE ONE CONCERN THEY VOICED WAS WHETHER THE I.T.

01:27PM    2       SYSTEMS WOULD BE ABLE TO BE, YOU KNOW, READY AND BUILT OUT.

01:27PM    3            BUT THAT WAS MY UNDERSTANDING OF THE CONCLUSION.

01:27PM    4       Q.   AND THE I.T. SYSTEMS RELATED TO THE COORDINATION BETWEEN

01:27PM    5       THE CENTRAL LAB AND THE DEVICES, OR WAS IT OTHER ISSUES?

01:27PM    6       A.   I MEAN, I THINK THE CLOUD FEED WAS PROBABLY NOT WHAT THEY

01:27PM    7       WERE GETTING AT.

01:27PM    8            IT WAS MORE AROUND SYSTEMS FOR REIMBURSEMENT, PERHAPS DATA

01:27PM    9       MANAGEMENT TO DRIVE ALGORITHMS.

01:28PM   10            BUT THE MORE SOPHISTICATED I.T. INFRASTRUCTURE, AS WELL AS

01:28PM   11       A PATIENT CHECK-IN EXPERIENCE, HOW DO YOU MAKE SURE THAT PEOPLE

01:28PM   12       HAVE PRIOR AUTHORIZATION IF THEY'RE RECEIVING SOME

01:28PM   13       REIMBURSEMENT?   HOW DO YOU KEEP PATIENT DATA SAFE THROUGH HIPAA

01:28PM   14       AND ALL OF THE CONCERNS OF PRIVACY?

01:28PM   15            I THINK THAT WAS MORE OF THE POINT.

01:28PM   16       Q.   OKAY.   AND YOU ALSO MENTIONED THAT WALGREENS CONTACTED

01:28PM   17       JOHNS HOPKINS TO UNDERTAKE SOME EVALUATION OF THE TECHNOLOGY;

01:28PM   18       IS THAT RIGHT?

01:28PM   19       A.   THAT'S CORRECT.

01:28PM   20       Q.   AND DID WALGREENS HAVE A RELATIONSHIP WITH JOHNS HOPKINS

01:28PM   21       PRIOR TO THIS?

01:28PM   22       A.   YES.

01:28PM   23       Q.   AND CAN YOU TELL US WHAT THAT WAS?

01:28PM   24       A.   WE HAD BUILT A RELATIONSHIP WITH JOHNS HOPKINS IN THEIR

01:28PM   25       BUSINESS DEVELOPMENT GROUP JUST TO BE ABLE TO COLLABORATE BACK



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01:28PM    1       AND FORTH, AND IT WAS MYSELF AND A FEW OTHER GENTLEMEN PUT THAT

01:28PM    2       INTO PLACE.

01:28PM    3            WE WORKED TOGETHER AND BUILT A PHARMACY THERE AND TRIED TO

01:28PM    4       DRIVE, YOU KNOW, CLINICAL OUTCOMES FOR PATIENTS.

01:28PM    5            WE WORKED TO FUND A BRANCATI FUND FOR A GENTLEMAN WHO WAS

01:29PM    6       THERE AND WHO DIED OF LOU GEHRIG'S DISEASE, SO JUST A VARIETY

01:29PM    7       OF FACTORS.

01:29PM    8            AND WITH THERANOS WE ASKED IF THEY WERE WILLING TO MEET

01:29PM    9       WITH ELIZABETH AND SUNNY, AND I THINK THEY HAD THEIR HEAD OF

01:29PM   10       LABS THERE TO GIVE US THEIR UNDERSTANDING AND TAKE ON THE

01:29PM   11       TECHNOLOGY.

01:29PM   12       Q.   AND DID THAT MEETING TAKE PLACE?

01:29PM   13       A.   IT DID TAKE PLACE.

01:29PM   14       Q.   WERE YOU PRESENT FOR THAT MEETING?

01:29PM   15       A.   I WAS NOT.

01:29PM   16       Q.   WAS A WRITTEN REPORT OF THAT MEETING PREPARED?

01:29PM   17       A.   I HAD SEEN A REPORT.

01:29PM   18       Q.   LET ME ASK YOU TO LOOK IN THE GOVERNMENT'S NOTEBOOK AT

01:29PM   19       WHAT IS MARKED AS EXHIBIT 302.

01:29PM   20            IS THIS THE REPORT FROM JOHNS HOPKINS THAT WAS PREPARED

01:29PM   21       FOR WALGREENS IN CONNECTION WITH THE POTENTIAL THERANOS DEAL?

01:29PM   22       A.   THIS IS WHAT I RECALL.

01:29PM   23       Q.   OKAY.    AND DID YOU REVIEW THIS AT THE TIME?

01:29PM   24       A.   I READ THE NOTES AFTER THE MEETING, BUT, AGAIN, I WASN'T

01:30PM   25       AT THE MEETING.



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01:30PM    1       Q.   OKAY.    LET ME ASK YOU TO --

01:30PM    2            YOUR HONOR, I MOVE THE ADMISSION OF 302.

01:30PM    3                    MR. SCHENK:   NO OBJECTION.

01:30PM    4                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

01:30PM    5            (GOVERNMENT'S EXHIBIT 302 WAS RECEIVED IN EVIDENCE.)

01:30PM    6       BY MR. DOWNEY:

01:30PM    7       Q.   IF YOU GO TO THE TOP LIST, DO YOU SEE THAT DR. ROSAN WAS

01:30PM    8       AT THIS MEETING; CORRECT?

01:30PM    9       A.   CORRECT.

01:30PM   10       Q.   AND MS. HOLMES AND MR. BALWANI?

01:30PM   11       A.   YES.

01:30PM   12       Q.   AND ARE YOU FAMILIAR WITH ANY OF THE INDIVIDUALS FROM

01:30PM   13       JOHNS HOPKINS?

01:30PM   14       A.   I KNEW DR. BRANCATI BEFORE HE PASSED AWAY, AND THEN I

01:30PM   15       WORKED WITH MARK SHAVER ON A COUPLE OF PROJECTS.

01:30PM   16       Q.   OKAY.    IF YOU GO TO THE VERY BOTTOM BULLET POINT ON THAT

01:30PM   17       VERY FIRST PAGE, DO YOU SEE THAT IT REFLECTS THAT "DR. ROSAN

01:31PM   18       COMMENTED ON WALGREENS' PRELIMINARY STRATEGY TO EXPLORE

01:31PM   19       EXPANDING INTO THE LABORATORY SPACE, EXPANDING ITS HEALTH

01:31PM   20       SERVICES OFFERINGS TO INCLUDE LAB AND PATHOLOGY TESTING WITHIN

01:31PM   21       WALGREENS RETAIL SPACE."

01:31PM   22            DO YOU SEE THAT?

01:31PM   23       A.   I DO.

01:31PM   24       Q.   AND THAT WAS CONSISTENT WITH YOUR UNDERSTANDING OF WHERE

01:31PM   25       THE COMPANY WAS AND WHAT THE COMPANY WAS EVALUATING; CORRECT?



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01:31PM    1       A.   GENERALLY, YES.

01:31PM    2       Q.   OKAY.   AND IF YOU LOOK BACK AT THE MEETING OBJECTIVES,

01:31PM    3       THEY'RE LISTED IN THIS DOCUMENT AS THE "HOPKINS TEAM WAS ASKED

01:31PM    4       TO COMMENT ON THE VALIDITY AND USEFULNESS OF THE THERANOS

01:31PM    5       PRODUCT, SPECIFICALLY RELATED TO THE SCIENCE THAT SUPPORTS THE

01:31PM    6       TECHNOLOGY AND THE APPLICATION OF THE TECHNOLOGY IN A WIDE

01:31PM    7       VARIETY OF SETTINGS INCLUDING HOSPITAL, CLINIC, LABORATORY, AND

01:32PM    8       POTENTIALLY WITHIN WALGREENS AS AN ADD ON TO CLINICAL PROGRAMS

01:32PM    9       AND RETAIN PHARMACY BUSINESS THAT CURRENTLY EXISTS."

01:32PM   10            WAS THAT CONSISTENT WITH THE OBJECTIVE AND REASON THAT YOU

01:32PM   11       WANTED TO ASK JOHNS HOPKINS TO EVALUATE THERANOS TECHNOLOGY?

01:32PM   12       A.   YES, EFFECTIVELY THEIR HEAD OF LABS I BELIEVE WAS

01:32PM   13       PARTICIPATING, AND BEING ABLE TO GET THAT LEVEL OF EXPERTISE WE

01:32PM   14       FELT WAS A GOOD PART OF THE DILIGENCE PROCESS.

01:32PM   15       Q.   OKAY.   AND THEN UNDER METHODOLOGY, IF YOU LOOK AT THE

01:32PM   16       FIRST TWO BULLET POINTS, IT INDICATES THAT THE HOPKINS TEAM

01:32PM   17       REVIEWED PROPRIETARY DATA, AND IT GOES ON TO DESCRIBE THAT.

01:32PM   18            AND THEN IT INDICATES THAT THERANOS PRESENTED ADDITIONAL

01:32PM   19       DATA ON, AND BUSINESS VISION, AND THAT IT DEMONSTRATED THE

01:32PM   20       TECHNOLOGY ON SITE.

01:33PM   21            WERE THOSE STEPS THAT YOU UNDERSTOOD HAD BEEN TAKEN WHEN

01:33PM   22       YOU WERE EVALUATING THE DEAL?

01:33PM   23       A.   THAT WAS MY UNDERSTANDING.

01:33PM   24            BUT IT WAS MY UNDERSTANDING THAT HOPKINS NOR THE LAB

01:33PM   25       CONSULTING FIRM EVER HAD AN ACTUAL EDISON TO PLAY WITH, IF YOU



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01:33PM    1       WILL.

01:33PM    2       Q.   THEY DIDN'T LEAVE THE TECHNOLOGY THERE?

01:33PM    3       A.   NO.

01:33PM    4       Q.   BUT AT SOME POINT WALGREENS GOT AN EDISON, DIDN'T IT?

01:33PM    5       A.   I DON'T KNOW IF WE HAD IT OR NOT.     I CAN'T SPEAK TO THAT

01:33PM    6       FOR SURE.    YOU KNOW, WE WEREN'T CRACKING IT OPEN, IF YOU WILL,

01:33PM    7       AND TRYING TO DO OUR OWN RESEARCH.

01:33PM    8       Q.   WELL, DO YOU KNOW IF DR. ROSAN AT SOME POINT AFTER THE

01:33PM    9       AGREEMENT ACTUALLY GOT AN EDISON AND HOSTED IT IN HIS OFFICE?

01:33PM   10       A.   I DON'T KNOW.

01:33PM   11            BUT PHILOSOPHICALLY, I SEE THIS AS THE SAME AS DRUG

01:33PM   12       DEVELOPMENT.   YOU KNOW, IF A DRUG GETS APPROVED FROM THE FDA,

01:33PM   13       WE DON'T TELL PFIZER WE WANT TO RERUN A CLINICAL TRIAL.     WE

01:33PM   14       JUST ASSUMED THAT'S THEIR EXPERTISE, RIGHT?

01:33PM   15       Q.   SURE.

01:33PM   16       A.   SO I CAN'T SPEAK FOR WHAT DR. ROSAN HAD OR DID NOT HAVE.

01:33PM   17       Q.   OKAY.   ON THE SECOND PAGE IT INDICATES KEY FINDINGS IN

01:34PM   18       CONNECTION WITH THIS EVALUATION, AND IT SETS FORTH THE

01:34PM   19       CONSENSUS.

01:34PM   20            AND IT SETS FORTH THE CONCLUSION THAT "THE TECHNOLOGY IS

01:34PM   21       NOVEL AND SOUND.   IT CAN ACCURATELY RUN A WIDE RANGE OF ROUTINE

01:34PM   22       AND SPECIAL ASSAYS."

01:34PM   23            IS THAT THE GIST OF WHAT WAS COMMUNICATED TO YOU ABOUT THE

01:34PM   24       RESULTS OF HOPKINS'S EVALUATION?

01:34PM   25       A.   WHAT WAS TOLD TO ME IS BASED UPON THE DATA AND INFORMATION



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01:34PM    1       THAT THEY WERE GIVING.    THIS WAS THEIR ASSESSMENT.

01:34PM    2            BUT THAT WITHOUT ACTUALLY, YOU KNOW, HAVING THE TECHNOLOGY

01:34PM    3       TO RUN ITSELF, THEY HAD TO RELY UPON THOSE ATTESTATIONS.

01:34PM    4       Q.   AND ESSENTIALLY THEY TOLD YOU WE'VE DONE AN EVALUATION OF

01:34PM    5       WHAT'S AVAILABLE TO US, BUT WE HAVEN'T BROKEN THE TECHNOLOGY

01:34PM    6       DOWN AND RECREATED IT AND EVALUATED FROM THAT PERSPECTIVE?

01:34PM    7       A.   RIGHT, JUST TO BE FAIR TO THEM, YES.

01:34PM    8       Q.   ALL RIGHT.   IF YOU LOOK AT THE THIRD BULLET POINT, IT

01:34PM    9       LISTS SPECIAL STRENGTHS OF THE TECHNOLOGY.

01:35PM   10            AND IT INDICATES ACCURACY, MINIATURIZATION, FLEXIBILITY,

01:35PM   11       CONNECTIVITY, ADAPTABILITY FOR RESEARCH, AND COST PER STUDY.

01:35PM   12            I THINK YOU WERE ASKED ON YOUR DIRECT EXAMINATION IF

01:35PM   13       ACCURACY WAS IMPORTANT, AND YOU REPLIED THAT IT WAS; CORRECT?

01:35PM   14       A.   CORRECT.

01:35PM   15       Q.   AND POTENTIALLY MINIATURIZATION WAS IMPORTANT TO

01:35PM   16       WALGREENS; CORRECT?

01:35PM   17       A.   PART OF THE VALUE PROPOSITION, AGAIN, AS I UNDERSTAND IT,

01:35PM   18       IS THAT THERANOS WASN'T, THEY WEREN'T REINVENTING HOW LAB GETS

01:35PM   19       DONE.

01:35PM   20            WHAT THEY WERE EFFECTIVELY DOING WAS COMTEMPORIZING IT.

01:35PM   21       SO YOU STILL HAD ANTIGENS, YOU STILL HAD BLOOD, YOU STILL HAD

01:35PM   22       OPTICAL READERS, BUT DOING IT MUCH MORE EFFICIENTLY ON, AGAIN,

01:35PM   23       THAT ANALOGY OF MOVING FROM MAINFRAME TO LAPTOP IN THE LAB

01:35PM   24       SPACE.

01:35PM   25       Q.   OKAY.   AND IF YOU LOOK AT THE FOURTH BULLET POINT, UNDER



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01:35PM    1       KEY FINDINGS IT INDICATES, "THE HOPKINS TEAM THOUGHT THAT THE

01:36PM    2       TECHNOLOGY WOULD BE USEFUL IN THE RETAIL CLINIC SETTING, WITH

01:36PM    3       THE PROVISO THAT THE THROUGHPUT FOR AN INDIVIDUAL SAMPLE (30-45

01:36PM    4       MINUTES) WOULD REQUIRE MULTIPLE UNITS PER SITE AND IMPOSE AN

01:36PM    5       UPPER LIMIT FOR GROUP THROUGHPUT."

01:36PM    6            FIRST OF ALL, DO YOU KNOW WHAT THEY'RE REFERRING TO WHEN

01:36PM    7       THEY REFERENCE "GROUP THROUGHPUT"?

01:36PM    8       A.   NOT SPECIFICALLY.   I KNOW MY INTERPRETATION OF THAT.

01:36PM    9       Q.   WHICH WAS WHAT?

01:36PM   10       A.   MY INTERPRETATION OF THE GENERAL OVERALL STATEMENT IS THAT

01:36PM   11       IF YOU LOOK AT THE NUMBER OF PATIENTS YOU MIGHT BE DOING PER

01:36PM   12       DAY AND RECOGNIZE THAT A TEST TAKES 15 OR 20 MINUTES TO DO ON

01:36PM   13       ONE MACHINE, YOUR PATIENT LOAD COULD EXCEED THE CAPABILITY OF

01:36PM   14       ANY SINGLE MACHINE.

01:36PM   15       Q.   SO YOU MIGHT GET A LINE OF SAMPLES WAITING TO BE

01:36PM   16       PROCESSED?

01:36PM   17       A.   CORRECT.

01:36PM   18       Q.   UNDER THE INDICATION -- UNDER THE HEADING ADDITIONAL

01:36PM   19       INFORMATION, IT INDICATES THE FOLLOWING, THAT DR. CLARK -- WHO

01:37PM   20       YOU DON'T KNOW, I ASSUME.

01:37PM   21       A.   I BRIEFLY RECALL DR. CLARK, BUT NOT AS WELL AS I RECALL

01:37PM   22       THE OTHER TWO.

01:37PM   23       Q.   OKAY.   "DR. CLARK INDICATED OVER THE PAST TWO YEARS HE HAS

01:37PM   24       HAD NUMEROUS CONVERSATIONS WITH THERANOS ABOUT UTILIZING THEIR

01:37PM   25       TECHNOLOGY AT JOHNS HOPKINS FOR RESEARCH ACTIVITIES.     THE



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01:37PM    1       CONVERSATIONS CONTINUE TO BE FAVORABLE AND BOTH PARTIES WILL

01:37PM    2       CONTINUE TO EXPLORE OPPORTUNITIES FOR COLLABORATION."

01:37PM    3            DO YOU RECALL LEARNING THAT THAT WAS PART OF HOPKINS

01:37PM    4       COMMENTARY AT THE TIME?

01:37PM    5       A.   I RECALL LEARNING THAT, YES.

01:37PM    6       Q.   OKAY.   HOW IMPORTANT WAS THE HOPKINS EVALUATION TO YOU IN

01:37PM    7       YOUR DECISION TO ENTER INTO THE FIRST AGREEMENT WITH THERANOS?

01:37PM    8       A.   I'D SAY JUST A PIECE OF A MOSAIC.     IT'S NOT DEFINITIVE,

01:37PM    9       BUT IT'S ONE OF MANY PIECES THAT FIT TOGETHER.

01:37PM   10       Q.   AND YOU WERE EVALUATING SEVERAL ISSUES; CORRECT?

01:37PM   11       A.   SEVERAL ISSUES?

01:37PM   12       Q.   SEVERAL ISSUES RELATED TO A POTENTIAL DEAL, LIKE BUSINESS

01:37PM   13       MODEL AND SO FORTH?

01:37PM   14       A.   DOES THE TECHNOLOGY WORK?    CAN THE TECHNOLOGY BE SCALED?

01:38PM   15       IS THE BUSINESS MODEL SOUND?    WILL THE ECOSYSTEM OF PAYORS AND

01:38PM   16       PHYSICIANS AND CLINICIANS BE ACCEPTING?     A LOT OF THINGS THAT

01:38PM   17       HAVE TO FIT TOGETHER.

01:38PM   18       Q.   OKAY.   AND SOME OF THAT ANALYSIS WAS DONE BEFORE THE

01:38PM   19       AGREEMENT WAS SIGNED; CORRECT?

01:38PM   20       A.   BEFORE WHICH AGREEMENT?

01:38PM   21       Q.   THE FIRST AGREEMENT BETWEEN WALGREENS AND THERANOS, WHICH

01:38PM   22       WAS IN -- AT THE END OF JULY 2010 I THINK WE'VE ESTABLISHED.

01:38PM   23       A.   SOME.   BUT I WOULD ALSO KIND OF DEFINE DILIGENCE AS SORT

01:38PM   24       OF AN UNFOLDING OVER A COUPLE YEARS, RIGHT.

01:38PM   25            YOU KEEP LEARNING NEW THINGS.    THINGS KEEP CHANGING.   SO



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01:38PM    1       DILIGENCE CONTINUES, AND THAT'S ONE REASON THEN WHY YOU HAVE A

01:38PM    2       REVISED AGREEMENT AND THEN AN ADDENDUM TO THAT IS BECAUSE

01:38PM    3       YOU'RE DOING DILIGENCE AND LEARNING THINGS AND YOU'RE TRYING TO

01:38PM    4       BUILD THAT INTO THE BEST THINKING.

01:38PM    5       Q.   OKAY.   NOW, IS IT ALSO THE CASE THAT DURING THE PERIOD OF

01:39PM    6       EVALUATING THE DEAL, WALGREENS LOOKED AT SOME OF THE POTENTIAL

01:39PM    7       REGULATORY ISSUES?

01:39PM    8       A.   WE DID, AND I BELIEVE WE HAD REGULATORY COUNSEL TO HELP

01:39PM    9       WITH THAT ENDEAVOR AS WELL.

01:39PM   10       Q.   IS IT FAIR TO SAY THAT YOUR UNDERSTANDING THAT THOSE

01:39PM   11       ISSUES WERE FAIRLY COMPLEX?

01:39PM   12       A.   THEY'RE CERTAINLY NOT IN MY AREA OF EXPERTISE.

01:39PM   13            BUT, AGAIN, AS I SAID BEFORE, YOU KNOW, ONE AREA OF

01:39PM   14       COMPLEXITY WOULD CERTAINLY BE THIS NOTION OF WHERE IS THE LAB,

01:39PM   15       AND I DON'T THINK THAT THAT HAD BEEN CONTEMPLATED NECESSARILY

01:39PM   16       BEFORE BY REGULATORS.

01:39PM   17       Q.   AND WHEN YOU, WHEN YOU SAY THE ISSUE OF WHERE IS THE LAB,

01:39PM   18       CAN YOU EXPLAIN WHAT THAT MEANS?

01:39PM   19       A.   SURE.   SO YOU HAVE THE EDISON DEVICE WHICH, YOU KNOW,

01:39PM   20       WHICH PROCESSES THE CARTRIDGES AND THE BLOOD INFORMATION; AND

01:39PM   21       THEN THE RESULTS FROM THAT, AFTER THE OPTICAL READER DOES ITS

01:39PM   22       THING, WOULD GO INTO THE CLOUD, WHICH WOULD GO INTO THE

01:39PM   23       PALO ALTO LAB WHERE YOU WOULD HAVE, I ASSUME, PATHOLOGISTS AND

01:40PM   24       DATA AND OTHERS WORKING THERE.

01:40PM   25            SO IF YOU WERE TO PUT AN EDISON, FOR EXAMPLE, IN A



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01:40PM    1       WALGREENS, BUT THE INFORMATION IS GOING TO PALO ALTO, IS THE

01:40PM    2       LAB IN WALGREENS?    IS IT IN PALO ALTO?    IS IT IN BOTH?

01:40PM    3            AND THAT WAS THAT ISSUE OF TRYING TO UNDERSTAND THAT.

01:40PM    4       Q.   AND DID YOU UNDERSTAND THAT IF THE LAB WERE CONSIDERED TO

01:40PM    5       BE IN THE STORES, THAT THAT WOULD HAVE SOME REGULATORY

01:40PM    6       CONSEQUENCES?

01:40PM    7       A.   I UNDERSTOOD THAT IT MIGHT.

01:40PM    8       Q.   AND THAT WAS A RESULT OF WHAT THE COMPANY CONTINUED TO

01:40PM    9       LEARN DURING ITS DILIGENCE PROCESS?

01:40PM   10       A.   I THINK -- IF I REMEMBER THE SECOND AGREEMENT, I THINK

01:40PM   11       THERE WAS SOME LANGUAGE AROUND CONTINUING TO DISCUSS WITH

01:40PM   12       REGULATORS, FDA AND OTHERS, THESE CONCEPTS TO GET

01:40PM   13       CLARIFICATION.

01:40PM   14            SO I THINK IT WAS A WORK-IN-PROGRESS ON GETTING THAT

01:40PM   15       CLARIFIED.

01:40PM   16       Q.   OKAY.   AND BEFORE THE FIRST AGREEMENT WAS ENTERED, HOW

01:40PM   17       MANY PEOPLE DO YOU THINK WERE ENGAGED IN ANALYZING THE

01:41PM   18       AGREEMENT AND DILIGENCE RELATED TO IT?

01:41PM   19       A.   BEFORE THE FIRST AGREEMENT?

01:41PM   20       Q.   YES.

01:41PM   21       A.   I MEAN, I SORT OF WOULD BE GUESSING, BUT EIGHT TO TEN AT

01:41PM   22       LEAST INTERNALLY, AND AGAIN, A COUPLE OF DIFFERENT EXTERNAL

01:41PM   23       FIRMS.   SO PROBABLY A DOZEN OR MORE.

01:41PM   24       Q.   OKAY.   BUT ULTIMATELY AT THE END OF JULY 2010, WALGREENS

01:41PM   25       DECIDED TO ENTER INTO AN AGREEMENT WITH THERANOS; CORRECT?



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01:41PM    1       A.   YES.

01:41PM    2       Q.   AND AS WE DISCUSSED BEFORE, WHEN THAT AGREEMENT WAS

01:41PM    3       SIGNED, THE PRESUMPTION WAS THAT THE PARTIES WOULD TRY TO PUT

01:41PM    4       THE DEVICES IN THE STORES; CORRECT?

01:41PM    5       A.   I THINK THE PRESUMPTION WAS THAT WE WERE ON A PATH OF

01:41PM    6       WORKING TOGETHER TO FIGURE OUT HOW TO COMMERCIALIZE IT

01:41PM    7       TOGETHER.

01:41PM    8       Q.   OKAY.   LET ME ASK YOU TO PULL BACK UP EXHIBIT 372, WHICH

01:41PM    9       IS THE AGREEMENT THAT WAS SIGNED AT THE END OF JULY.

01:42PM   10            I'LL ASK YOU TO LOOK AT -- AND WE'LL PUT IT ON THE SCREEN

01:42PM   11       AS WELL -- AT PAGE 2.

01:42PM   12            THIS IS ALREADY IN EVIDENCE, YOUR HONOR.

01:42PM   13            PAGE 2 OF THE AGREEMENT, WHICH HAS THE NUMBER 8 IN THE

01:42PM   14       BOTTOM RIGHT-HAND CORNER.

01:42PM   15       A.   OKAY.

01:42PM   16       Q.   AND IT'S ON THE SCREEN.

01:42PM   17            THIS STATES THE BACKGROUND THAT HAS LED TO THE AGREEMENT;

01:42PM   18       CORRECT?

01:42PM   19       A.   IT'S PART OF THE BACKGROUND.    IT'S THE FIRST TWO

01:42PM   20       PARAGRAPHS OF THE BACKGROUND SECTION.

01:42PM   21       Q.   OKAY.   AND THE FIRST PARAGRAPH SAYS, "THERANOS HAS

01:43PM   22       DEVELOPED, AND IS DEVELOPING, GENERATIONS OF MINI-LAB DEVICES

01:43PM   23       THAT CAN RUN ANY BLOOD TEST IN REAL-TIME FOR LESS THAN THE

01:43PM   24       TRADITIONAL COST OF CENTRAL LAB TESTS."

01:43PM   25            DO YOU SEE THAT?



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01:43PM    1       A.   YES.

01:43PM    2       Q.   AND DID YOU COME TO UNDERSTAND, AS A RESULT OF THE

01:43PM    3       DISCUSSIONS YOU WERE PART OF, THAT THERANOS HAD ALREADY

01:43PM    4       DEVELOPED SOME GENERATIONS OF A MINILAB?

01:43PM    5       A.   YES.

01:43PM    6       Q.   AND THAT THEY WERE WORKING TO DEVELOP MORE GENERATIONS OF

01:43PM    7       MINILABS?

01:43PM    8       A.   YES.

01:43PM    9       Q.   AND THAT THOSE GENERATIONS HAD DIFFERENT CAPACITIES?

01:43PM   10       A.   TECHNOLOGY IS ALWAYS AN EVOLUTION.

01:43PM   11       Q.   IF YOU LOOK AT PAGE 8 OF THE AGREEMENT, WHICH HAS THE

01:43PM   12       BATES 12 IN THE BOTTOM RIGHT-HAND CORNER.      THIS DESCRIBES --

01:43PM   13       I'LL GIVE YOU A MINUTE TO GET THERE.

01:43PM   14            I'M INTERESTED IN THE PARAGRAPH THAT IS NUMBERED 6, WHICH

01:44PM   15       IS CAPTIONED CARTRIDGE PRE-PURCHASE COMMITMENTS.

01:44PM   16            DO YOU SEE THAT?

01:44PM   17       A.   UH-HUH, YES.

01:44PM   18       Q.   I WANT TO GO TO THE PARAGRAPH THAT DESCRIBES HOW THE

01:44PM   19       ECONOMICS OF THE DEAL WILL WORK, AND THAT'S THE PARAGRAPH THAT

01:44PM   20       BEGINS "THE FIRST 30 MILLION."

01:44PM   21            DO YOU SEE THAT?

01:44PM   22       A.   YES.

01:44PM   23       Q.   AND IT INDICATES THAT "THE FIRST 30 MILLION PRE-PURCHASE

01:44PM   24       PAYMENT WILL BE INVOICED AT THE EFFECTIVE DATE OF THIS

01:44PM   25       AGREEMENT."



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01:44PM    1            CORRECT?

01:44PM    2       A.   THAT'S WHAT IT SAYS.

01:44PM    3       Q.   AND THEN IT SAYS "THE SECOND 20 MILLION PAYMENT WILL BE

01:44PM    4       INVOICED AFTER THERANOS OBTAINS ANY AND ALL OFFICIAL, WRITTEN

01:44PM    5       FDA APPROVALS, CLIA-WAIVED STATUS AND ANY OTHER FEDERAL

01:45PM    6       REGULATORY APPROVALS NECESSARY IN ORDER FOR WALGREENS TO

01:45PM    7       COMMENCE UTILIZING THE THERANOS SYSTEM AND CARTRIDGES TO

01:45PM    8       PERFORM TESTS," AND IT GOES ON AND DESCRIBES THE PROGRAM

01:45PM    9       FURTHER.

01:45PM   10            DO YOU RECALL THAT BEING A TERM OF THE AGREEMENT?

01:45PM   11       A.   LOOSELY.   IT'S BEEN 11 YEARS.   I DON'T RECALL IT.

01:45PM   12       Q.   OKAY.   BUT YOU RECALL THAT PRIOR TO THE AGREEMENT THEY HAD

01:45PM   13       NOT OBTAINED THOSE APPROVALS; CORRECT?

01:45PM   14       A.   CORRECT.

01:45PM   15       Q.   AND WITH RESPECT TO CLIA CERTIFICATION, THAT WAS AN

01:45PM   16       APPROVAL THAT THEY OBTAINED, BUT AFTER THE ORIGINAL AGREEMENT;

01:45PM   17       CORRECT?

01:45PM   18       A.   THAT'S CORRECT.   ORIGINALLY THERE WAS DISCUSSION ON CLIA

01:45PM   19       WAIVED VERSUS CLIA APPROVAL, AND ULTIMATELY I BELIEVE THE

01:45PM   20       COMPANY SAID IT HAD TO BE CLIA-APPROVED TO BE ABLE TO MOVE

01:45PM   21       FORWARD.

01:45PM   22       Q.   AND THE LAST SENTENCE READS, "IF THERANOS FAILS TO OBTAIN

01:45PM   23       APPROVALS BY DECEMBER 31ST, 2010, SUCH FAILURE SHALL ENTITLE

01:45PM   24       WALGREENS TO TERMINATE THIS AGREEMENT."

01:46PM   25            SO THAT GAVE THERANOS -- WALGREENS A RIGHT TO VOID THE



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01:46PM    1       AGREEMENT IF THERE WAS NOT -- IF THERANOS WAS UNSUCCESSFUL IN

01:46PM    2       OBTAINING THE REGULATORY APPROVALS THAT IT NEEDED; CORRECT?

01:46PM    3       A.   CORRECT.

01:46PM    4       Q.   LET ME ASK YOU TO LOOK NOW AT BATES 22 WITHIN THE

01:46PM    5       AGREEMENT, PAGE 16.

01:46PM    6            I'M SORRY, BATES 22.      IT WILL BE PAGE 18 OF THE AGREEMENT.

01:46PM    7       YEAH.

01:46PM    8            I'M LOOKING AT THE PARAGRAPH THAT IS LABELED 23(B),

01:47PM    9       TERMINATION DUE TO UNSATISFACTORY PILOT.

01:47PM   10            DO YOU SEE THAT?

01:47PM   11       A.   YES.

01:47PM   12       Q.   AND THIS SETS FORTH TERMS UNDER WHICH THE PARTIES MIGHT

01:47PM   13       HAVE THE RIGHT TO TERMINATE IT AFTER AN UNSATISFACTORY PILOT;

01:47PM   14       CORRECT?

01:47PM   15       A.   THAT'S WHAT IT APPEARS TO SAY, YES.

01:47PM   16       Q.   AND THE PILOT PROGRAM IS WHAT YOU DESCRIBED ON YOUR DIRECT

01:47PM   17       EXAMINATION, A ROLLOUT TO A SMALL NUMBER OF STORES TO TEST HOW

01:47PM   18       THE PROGRAM WORKED; CORRECT?

01:47PM   19       A.   CORRECT.

01:47PM   20       Q.   AND BOTH PARTIES HAD THE RIGHT UNDER THE AGREEMENT TO

01:47PM   21       TERMINATE THE RELATIONSHIP IF THEY WERE NOT SATISFIED WITH THE

01:47PM   22       PILOT PROGRAM; CORRECT?

01:47PM   23       A.   I'D HAVE TO READ IT TO BE DEFINITIVE, BUT IF THAT'S WHAT

01:47PM   24       IT SAYS.

01:47PM   25       Q.   WELL, DO YOU RECALL THAT THAT WAS THE NATURE OF THE



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01:47PM    1       ARRANGEMENT?

01:47PM    2       A.   AGAIN, IT'S BEEN 11 YEARS, SO WITHOUT GETTING INTO THE

01:47PM    3       SPECIFICS AND REREADING IT.

01:47PM    4       Q.   YEAH, SURE.

01:47PM    5            DO YOU RECALL HAVING A, A CONCERN IN NEGOTIATING THE

01:47PM    6       AGREEMENT OR ENTERING INTO THE AGREEMENT THAT YOU WANTED TO

01:48PM    7       PROTECT WALGREENS IN THE EVENT THAT THINGS DID NOT WORK OUT?

01:48PM    8       A.   I THINK ALL PARTIES DO, ALL AGREEMENTS HAVE THAT MINDSET.

01:48PM    9       Q.   OKAY.    AND SO THAT WAS PART OF HOW YOU WERE THINKING ABOUT

01:48PM   10       DEALING WITH THIS SITUATION; CORRECT?

01:48PM   11       A.   SURE.

01:48PM   12       Q.   AND THAT RELATED TO SOME OF THESE PROVISIONS THAT WOULD

01:48PM   13       ALLOW YOU TO TERMINATE THE AGREEMENT UNDER CERTAIN SCENARIOS;

01:48PM   14       RIGHT?

01:48PM   15       A.   YOU COULD SAY THAT.

01:48PM   16       Q.   OKAY.    I'D LIKE TO ASK YOU NOW TO LOOK AT PAGE 10.

01:49PM   17       ACTUALLY, I WANT TO FLIP TO PAGE 11.

01:49PM   18            AND DO YOU SEE IN THE PARAGRAPH 10(A) THAT THERE'S A

01:49PM   19       LICENSE GRANT TO WALGREENS?

01:49PM   20       A.   YES.

01:49PM   21       Q.   AND WITHOUT REQUIRING US TO READ IT, CAN YOU JUST TAKE A

01:49PM   22       MOMENT TO READ IT AND THEN EXPLAIN WHAT THIS TERM DID.

01:49PM   23            (PAUSE IN PROCEEDINGS.)

01:49PM   24                    THE WITNESS:   AGAIN, IT APPEARS THAT IT'S GIVING

01:49PM   25       WALGREENS THE RIGHT TO USE THE THERANOS SOFTWARE.



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01:50PM    1       BY MR. DOWNEY:

01:50PM    2       Q.   AND YOU HAD A LICENSE TO DO THAT UNDER THE AGREEMENT?

01:50PM    3       A.   YES, IT APPEARS AS I READ IT.

01:50PM    4       Q.   OKAY.   WAS THAT IMPORTANT TO OBTAIN A LICENSE TO BE ABLE

01:50PM    5       TO USE THE DATA SO THAT WALGREENS MIGHT UTILIZE DATA FOR ITS

01:50PM    6       OWN PURPOSES DISTINCT FROM WHAT THERANOS WAS DOING?

01:50PM    7       A.   I THINK ANY TIME TWO COMPANIES THAT ARE NOT RELATED SHARE

01:50PM    8       INFORMATION AND DATA, THERE'S TYPICALLY SOME TYPE OF AGREEMENT

01:50PM    9       THAT GOVERNS HOW IT'S USED SO IT'S NOT MISUSED.

01:50PM   10       Q.   OKAY.   AND, YOU KNOW, THE PARTIES HAD BEEN NEGOTIATING FOR

01:50PM   11       ABOUT THREE MONTHS, I GUESS, PRIOR TO THE TIME THAT THE

01:50PM   12       AGREEMENT WAS SIGNED.

01:50PM   13            DO YOU RECALL THAT WHEN THE PARTIES SIGNED THE AGREEMENT,

01:50PM   14       THEY INCLUDED A CLAUSE CALLED AN INTEGRATION CLAUSE?

01:50PM   15       A.   I DON'T RECALL THAT.

01:50PM   16       Q.   OKAY.   DO YOU KNOW WHAT AN INTEGRATION CLAUSE IS?

01:50PM   17       A.   NOT SPECIFICALLY.

01:50PM   18       Q.   OKAY.   COULD I ASK YOU TO LOOK AT BATES NUMBER 17.

01:51PM   19            I'M SORRY.   IT'S BATES 23, PAGE 17.

01:51PM   20       A.   OKAY.

01:51PM   21       Q.   AND I WANT TO DIRECT YOUR ATTENTION TO G, THE ENTIRE

01:51PM   22       AGREEMENT.

01:51PM   23            AND DO YOU SEE THAT THIS IS A TERM WHICH PROVIDES "THE

01:51PM   24       TERMS AND CONDITIONS CONTAINED IN THIS AGREEMENT, INCLUDING ALL

01:51PM   25       SCHEDULES, CONSTITUTE THE ENTIRE AGREEMENT BETWEEN THE PARTIES



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01:51PM    1       AND SUPERSEDE ALL PREVIOUS AGREEMENTS AND UNDERSTANDINGS,

01:51PM    2       WHETHER ORAL OR WRITTEN, BETWEEN THE PARTIES HERETO WITH

01:51PM    3       RESPECT TO THE SUBJECT MATTER OF THIS AGREEMENT AND NO

01:51PM    4       AGREEMENT OR UNDERSTANDING VARYING OR EXTENDING THE SAME SHALL

01:51PM    5       BE BINDING UPON EITHER PARTY UNLESS IN A WRITTEN DOCUMENT."

01:52PM    6            DO YOU SEE THAT?

01:52PM    7       A.   YES.

01:52PM    8       Q.   AND ARE PROVISIONS LIKE THIS FAIRLY STANDARD IN COMMERCIAL

01:52PM    9       ARRANGEMENTS BETWEEN SOPHISTICATED PARTIES?

01:52PM   10       A.   I'M NOT AN ATTORNEY, BUT IT STANDS TO REASON THAT IF YOU

01:52PM   11       WANT TO MAKE SURE AN AGREEMENT STANDS BY ITSELF VERSUS THE

01:52PM   12       HISTORY OF DIFFERENT AGREEMENTS, THAT MAKES SENSE.

01:52PM   13       Q.   OKAY.   SO AT THIS POINT AFTER THE EXECUTION OF THE

01:52PM   14       AGREEMENT, THIS IS JULY 2010, AND I THINK YOU MENTIONED A

01:52PM   15       SERIES OF STEPS THAT WOULD HAVE TO BE TAKEN TO SEE HOW THE

01:52PM   16       ARRANGEMENT WOULD WORK.    IF I MIGHT USE AN ABBREVIATION, IT'S

01:52PM   17       POST-AGREEMENT DUE DILIGENCE.

01:52PM   18            IS THAT A FAIR TERM?

01:52PM   19       A.   I WOULD ARGUE EVERY STEP OF THE WAY, RIGHT?

01:52PM   20            SO EVEN WHEN YOU GET TO PILOT AND EXPANSION, YOU'RE STILL

01:52PM   21       DOING DUE DILIGENCE ON IS THE BUSINESS MODEL EXPANDABLE AND

01:52PM   22       DOES IT WORK?

01:52PM   23       Q.   AND THAT'S TO EVALUATE WHETHER THIS IS AN ARRANGEMENT THAT

01:52PM   24       YOU WANT TO REMAIN A PARTY TO; CORRECT?

01:52PM   25       A.   RIGHT, AND IF BOTH PARTIES FIND IT VIABLE.



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01:53PM    1       Q.   OKAY.   AND AFTER THE AGREEMENT WAS SIGNED, DID WORK WITHIN

01:53PM    2       WALGREENS HAVE TO BE TRANSFERRED FROM THE INNOVATIONS TEAM TO

01:53PM    3       AN OPERATIONS TEAM TO TRY TO BUILD THE PROGRAM UP?

01:53PM    4       A.   WE HAD AN OPERATIONS EXECUTION TEAM, WHATEVER YOU WOULD

01:53PM    5       CALL IT, THAT WE BUILT UP.     WE BROUGHT IN AN EXECUTIVE WHO HAD

01:53PM    6       LAB EXPERIENCE TO BE ON THAT TEAM, AND WE BROUGHT AN EMPLOYEE

01:53PM    7       WHO HAD LAB EXPERIENCE IN THE COMPANY OVER ON THAT TEAM, AND WE

01:53PM    8       BROUGHT A VARIETY OF DIFFERENT TALENTS TO BE ON THAT WORKING

01:53PM    9       TEAM.

01:53PM   10       Q.   OKAY.   SO THERE WAS A LOT THAT WENT INTO THAT OPERATIONS

01:53PM   11       TEAM?

01:53PM   12       A.   THERE WAS A LOT.

01:53PM   13       Q.   AND AMONG THAT IS MARKETING AND BRANDING; CORRECT?

01:53PM   14       A.   FOR THE MOST PART MARKETING AND BRANDING WAS REALLY A

01:53PM   15       THERANOS ACTIVITY.

01:53PM   16       Q.   OKAY.   AND WITH INSURERS AND PAYORS -- YOU RECALL THAT WE

01:54PM   17       TALKED ABOUT THAT BEFORE?

01:54PM   18       A.   YES.

01:54PM   19       Q.   AND IT WAS IMPORTANT TO WORK OUT THE RELATIONSHIPS BETWEEN

01:54PM   20       THERANOS AND THOSE INSURERS AND PAYORS; CORRECT?

01:54PM   21       A.   CORRECT.

01:54PM   22       Q.   AND WAS SOMEONE AT WALGREENS ASSISTING WITH THAT?

01:54PM   23       A.   I BELIEVE THERE WAS WORK DONE ON BOTH SIDES, BOTH THROUGH

01:54PM   24       OUR CONTACTS AND THROUGH THEIR WORK.

01:54PM   25       Q.   OKAY.   AND WAS THERE WORK TO INTEGRATE THE I.T. SYSTEMS OF



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01:54PM    1       THERANOS AND WALGREENS?

01:54PM    2       A.   I DON'T KNOW TO WHAT EXTENT INTEGRATE, BUT THERE WAS A LOT

01:54PM    3       OF WORK ON THERANOS'S END TO SUPPORT THE SYSTEM.

01:54PM    4       Q.   AND WITHIN THE BUSINESS MODEL, WAS THERE ALSO AN EFFORT TO

01:54PM    5       TRY TO FIGURE OUT HOW THE CUSTOMER SERVICE COMPONENTS OF THE

01:54PM    6       PROGRAM WOULD WORK?

01:54PM    7       A.   YES.

01:54PM    8       Q.   AND SOME OF THAT RELATED TO WHO WOULD EMPLOY WHO, FOR

01:54PM    9       EXAMPLE?

01:54PM   10       A.   RIGHT, OR JUST IF A POTENTIAL PATIENT WALKS THROUGH THE

01:54PM   11       DOOR WITH A LAB PRESCRIPTION, DO THEY KNOW WHERE TO GO?     ARE

01:54PM   12       THEY GREETED?   ARE THEY RECEIVED?   YOU KNOW, ALL OF THAT FROM

01:54PM   13       HOW A PATIENT PERCEIVES THE EXPERIENCE.

01:54PM   14       Q.   OKAY.   SO ALL OF THOSE ISSUES AND OTHER ISSUES WERE ISSUES

01:55PM   15       ON WHICH THE COMPANIES CONTINUED TO WORK FOR THE REST OF 2010

01:55PM   16       AND 2011; CORRECT?

01:55PM   17       A.   AND I'D ARGUE 2012 AND INTO '13 AS WELL.

01:55PM   18       Q.   BUT AT THE BEGINNING OF 2012, DO YOU RECALL THE

01:55PM   19       DISCUSSIONS BEGAN ABOUT THE MODEL EVOLVING WHERE THE DEVICES

01:55PM   20       WOULD NO LONGER BE PART OF THE -- NO LONGER BE PLACED IN THE

01:55PM   21       STORES BUT WOULD INSTEAD GO IN A CENTRAL LAB?

01:55PM   22       A.   I REMEMBER LOTS OF DISCUSSIONS.     I DON'T REMEMBER IF IT

01:55PM   23       WAS IN 2012.    BUT IT SEEMS TO HAVE MANIFESTED ITSELF INTO A

01:55PM   24       LATER AGREEMENT.

01:55PM   25       Q.   OKAY.   WELL, LET ME JUST ASK YOU TO LOOK AT EXHIBIT 503,



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01:55PM    1       THIS IS ALREADY IN EVIDENCE, BUT JUST TO HELP YOU ORIENT

01:55PM    2       YOURSELF RELATIVE TO THE CHRONOLOGY.

01:55PM    3            THIS IS THE POWERPOINT PRESENTATION THAT YOU LOOKED AT ON

01:56PM    4       YOUR DIRECT EXAMINATION, AND I'D JUST DIRECT YOUR ATTENTION

01:56PM    5       FIRST TO -- THIS WAS SENT TO YOU BY DR. ROSAN; CORRECT?

01:56PM    6       A.   THAT'S CORRECT.

01:56PM    7       Q.   AND THIS WAS SOMETHING THAT HE HAD RECEIVED FROM THERANOS;

01:56PM    8       CORRECT?

01:56PM    9       A.   THAT'S WHAT IT APPEARS TO BE.

01:56PM   10       Q.   AND IF YOU GO TO PAGE -- ON THE EXHIBIT NUMBER PAGE 9,

01:56PM   11       WHICH IS THE CENTER NUMBER AT THE BOTTOM.

01:56PM   12            THIS IS A DEMONSTRATIVE THAT BASICALLY SHOWS HOW THE MODEL

01:56PM   13       THAT IS GOING TO BE ADOPTED WOULD WORK; CORRECT?

01:57PM   14       A.   THAT'S CORRECT.

01:57PM   15       Q.   OKAY.   AND TO JUST TAKE THE TOP PORTION OF THE

01:57PM   16       DEMONSTRATIVE, YOU SEE THAT THE FIRST ITEM -- WELL, IT'S

01:57PM   17       LABELED PROJECT NORMANDY PROCESS.

01:57PM   18            DO YOU SEE THAT?

01:57PM   19       A.   YES.

01:57PM   20       Q.   AND PROJECT NORMANDY WAS JUST A REFERENCE TO THE LAUNCH

01:57PM   21       UNDER A MODEL WHERE THE DEVICES WERE NO LONGER IN THE STORES;

01:57PM   22       CORRECT?

01:57PM   23       A.   I DON'T KNOW WHAT THE BASIS WAS FOR CHANGING THE NAME, BUT

01:57PM   24       WHAT BECAME BETA BECAME NORMANDY.    I DON'T KNOW WHY, BUT --

01:57PM   25       Q.   OKAY.   AND ON THE ARROWS ACROSS THERE'S A REFERENCE TO PSC



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01:57PM    1       ON THE LEFT-HAND SIDE.

01:57PM    2            DO YOU SEE THAT?

01:57PM    3       A.   CORRECT.

01:57PM    4       Q.   AND IS THAT A REFERENCE TO PATIENT SERVICE CENTER?

01:57PM    5       A.   IT MIGHT BE.    I DON'T RECALL.

01:57PM    6       Q.   OKAY.    AND THEN IT HAS AN ARROW POINTING TOWARDS A CLIA

01:57PM    7       LAB; CORRECT?

01:57PM    8       A.   CORRECT.

01:57PM    9       Q.   AND THEN FROM THE CLIA LAB, THERE'S AN ARROW WITH RESULTS

01:58PM   10       REPORTING; CORRECT?

01:58PM   11       A.   CORRECT.

01:58PM   12       Q.   AND THIS IS SETTING FORTH THE MODEL WHERE TESTING IS DONE

01:58PM   13       IN THE STORE, PATIENT SERVICE CENTER, IT'S TRANSMITTED TO THE

01:58PM   14       CLIA LAB, AND THEN RESULTS ARE REPORTED BACK; CORRECT?

01:58PM   15       A.   THAT'S MY INTERPRETATION.

01:58PM   16       Q.   OKAY.    AND UNDERNEATH EACH OF THESE ITEMS THERE'S A

01:58PM   17       DESCRIPTION OF DIFFERENT ELEMENTS OF THE PROCESS AS YOU MOVE

01:58PM   18       THROUGH TRANSMITTING THE SAMPLE; CORRECT?

01:58PM   19       A.   EFFECTIVELY WHAT HAS TO HAPPEN.

01:58PM   20       Q.   RIGHT.   SO YOU SEE AT THE BOTTOM, FOR EXAMPLE, THAT IT

01:58PM   21       SETS FORTH SHIPPING AND IT INDICATES THAT THE VESSEL IS SHIPPED

01:58PM   22       TO THE THERANOS LAB, AND THAT'S A REFERENCE TO THE BLOOD

01:58PM   23       SAMPLE; CORRECT?

01:58PM   24       A.   YES.

01:58PM   25       Q.   OKAY.    AND THEN I THINK WE TALKED BEFORE ABOUT, YOU KNOW,



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01:58PM    1       SOME OF THE NEW FEATURES OF THE AGREEMENT, LIKE REFRIGERATION,

01:58PM    2       AND THAT'S REFERENCED UNDER CLIA LAB; CORRECT?

01:58PM    3       A.   THAT'S CORRECT.

01:58PM    4       Q.   AND THIS WAS ALL PART OF THE DISCUSSION WHEN THE PARTIES

01:59PM    5       BEGAN LOOKING AT A POTENTIAL PROCESS WHERE YOU WOULD SWITCH

01:59PM    6       FROM DEVICES IN THE STORES TO A CENTRAL LAB; CORRECT?

01:59PM    7       A.   YES.

01:59PM    8       Q.   AND THIS STRATEGY WAS DISCUSSED OVER A LONG PERIOD OF

01:59PM    9       TIME; RIGHT?

01:59PM   10       A.   YES.

01:59PM   11       Q.   BUT ULTIMATELY THERE WAS AN AGREEMENT, AND THAT WAS THE

01:59PM   12       AGREEMENT THAT WAS ENTERED INTO LATER IN 2012; CORRECT?

01:59PM   13       A.   YES.

01:59PM   14       Q.   MAY I ASK YOU, AT THIS POINT, HAD YOU BECOME SKEPTICAL OF

01:59PM   15       THE BUSINESS MODEL WHERE DEVICES WOULD BE DEPLOYED IN THE

01:59PM   16       STORES?

01:59PM   17       A.   NO.

01:59PM   18       Q.   OKAY.    WHEN DID YOU START TO EVALUATE THE ECONOMICS ALONG

01:59PM   19       THE LINES OF WHAT YOU DESCRIBED EARLIER?

01:59PM   20       A.   THE ECONOMICS OF HAVING THE DEVICE IN THE LAB?

01:59PM   21       Q.   RIGHT.    RECALL THAT YOU MENTIONED EARLIER THAT FOR SOME

01:59PM   22       STORES IT MIGHT NOT MAKE SENSE TO HAVE A DEVICE?

01:59PM   23       A.   RIGHT.

01:59PM   24       Q.   EVEN IF IT WAS LAWFUL AND OTHERWISE DESIRABLE?

02:00PM   25       A.   RIGHT.



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02:00PM    1       Q.   WHEN DID YOU START THINKING ABOUT THAT?

02:00PM    2       A.   PRETTY EARLY IN THE RELATIONSHIP.     I DON'T KNOW EXACTLY

02:00PM    3       WHEN, BUT I THINK I HAD COME TO A CONCLUSION THAT ULTIMATELY

02:00PM    4       YOU MAY HAVE VERY FEW IN STORES BECAUSE IT MIGHT BE MUCH MORE

02:00PM    5       EFFICIENT TO HAVE A SECOND CLIA LAB IN NEW YORK, FOR EXAMPLE,

02:00PM    6       THAT SERVICES 100 STORES THAN HAVING 100 DIFFERENT MACHINES

02:00PM    7       WITH INVENTORY.

02:00PM    8            SO I THINK IN MY MIND PROBABLY -- IT WOULD PROBABLY MORPH

02:00PM    9       OVER TIME TO HAVING MULTIPLE LABS IN DIFFERENT MSA MARKETS, BUT

02:00PM   10       NOT ONE IN EVERY STORE.

02:00PM   11       Q.   AND WHEN YOU SAY MSA, WHAT DOES THAT MEAN?

02:00PM   12       A.   YOU KNOW, LIKE A METROPOLITAN AREA, NEW YORK, OR CHICAGO,

02:00PM   13       OR, YOU KNOW, AGAIN, WHERE YOU HAVE MAYBE ONE LAB SERVICING

02:00PM   14       100, 200, 300 STORES AROUND IT.

02:00PM   15            SO YOU CAN DO VERY EFFICIENT DAILY DELIVERIES AND HAVE

02:00PM   16       TESTS RUN EFFICIENTLY WITH PEOPLE THAT ARE CONSTANTLY PICKING

02:00PM   17       THE RIGHT CARTRIDGE.

02:00PM   18            BUT THAT'S WHERE I THOUGHT THE ECONOMICS WOULD PROBABLY GO

02:01PM   19       OVER TIME TO BE THE BEST FOR BOTH PARTIES.

02:01PM   20       Q.   OKAY.   AND IF YOU LOOK AT EXHIBIT 617 IN YOUR WHITE

02:01PM   21       NOTEBOOK, I JUST WANT TO ASK YOU IF THIS IS THE AGREEMENT WHICH

02:01PM   22       CHANGED THE WAY IN WHICH THE PARTIES WERE PLANNING TO OPERATE.

02:01PM   23       A.   I WOULD SAY THAT THIS, TO MY UNDERSTANDING, WOULD BE BASED

02:01PM   24       ON EVERYTHING THAT HAPPENED IN THE PRIOR, YOU KNOW, TWO YEARS,

02:01PM   25       EVERYTHING THAT WE LEARNED, THIS NOW MEMORIALIZES A NEW



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02:01PM    1       AGREEMENT FOR BOTH PARTIES BASED UPON ALL OF THOSE LEARNINGS.

02:01PM    2       Q.   AND IF YOU LOOK AT PAGE 4 OF THE EXHIBIT, IT SETS FORTH A

02:01PM    3       SCHEDULE, WHICH IS THE PROGRAM OVERVIEW.

02:01PM    4            DO YOU SEE THAT?

02:01PM    5       A.   I DO.

02:02PM    6       Q.   AND IF YOU WOULD GO TO THE THIRD SENTENCE -- THE THIRD

02:02PM    7       PARAGRAPH LABELLED PHASED DISRUPTION.

02:02PM    8            AND IF YOU LOOK AT THE THIRD SENTENCE, IT SAYS,

02:02PM    9       "NOTWITHSTANDING THE PREVIOUS, THE PARTIES ACKNOWLEDGE THE

02:02PM   10       MUTUAL DESIRE TO BRING THERANOS'S TECHNOLOGY TO MARKET AS

02:02PM   11       QUICKLY AS IS REASONABLY POSSIBLE.    WITH THAT IN MIND, AT THE

02:02PM   12       COMMENCEMENT OF THIS AGREEMENT, IT IS THE PARTIES' INTENTION

02:02PM   13       FOR WALGREENS TO ACT AS A PATIENT SERVICE CENTER AND COLLECT

02:02PM   14       BLOOD SAMPLES VIA FINGERSTICK TECHNOLOGY, SMALL SAMPLES OF

02:02PM   15       URINE, SALIVA, FECES, OR SWABS, WITH LABORATORY TESTING TO BE

02:02PM   16       PERFORMED BY THERANOS AT A CLIA CERTIFIED OFFSITE LABORATORY."

02:02PM   17            CORRECT?

02:02PM   18       A.   CORRECT.

02:02PM   19       Q.   AND SO FROM THE DATE OF THIS AGREEMENT FORWARD, THE

02:02PM   20       UNDERSTANDING WAS THAT THIS IS HOW THE PROGRAM WITH WALGREENS

02:03PM   21       AND THERANOS WOULD WORK, AT LEAST UNTIL WALGREENS GOT CERTAIN

02:03PM   22       REGULATORY APPROVAL -- AT LEAST UNTIL THERANOS GOT CERTAIN

02:03PM   23       REGULATORY APPROVALS?

02:03PM   24       A.   CORRECT.

02:03PM   25       Q.   AND I THINK FROM THIS PROGRAM FORWARD IN THE MIDDLE OF



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02:03PM    1       2012, YOU WERE WORKING TOWARDS THE LAUNCH THAT ULTIMATELY

02:03PM    2       HAPPENED IN THE LATTER PART OF 2013; CORRECT?

02:03PM    3       A.   CORRECT.

02:03PM    4       Q.   NOW, AT THE TIME OF THE ORIGINAL AGREEMENT, THE

02:03PM    5       CONTEMPLATION WAS THAT ULTIMATELY THE PARTIES WOULD WORK

02:03PM    6       TOWARDS A NATIONAL ROLLOUT OF THERANOS TECHNOLOGY; CORRECT?

02:04PM    7       A.   YES, WITH THE PREREQUISITE BEING EVERYTHING WORKING AS

02:04PM    8       PLANNED.

02:04PM    9       Q.   BUT THAT WAS AN OBJECTIVE OF THE AGREEMENT; CORRECT?

02:04PM   10       A.   YES.

02:04PM   11       Q.   AND WHEN THIS -- WHEN THE 2012 AGREEMENT WAS SIGNED, IT

02:04PM   12       REFERENCED EXPECTATIONS AS TO HOW THE ROLLOUT WOULD WORK;

02:04PM   13       CORRECT?

02:04PM   14       A.   THAT'S CORRECT.

02:04PM   15       Q.   AND LET ME JUST DRAW THAT UP IN EXHIBIT 617, AND THAT'S AT

02:04PM   16       SCHEDULE F, WHICH IS BATES 53.

02:04PM   17            AND IF YOU LOOK UNDER NUMBER 2, THAT SETS FORTH WHAT THE

02:04PM   18       PROGRAM OBJECTIVES WERE; CORRECT?

02:05PM   19       A.   CORRECT.

02:05PM   20       Q.   AND IF YOU LOOK UNDER A, IT DESCRIBES HOW THE TESTING WILL

02:05PM   21       WORK, ET CETERA, AND IT SAYS, "IT WILL INTRODUCE A MORE

02:05PM   22       COST-EFFECTIVE, BLOOD TESTING SERVICE AT WALGREENS STORES AND

02:05PM   23       WALGREENS'S OTHER CLINICAL OPERATIONS NATIONWIDE (WHICH, BY

02:05PM   24       EXAMPLE, INCLUDE BUT ARE NOT LIMITED TO)," AND IT DESCRIBES

02:05PM   25       INFUSION CENTERS AND OTHER CLINICS; CORRECT?



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02:05PM    1       A.   CORRECT.

02:05PM    2       Q.   AND FROM THAT AGREEMENT, FROM THAT TIME UNTIL THE TIME

02:05PM    3       SHORTLY BEFORE THE LAUNCH, THE PARTIES CONTINUED TO DISCUSS A

02:05PM    4       POTENTIAL SCHEDULE FOR A NATIONWIDE ROLLOUT; CORRECT?

02:05PM    5       A.   CORRECT.

02:05PM    6       Q.   AND THERE WERE DIFFERENT IDEAS AT VARIOUS TIMES AS TO HOW

02:05PM    7       THAT ROLLOUT MIGHT WORK; CORRECT?

02:06PM    8       A.   CORRECT.

02:06PM    9       Q.   AND IF YOU LOOK AT -- IN YOUR BLACK BINDER NOW AT

02:06PM   10       EXHIBIT 7312.

02:06PM   11       A.   IS THAT BINDER 2 OR BINDER 1?

02:06PM   12       Q.   IT'S THE BINDER THAT SHOULD HAVE --

02:06PM   13       A.   BINDER 2 I THINK.

02:06PM   14       Q.   YEAH.

02:06PM   15            THIS IS AN EMAIL FROM MS. HOLMES TO YOU; CORRECT?

02:06PM   16       A.   YES.

02:06PM   17       Q.   AND SHE ATTACHED TO THIS A POWERPOINT THAT SETS FORTH A

02:07PM   18       PROPOSED ROLLOUT PLAN; CORRECT?

02:07PM   19       A.   CORRECT.

02:07PM   20       Q.   AND YOU LOOKED AT THIS ON YOUR DIRECT EXAMINATION;

02:07PM   21       CORRECT?

02:07PM   22       A.   CORRECT.

02:07PM   23                    MR. DOWNEY:   YOUR HONOR, I THINK I'VE USED A

02:07PM   24       DIFFERENT EXHIBIT NUMBER FOR AN EXHIBIT ALREADY MENTIONED, BUT

02:07PM   25       I THINK SINCE THE WITNESS IS OPEN TO THERE, WITH THE



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02:07PM    1       STIPULATION OF THE GOVERNMENT, I'LL AGREE TO MODIFY THAT NUMBER

02:07PM    2       LATER.

02:07PM    3                    THE COURT:    ALL RIGHT.   MR. SCHENK?   I THINK --

02:07PM    4       YOU'D LIKE TO INTRODUCE THIS NOW OR HAVE THIS WITNESS --

02:07PM    5                    MR. DOWNEY:   I THINK IT'S ACTUALLY ALREADY IN

02:07PM    6       EVIDENCE.

02:07PM    7                    THE COURT:    OKAY.   DO WE KNOW THE NUMBER?

02:07PM    8            LET'S ALLOW YOU TO GO FORWARD WITH THIS.         WE'LL GET THE

02:07PM    9       NUMBER IN A SECOND.

02:07PM   10       BY MR. DOWNEY:

02:07PM   11       Q.   WELL, IN AN ABUNDANCE OF CAUTION, LET ME SAY, IS THIS AN

02:07PM   12       EMAIL COMMUNICATION FROM MS. HOLMES TO YOU IN AUGUST OF 2013?

02:07PM   13       A.   YES.

02:07PM   14       Q.   AND SHE ATTACHED HERE A POWERPOINT THAT SETS FORTH A

02:07PM   15       WALGREENS DEPLOYMENT PLAN?

02:08PM   16       A.   A PROPOSAL.

02:08PM   17       Q.   AND THIS WAS HER PROPOSAL AS TO HOW A ROLLOUT OF THERANOS

02:08PM   18       MIGHT WORK IN STORES ACROSS THE COUNTRY; CORRECT?

02:08PM   19       A.   CORRECT.

02:08PM   20       Q.   AND SHE WAS SENDING THIS TO YOU FOR YOUR COMMENT AND

02:08PM   21       REACTION AND FEEDBACK; CORRECT?

02:08PM   22       A.   I THINK YOU'D HAVE TO ASK HER, BUT AT LEAST FOR MY

02:08PM   23       INFORMATION.

02:08PM   24       Q.   OKAY.    WELL, THAT'S WHAT YOU UNDERSTOOD.       THIS WAS A

02:08PM   25       DOCUMENT PROPOSING HOW IT MIGHT WORK; CORRECT?



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02:08PM    1       A.   RIGHT.

02:08PM    2       Q.   AND IF YOU LOOK AT THE SECOND PARAGRAPH OF THE EMAIL, SHE

02:08PM    3       SAYS, "WE HAVE CEMENTED WHAT WE BELIEVE TO BE THE MOST

02:08PM    4       EFFECTIVE ROLLOUT STRATEGY FOR REALIZING BROAD NATIONAL SCALE

02:08PM    5       AS FAST AS POSSIBLE."

02:08PM    6                   THE COURT:    LET ME STOP YOU THERE.   I DON'T THINK

02:08PM    7       THIS IS IN EVIDENCE YET.       I DON'T BELIEVE IT IS.

02:08PM    8                   MR. DOWNEY:   OKAY.    WELL, YOUR HONOR, I MOVE THE

02:08PM    9       ADMISSION OF 7312.

02:08PM   10                   MR. SCHENK:   NO OBJECTION.    I BELIEVE 971 --

02:08PM   11                   THE COURT:    971?

02:08PM   12                   MR. SCHENK:   971.

02:08PM   13                   MR. DOWNEY:   IN THE EVENT THERE IS SOME DEVIATION,

02:08PM   14       I'LL USE 7312 FOR NOW.

02:09PM   15                   THE COURT:    7312.   UNDERSTOOD.   SO IT'S ADMITTED,

02:09PM   16       AND IT MAY BE PUBLISHED.

02:09PM   17            (DEFENDANT'S EXHIBIT 7312 WAS RECEIVED IN EVIDENCE.)

02:09PM   18       BY MR. DOWNEY:

02:09PM   19       Q.   SO IN THAT SECOND PARAGRAPH SHE TALKS ABOUT EFFECTIVELY A

02:09PM   20       ROLLOUT STRATEGY FOR A BROAD NATIONAL ROLLOUT; CORRECT?

02:09PM   21       A.   YES.

02:09PM   22       Q.   AND IF YOU LOOK AT THE DATE OF THIS, THIS IS AUGUST 7TH,

02:09PM   23       2013; CORRECT?

02:09PM   24       A.   CORRECT.

02:09PM   25       Q.   AND THAT IS ABOUT A MONTH BEFORE THERANOS AND WALGREENS



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02:09PM    1       WOULD ANNOUNCE THEIR PARTNERSHIP PUBLICLY --

02:09PM    2                  THE COURT:    JUST A MOMENT.   I DON'T THINK IT'S ON

02:09PM    3       OUR SCREEN.

02:09PM    4                  MR. DOWNEY:    OH, I BEG YOUR PARDON.

02:09PM    5                  THE CLERK:    LET ME DO A RESET.   ONE MOMENT.

02:09PM    6                  THE COURT:    WE'RE GOING TO RESET THE SYSTEM SO IT

02:09PM    7       WILL HOPEFULLY CATCH UP.

02:10PM    8            (PAUSE IN PROCEEDINGS.)

02:10PM    9                  JUROR:   JUST ONE.

02:10PM   10                  THE COURT:    I THINK ALL OF THE MONITORS ARE UP, SO

02:10PM   11       SORRY FOR THE SCOREBOARD BREAKDOWN.

02:10PM   12       BY MR. DOWNEY:

02:10PM   13       Q.   SORRY.   WE WERE DISCUSSING AN EMAIL OF A NATIONAL ROLLOUT

02:11PM   14       PLAN FROM MS. HOLMES TO YOU IN AUGUST OF 2013.

02:11PM   15            AND JUST TO MAKE SURE THAT WE'RE ORIENTED TO THE SCHEDULE,

02:11PM   16       THIS IS ABOUT A YEAR BEFORE YOU LEAVE WALGREENS; CORRECT?

02:11PM   17       A.   CORRECT.

02:11PM   18       Q.   AND IT'S SHORTLY BEFORE THE CONSUMER LAUNCH OF THERANOS;

02:11PM   19       CORRECT?

02:11PM   20       A.   CORRECT.

02:11PM   21       Q.   AND MS. HOLMES WAS PROPOSING THAT THERE BE A SCHEDULE AS

02:11PM   22       SET FORTH IN THE ATTACHED POWERPOINT TO THIS; CORRECT?

02:11PM   23       A.   CORRECT.

02:11PM   24       Q.   AND IN THE SECOND PARAGRAPH OF THE COVER EMAIL, SHE SAYS,

02:11PM   25       "WE HAVE CEMENTED WHAT WE BELIEVE TO BE THE MOST EFFECTIVE



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02:11PM    1       ROLLOUT STRATEGY FOR REALIZING BROAD NATIONAL SCALE AS FAST AS

02:11PM    2       POSSIBLE."

02:11PM    3            DO YOU SEE THAT?

02:11PM    4       A.   YES.

02:11PM    5       Q.   AND YOU LOOKED AT THIS DURING YOUR DIRECT EXAMINATION, BUT

02:11PM    6       IF YOU GO TO THE FIFTH PARAGRAPH, SHE SETS FORTH THAT THERE IS

02:12PM    7       A SIGNIFICANT AMOUNT OF WORK THAT THE WALGREENS TEAM WILL HAVE

02:12PM    8       TO DO, INCLUDING ESTABLISHING A MORE ROBUST FORMAL TECHNICIAN

02:12PM    9       TRAINING PROGRAM AND PREPARING SPACE IN NEW YORK CITY, ET

02:12PM   10       CETERA; CORRECT?

02:12PM   11       A.   CORRECT.

02:12PM   12       Q.   AND SO THIS EMAIL WAS ONE IN WHICH SHE WAS RAISING WHAT

02:12PM   13       THERANOS WAS ASKING WALGREENS TO DO; CORRECT?

02:12PM   14       A.   CORRECT.

02:12PM   15       Q.   OKAY.   AND HER PROPOSAL IS SET FORTH IN THE ATTACHMENT, SO

02:12PM   16       IF YOU GO TO THE PAGE OF THE POWERPOINT THAT HAS A 2 AT THE

02:13PM   17       BOTTOM LABELLED EXECUTIVE SUMMARY.

02:13PM   18            DO YOU HAVE THAT?

02:13PM   19       A.   YES.

02:13PM   20       Q.   AND SHE SETS FORTH A PLAN UNDER WHICH THERANOS WOULD OPEN

02:13PM   21       ON A SMALL SCALE CERTAIN LOCATIONS IN ARIZONA IN THE NEAR

02:13PM   22       FUTURE; CORRECT?

02:13PM   23       A.   YES.

02:13PM   24       Q.   AND THEN SHE PROPOSED THAT IN THE FOURTH QUARTER

02:13PM   25       THERANOS'S PRESENCE BE EXPANDED IN PHOENIX AND NEW YORK;



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02:13PM    1       CORRECT?

02:13PM    2       A.   CORRECT.

02:13PM    3       Q.   AND THEN SHE PROPOSED THAT THROUGHOUT 2014 THERANOS AND

02:13PM    4       WALGREENS WOULD EXECUTE A NATIONAL ROLLOUT STRATEGY; CORRECT?

02:13PM    5       A.   CORRECT.

02:13PM    6       Q.   AND IF YOU LOOK AT THE PAGES THAT FOLLOW AND JUST SCROLL

02:14PM    7       THROUGH THEM, YOU SEE THAT SHE WAS PROPOSING THE LOCATIONS IN

02:14PM    8       THE DARKER COLOR AS TO WHAT -- WHICH STATES WOULD LAUNCH IN

02:14PM    9       WHICH QUARTER; CORRECT?

02:14PM   10       A.   CORRECT.

02:14PM   11       Q.   AND SHE PROPOSED THAT BY THE END OF THE YEAR THAT THERANOS

02:14PM   12       BE IN ABOUT 60 -- 6,250 WALGREENS STORES AT THE END OF THE YEAR

02:14PM   13       2014; CORRECT?

02:14PM   14       A.   CORRECT.

02:14PM   15       Q.   AND YOU RESPONDED TO THIS EMAIL AFTER RECEIVING IT

02:14PM   16       INTERNALLY IN EXHIBIT 971, AND MR. SCHENK SHOWED YOU THAT ON

02:15PM   17       YOUR DIRECT EXAMINATION; CORRECT?

02:15PM   18       A.   CORRECT.

02:15PM   19       Q.   AND YOU'RE HAVING A DIALOGUE INTERNALLY AT WALGREENS HERE;

02:15PM   20       CORRECT?

02:15PM   21       A.   CORRECT.

02:15PM   22       Q.   AND YOU DISCUSSED WITH MR. SCHENK THE LAST SENTENCE WHERE

02:15PM   23       YOU SAY "I'M NOT WORRIED ABOUT THEM OR LABS... I'M WORRIED

02:15PM   24       ABOUT US," WITH A FROWN.

02:15PM   25            I JUST WANT TO ASK YOU, WHAT DOES "LABS" REFER TO THERE?



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02:15PM    1       A.   I THINK I'M NOT WORRIED ABOUT THEM OR THE EFFICACY OF

02:15PM    2       THEIR LAB EQUIPMENT.

02:15PM    3       Q.   BUT YOU'RE WORRIED ABOUT WALGREENS; CORRECT?

02:15PM    4       A.   RIGHT, BECAUSE SHE'S OUTLINED AT LEAST FOUR AREAS WHERE I

02:15PM    5       THINK IT'S IMPLICIT THAT SHE'S SAYING THAT WE'RE NOT DOING OUR

02:15PM    6       PART.

02:15PM    7       Q.   OKAY.    LET ME ASK YOU TO LOOK NOW AT EXHIBIT 1083, AND MY

02:16PM    8       QUESTION WILL BE WHETHER THIS IS A RESPONSE TO YOUR PROPOSAL?

02:16PM    9       A.   WHICH BOOK IS IT IN?

02:16PM   10       Q.   I THINK IT SHOULD BE 2.

02:16PM   11                    THE CLERK:    IS THAT 1083, COUNSEL?

02:16PM   12                    MR. DOWNEY:   YES.   THIS IS A NEW EXHIBIT.

02:16PM   13                    THE CLERK:    DO YOU MEAN 10,000 --

02:16PM   14                    MR. DOWNEY:   NO 1-0-8-3.   1083.

02:16PM   15       Q.   AND IS THIS AN EMAIL FROM YOU TO MS. HOLMES SETTING FORTH

02:16PM   16       A PROPOSAL ABOUT THE THERANOS-WALGREENS RELATIONSHIP?

02:16PM   17       A.   THIS IS.

02:16PM   18       Q.   OKAY.    AND IF YOU LOOK ON THE COVER --

02:17PM   19            WELL, YOUR HONOR, I MOVE THE ADMISSION OF EXHIBIT 1083.

02:17PM   20                    MR. SCHENK:   NO OBJECTION.

02:17PM   21                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:17PM   22            (GOVERNMENT'S EXHIBIT 1083 WAS RECEIVED IN EVIDENCE.)

02:17PM   23       BY MR. DOWNEY:

02:17PM   24       Q.   LOOK AT THE COVER EMAIL.      YOU INDICATE TO MS. HOLMES THAT,

02:17PM   25       "ATTACHED IS THE CONCEPTUAL FRAMEWORK I SHARED LAST NIGHT.



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02:17PM    1       TAKE A LOOK AND LET ME KNOW YOUR IDEAS OF HOW YOU MIGHT MODIFY,

02:17PM    2       ET CETERA."

02:17PM    3            AND THIS APPARENTLY FOLLOWED A CONVERSATION THAT YOU HAD

02:17PM    4       WITH MS. HOLMES?

02:17PM    5       A.   CORRECT.

02:17PM    6       Q.   AND AMONG THE ISSUES THAT YOU WERE DISCUSSING WAS THE

02:17PM    7       TIMELINE FOR ROLLING OUT THERANOS IN WALGREENS STORES; CORRECT?

02:17PM    8       A.   RIGHT.   THE CRUX OF THIS DISCUSSION WAS ACTUALLY THERANOS

02:17PM    9       WAS WANTING US TO CREATE A VERY HIGH-LEVEL PATIENT EXPERIENCE

02:18PM   10       IN ALL OF OUR PHARMACIES AKIN TO WHAT EVERY SAFEWAY HAD DONE,

02:18PM   11       AND WE HAD DONE SOME THINKING AND SOME WORK TO SAY, YOU KNOW,

02:18PM   12       IT'S NOT REALLY PRACTICAL, IT WOULD BE VERY EXPENSIVE, BUT

02:18PM   13       PERHAPS A TIERING SYSTEM OF WHAT WE THINK WOULD BE THE MOST,

02:18PM   14       THE HEAVIEST USE STORES VERSUS THE LIGHTEST AND MAYBE WE COULD

02:18PM   15       ALIGN IN TERMS OF REALLY BUILDING THE EXPERIENCE TO SUIT THE

02:18PM   16       SPECIFIC STORE ENVIRONMENT.

02:18PM   17       Q.   OKAY.    SO YOU -- THERANOS THOUGHT SOME STORES WERE MORE

02:18PM   18       DESIRABLE TO BE LOCATED IN THAN OTHERS?

02:18PM   19       A.   WELL, I THINK THAT WAS AT LEAST OUR PROPOSAL IS THAT WE

02:18PM   20       REALLY SHOULDN'T DO A ONE-SIZE-FITS-ALL.     SOME STORES WE COULD

02:18PM   21       USE THE CLINIC AND SOME WE MIGHT BUILD OUT A SPACE, BUT OTHERS

02:18PM   22       PERHAPS JUST A SCREEN WOULD BE GOOD ENOUGH.

02:18PM   23       Q.   OKAY.    AND SO YOU, YOU RANKED CERTAIN STORES AND INDICATED

02:19PM   24       THAT BY COLOR; CORRECT?

02:19PM   25       A.   I BELIEVE IT WAS -- I DON'T KNOW IF IT WAS A GOLD, SILVER,



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                   MIQUELON CROSS BY MR. DOWNEY                                      3479


02:19PM    1       BRONZE SYSTEM OR SOME KIND OF A THREE-TIER SYSTEM I RECALL.

02:19PM    2       Q.   OKAY.   IN GOLD STORES YOU MIGHT HAVE A FULLER FACILITY?

02:19PM    3       A.   THE BEST OF THE BEST EXPERIENCE THAT WE COULD PROVIDE.

02:19PM    4       Q.   AND IN THE SILVER YOU MIGHT HAVE A PRIVATE BATHROOM, BUT

02:19PM    5       IT WOULD NOT BE AS NICE AS THE GOLD; CORRECT?

02:19PM    6       A.   CORRECT.

02:19PM    7       Q.   AND THEN THE BRONZE WOULD BE THE STORES WITH JUST THE

02:19PM    8       SCREENS?

02:19PM    9       A.   THAT'S MY RECOLLECTION.

02:19PM   10       Q.   AND YOU WERE MAKING A PROPOSAL HERE AS TO HOW MANY STORES

02:19PM   11       WOULD BE WITHIN EACH TIER; CORRECT?

02:19PM   12       A.   YES.

02:19PM   13       Q.   AND YOU WERE PROPOSING HOW THOSE LOCATIONS MIGHT BE ROLLED

02:19PM   14       OUT; CORRECT?

02:19PM   15       A.   CORRECT.

02:19PM   16       Q.   AND IN THE PARAGRAPH LABELED 1, YOU SET FORTH THE SCALE

02:19PM   17       TIMELINE AND VOLUME AND SPACE COMMITMENTS THAT YOU WERE

02:20PM   18       PROPOSING; CORRECT?

02:20PM   19       A.   CORRECT.   EVERYTHING PREDICATED ON THE TECHNOLOGY WORKING

02:20PM   20       AND THE PILOTS BEING SUCCESSFUL.

02:20PM   21       Q.   OKAY.   AND SO YOU PROPOSED THAT AFTER COMPLETION OF THE

02:20PM   22       PILOT, WALGREENS WAS WILLING TO COMMIT TO DEVELOPING SERVICES,

02:20PM   23       LAB SERVICES AT 1500 LOCATIONS WITHIN THE FIRST YEAR; CORRECT?

02:20PM   24       A.   ASSUMING IT WAS SUCCESSFUL, YES.

02:20PM   25       Q.   AND THAT WAS MORE THAN SHE HAD PROPOSED; CORRECT?



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02:20PM    1       A.   I'D HAVE TO GO BACK AND CHECK HER NOTES.

02:20PM    2       Q.   OKAY.   BUT IN THE SECOND YEAR, YOU WOULD ROLL OUT AN

02:20PM    3       ADDITIONAL 1500 LOCATIONS; CORRECT?

02:20PM    4       A.   THAT'S WHAT IT SAYS HERE.

02:20PM    5       Q.   OKAY.   AND YOU JUST SET FORTH BELOW THE ALLOCATION OF

02:20PM    6       THOSE AMONGST THE GOLD, SILVER, AND BRONZE RANKING; CORRECT?

02:21PM    7       A.   CORRECT.

02:21PM    8       Q.   AND IF YOU GO TO THE NEXT PAGE OF THE EXHIBIT, YOU SET

02:21PM    9       FORTH AN INNOVATION FEE PAYMENT SCHEDULE.

02:21PM   10            WHAT WAS THE INNOVATION FEE A REFERENCE TO?

02:21PM   11       A.   AGAIN, THIS WAS THIS HUNDRED MILLION DOLLARS WHICH WE

02:21PM   12       TALKED ABOUT EARLIER WHICH WERE PAYMENTS TO BE STAGED THAT

02:21PM   13       EFFECTIVELY THERANOS WOULD BE ABLE TO USE MORE OR LESS AS

02:21PM   14       WORKING CAPITAL TO INVEST IN THE SCALEUP, AND THEN I BELIEVE

02:21PM   15       BASED UPON WHAT DEGREE OF VOLUME OVER TIME THOSE FEES TO SOME

02:21PM   16       DEGREE WOULD BE PAID BACK OR NOT.

02:21PM   17       Q.   OKAY.   AND THIS SETS FORTH A PROPOSAL AS TO THOSE PAYMENTS

02:21PM   18       OCCURRING OVER THE REST OF THE CALENDAR YEAR 2013; CORRECT?

02:21PM   19       A.   CORRECT.   AND AGAIN, AS I RECALL, ELIZABETH WAS ASKING IF

02:21PM   20       WE COULD AGAIN EXPEDITE THESE PAYMENTS IN ORDER TO HELP THEIR

02:21PM   21       ABILITY TO SCALE THE CARTRIDGES AND THE INFRASTRUCTURE.

02:22PM   22       Q.   AND WAS IT ALSO AN ELEMENT OF THIS AGREEMENT THAT YOU WERE

02:22PM   23       PROPOSING THAT YOU WOULD ASSIST THERANOS WITH LAUNCHING

02:22PM   24       INTERNATIONALLY AND OPENING STORES ABROAD?

02:22PM   25       A.   I BELIEVE THERE WAS A LOOSE AGREEMENT TO MAYBE DO



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02:22PM    1       SOMETHING WITH ALLIANCE BOOTS, BUT IT WAS, I BELIEVE IT WAS --

02:22PM    2       WELL, HERE'S THE COMMENT TO ASSIST THEM, BUT IT WASN'T

02:22PM    3       DEFINITIVE.

02:22PM    4            ALLIANCE BOOTS WAS INDEPENDENT AT THE TIME, SO THERE WAS

02:22PM    5       NO WAY THAT WE COULD, YOU KNOW, GUARANTEE OR MANDATE, BUT WE

02:22PM    6       COULD MAKE INTRODUCTIONS.

02:22PM    7       Q.   AND ALL OF THESE -- SO, IN OTHER WORDS, WALGREENS HAD AN

02:22PM    8       AFFILIATION WITH ALLIANCE BOOTS AND YOU WERE GOING TO USE THAT

02:22PM    9       RELATIONSHIP TO ENCOURAGE THE OPENING OF STORES OVERSEAS; IS

02:22PM   10       THAT RIGHT?

02:22PM   11       A.   RIGHT.   WE HAD A MINORITY INVESTMENT STAKE.

02:22PM   12       Q.   OKAY.    AND THE DOCUMENTS THAT WE JUST LOOKED AT, THEY'RE

02:23PM   13       BASICALLY PART OF THE NEGOTIATION BETWEEN THERANOS AND

02:23PM   14       WALGREENS AS TO HOW A ROLLOUT WOULD WORK; CORRECT?

02:23PM   15       A.   CORRECT.

02:23PM   16            I THINK IT'S SAFE TO SAY WHEN YOU'RE DOING SOMETHING NEW

02:23PM   17       TO THE WORLD, THINGS CHANGE, AND IT NEEDS TO KEEP BEING

02:23PM   18       REFLECTED THAT IT'S THE BEST AGREEMENT FOR BOTH PARTIES.

02:23PM   19       Q.   AND YOU CONTINUED TO NEGOTIATE THAT AGREEMENT THROUGHOUT

02:23PM   20       THE REMAINDER OF 2013; CORRECT?

02:23PM   21       A.   I DON'T RECALL.   I BELIEVE THERE WAS AN ADDENDUM THAT

02:23PM   22       REFLECTED WHAT YOU'VE SHOWN ME, BUT I DON'T RECALL IF THERE WAS

02:23PM   23       ANOTHER AGREEMENT OR NOT.

02:23PM   24       Q.   OKAY.    LET ME ASK YOU TO LOOK AT EXHIBIT 1387, WHICH WOULD

02:23PM   25       BE IN NUMBER 2, THE DEFENSE BINDER.



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02:24PM    1             I BEG YOUR PARDON.     IT'S ACTUALLY IN YOUR WHITE BINDER.

02:24PM    2                    THE COURT:    1387?

02:24PM    3                    MR. DOWNEY:   1387.

02:24PM    4                    THE COURT:    THERE IS SUCH A DOCUMENT IN THE BLACK

02:24PM    5       BINDER.

02:24PM    6                    MR. DOWNEY:   YOU HAVE A BETTER BLACK BINDER THAN I

02:24PM    7       DO.

02:24PM    8       Q.    MY QUESTION TO YOU SIMPLY, MR. MIQUELON, IS, IS THIS THE

02:24PM    9       AGREEMENT THAT WAS ENTERED INTO BETWEEN THERANOS AND WALGREENS

02:24PM   10       THAT WAS DESIGNED TO ADDRESS THERANOS'S ROLLOUT IN WALGREENS

02:25PM   11       STORES?

02:25PM   12       A.    I BELIEVE SO.

02:25PM   13       Q.    AND IF YOU LOOK AT PAGE 2 OF THAT EXHIBIT, THE FIRST

02:25PM   14       PARAGRAPH IS NATIONAL, NUMBER 1 SAID NATIONAL ROLLOUT, NEW

02:25PM   15       MARKET ENTRY, AND IT INDICATES THE PARTIES SHALL WORK TOGETHER

02:25PM   16       TO DEVELOP A FORECAST --

02:25PM   17                    MR. SCHENK:   YOUR HONOR, BEFORE WE READ THE

02:25PM   18       DOCUMENT, LET'S MOVE IT INTO EVIDENCE.      NO OBJECTION.

02:25PM   19                    MR. DOWNEY:   I BEG YOUR PARDON.

02:25PM   20             YES, I DO MOVE IT INTO EVIDENCE.

02:25PM   21                    THE COURT:    IT'S IN EVIDENCE AND IT MAY BE

02:25PM   22       PUBLISHED.

02:25PM   23                    MR. DOWNEY:   I MISTAKENLY THOUGHT HE HAD SHOWN THE

02:25PM   24       WITNESS THE DOCUMENT.

02:25PM   25             (GOVERNMENT'S EXHIBIT 1387 WAS RECEIVED IN EVIDENCE.)



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02:25PM    1       BY MR. DOWNEY:

02:25PM    2       Q.   IF YOU LOOK AT THE FIRST PARAGRAPH, IT SAYS, "THE PARTIES

02:25PM    3       SHALL WORK TOGETHER TO DEVELOP A FORECAST THAT DETAILS THE

02:25PM    4       ANTICIPATED ROLLOUT DATES FOR THERANOS SERVICES IN INDIVIDUAL

02:25PM    5       U.S. STATES/TERRITORIES," ET CETERA.

02:25PM    6            AND THEN THE SECOND SENTENCE SAYS, "THE PARTIES ARE

02:25PM    7       COMMITTED TO TAKING ALL STEPS REASONABLY NECESSARY TO ENSURE A

02:26PM    8       SUCCESSFUL NATIONAL ROLLOUT OF THE THERANOS SERVICES, AND AGREE

02:26PM    9       THAT A QUALITY STORE AND PATIENT EXPERIENCE IS AN IMPORTANT

02:26PM   10       COMPONENT OF THIS SUCCESS AS PATIENT ADOPTION AND ACCEPTANCE OF

02:26PM   11       THERANOS'S LABORATORY SERVICES WILL BE HIGHLY IMPACTED BY THE

02:26PM   12       PATIENT EXPERIENCE."

02:26PM   13            SO THAT'S WHAT THIS AGREEMENT RELATED TO, AT LEAST

02:26PM   14       CREATING A PROCESS UNDER WHICH THAT ROLLOUT WOULD BE -- WOULD

02:26PM   15       TAKE PLACE?

02:26PM   16       A.   CORRECT.

02:26PM   17       Q.   AND THEN IF YOU LOOK BACK AT THE FIRST PAGE OF

02:26PM   18       EXHIBIT 1387, THE SECOND PARAGRAPH SAYS, "IT IS THE INTENTION

02:26PM   19       OF THE PARTIES TO DEVELOP A MUTUALLY BENEFICIAL STRATEGIC

02:26PM   20       RELATIONSHIP THAT FACILITATES THE SUCCESSFUL DEPLOYMENT OF

02:27PM   21       THERANOS NATIONALLY, ESTABLISHES WALGREENS AS THE NATIONAL

02:27PM   22       PARTNER FOR LABORATORY SERVICES THAT THERANOS IS ABLE TO

02:27PM   23       PROVIDE AND THERANOS AS WALGREENS NATIONAL PARTNER FOR SUCH

02:27PM   24       THERANOS SERVICES AND PROTECTS THE LONG-TERM STRATEGIC AND

02:27PM   25       COMPETITIVE POSITIONING OF THERANOS AND WALGREENS WITH RESPECT



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02:27PM    1       TO COMPETITIVE TECHNOLOGIES AND SERVICES."

02:27PM    2            DO YOU SEE THAT?

02:27PM    3       A.   YES.

02:27PM    4       Q.   SO THAT IS THE INTENT WITH WHICH THE PARTIES WERE ENTERING

02:27PM    5       INTO THIS AGREEMENT; CORRECT?

02:27PM    6            BUT THERANOS WOULD HAVE TO BE ABLE TO SCALE ITS SERVICES;

02:27PM    7       CORRECT?

02:27PM    8       A.   YES.

02:27PM    9       Q.   AND IT HAD NOT YET DONE THAT; CORRECT?

02:27PM   10       A.   AT THAT POINT IN TIME?

02:27PM   11       Q.   YES.

02:27PM   12       A.   I MEAN, IT HAD SCALED TO WHAT WAS BEING PILOTED.

02:27PM   13       Q.   IT HAD SCALED TO THE PILOT PROJECT?

02:27PM   14       A.   RIGHT.

02:27PM   15       Q.   BUT IT HAD NOT YET SCALED TO BEYOND THAT; CORRECT?

02:27PM   16       A.   NO.    BUT THAT'S PART OF WHAT THIS ACCELERATED FUNDING WAS

02:28PM   17       FOR WAS TO HELP WITH THAT.

02:28PM   18       Q.   THAT'S RIGHT.   SO PART OF THE MONEY -- PART OF THE

02:28PM   19       AGREEMENT WAS THE EXCHANGE OF MONEY THAT YOU DESCRIBED;

02:28PM   20       CORRECT?

02:28PM   21       A.   CORRECT.

02:28PM   22       Q.   AND THAT WAS FOR PURPOSES OF ALLOWING THERANOS TO BUILD UP

02:28PM   23       TOWARDS THIS NATIONAL ROLLOUT; CORRECT?

02:28PM   24       A.   CORRECT.

02:28PM   25       Q.   I'D LIKE TO ASK YOU TO LOOK AT, IN THE DEFENSE BINDER,



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02:28PM    1       EXHIBIT 7383.

02:28PM    2            THIS IS A -- IS THIS AN EMAIL FROM AMONGST EXECUTIVES AND

02:28PM    3       EMPLOYEES AT WALGREENS?

02:28PM    4       A.   IT'S AN EMAIL FROM MARK VAINISI.

02:29PM    5       Q.   AND YOU SEE THAT THE RECIPIENTS APPEAR TO ALL BE WALGREENS

02:29PM    6       PERSONNEL?

02:29PM    7       A.   YES.

02:29PM    8       Q.   AND THAT YOU WERE COPIED ON THIS EMAIL?

02:29PM    9       A.   YES.

02:29PM   10                    MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

02:29PM   11       EXHIBIT 7383.

02:29PM   12                    MR. SCHENK:   NO OBJECTION.

02:29PM   13                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:29PM   14            (DEFENDANT'S EXHIBIT 7383 WAS RECEIVED IN EVIDENCE.)

02:29PM   15       BY MR. DOWNEY:

02:29PM   16       Q.   WHO IS MARK VAINISI, THE SENDER OF THIS EMAIL?

02:29PM   17       A.   MARK WAS THE HEAD OF MERGERS AND ACQUISITIONS AND HE WAS,

02:29PM   18       I WOULD SAY, THE QUARTERBACK OF MOST OF THE AGREEMENTS BETWEEN

02:29PM   19       THERANOS AND WALGREENS.

02:29PM   20       Q.   AND IN THIS EMAIL, IS HE SUMMARIZING THE TERMS OF THE

02:29PM   21       AGREEMENT THAT HAD JUST BEEN REACHED BETWEEN THERANOS AND

02:29PM   22       WALGREENS?

02:29PM   23       A.   YES.

02:29PM   24       Q.   AND IF YOU LOOK UNDER HIS DESCRIPTION OF KEY TERMS, HE

02:30PM   25       DESCRIBES THE RESTATEMENT OF INTENT; CORRECT?



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02:30PM    1       A.   CORRECT.

02:30PM    2       Q.   AND THAT'S CONSISTENT WITH WHAT WE JUST READ IN THE

02:30PM    3       AGREEMENT; CORRECT?

02:30PM    4       A.   CORRECT.

02:30PM    5       Q.   AND HE SETS FORTH THE TERMS UNDER WHICH THERE WILL BE AN

02:30PM    6       ACCELERATED PAYMENT; CORRECT?

02:30PM    7       A.   CORRECT.

02:30PM    8       Q.   AND HE ALSO REFERENCES ENHANCED EXCLUSIVITY.

02:30PM    9            WHAT IS THAT A REFERENCE TO?

02:30PM   10       A.   WELL, AS I READ THE NOTES, HE'S JUST TALKING ABOUT MAKING

02:30PM   11       SURE THAT CERTAIN COMPETITORS ARE NOT GOING TO BE ABLE TO HAVE

02:30PM   12       THE SAME RIGHTS THAT WALGREENS WOULD HAVE.

02:30PM   13       Q.   IN EXCHANGE FOR ENTERING THE AGREEMENT, WALGREENS WOULD

02:30PM   14       OBTAIN A CERTAIN PERIOD UNDER WHICH COMPETITORS COULD NOT USE

02:30PM   15       THERANOS'S TECHNOLOGY OR SERVICES; CORRECT?

02:30PM   16       A.   I BELIEVE THAT'S PROBABLY PART OF THE TRADEOFF FROM

02:30PM   17       ACCELERATING PAYMENTS IS MAKING SURE THAT WE GET BETTER

02:30PM   18       DEFINITION OF EXCLUSIVITY.

02:30PM   19       Q.   OKAY.   AND THEN IF YOU SEE AT THE BOTTOM OF THE FIRST PAGE

02:31PM   20       OF HIS EMAIL, HE REFERENCES ROLLOUT PLANS AND HE SAYS, "BOTH

02:31PM   21       SIDES AGREED TO WORK IN GOOD FAITH TO DEVELOP A NEW MARKET

02:31PM   22       ENTRY PLAN."

02:31PM   23            DO YOU SEE THAT?

02:31PM   24       A.   YES.

02:31PM   25       Q.   AND DID BOTH PARTIES THEN BEGIN TO WORK ON THAT IN EARLY



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02:31PM    1       2014 IF YOU KNOW?

02:31PM    2       A.   WORK ON IT OR WORK IN GOOD FAITH?      IT'S SOME --

02:31PM    3       Q.   WELL, WERE THERE EXCHANGES BETWEEN THE PARTIES AS TO HOW A

02:31PM    4       ROLLOUT PLAN MIGHT WORK?

02:31PM    5       A.   I CAN'T SAY DEFINITIVELY SO.     I DON'T RECALL.

02:31PM    6       Q.   OKAY.   IT WAS NOT SOMETHING THAT YOU PERSONALLY WERE

02:31PM    7       INVOLVED IN?

02:31PM    8       A.   NOT IN THAT GRANULARITY AT THAT TIME, NO.

02:31PM    9       Q.   OKAY.   BUT LET ME ASK YOU TO REORIENT US FOR TIME

02:31PM   10       PURPOSES.    THIS AGREEMENT IS SIGNED AND THERANOS IS ALREADY IN

02:31PM   11       CERTAIN WALGREENS STORES; CORRECT?

02:31PM   12       A.   PRIMARILY THE PHOENIX MARKET.

02:31PM   13       Q.   OKAY.   AND THAT, THAT PARTNERSHIP HAS BEEN ANNOUNCED

02:31PM   14       PUBLICLY; CORRECT?

02:31PM   15       A.   CORRECT.

02:32PM   16       Q.   AND THE PARTIES EACH HAD MADE PUBLIC STATEMENTS ABOUT THE

02:32PM   17       PARTNERSHIP CHARACTERIZING IT; CORRECT?

02:32PM   18       A.   CORRECT.

02:32PM   19       Q.   LET ME ASK YOU TO LOOK AT EXHIBIT 1113.

02:32PM   20            DO YOU SEE THIS DOCUMENT AND DO YOU RECOGNIZE IT AS A

02:32PM   21       JOINT ANNOUNCEMENT BY THERANOS AND WALGREENS IN SEPTEMBER OF

02:32PM   22       2013?

02:32PM   23       A.   YES.

02:32PM   24       Q.   AND IF YOU LOOK AT THE SECOND PAGE OF THIS EXHIBIT, PAGE 2

02:32PM   25       IN THE LAST PARAGRAPH WHERE -- ABOVE WHERE IT SAYS ABOUT



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02:33PM    1       THERANOS, THIS JOINT ANNOUNCEMENT SAID, "AS THE NATION'S

02:33PM    2       LARGEST RETAIL PHARMACY CHAIN WITH MORE THAN 8100 NEIGHBORHOOD

02:33PM    3       PHARMACIES, WALGREENS HAS THE INFRASTRUCTURE TO HELP BRING

02:33PM    4       THERANOS TO CONSUMERS NATIONWIDE."

02:33PM    5             AND THAT'S A STATEMENT THAT WALGREENS SIGNED OFF ON

02:33PM    6       JOINTLY MAKING?

02:33PM    7       A.    SURE.

02:33PM    8       Q.    OKAY.    AND THEN THERE WAS ANOTHER JOINT ANNOUNCEMENT A

02:33PM    9       COUPLE MONTHS LATER IN 2013.

02:33PM   10             LET ME ASK YOU TO LOOK AT EXHIBIT 4036.        I'LL ASK YOU IF

02:33PM   11       THAT IS ANOTHER JOINT ANNOUNCEMENT WHEN YOU HAVE A CHANCE TO

02:33PM   12       TAKE A LOOK AT IT.

02:33PM   13       A.    YES.

02:33PM   14       Q.    AND IF YOU LOOK AT THE FIRST PARAGRAPH.

02:34PM   15             YOUR HONOR, I MOVE THE ADMISSION OF 4036.

02:34PM   16                     MR. SCHENK:    YOUR HONOR, FOUNDATION.

02:34PM   17       BY MR. DOWNEY:

02:34PM   18       Q.    WELL, DO YOU RECOGNIZE THIS AS A JOINT ANNOUNCEMENT

02:34PM   19       BETWEEN THERANOS AND WALGREENS ISSUED WHEN YOU WERE THE CFO OF

02:34PM   20       WALGREENS?

02:34PM   21       A.    YES.

02:34PM   22                     MR. DOWNEY:    I MOVE THE ADMISSION OF 4036.

02:34PM   23                     MR. SCHENK:    YOUR HONOR, IT LOOKS LIKE A DRAFT TO

02:34PM   24       ME.

02:34PM   25                     THE WITNESS:   IT'S MISSING A QUOTE I CAN SEE, SO IT



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02:34PM    1       MIGHT BE A DRAFT.

02:34PM    2                    MR. DOWNEY:   OH, YOU'RE RIGHT.   LET ME SEE IF I CAN,

02:34PM    3       IF I CAN CORRECT THAT.      I DON'T KNOW -- LET ME SEE IF I CAN GET

02:34PM    4       YOU THAT EXHIBIT.    BUT LET'S MOVE FORWARD FROM HERE.

02:34PM    5       Q.   NOW, THE THERANOS -- AFTER THE THERANOS PARTNERSHIP WAS

02:34PM    6       ANNOUNCED --

02:34PM    7                    THE COURT:    YOU'RE GOING TO PASS THIS?

02:34PM    8                    MR. DOWNEY:   I'LL PASS THIS EXHIBIT AND COME BACK.

02:34PM    9                    THE COURT:    ALL RIGHT.

02:34PM   10       BY MR. DOWNEY:

02:34PM   11       Q.   AFTER THE PUBLIC ANNOUNCEMENT OF THE PARTNERSHIP, DID YOU,

02:35PM   12       DID YOU HAVE DISCUSSIONS -- WELL, STRIKE THAT.

02:35PM   13            CAN YOU EXPLAIN TO US WHAT AN EARNINGS CALL IS?

02:35PM   14       A.   AN EARNINGS CALL IS A QUARTERLY CALL FOR PUBLIC COMPANIES

02:35PM   15       WHICH BASICALLY DISCUSSES THE PUBLISHED FINANCIAL RESULTS FOR

02:35PM   16       THE QUARTER.

02:35PM   17       Q.   AND IS THAT A CALL DURING -- IN WHICH YOU PERSONALLY

02:35PM   18       PARTICIPATED?

02:35PM   19       A.   ALL CFO'S AND CEO'S PARTICIPATE.

02:35PM   20       Q.   AND DURING THOSE CALLS, DO ANALYSTS WHO FOLLOW THE COMPANY

02:35PM   21       FOR PURPOSES OF PREPARING ADVICE AND SO FORTH, DO THEY

02:35PM   22       PARTICIPATE IN THOSE CALLS?

02:35PM   23       A.   THEY PARTICIPATE, THEY LISTEN, AND THEN THEY'RE ALLOWED TO

02:35PM   24       ASK QUESTIONS AS WELL.

02:35PM   25       Q.   OKAY.    DO YOU REMEMBER PARTICIPATING IN A DECEMBER 2013



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02:36PM    1       EARNINGS CALL WHERE THE SUBJECT OF THERANOS CAME UP?

02:36PM    2       A.   NOT SPECIFICALLY.

02:36PM    3       Q.   OKAY.    LET ME ASK YOU TO LOOK AT EXHIBIT 12510.      AND I'M

02:36PM    4       NOT REALLY INTERESTED IN THE BREAKDOWN OF THE CALL THAT IS

02:36PM    5       CONTAINED IN THE EMAIL.      I'M REALLY JUST INTERESTED IN THE

02:36PM    6       ATTACHMENT TO THE EMAIL, AND I WOULD JUST ASK IF YOU RECOGNIZE

02:36PM    7       THIS AS A TRANSCRIPT OF AN EARNINGS CALL WITH WALGREENS SENIOR

02:36PM    8       MANAGEMENT IN DECEMBER OF 2013?

02:36PM    9       A.   IT'S WHAT A TRANSCRIPT LOOKS LIKE, SO --

02:37PM   10       Q.   OKAY.

02:37PM   11            YOUR HONOR, I MOVE THE ADMISSION OF 12510, ALTHOUGH I

02:37PM   12       REALLY ONLY NEED THE ATTACHMENT.         I DON'T NEED THE EMAIL

02:37PM   13       DISCUSSION.

02:37PM   14                    THE COURT:    WHAT PAGES THEN WOULD YOU SEEK TO

02:37PM   15       INTRODUCE?

02:37PM   16                    MR. DOWNEY:   I THINK THE PAGES WHERE THE BATES LABEL

02:37PM   17       IN THE BOTTOM RIGHT-HAND CORNER IS 6786 THROUGH 6804.

02:37PM   18                    THE COURT:    MR. SCHENK?

02:37PM   19                    MR. SCHENK:   NO OBJECTION.

02:37PM   20                    THE COURT:    THOSE PAGES ARE ADMITTED AS THIS EXHIBIT

02:37PM   21       NUMBER AND THEY MAY BE PUBLISHED.

02:37PM   22            (DEFENDANT'S EXHIBIT 12510, BATES PAGES 6786 THROUGH 6804,

02:37PM   23      WAS RECEIVED IN EVIDENCE.)

02:37PM   24       BY MR. DOWNEY:

02:37PM   25       Q.   AND THESE CALLS ARE AN OPPORTUNITY FOR ANALYSTS TO ASK



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02:37PM    1       QUESTIONS ABOUT THE PERFORMANCE OF THE COMPANY; CORRECT?

02:37PM    2       A.   CORRECT.

02:37PM    3       Q.   AND EXPECTATIONS THAT THE COMPANY HAS AS TO WHAT ITS

02:38PM    4       PERFORMANCE IN THE FUTURE MIGHT BE?

02:38PM    5       A.   TO THE EXTENT THAT THE COMPANY PROVIDES THAT GUIDANCE,

02:38PM    6       CORRECT.

02:38PM    7       Q.   IN SOME INSTANCES THE COMPANIES DECLINE TO PROVIDE

02:38PM    8       GUIDANCE; CORRECT?

02:38PM    9       A.   CORRECT.

02:38PM   10       Q.   AND THESE ARE CALLS FOR WHICH YOU PREPARE?

02:38PM   11       A.   YES, DOZENS OF PEOPLE PREPARE.

02:38PM   12       Q.   AND THEY'RE IMPORTANT CALLS BECAUSE THEY CAN INFLUENCE THE

02:38PM   13       VALUE OF WALGREENS STOCK; CORRECT?

02:38PM   14       A.   THEY'RE IMPORTANT FOR LOTS OF REASONS.

02:38PM   15       Q.   OKAY.   NOT JUST THE REASON THAT I NOTED, BUT THEY'RE

02:38PM   16       IMPORTANT CALLS?

02:38PM   17       A.   IMPORTANT CALLS.

02:38PM   18       Q.   OKAY.   LET ME ASK YOU TO LOOK IN THE EXHIBIT THAT I'M

02:38PM   19       SHOWING YOU, 12510, AT THE PAGE THAT -- WHERE THE BATES

02:38PM   20       LABELLED NUMBER IS 6778.       I'LL PUT THAT UP ON YOUR SCREEN IF

02:38PM   21       THAT MAKES IT EASIER FOR YOU.

02:39PM   22            I THINK WE HAVE IT UP ON THE FIRST PAGE JUST TO

02:39PM   23       FAMILIARIZE YOU WITH THE PARTICIPANTS IN THE CALL.      AND DO YOU

02:39PM   24       SEE THAT THERE ARE SEVERAL --

02:39PM   25            WOULD YOU JUST GO BACK TO THAT?



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02:39PM    1            DO YOU SEE AT THE TOP THIS LIST OF PARTICIPANTS IN THE

02:39PM    2       EARNINGS CALL AND DO YOU SEE THAT -- WELL, DO YOU SEE THAT, THE

02:39PM    3       PARTICIPANTS ON TOP OF THE EARNINGS CALL TRANSCRIPT?

02:39PM    4       A.   YES.

02:39PM    5       Q.   AND DO YOU SEE AT THE TOP THERE'S A GROUP OF CORPORATE

02:39PM    6       PARTICIPANTS FROM WALGREENS?

02:39PM    7       A.   YES.

02:39PM    8       Q.   AND THAT INCLUDES YOURSELF; CORRECT?

02:39PM    9       A.   YES.

02:39PM   10       Q.   AND THEN UNDER THAT THERE'S A LIST OF OTHER PARTICIPANTS;

02:39PM   11       CORRECT?

02:39PM   12       A.   YES.

02:39PM   13       Q.   AND THOSE ARE ANALYSTS WHO FOLLOW WALGREENS'S PERFORMANCE;

02:39PM   14       CORRECT?

02:39PM   15       A.   YES.

02:39PM   16       Q.   AND LET ME ASK YOU TO LOOK NOW AT THE NEXT PAGE.

02:40PM   17            AT THE BEGINNING OF THE CALL THERE IS A DISCUSSION BY

02:40PM   18       MR. WASSON, WHO WAS THE CHIEF EXECUTIVE OFFICER.

02:40PM   19            DO YOU SEE THAT?

02:40PM   20       A.   YES.

02:40PM   21       Q.   AND IF YOU GO DOWN TO THE SECOND PARAGRAPH, HE NOTES THAT

02:40PM   22       HE'S GOING TO GET INTO SOME HIGHLIGHTS OF THE COMPANY.

02:40PM   23            DO YOU SEE THAT?

02:40PM   24       A.   YES.

02:40PM   25       Q.   AND IF YOU GO FURTHER DOWN ON THAT PAGE, IF YOU BRING UP



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02:40PM    1       THE SECOND HALF, DO YOU SEE THE DISCUSSION OF WALGREENS AND

02:40PM    2       THERANOS THERE?

02:40PM    3       A.   YES.

02:40PM    4       Q.   AND YOU SEE THAT HE REFERENCED THAT -- IT SAYS THAT

02:40PM    5       "WALGREENS AND THERANOS ALSO TOOK THE NEXT STEP IN OUR PLANNED

02:40PM    6       NATIONAL ROLLOUT OF GROUND BREAKING NEW LAB SERVICES WITH THE

02:40PM    7       OPENING OF THERANOS WELLNESS CENTERS IN TWO STORES IN PHOENIX."

02:41PM    8            DO YOU SEE THAT?

02:41PM    9       A.   YES.

02:41PM   10       Q.   AND AS OF THIS DATE, DECEMBER 20TH OF 2013, THERE WAS

02:41PM   11       STILL A PROJECTION THAT THERE WOULD BE A NATIONAL ROLLOUT;

02:41PM   12       CORRECT?

02:41PM   13       A.   I THINK THERE'S A PROJECTION -- EVERYTHING IS PREDICATED

02:41PM   14       ON EACH STEP BEING SUCCESSFUL, SO ASSUMING THE PILOT IS

02:41PM   15       SUCCESSFUL, YOU'LL MOVE TO THE NEXT STEP.

02:41PM   16       Q.   AND THAT'S BEEN TRUE SINCE THE BEGINNING OF THE AGREEMENT;

02:41PM   17       RIGHT?

02:41PM   18       A.   THAT'S ALWAYS IMPLICIT.

02:41PM   19       Q.   RIGHT.   IF YOU GO TO PAGE 9 OF THE TRANSCRIPT, BOTTOM

02:41PM   20       RIGHT-HAND CORNER, I WANT TO FOCUS ON AN EXCHANGE BETWEEN YOU

02:41PM   21       AND AN ANALYST, MARK MILLER.

02:41PM   22            IT'S AT THE BOTTOM OF THAT PAGE IF YOU HAVE IT.

02:42PM   23            DO YOU SEE THE DISCUSSION OF THERANOS IN THE LAST FEW

02:42PM   24       SENTENCES THERE?

02:42PM   25       A.   YES.



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02:42PM    1       Q.   AND THIS IS AN EXCHANGE BETWEEN YOU AND AN ANALYST FROM

02:42PM    2       WILLIAM BLAIR & COMPANY; CORRECT?

02:42PM    3       A.   YES.

02:42PM    4       Q.   AND HE WAS ASKING A QUESTION ABOUT WHAT THE BUSINESS

02:42PM    5       EXPANSION PLANS AND NEW INITIATIVES OF THE COMPANY WERE;

02:42PM    6       CORRECT?

02:42PM    7       A.   YES.

02:42PM    8       Q.   AND YOU REPLIED IN PART SAYING, "ALSO, THINGS LIKE

02:43PM    9       THERANOS, WHICH WE BELIEVE HAS VERY MEANINGFUL POTENTIAL.

02:43PM   10       WE'RE VERY EXCITED ABOUT.      IN VARIOUS GEOGRAPHIES, WE'VE GOT A

02:43PM   11       STRONG FOOTPRINT, BUT WE'VE GOT OPPORTUNITIES TO DO EVEN MORE

02:43PM   12       BREADTH OF SERVICES IN THOSE MARKETS AND GET DEEPER AND BROADER

02:43PM   13       AND WORKING WITH OUR PARTNERS, ALLIANCE BOOTS, WE'RE DOING

02:43PM   14       EXACTLY THAT."

02:43PM   15            SO THAT WAS A DESCRIPTION OF YOUR THINKING ABOUT THERANOS

02:43PM   16       AS OF THIS DATE; CORRECT?

02:43PM   17       A.   I'M NOT SURE I BELIEVED THAT "IN VARIOUS GEOGRAPHIES"

02:43PM   18       MIGHT BE IN REFERENCE TO ALLIANCE BOOTS.

02:43PM   19       Q.   OKAY.   THAT MIGHT BE RELATED TO INTERNATIONAL?

02:43PM   20       A.   YES.    I THINK WHAT WE WERE EXCITED ABOUT IS THE END OF MY

02:43PM   21       THOUGHTS ON THERANOS.

02:43PM   22       Q.   OKAY.   BUT, BUT YOU REFERENCED YOU THOUGHT THE COMPANY HAD

02:43PM   23       VERY MEANINGFUL POTENTIAL; CORRECT?

02:43PM   24       A.   YES.

02:43PM   25       Q.   ALL RIGHT.   LET ME ASK YOU TO LOOK NOW AT PAGE 12 OF THAT



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02:43PM    1       TRANSCRIPT, AND I'M LOOKING AT THE -- DO YOU SEE WHERE, ABOUT A

02:44PM    2       THIRD OF THE WAY DOWN THE PAGE, IT SAYS, "OKAY.     AND THEN,"

02:44PM    3       NEXT TO RICKY GOLDWASSER?

02:44PM    4       A.   YES.

02:44PM    5       Q.   AND MR. GOLDWASSER WAS ANOTHER ANALYST; CORRECT?

02:44PM    6       A.   I BELIEVE IT WAS A SHE.

02:44PM    7       Q.   EXCUSE ME.   MS. GOLDWASSER WAS ANOTHER ANALYST?

02:44PM    8       A.   YES.

02:44PM    9       Q.   AND SHE SAYS TO YOU, "AND THEN, I KNOW YOU'VE TALKED VERY

02:44PM   10       POSITIVELY ABOUT THERANOS.     CAN YOU SHARE WITH US KIND OF LIKE

02:44PM   11       YOUR EXPERIENCE, I THINK, THE TECHNOLOGY HAS BEEN IN YOUR

02:44PM   12       PHARMACIES FOR A COUPLE OF MONTHS NOW.      WHAT ARE YOU SEEING IN

02:44PM   13       THE MARKETPLACE?"

02:44PM   14            SHE ASKED YOU THAT QUESTION; CORRECT?

02:44PM   15       A.   CORRECT.

02:44PM   16       Q.   AND YOU RESPONDED, "YEAH, I MEAN, WE'RE VERY, VERY

02:45PM   17       POSITIVE ON THERANOS.    I MEAN, IT'S REALLY A -- ONE OF THE

02:45PM   18       DISRUPTIVE PLAYS, IT'S A BETTER PATIENT EXPERIENCE WITH A PRICK

02:45PM   19       OF BLOOD.   IT'S THE HIGHEST STANDARD OF QUALITY IN LAB WITH

02:45PM   20       COSTS, HALF OF THE COST OF MEDICARE.      AND THE PATIENT FEEDBACK

02:45PM   21       WE'RE GETTING IS VERY GOOD, BUT IT'S REALLY A BETTER, FASTER,

02:45PM   22       CHEAPER, MORE CONVENIENTLY PLAY.     AND WE'RE GOING TO -- AS WE

02:45PM   23       EXPAND HERE, WE'LL KEEP LEARNING AND PERFECTING THE PATIENT

02:45PM   24       EXPERIENCE WHICH IS REALLY THE CASE -- THE KEY THING.     BUT

02:45PM   25       WE'RE VERY, VERY POSITIVE."



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02:45PM    1            AND THEN YOU GO ON TO DESCRIBE THAT THIS IS ANOTHER

02:45PM    2       EXAMPLE OF HOW A COMMUNITY PHARMACY CAN PROVIDE BROADER HEALTH

02:45PM    3       CARE.

02:45PM    4            DO YOU SEE THAT?

02:45PM    5       A.   YES.

02:45PM    6       Q.   AND THAT'S WHAT YOUR THINKING WAS ABOUT THERANOS AS OF

02:45PM    7       THAT TIME; CORRECT?

02:45PM    8       A.   THAT'S HOW I FELT AS OF THE TIME, YES.

02:46PM    9       Q.   OKAY.    I WANT TO ASK YOU ABOUT YOUR INTERACTIONS WITH A

02:46PM   10       WALGREENS SHAREHOLDER RELATED TO THERANOS, AND I WANT TO PUT

02:46PM   11       YOUR MIND IN THE TIMEFRAME OF ABOUT EARLY 2014.      SO THIS WOULD

02:46PM   12       BE --

02:46PM   13                    THE COURT:    MR. DOWNEY, BEFORE YOU GO THERE, LET ME

02:46PM   14       ASK YOU, WE HAD SOME CONVERSATION ABOUT TAKING A WITNESS OUT OF

02:46PM   15       ORDER.

02:46PM   16            IS THAT SOMETHING WE SHOULD CONSIDER DOING?

02:46PM   17                    MR. DOWNEY:   IT'S FINE WITH ME IF -- I DON'T THINK I

02:46PM   18       HAVE JUST TEN MINUTES.      I THINK I HAVE A LITTLE MORE THAN THAT.

02:46PM   19            SO I THINK IF THE WITNESS IS HERE AND THAT'S THE

02:46PM   20       GOVERNMENT'S PREFERENCE, IT'S FINE WITH ME.

02:46PM   21                    THE COURT:    LET'S, LET'S CHECK ON THAT.

02:47PM   22            LET ME TURN TO THE JURY.      MAYBE WE SHOULD TAKE A TEN

02:47PM   23       MINUTE BREAK HERE AND THEN COME BACK.

02:47PM   24            MR. SCHENK, WHAT ARE YOUR THOUGHTS ON A WITNESS OUT OF

02:47PM   25       ORDER?



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02:47PM    1                   MR. SCHENK:   I'VE TALKED TO THE TEAM.     I DO NOT

02:47PM    2       THINK IT'S NECESSARY.     BUT THE TEN MINUTE BREAK MIGHT BE

02:47PM    3       HELPFUL FOR US TO CONFER.

02:47PM    4                   THE COURT:    OKAY.   LET'S DO THAT.   LET'S TAKE

02:47PM    5       12 MINUTES.   I'LL BE GENEROUS.     LET'S TAKE 12 MINUTES.

02:47PM    6            YOU CAN STAND DOWN, SIR.      THANK YOU.

02:47PM    7            (LAUGHTER.)

02:48PM    8            (JURY OUT AT 2:48 P.M.)

02:48PM    9                   THE COURT:    PLEASE BE SEATED.     THANK YOU.

02:48PM   10            THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT AND OUR

02:48PM   11       LAST WITNESS HAS LEFT THE COURTROOM NOW.

02:48PM   12            WE'LL TAKE OUR BREAK, AND THEN DO YOU WANT TO JUST CHECK

02:48PM   13       AND SEE, MR. SCHENK, WHETHER OR NOT THAT'S SOMETHING THAT YOU

02:48PM   14       WOULD LIKE TO GO FORWARD WITH?

02:48PM   15                   MR. SCHENK:   YES.    CAN I ASK IF THE COURT HAS HEARD

02:48PM   16       FEEDBACK FROM THE JURY ABOUT TOMORROW?        IT MIGHT HELP IN OUR

02:48PM   17       CONVERSATION.

02:48PM   18                   THE COURT:    OH.   I MEANT TO ASK THEM THAT BEFORE THE

02:48PM   19       BREAK.   I'LL GET THAT WHEN THEY COME BACK, BUT WE'LL JUST HAVE

02:48PM   20       TO DO IT THAT WAY WHEN THEY COME BACK AND WE'LL SEE.

02:48PM   21                   MR. DOWNEY:   YOUR HONOR, WE'LL KEEP MS. KRATZMANN

02:48PM   22       APPRISED.

02:48PM   23            A SLIGHT CONCERN THAT WE MIGHT BE JUST A LITTLE OVER

02:48PM   24       10 MINUTES, MAYBE MORE LIKE 15, BUT WE'LL STAY IN TOUCH WITH

02:48PM   25       MS. KRATZMANN.



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02:48PM    1                  THE COURT:    OKAY.   ON YOUR -- AS TO THIS OTHER

02:48PM    2       WITNESS?

02:48PM    3                  MR. DOWNEY:    NO, JUST A COMFORT BREAK.

02:48PM    4                  THE COURT:    OH, OKAY.    WELL, LET'S GO 15.   I DON'T

02:48PM    5       THINK THAT THE JURY WILL OBJECT.

02:48PM    6            ALL RIGHT.    THANK YOU.

02:48PM    7                  THE CLERK:    COURT IS IN RECESS.

02:49PM    8                  THE COURT:    TAKE 20 IF WE NEED 20.

02:49PM    9            (RECESS FROM 2:49 P.M. UNTIL 3:11 P.M.)

03:11PM   10            (JURY IN AT 3:11 P.M.)

03:12PM   11                  THE COURT:    ALL RIGHT.    THANK YOU.   PLEASE BE

03:12PM   12       SEATED.

03:12PM   13            WE'RE BACK ON THE RECORD.       OUR JURY IS PRESENT AND ALL

03:12PM   14       PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN.

03:12PM   15            LADIES AND GENTLEMEN, BEFORE WE START AGAIN, CAN I ASK THE

03:12PM   16       JURY, DURING THE BREAK, WERE YOU ABLE TO DISCERN WHETHER YOU

03:12PM   17       ARE ABLE TO COME TOMORROW, THURSDAY, FOR A SESSION?

03:13PM   18            LET ME ASK FOR A SHOW OF HANDS.      IS THERE ANYONE WHO

03:13PM   19       CANNOT DO THAT?

03:13PM   20            OH MY GOODNESS, WHAT A WONDERFUL JURY.

03:13PM   21            I SEE NO HANDS.

03:13PM   22            IS THERE ANY -- DO WE NEED TO MAKE AN ADJUSTMENT OF THE

03:13PM   23       SCHEDULE AT ALL?    THE PROPOSED SCHEDULE TOMORROW WOULD BE 9:00

03:13PM   24       UNTIL 3:00.   DO WE NEED TO ADJUST THE SCHEDULE FOR ANYONE OTHER

03:13PM   25       THAN THAT 9:00 TO 3:00?



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03:13PM    1            I SEE NO HANDS.

03:13PM    2            OKAY.    THANK YOU VERY MUCH.      THANK YOU.

03:13PM    3            LET ME ASK THE QUESTION THEN OF MR. SCHENK.        SHOULD WE

03:13PM    4       TAKE A WITNESS OUT OF ORDER?

03:13PM    5                    MR. SCHENK:   NO, THAT IS NOT NECESSARY.    THANK YOU.

03:13PM    6                    THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

03:13PM    7            MR. DOWNEY.

03:13PM    8       BY MR. DOWNEY:

03:13PM    9       Q.   MR. MIQUELON, I WANT TO ASK YOU ABOUT AN INVESTOR IN

03:13PM   10       WALGREENS CALLED PARTNER FUND MANAGEMENT.       IS THAT AN INVESTOR

03:13PM   11       THAT YOU'RE FAMILIAR WITH?

03:13PM   12       A.   IT DOESN'T RING A BELL.

03:13PM   13       Q.   THEY SOMETIMES GO BY THE ACRONYM PFM.

03:14PM   14       A.   I'M SORRY.

03:14PM   15       Q.   OKAY.    LET ME ASK YOU TO LOOK AT EXHIBIT 13952.     DO YOU

03:14PM   16       RECOGNIZE THIS AS AN EMAIL EXCHANGE BETWEEN YOU AND

03:14PM   17       ASHISH KOHLI AT WALGREENS IN 2014?

03:14PM   18       A.   I DO.

03:14PM   19                    MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:14PM   20       13952.

03:14PM   21                    MR. SCHENK:   YOUR HONOR, I BELIEVE THIS IS BEYOND

03:14PM   22       THE SCOPE.

03:14PM   23                    MR. DOWNEY:   YOUR HONOR, I THINK THIS RELATES TO THE

03:14PM   24       QUESTION OF WHICH WE'VE BEEN --

03:14PM   25                    THE COURT:    WHY DON'T YOU LAY A FOUNDATION FOR THIS



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03:15PM    1       IF YOU CAN, AND THEN WE'LL SEE.

03:15PM    2                    MR. DOWNEY:   OKAY.

03:15PM    3       Q.   I'LL DIRECT YOUR ATTENTION TO THE BOTTOM.      IS THE NAME

03:15PM    4       VIVEK KHANNA KNOWN TO YOU?

03:15PM    5       A.   I DON'T REMEMBER THAT.

03:15PM    6       Q.   OKAY.    AND IS IT THE CASE THAT IF YOU WERE GOING TO CHANGE

03:15PM    7       ANY ASPECTS OF YOUR RELATIONSHIP WITH THERANOS, YOU WOULD WANT

03:15PM    8       TO ANNOUNCE IT TO ALL INVESTORS AT THE SAME TIME?

03:15PM    9       A.   THAT'S THE POLICY.      ANYTHING THAT WOULD BE MATERIAL AND OF

03:15PM   10       IMPORTANCE SHOULD BE GIVEN TO EVERYONE EQUALLY.

03:15PM   11       Q.   OKAY.    AND AS OF MARCH 2014, WERE YOU SOMETIMES ASKED FOR

03:15PM   12       COMMENT ON HOW THE THERANOS PROJECT WAS GOING?

03:15PM   13       A.   I DON'T RECALL, BUT PROBABLY --

03:15PM   14       Q.   OKAY.

03:15PM   15       A.   -- AT SOME POINT.

03:15PM   16                    MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:15PM   17       13952.   THIS RELATES TO THE QUESTIONING ON DIRECT ABOUT TIMING

03:15PM   18       OF THE ROLLOUT, ET CETERA, AND THIS IS COMMENTARY ON IT.

03:16PM   19                    MR. SCHENK:   SAME OBJECTION.

03:16PM   20                    THE COURT:    YOU KNOW, I THINK YOU CAN USE THIS TO

03:16PM   21       REFRESH HIS RECOLLECTION AS TO WHETHER OR NOT HE DID SOMETHING,

03:16PM   22       BUT THE DOCUMENT ITSELF I DON'T THINK NEEDS TO BE -- FOR THE

03:16PM   23       INFORMATION THAT YOU WANT TO GET IT IN, I THINK YOU CAN SEE IF

03:16PM   24       YOU CAN REFRESH HIS RECOLLECTION OF THAT.

03:16PM   25                    MR. DOWNEY:   WELL, LET ME ASK HIM.



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03:16PM    1                    THE COURT:    SURE.

03:16PM    2       BY MR. DOWNEY:

03:16PM    3       Q.   DO YOU RECALL THIS EMAIL EXCHANGE IN MARCH OF 2014?

03:16PM    4       A.   NO.

03:16PM    5                    MR. DOWNEY:   OKAY.   YOUR HONOR, I HATE TO HAVE HIM

03:16PM    6       BACK FOR ONE QUESTION.

03:16PM    7                    THE COURT:    WELL, I -- THE QUESTION I WAS

03:16PM    8       SUGGESTING -- AND AGAIN, I DON'T MEAN TO TELL YOU HOW TO ASK

03:16PM    9       QUESTIONS -- BUT IF HIS MEMORY OF THIS CAN BE REFRESHED -- HE

03:16PM   10       DOESN'T REMEMBER THIS, BUT IF THIS REFRESHES HIS RECOLLECTION

03:16PM   11       ABOUT SOMETHING THAT HE DID, THAT MIGHT SUFFICE FOR YOUR

03:16PM   12       PURPOSE I THINK.

03:16PM   13                    MR. DOWNEY:   LET'S TRY IT THAT WAY.

03:16PM   14       Q.   HAVE YOU HAD THE OPPORTUNITY TO REVIEW EXHIBIT 13952?

03:17PM   15       A.   YES.

03:17PM   16       Q.   DOES THAT REFRESH YOUR RECOLLECTION THAT YOU WERE ASKED A

03:17PM   17       QUESTION BY ASHISH KOHLI IN MARCH OF 2014 ABOUT THERANOS?

03:17PM   18       A.   NO, BUT I WOULD GET HUNDREDS OF EMAILS A DAY, SO --

03:17PM   19       Q.   OKAY.

03:17PM   20            YOUR HONOR, I THINK I NEED TO MOVE ITS ADMISSION.

03:17PM   21                    THE COURT:    I UNDERSTAND WHY YOU WANT TO MOVE IT IN.

03:17PM   22       THE QUESTION THAT MR. SCHENK SUGGESTS IS IT'S NOT APPROPRIATE

03:17PM   23       BECAUSE IT'S BEYOND THE SCOPE.

03:17PM   24            I'LL ALLOW IT TO COME IN, AND SO I'LL OVERRULE THE

03:17PM   25       OBJECTION.    IT'S ADMITTED, AND IT CAN BE PUBLISHED.



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03:17PM    1            (DEFENDANT'S EXHIBIT 13952 WAS RECEIVED IN EVIDENCE.)

03:17PM    2                    THE COURT:    IS SOMETHING WRONG WITH OUR SCREENS?

03:18PM    3                    THE CLERK:    I DID A TEST ON THE BREAK.    LET ME TRY

03:18PM    4       IT AGAIN.

03:18PM    5                    THE COURT:    JUST A MOMENT.   I'M SORRY.

03:18PM    6            (PAUSE IN PROCEEDINGS.)

03:18PM    7                    THE CLERK:    NO?

03:18PM    8                    THE COURT:    NOT MINE OR IRENE'S.

03:18PM    9                    THE CLERK:    HOW ABOUT IF WE TURN OFF THE MONITOR?

03:19PM   10                    THE COURT:    THIS BUTTON HERE (INDICATING)?

03:19PM   11            THAT WORKED FOR ME.

03:19PM   12            I AM JUST GOING TO POUR WATER.

03:19PM   13            ALL RIGHT.    I THINK WE'RE READY.

03:19PM   14                    MR. DOWNEY:   OKAY.

03:19PM   15       Q.   WHO WAS ASHISH KOHLI?

03:19PM   16       A.   HE WAS THE DIRECTOR OF INVESTOR RELATIONS, SO THE SECOND

03:19PM   17       HIGHEST PERSON IN INVESTOR RELATIONS.

03:19PM   18       Q.   OKAY.    SO HE WOULD SOMETIMES FIELD QUESTIONS FROM

03:19PM   19       INVESTORS, OR POTENTIAL INVESTORS?

03:19PM   20       A.   YES.

03:19PM   21       Q.   OKAY.    DOES THIS APPEAR TO BE AN EXCHANGE THAT YOU HAD

03:19PM   22       WITH MR. KOHLI IN MARCH OF 2014?

03:19PM   23       A.   YES.

03:19PM   24       Q.   AND DO YOU SEE AT THE BOTTOM MR. KOHLI WAS ASKED A

03:19PM   25       QUESTION, "I CANNOT HELP NOTICE NO MENTION OF THERANOS IN THE



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03:19PM    1       PRESS RELEASE OR IN THE PREPARED COMMENTS.      IS THERE A CHANGE

03:19PM    2       IN UPTAKE OR ROLLOUT SCHEDULE?"

03:20PM    3            DO YOU SEE THAT?

03:20PM    4       A.   YES.

03:20PM    5       Q.   AND THEN HE ASKED, "HOW WOULD YOU LIKE ME TO RESPOND?"

03:20PM    6            AND YOU RESPONDED, "PROJECT IS GOING WELL.     WHEN WE HAVE A

03:20PM    7       NEW MILESTONE TO SHARE WE WILL SHARE IT."

03:20PM    8            SIGNED WADE?

03:20PM    9       A.   YES.

03:20PM   10       Q.   OKAY.   DO YOU KNOW AN INVESTOR NAMED BRIAN GROSSMAN?

03:20PM   11       A.   I DON'T RECALL.

03:20PM   12       Q.   DO YOU RECALL HAVING ANY CONVERSATIONS WITH MR. GROSSMAN

03:20PM   13       ABOUT THERANOS?

03:20PM   14       A.   NOT SPECIFICALLY.

03:20PM   15       Q.   LET ME SHOW YOU A DOCUMENT FOR PURPOSES OF SEEING IF IT

03:20PM   16       REFRESHES YOUR RECOLLECTION.

03:20PM   17       A.   OKAY.

03:20PM   18       Q.   IT'S EXHIBIT 4170.

03:21PM   19            AND THERE'S A FAIRLY LONG DISCUSSION HERE, BUT I'M ONLY

03:21PM   20       INTERESTED AND WOULD DRAW YOUR ATTENTION TO THE SECOND TO THE

03:21PM   21       LAST PARAGRAPH DOWN THE SECOND PAGE WHICH STARTS THERANOS.

03:21PM   22       THAT PARAGRAPH AND THE FOLLOWING TWO PARAGRAPHS.

03:21PM   23       A.   YES.

03:21PM   24       Q.   DOES THAT REFRESH YOUR RECOLLECTION OF HAVING A

03:21PM   25       CONVERSATION WITH MR. GROSSMAN IN THE SUMMER OF 2014?



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03:21PM    1       A.   IT DOES NOT.

03:21PM    2       Q.   OKAY.    YOU LEFT FOR REASONS UNRELATED TO THERANOS IN THE

03:21PM    3       LATE SUMMER OF 2014; CORRECT?

03:21PM    4       A.   CORRECT.

03:21PM    5       Q.   AND AFTER THAT TIME DID YOU STAY IN TOUCH WITH MS. HOLMES

03:21PM    6       AND OTHERS AT THERANOS?

03:21PM    7       A.   MS. HOLMES.

03:21PM    8       Q.   OKAY.    LET ME ASK YOU TO LOOK IN YOUR NOTEBOOK AT

03:22PM    9       EXHIBIT 7168?

03:22PM   10       A.   YEP.

03:22PM   11       Q.   IS THIS AN EMAIL EXCHANGE BETWEEN YOU AND MS. HOLMES IN

03:22PM   12       OCTOBER OF 2015?

03:22PM   13       A.   YES, IT IS.

03:22PM   14                    MR. DOWNEY:   YOUR HONOR, I MOVE TO ADMIT 7618.

03:22PM   15                    THE COURT:    7618?

03:22PM   16                    MR. DOWNEY:   7618.

03:22PM   17                    THE CLERK:    OR 7168?

03:22PM   18                    THE COURT:    TELL US THE NUMBER AGAIN, PLEASE.

03:22PM   19                    MR. DOWNEY:   7618.

03:22PM   20                    MR. SCHENK:   NO OBJECTION.

03:22PM   21                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:22PM   22            (DEFENDANT'S EXHIBIT 7618 WAS RECEIVED IN EVIDENCE.)

03:22PM   23       BY MR. DOWNEY:

03:22PM   24       Q.   OKAY.    AND THIS IS AN EMAIL EXCHANGE BETWEEN YOU AND

03:23PM   25       MS. HOLMES.    AND I REALLY WANT TO JUST FOCUS ON THE BOTTOM



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03:23PM    1       EXCHANGE.

03:23PM    2            DO YOU RECALL AT SOME POINT DURING THE FALL OF 2015 THERE

03:23PM    3       WAS A LOT OF CRITICISM OF MS. HOLMES AND THERANOS?

03:23PM    4       A.   I DO.

03:23PM    5       Q.   AND IS THIS AN EMAIL THAT YOU SENT IN THIS TIMEFRAME TO

03:23PM    6       MS. HOLMES?

03:23PM    7       A.   YES.

03:23PM    8       Q.   LET ME ASK YOU NOW TO LOOK AT EXHIBIT 7622.

03:23PM    9       A.   YEP.

03:23PM   10       Q.   IS THIS AN EMAIL EXCHANGE BETWEEN YOU AND MS. HOLMES IN

03:23PM   11       DECEMBER OF 2015?

03:23PM   12       A.   YEP.

03:23PM   13                    MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:24PM   14       7622.

03:24PM   15                    MR. SCHENK:   NO OBJECTION.

03:24PM   16                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:24PM   17            (DEFENDANT'S EXHIBIT 7622 WAS RECEIVED IN EVIDENCE.)

03:24PM   18       BY MR. DOWNEY:

03:24PM   19       Q.   AND I WANT TO FOCUS YOUR ATTENTION FIRST ON THE DATE.

03:24PM   20            DO YOU SEE THAT THIS IS DECEMBER 1ST, 2015?

03:24PM   21       A.   YES.

03:24PM   22       Q.   AND THIS IS A YEAR AND A QUARTER OR SO AFTER YOU LEFT

03:24PM   23       WALGREENS?

03:24PM   24       A.   YES.

03:24PM   25       Q.   AND IN THE FIRST PARAGRAPH YOU MENTION COMING BACK WITH



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03:24PM    1       MORE DETAILED THOUGHTS ON HOW WE COULD DO SOMETHING REALLY GAME

03:24PM    2       CHANGING AS TALKED.

03:24PM    3       A.   YEP.

03:24PM    4       Q.   AND DO YOU RECALL WHAT THAT RELATES TO?

03:24PM    5       A.   I BELIEVE IT WAS SOME WORK THAT I WAS DOING IN THE MIDDLE

03:24PM    6       EAST WITH SOME OF THE SOVEREIGN FUNDS AND OTHER FUNDS IN

03:24PM    7       ABU DHABI AND OTHER AREAS WHERE I THOUGHT THERE WOULD BE A LOT

03:24PM    8       OF INTEREST IN WHAT THERANOS HAD TO OFFER.

03:24PM    9       Q.   OKAY.    AND WAS THAT FOR PURPOSES OF OFFERING THE SERVICE

03:25PM   10       OR WHAT PURPOSE WAS THAT FOR?

03:25PM   11       A.   JUST THE TECHNOLOGY.      AGAIN, WHEN I LEFT WALGREENS IN

03:25PM   12       AUGUST I WAS STILL VERY, YOU KNOW, POSITIVE ON THE TECHNOLOGY.

03:25PM   13            OBVIOUSLY LATER ON, YOU KNOW, THINGS WERE WRITTEN, BUT I

03:25PM   14       STILL VERY MUCH BELIEVED IN ELIZABETH AND WHAT SHE WAS UP TO,

03:25PM   15       AND I REALLY WANTED HER TO HAVE A CHANCE TO BE ABLE TO LEVERAGE

03:25PM   16       THAT FOR GOOD.

03:25PM   17       Q.   OKAY.    ALL RIGHT.    LET ME ASK YOU TO LOOK AT EXHIBIT 7657

03:25PM   18       AND JUST ASK YOU BRIEFLY TO CONFIRM WHETHER THIS IS AN EMAIL

03:25PM   19       EXCHANGE BETWEEN YOU AND MS. HOLMES IN MARCH OF 2016?

03:25PM   20       A.   IT IS.

03:25PM   21                    MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:26PM   22       7657.

03:26PM   23                    MR. SCHENK:   NO OBJECTION.

03:26PM   24                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:26PM   25            (DEFENDANT'S EXHIBIT 7657 WAS RECEIVED IN EVIDENCE.)



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                   MIQUELON CROSS BY MR. DOWNEY                                      3507


03:26PM    1       BY MR. DOWNEY:

03:26PM    2       Q.   AND DO YOU SEE IN THE ADDRESS LINE THAT THIS IS AN EMAIL

03:26PM    3       FROM YOU TO MS. HOLMES COPYING SOME OTHER PARTIES?

03:26PM    4       A.   YES.

03:26PM    5       Q.   AND IN THE SECOND PARAGRAPH HERE YOU REFERENCE GCC BEING A

03:26PM    6       FABULOUS ENVIRONMENT FOR THERANOS.

03:26PM    7            WHAT IS GCC?

03:26PM    8       A.   IT'S THE MIDDLE EAST, THE GREATER AREA THAT INCLUDES

03:26PM    9       SEVERAL COUNTRIES.

03:26PM   10       Q.   OKAY.    AND IS THAT A -- WHAT WERE YOU DISCUSSING HERE WHEN

03:26PM   11       YOU SUGGESTED GCC WOULD BE A FABULOUS ENVIRONMENT FOR THERANOS?

03:26PM   12       A.   WELL CAPITALIZED IN TERMS OF FUNDS, ACTUALLY EMBRACING

03:26PM   13       TECHNOLOGY IN MANY WAYS, IN HEALTH CARE IN PARTICULAR, AND I

03:26PM   14       FELT IT WOULD BE A GREAT OPPORTUNITY FOR HER TO SEE WHAT WAS

03:26PM   15       POSSIBLE THERE.

03:26PM   16       Q.   OKAY.    AND DID YOU CONTINUE THEREAFTER TO HAVE EMAIL

03:27PM   17       EXCHANGES WITH MS. HOLMES ABOUT PERSONAL MATTERS AND

03:27PM   18       PROFESSIONAL OPPORTUNITIES?

03:27PM   19       A.   I DON'T KNOW AFTER THIS IF I DID OR NOT, BUT --

03:27PM   20       Q.   WELL, LET ME SHOW YOU ONE MORE EMAIL.

03:27PM   21       A.   OKAY.

03:27PM   22       Q.   EXHIBIT 7676.

03:27PM   23            IS THIS AN EMAIL EXCHANGE BETWEEN YOU AND MS. HOLMES IN

03:27PM   24       AUGUST OF 2016?

03:27PM   25       A.   IT IS.



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03:27PM    1       Q.   OKAY.

03:27PM    2            YOUR HONOR, I MOVE THE ADMISSION OF EXHIBIT 7676.

03:27PM    3                    MR. SCHENK:   NO OBJECTION.

03:27PM    4                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:27PM    5            (DEFENDANT'S EXHIBIT 7676 WAS RECEIVED IN EVIDENCE.)

03:27PM    6       BY MR. DOWNEY:

03:27PM    7       Q.   IF WE CAN LOOK AT THE EMAIL ON THE BOTTOM.        YOU SAY TO

03:27PM    8       MS. HOLMES, "NICE JOB WITH DR. GUPTA."

03:27PM    9            WHAT WAS THAT A REFERENCE TO?

03:27PM   10       A.   HONESTLY, I CAN'T REMEMBER.

03:27PM   11       Q.   YOU SAY, "I HOPE YOU ARE WELL.         DON'T STOP WORKING TO HELP

03:28PM   12       THE WORLD."

03:28PM   13            MS. HOLMES'S RESPONSE TO YOU, "YOU KNOW HOW MUCH THAT

03:28PM   14       MEANS TO ME.    HOPE ALL IS WONDERFUL WITH YOU."

03:28PM   15            AND DO YOU RECALL ANY CONTACT WITH MS. HOLMES AFTER THIS

03:28PM   16       EMAIL EXCHANGE?

03:28PM   17       A.   I DON'T RECALL THE LAST TIME, BUT I DEFINITELY CARED ABOUT

03:28PM   18       HER VERY MUCH AND WANTED HER TO BE SUCCESSFUL.

03:28PM   19       Q.   OKAY.

03:28PM   20            YOUR HONOR, I THINK I'M DONE WITH CROSS-EXAMINATION, BUT

03:28PM   21       LET ME HAVE JUST ONE MOMENT.

03:28PM   22                    THE COURT:    SURE.

03:28PM   23            (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

03:29PM   24       BY MR. DOWNEY:

03:29PM   25       Q.   THANK YOU, MR. MIQUELON.



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                   MIQUELON REDIRECT BY MR. SCHENK                                    3509


03:29PM    1            THAT'S ALL I HAVE FOR CROSS-EXAMINATION.

03:29PM    2                    THE COURT:    ALL RIGHT.   ANY REDIRECT?   MR. SCHENK?

03:29PM    3                    MR. SCHENK:    YES.

03:29PM    4                                 REDIRECT EXAMINATION

03:29PM    5       BY MR. SCHENK:

03:29PM    6       Q.   GOOD AFTERNOON AGAIN, MR. MIQUELON.

03:29PM    7       A.   GOOD AFTERNOON.

03:29PM    8       Q.   I'D LIKE TO COVER SOME OF THE TOPICS THAT YOU DISCUSSED

03:29PM    9       WITH MR. DOWNEY, AND THE FIRST PLACE I'D LIKE TO START IS WITH

03:29PM   10       THE PHASED ROLLOUT.

03:29PM   11            MR. DOWNEY ASKED YOU SOME QUESTIONS ABOUT PHASE I AND

03:29PM   12       PHASE II.

03:29PM   13            DO YOU RECALL THOSE QUESTIONS?

03:29PM   14       A.   BRIEFLY.

03:29PM   15       Q.   GENERALLY AT LEAST.

03:29PM   16       A.   GENERALLY, YEAH.

03:29PM   17       Q.   THE REASON FOR THE DIFFERENT PHASES, I THINK YOU TESTIFIED

03:29PM   18       TO, WAS SOME REGULATORY CONCERNS, OR REGULATORY ISSUES THAT HAD

03:30PM   19       BEEN IDENTIFIED AND THE QUESTION IS WHAT IS THE LAB?        AM I

03:30PM   20       RIGHT ABOUT THAT?

03:30PM   21       A.   CORRECT.    THAT IS ONE OF THE QUESTIONS WHICH, AGAIN, WHAT

03:30PM   22       IS THE LAB AND WHERE IS THE LAB, IF YOU HAVE AN EDISON DEVICE

03:30PM   23       THAT FEEDS TO THE CLOUD THAT FEEDS INTO A LABORATORY OF

03:30PM   24       ANALYTICS.

03:30PM   25            AGAIN, THAT IS SOMETHING THAT I THINK HAD NEVER BEEN



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03:30PM    1       CONTEMPLATED BY REGULATORS.

03:30PM    2       Q.   SO THE DECISION WAS MADE TO ROLL OUT IN PHASES TO HAVE THE

03:30PM    3       EDISON DEVICE AT A CENTRAL LAB INITIALLY AND THEN EVENTUALLY AS

03:30PM    4       I THINK YOU SAID DEPENDING ON THE ECONOMICS OF IT PUTTING THE

03:30PM    5       DEVICE IN STORES?

03:30PM    6       A.   AND I THINK IT WAS PRACTICAL IF YOU WERE GOING TO HAVE,

03:30PM    7       LET'S JUST MAKE IT FIVE LAB TESTS A DAY IN A GIVEN WALGREENS,

03:30PM    8       IT DOESN'T MAKE A LOT OF SENSE TO HAVE EQUIPMENT AND

03:30PM    9       INFRASTRUCTURE THERE.

03:30PM   10       Q.   I SEE.   WHEN YOU WERE DISCUSSING THIS PHASED APPROACH WITH

03:30PM   11       MS. HOLMES, DID SHE EVER TELL YOU ONE REASON WE COULDN'T PUT

03:31PM   12       THE DEVICE IN THE STORES WAS BECAUSE THEY DIDN'T DO THEIR BLOOD

03:31PM   13       TESTING FULLY ON THE DEVICE, THAT IT WASN'T ACTUALLY REGULATORY

03:31PM   14       BUT RATHER IT WAS A DEVICE ISSUE?     DID YOU EVER TALK ABOUT

03:31PM   15       THAT?

03:31PM   16       A.   I NEVER HEARD THAT.

03:31PM   17       Q.   IF WE COULD BRING UP GOVERNMENT'S EXHIBIT 302.

03:31PM   18            DO YOU REMEMBER THAT YOU TALKED TO MR. DOWNEY ABOUT THE

03:31PM   19       JOHNS HOPKINS DOCUMENT?

03:31PM   20            DO YOU RECALL THAT LINE OF QUESTIONING?

03:31PM   21       A.   I DO.

03:31PM   22       Q.   YOU WEREN'T AT -- YOU DIDN'T GO TO BALTIMORE FOR THE

03:31PM   23       MEETING; IS THAT RIGHT?

03:31PM   24       A.   I DID NOT.

03:31PM   25       Q.   DO YOU KNOW HOW LONG THE DEVICE WAS WITH THE FOLKS AT



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03:31PM    1       HOPKINS?

03:31PM    2       A.   I HAVE NO IDEA.

03:31PM    3       Q.   DO YOU KNOW HOW LONG THE MEETING LASTED?

03:31PM    4       A.   I HAVE NO IDEA.

03:31PM    5       Q.   DO YOU KNOW WHO PREPARED THE DATA THAT JOHNS HOPKINS

03:31PM    6       LOOKED AT?

03:31PM    7       A.   I HAVE NO IDEA.

03:31PM    8       Q.   IF YOU COULD TURN TO THE SECOND PAGE OF THIS DOCUMENT.        AT

03:32PM    9       THE VERY BOTTOM THERE'S A SECTION CALLED DISCLAIMER.

03:32PM   10            DO YOU SEE THAT?

03:32PM   11       A.   YES.

03:32PM   12       Q.   DID YOU READ THAT WITH MR. DOWNEY DO YOU RECALL?

03:32PM   13       A.   ASK THE QUESTION AGAIN, I'M SORRY.

03:32PM   14       Q.   WHEN YOU WERE BEING ASKED QUESTIONS ABOUT THIS ON

03:32PM   15       CROSS-EXAMINATION --

03:32PM   16       A.   RIGHT.

03:32PM   17       Q.   -- DID YOU READ THIS OUT LOUD?

03:32PM   18       A.   NO.

03:32PM   19       Q.   LET'S TAKE A LOOK AT IT NOW.

03:32PM   20            IT SAYS, "THIS INFORMATION IS BEING PROVIDED SOLELY FOR

03:32PM   21       THE BENEFIT OF WALGREENS AND SHALL BE USED BY WALGREENS FOR ITS

03:32PM   22       INTERNAL PURPOSES ONLY.    IN ADDITION, THE MATERIALS PROVIDED IN

03:32PM   23       NO WAY SIGNIFY AN ENDORSEMENT BY JOHNS HOPKINS MEDICINE TO ANY

03:32PM   24       PRODUCT OR SERVICE."

03:32PM   25            DID YOU GIVE MS. HOLMES PERMISSION TO SHARE THIS DOCUMENT



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                   MIQUELON REDIRECT BY MR. SCHENK                                   3512


03:32PM    1       WITH INVESTORS?

03:32PM    2       A.   I DIDN'T PERSONALLY, NO.

03:32PM    3       Q.   DO YOU KNOW WHETHER ANYBODY AT WALGREENS GAVE THERANOS OR

03:32PM    4       MS. HOLMES THAT PERMISSION?

03:32PM    5       A.   I DON'T KNOW.

03:32PM    6       Q.   MR. DOWNEY ASKED YOU SOME QUESTIONS ABOUT WHAT HE WAS

03:33PM    7       CALLING AN INTEGRATION CLAUSE.

03:33PM    8            DO YOU REMEMBER THAT?

03:33PM    9       A.   YES.

03:33PM   10       Q.   ALL OF THE AGREEMENTS OF THE PARTIES ARE CONTAINED IN THIS

03:33PM   11       DOCUMENT; IS THAT RIGHT?

03:33PM   12       A.   THAT'S MY UNDERSTANDING.

03:33PM   13       Q.   WAS YOUR UNDERSTANDING THAT WHEN YOU INTERACTED WITH

03:33PM   14       MS. HOLMES OR MR. BALWANI THAT EVEN IF THERE WAS AN INTEGRATION

03:33PM   15       CLAUSE, THEY STILL HAD TO BE TRUTHFUL TO YOU?

03:33PM   16       A.   THAT WOULD BE MY ASSUMPTION, YES.

03:33PM   17       Q.   IF WE COULD NOW BRING UP EXHIBIT 617, AND I THINK IT'S ON

03:33PM   18       PAGE 4.

03:33PM   19            UNDER PROGRAM OBJECTIVES (A), MR. DOWNEY ASKED YOU A

03:33PM   20       QUESTION ABOUT THIS.

03:33PM   21            DO YOU RECALL UNDER (A) I THINK HE ASKED YOU ABOUT THE

03:34PM   22       NATIONWIDE ROLLOUT.

03:34PM   23            DO YOU SEE IN THE THIRD LINE OF (A) THE WORD NATIONWIDE?

03:34PM   24       A.   YES.

03:34PM   25       Q.   AND IF YOU GO A LITTLE FURTHER UP IN (A), STILL WITHIN (A)



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03:34PM    1       IT SAYS, "MAKING TESTING LESS INVASIVE, FASTER, AND FAR MORE

03:34PM    2       ACCESSIBLE, EFFECTIVE, AND ACTIONABLE BY INTRODUCING A FAR MORE

03:34PM    3       COST-EFFECTIVE, BLOOD TESTING SERVICE AT WALGREENS STORES AND

03:34PM    4       WALGREENS'S OTHER CLINICAL OPERATIONS NATIONWIDE."

03:34PM    5            DID YOU UNDERSTAND THAT IN ORDER TO ACHIEVE THE NATIONWIDE

03:34PM    6       OBJECTIVE THAT TESTING WOULD HAVE TO BE LESS INVASIVE?

03:34PM    7       A.   YES.   I MEAN, MY UNDERSTANDING WAS, YOU KNOW, THE VAST

03:34PM    8       MAJORITY OF TESTS WOULD BE ON A FINGER PRICK.

03:34PM    9       Q.   LESS INVASIVE IS A REFERENCE TO?

03:34PM   10       A.   I THINK IT'S TALKING FINGERSTICK VERSUS A VENIPUNCTURE.

03:34PM   11       Q.   FINGERSTICK VERSUS A VEIN DRAW?

03:35PM   12       A.   THAT'S HOW I INTERPRET IT.

03:35PM   13                   MR. SCHENK:   IF WE CAN NOW SWITCH TO THE ELMO,

03:35PM   14       MS. KRATZMANN?

03:35PM   15                   THE CLERK:    YES, COUNSEL.

03:35PM   16                   MR. SCHENK:   THANK YOU.

03:35PM   17                   THE CLERK:    THIS IS ADMITTED?

03:35PM   18                   MR. SCHENK:   YES.

03:35PM   19       Q.   MR. MIQUELON, I'M SHOWING YOU EXHIBIT 7312.     THIS WAS

03:35PM   20       ADMITTED DURING CROSS-EXAMINATION, SOME SLIDES THAT MS. HOLMES

03:35PM   21       SENT TO YOU.

03:35PM   22            DO YOU RECALL THAT?

03:35PM   23       A.   I RECALL BEING SHOWN IT.

03:35PM   24       Q.   SO I'M SHOWING YOU THE FIRST PAGE OF THE EXHIBIT.     THIS

03:36PM   25       WAS THE EMAIL THAT MS. HOLMES SENT TO YOU IN AUGUST OF 2013



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03:36PM    1       ATTACHING THESE SLIDES.    THE EMAIL HAD THAT NUMBERED LIST?

03:36PM    2       A.   YES, I RECALL.

03:36PM    3       Q.   AND IN THE EXECUTIVE SUMMARY THE FIRST BULLET SAYS THAT

03:36PM    4       "THERANOS WILL OPEN ITS FIRST PATIENT SERVICE CENTER IN

03:36PM    5       DOWNTOWN PALO ALTO RIGHT AFTER LABOR DAY OF 2013."

03:36PM    6            LABOR DAY IS NOT IN NOVEMBER, RIGHT, IT'S IN SEPTEMBER?

03:36PM    7       A.   RIGHT.

03:36PM    8       Q.   AND IS IT YOUR UNDERSTANDING THAT THERANOS WAS GOING TO

03:36PM    9       OPEN ITS FIRST PATIENT SERVICE CENTER IN SEPTEMBER OF 2013?

03:36PM   10       A.   THAT SOUNDS ABOUT RIGHT.

03:36PM   11       Q.   AND THAT'S ALSO WHAT THE DOCUMENT SAYS; IS THAT RIGHT?

03:36PM   12       A.   YES.

03:36PM   13       Q.   MR. DOWNEY ASKED YOU SOME QUESTIONS ABOUT THE EARNINGS

03:36PM   14       CALL, AND IN THE EARNINGS CALL TRANSCRIPT YOU WERE VERY, VERY

03:36PM   15       EXCITED OR INTERESTED IN THE PROSPECTS OF THERANOS?

03:36PM   16       A.   YES.

03:36PM   17       Q.   WAS YOUR EXCITEMENT BASED ON WHAT YOU LEARNED ABOUT

03:37PM   18       THERANOS, BASED ON REPRESENTATIONS THAT MS. HOLMES AND

03:37PM   19       MR. BALWANI HAD MADE TO YOU?

03:37PM   20       A.   YES.

03:37PM   21       Q.   AND DID THAT INCLUDE THAT THE TECHNOLOGY WORKED?

03:37PM   22       A.   YES.

03:37PM   23       Q.   DID THAT INCLUDE THAT THE TESTS, THE BLOOD TESTS WERE DONE

03:37PM   24       VIA FINGERSTICK?

03:37PM   25       A.   AT LEAST THE VAST MAJORITY WOULD BE.



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03:37PM    1       Q.   AND IF THOSE THINGS HAD NOT BEEN TRUE, WOULD YOU HAVE BEEN

03:37PM    2       AS EXCITED?

03:37PM    3       A.   I WOULD HAVE SERIOUS CONCERNS THAT THEY WEREN'T TRUE.

03:37PM    4       Q.   YOU WOULD HAVE --

03:37PM    5       A.   I WOULD HAVE SERIOUS CONCERNS.

03:37PM    6       Q.   WHY?

03:37PM    7       A.   WELL, IT WOULD GO TO THE HEART OF A FEW THINGS.     IT WOULD

03:37PM    8       GO TO THE HEART OF THE VALUE PROPOSITION, CAN YOU DO IT BETTER,

03:37PM    9       FASTER, CHEAPER, OR ONLY ONE OR ONLY TWO OF THE ABOVE?

03:37PM   10            IT WOULD ALSO PROBABLY GO TO THE HEART OF JUST CREDIBILITY

03:37PM   11       IN TERMS OF WHAT HAD BEEN REPRESENTED TO ME.

03:37PM   12       Q.   AND WHOSE CREDIBILITY?       WHAT DO YOU MEAN?

03:37PM   13       A.   THERANOS'S CREDIBILITY.

03:37PM   14       Q.   AND WOULD THAT INCLUDE MS. HOLMES?

03:37PM   15       A.   ANYONE WHO WOULD MAKE THOSE ATTESTATIONS IT WOULD INCLUDE.

03:38PM   16       Q.   AND WHO MAKE THOSE REPRESENTATIONS TO YOU?

03:38PM   17       A.   OVER TIME SUNNY AND ELIZABETH GAVE US ATTESTATIONS THAT

03:38PM   18       THE TECHNOLOGY WORKED AND NEEDED TO BE SCALED AND SO THAT'S

03:38PM   19       WHAT I BELIEVED.

03:38PM   20       Q.   WHEN MS. HOLMES WOULD MAKE A REPRESENTATION TO YOU, WERE

03:38PM   21       THERE OCCASIONS WHEN MR. BALWANI WAS PRESENT?

03:38PM   22       A.   MOST OF THE TIME WHEN I WAS WITH WALGREENS MY

03:38PM   23       CONVERSATIONS WERE WITH BOTH OF THEM TYPICALLY.

03:38PM   24       Q.   AND THEY WERE BOTH PRESENT YOU SAY?

03:38PM   25       A.   TYPICALLY, YES.



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03:38PM    1       Q.   AND WAS THERE EVER AN OCCASION WHEN MS. HOLMES SAID

03:38PM    2       SOMETHING TO YOU AND MR. BALWANI SAID, WAIT, THAT'S NOT TRUE, I

03:38PM    3       NEED TO CORRECT THAT?

03:38PM    4            DO YOU RECALL THAT EVER HAPPENING?

03:38PM    5       A.   NOT THAT I RECALL.

03:38PM    6       Q.   HOW ABOUT THE REVERSE?       WAS THERE EVER A TIME THAT

03:38PM    7       MR. BALWANI SAID SOMETHING TO YOU AND MS. HOLMES SAID, WAIT, I

03:38PM    8       NEED TO CORRECT THAT, THAT'S NOT TRUE?

03:38PM    9       A.   I DON'T RECALL THAT.

03:38PM   10       Q.   MR. DOWNEY SHOWED YOU SEVERAL EMAILS THAT YOU SENT TO

03:38PM   11       MS. HOLMES IN THE 2015 AND 2016 TIMEFRAME, SUPPORTIVE EMAILS?

03:39PM   12       A.   RIGHT.

03:39PM   13       Q.   AND I THINK YOU SAID THAT YOU HAD POSITIVE FEELINGS ABOUT

03:39PM   14       MS. HOLMES AND ABOUT THERANOS AT THE TIME?

03:39PM   15       A.   CORRECT.   WHEN I LEFT THE COMPANY I STILL FELT VERY GOOD

03:39PM   16       ABOUT THE COMPANY, AND AGAIN, OBVIOUSLY THERE WAS -- LATER ON

03:39PM   17       THERE WERE, YOU KNOW, THERE'S BAD PRESS, ET CETERA, BUT

03:39PM   18       HONESTLY, I DON'T PAY MUCH ATTENTION TO IT, RIGHT?      SO MY LAST

03:39PM   19       EXPERIENCE WHEN I LEFT THE COMPANY WAS FAVORABLE.

03:39PM   20       Q.   AND YOU SAID THAT THERE WAS BAD PRESS, BUT YOU STILL HAD A

03:39PM   21       FAVORABLE IMPRESSION OF THERANOS?

03:39PM   22       A.   YEAH.

03:39PM   23       Q.   AND WHERE DID YOU GET THAT FAVORABLE IMPRESSION FROM?

03:39PM   24       A.   I THINK I DIDN'T WANT TO BELIEVE THERE WERE THINGS THAT I

03:39PM   25       BELIEVED WEREN'T TRUE IN TERMS OF TECHNOLOGY BEING ABLE TO WORK



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03:39PM    1       THEY WAY THAT IT WAS REPRESENTED TO US.

03:39PM    2       Q.   YOU STILL WANTED TO BELIEVE THAT THE TECHNOLOGY WORKED?

03:39PM    3       A.   YES.    I MEAN, I -- YES.

03:39PM    4       Q.   WAS THERE A POINT IN TIME AFTER -- I THINK THE MOST RECENT

03:39PM    5       EMAIL THAT MR. DOWNEY SHOWED YOU WAS IN AUGUST OF 2016?

03:39PM    6       A.   YEAH.

03:39PM    7       Q.   AND WAS THERE A PERIOD OF TIME AFTER THAT WHERE YOUR

03:40PM    8       OPINION CHANGED AND YOU NO LONGER HAD A FAVORABLE IMPRESSION?

03:40PM    9       A.   I WOULD JUST SAY THIS, I WOULD SAY THAT I DON'T HAVE ALL

03:40PM   10       OF THE FACTS.   I ONLY KNOW WHAT WAS REPRESENTED TO ME SO I CAN

03:40PM   11       ONLY REALLY SPEAK TO WHAT I WAS TOLD.

03:40PM   12            THAT'S ALL I KNOW REALLY.

03:40PM   13       Q.   AND IN THE 2015 TO 2016 TIMEFRAME WHEN YOU WERE SENDING

03:40PM   14       THESE EMAILS, THESE SUPPORTIVE EMAILS TO MS. HOLMES --

03:40PM   15       A.   YEAH.

03:40PM   16       Q.   -- DID YOU KNOW WHAT MS. HOLMES HAD TOLD HER INVESTORS?

03:40PM   17       A.   NO.

03:40PM   18       Q.   WHEN YOU WERE SENDING THESE SUPPORTIVE EMAILS TO

03:40PM   19       MS. HOLMES, WERE YOU DOING THAT BASED ON YOUR INTERACTIONS WITH

03:40PM   20       HER, THAT'S WHERE YOU --

03:40PM   21       A.   YES.

03:40PM   22       Q.   -- GOT THE INFORMATION?

03:40PM   23       A.   YES.

03:40PM   24       Q.   AND WAS THERE A TIME WHILE YOU STILL WORKED AT WALGREENS

03:40PM   25       BUT TOWARDS THE END WHEN YOU HAD A PHONE CALL WITH MS. HOLMES?



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03:40PM    1       A.   MAYBE.   PROBABLY.   WE HAD, YOU KNOW, MULTIPLE PHONE CALLS

03:41PM    2       OVER THE COURSE OF OUR FRIENDSHIP.

03:41PM    3       Q.   AND WAS THERE ONES WHEN YOU DISCUSSED VENOUS DRAWS IN

03:41PM    4       WALGREENS STORES?

03:41PM    5       A.   THERE WAS.

03:41PM    6       Q.   AND WHAT DO YOU RECALL ABOUT THAT?

03:41PM    7       A.   WHAT I RECALL IS THAT IN THE EARLY PILOTS WE, I THINK,

03:41PM    8       INITIALLY THOUGHT 90 PERCENT OF A TEST WOULD BE DONE VIA A

03:41PM    9       FINGERSTICK, BUT IT ENDED UP BEING VERY LOW FOR A WHILE, ALMOST

03:41PM   10       CLOSE TO ZERO, AND JUST HAVING A CONVERSATION TO UNDERSTAND WHY

03:41PM   11       VENOUS PUNCTURE WAS THE PREDOMINANT METHOD VERSUS FINGERSTICKS.

03:41PM   12       Q.   AND DID MS. HOLMES GIVE YOU SOME REASONS?

03:41PM   13       A.   SHE DID.   SHE EXPRESSED THERE WAS A COUPLE REASONS.       ONE

03:41PM   14       IS THE DIFFICULTY OF GETTING CLINICIANS TO DO THE KIND OF

03:41PM   15       MASSAGE, THE FINGER MASSAGE PROPERLY TO GET THE PROPER BLOOD

03:41PM   16       SAMPLE.

03:41PM   17            SHE ALSO EXPRESSED THAT THERE WAS A POSSIBILITY THAT SOME

03:42PM   18       OF THE MORE OBSCURED TESTS WERE BEING ORDERED AT A MAGNITUDE

03:42PM   19       FAR HIGHER THAN THEY SHOULD HAVE BEEN SO PERHAPS CLINICIANS OR

03:42PM   20       LAB PREPARERS MIGHT BE TRYING TO TEST THE WATERS TO SEE WHAT

03:42PM   21       WAS POSSIBLE.   SO WE TALKED ABOUT THAT A BIT.      AND LIKE THE

03:42PM   22       TEAM HAD TALKED TO ME ABOUT IT AS WELL.      SHE GAVE ME SOME

03:42PM   23       PERSPECTIVE ON WHAT WE MIGHT LOOK TO IN TERMS OF HOW THAT MIGHT

03:42PM   24       RAMP OVER TIME.

03:42PM   25       Q.   SO WHEN YOU WERE ASKING MS. HOLMES ABOUT THE AMOUNT OF



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03:42PM    1       VEIN DRAWS THAT WERE HAPPENING, DID SHE TELL YOU ANYTHING ABOUT

03:42PM    2       TECHNOLOGICAL LIMITATIONS OF THE THERANOS DEVICE?

03:42PM    3       A.   NOT THAT I RECALL.

03:42PM    4       Q.   AND WAS IT THAT KIND OF PHONE CALL THAT YOU WERE THINKING

03:42PM    5       ABOUT IN 2015 AND 2016 WHEN YOU WERE SENDING THESE SUPPORTIVE

03:42PM    6       EMAILS TO MS. HOLMES?       WERE YOU THINKING THAT THE THINGS THAT

03:42PM    7       SHE TOLD YOU ON THE PHONE CALL WE JUST DISCUSSED WERE TRUE?

03:42PM    8       A.   YES.

03:42PM    9       Q.   THANK YOU.

03:42PM   10            NO FURTHER QUESTIONS, YOUR HONOR.

03:42PM   11                    MR. DOWNEY:    NOTHING FROM US, YOUR HONOR.

03:42PM   12                    THE COURT:    MAY THIS WITNESS BE EXCUSED?

03:42PM   13                    MR. SCHENK:    YES, YOUR HONOR.

03:43PM   14                    THE COURT:    MR. DOWNEY?

03:43PM   15                    MR. DOWNEY:    YES.

03:43PM   16                    THE COURT:    THANK YOU, SIR.   YOU'RE EXCUSED.   YOU

03:43PM   17       CAN STAND DOWN.

03:43PM   18                    THE WITNESS:    THANK YOU, YOUR HONOR.

03:43PM   19                    THE COURT:    THANK YOU VERY MUCH.     JUST LEAVE ALL OF

03:43PM   20       THOSE BINDERS THERE.       THANK YOU.

03:43PM   21            DOES THE GOVERNMENT HAVE A WITNESS YOU WISH TO CALL THIS

03:43PM   22       AFTERNOON?

03:43PM   23                    MR. BOSTIC:    WE HAVE A WITNESS READY, YOUR HONOR,

03:43PM   24       AND WE CAN MOVE FORWARD TODAY.      WE WON'T FINISH THE WITNESS

03:43PM   25       BEFORE 4:00 P.M., OR WE CAN START WITH THIS WITNESS TOMORROW.



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03:43PM    1                  THE COURT:    WHY DON'T WE AT LEAST INTRODUCE THE

03:43PM    2       WITNESS TO THE PROCEEDINGS.

03:43PM    3            MS. KRATZMANN NEEDS A COUPLE OF MINUTES, BUT LET'S DO

03:43PM    4       THAT.

03:43PM    5                  MR. BOSTIC:    YES, YOUR HONOR.   THE GOVERNMENT CALLS

03:43PM    6       ROBERT AMENTA.

03:44PM    7            (PAUSE IN PROCEEDINGS.)

03:44PM    8                  THE COURT:    THANK YOU, MR. WADE.      THANK YOU.

03:44PM    9                  THE CLERK:    THANK YOU.

03:44PM   10                  THE COURT:    SIR, IF YOU COULD JUST STAND THERE FOR

03:44PM   11       JUST A MOMENT.   AND IF YOU COULD FACE OUR COURTROOM DEPUTY

03:44PM   12       WHILE YOU RAISE YOUR RIGHT HAND, SHE HAS A QUESTION FOR YOU.

03:44PM   13            (GOVERNMENT'S WITNESS, ROBERTO AMENTA, WAS SWORN.)

03:44PM   14                  THE WITNESS:   YES.

03:44PM   15                  THE COURT:    LET ME INVITE YOU TO HAVE A SEAT HERE,

03:44PM   16       SIR, AND MAKE YOURSELF COMFORTABLE.

03:44PM   17                  THE WITNESS:   THANK YOU.

03:44PM   18                  THE COURT:    YOU'RE WELCOME.

03:44PM   19            FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS YOU NEED.

03:44PM   20       I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

03:44PM   21            WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

03:45PM   22       AND THEN SPELL IT, PLEASE.

03:45PM   23                  THE WITNESS:   SURE.   IT'S ROBERTO.     LAST NAME IS

03:45PM   24       AMENTA, A-M-E-N-T-A.

03:45PM   25                  THE COURT:    THANK YOU.   MR. BOSTIC.



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                   AMENTA DIRECT BY MR. BOSTIC                                       3521


03:45PM    1                    MR. BOSTIC:    THANK YOU, YOUR HONOR.

03:45PM    2                                  DIRECT EXAMINATION

03:45PM    3       BY MR. BOSTIC:

03:45PM    4       Q.   GOOD AFTERNOON, MR. AMENTA.

03:45PM    5       A.   GOOD AFTERNOON.

03:45PM    6       Q.   MR. AMENTA, IF YOU'RE FULLY VACCINATED AND COMFORTABLE

03:45PM    7       DOING SO, YOU'RE WELCOME TO TESTIFY WITHOUT A MASK.

03:45PM    8       A.   I AM.

03:45PM    9       Q.   CAN YOU START BY TELLING US WHERE YOU'RE CURRENTLY

03:45PM   10       EMPLOYED, PLEASE?

03:45PM   11       A.   I'M EMPLOYED AT THE FEDERAL RESERVE BANK OF NEW YORK.

03:45PM   12       Q.   AND WHAT IS YOUR CURRENT JOB TITLE AT THE FEDERAL RESERVE

03:45PM   13       BANK OF NEW YORK?

03:45PM   14       A.   I'M THE DEPUTY CHIEF INVESTIGATOR.

03:45PM   15       Q.   I WANT TO CIRCLE BACK TO YOUR JOB RESPONSIBILITIES THERE,

03:45PM   16       BUT FIRST CAN YOU SUMMARIZE FOR US AT A HIGH LEVEL YOUR

03:45PM   17       EDUCATIONAL BACKGROUND AND YOUR WORK HISTORY BEFORE YOU JOINED

03:45PM   18       THE FEDERAL RESERVE BANK?

03:45PM   19       A.   SURE.    I'M A GRADUATE OF ST. FRANCIS COLLEGE IN BROOKLYN

03:45PM   20       WITH A BACHELOR'S OF SCIENCE.

03:45PM   21            AND MY EMPLOYMENT PRE THE FEDERAL RESERVE WAS AT A LAW

03:46PM   22       FIRM CALLED CULLEN AND DYKMAN.

03:46PM   23       Q.   AND WHAT WAS YOUR POSITION AT THAT LAW FIRM?

03:46PM   24       A.   PARALEGAL.

03:46PM   25       Q.   WHEN DID YOU START WORKING AT THE FEDERAL RESERVE BANK OF



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                   AMENTA DIRECT BY MR. BOSTIC                                       3522


03:46PM    1       NEW YORK?

03:46PM    2       A.   IN NOVEMBER OF 1993.

03:46PM    3       Q.   AND HAVE YOU BEEN EMPLOYED THERE EVER SINCE?

03:46PM    4       A.   I HAVE.

03:46PM    5       Q.   AND YOU SAID YOUR CURRENT JOB TITLE?     ONE MORE TIME.

03:46PM    6       A.   DEPUTY CHIEF INVESTIGATOR.

03:46PM    7       Q.   AND HAS THAT BEEN YOUR JOB TITLE THERE THE ENTIRE TIME OR

03:46PM    8       HAS IT CHANGED?

03:46PM    9       A.   NO.    SO IN NOVEMBER OF 1993 I STARTED AS A PARALEGAL, ROSE

03:46PM   10       THROUGH THE RANKS, BECAME AN INVESTIGATOR IN 2001, ROSE THROUGH

03:46PM   11       THE INVESTIGATOR RANKS AND INTO 2019 WAS NAMED DEPUTY CHIEF

03:46PM   12       INVESTIGATOR.

03:46PM   13       Q.   AND WHAT IS THE FEDERAL RESERVE BANK?

03:46PM   14       A.   SURE.   SO THE FEDERAL RESERVE BANK IS REGIONAL BANKS, SO

03:46PM   15       THERE ARE 12 FEDERAL RESERVE BANKS, WHICH NEW YORK IS ONE OF

03:46PM   16       THEM, ALONG WITH THE BOARD OF GOVERNORS MAKE UP THE FEDERAL

03:47PM   17       RESERVE SYSTEM WHICH IS THE CENTRAL BANK FOR THE UNITED STATES.

03:47PM   18       Q.   AND HOW DOES THE FEDERAL RESERVE BANK COMPARE TO BANKS

03:47PM   19       THAT CITIZENS LIKE YOU OR I MIGHT HAVE ACCOUNTS AT?

03:47PM   20       A.   SURE.   SO I THINK MOST FOLKS ASSOCIATE THE FEDERAL RESERVE

03:47PM   21       WITH MONETARY POLICY, SO FORMULATING AND IMPLEMENTING MONETARY

03:47PM   22       POLICY, BUT IT'S ALSO A BANK SUPERVISOR FOR FINANCIAL

03:47PM   23       INSTITUTIONS, AND IT ALSO PROVIDES BANKING SERVICES TO THE

03:47PM   24       FINANCIAL INDUSTRY, TO FINANCIAL INSTITUTIONS.

03:47PM   25            SO IT WON'T HAVE ACCOUNTS FOR INDIVIDUALS.     IT HAS



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                   AMENTA DIRECT BY MR. BOSTIC                                       3523


03:47PM    1       ACCOUNTS FOR BANKS.

03:47PM    2       Q.   SO IT'S A BANK FOR BANKS?

03:47PM    3       A.   THAT'S RIGHT.

03:47PM    4       Q.   HOW ABOUT YOUR SPECIFIC JOB RESPONSIBILITIES THERE, CAN

03:47PM    5       YOU SUMMARIZE THOSE FOR US?

03:47PM    6       A.   SURE.   SO THE INVESTIGATIONS GROUP IS WITHIN A GROUP IN

03:47PM    7       LEGAL CALLED THE FINANCIAL INTELLIGENCE AND INVESTIGATIONS

03:47PM    8       UNIT.   YOU KNOW, THE PRIMARY RESPONSIBILITY IS TO MAKE SURE

03:47PM    9       THAT WE WORK ON CASES WITH FINANCIAL INSTITUTION ISSUES AND

03:48PM   10       BANKER ISSUES, SO INSTITUTION AFFILIATED PARTIES AT FINANCIAL

03:48PM   11       INSTITUTIONS.

03:48PM   12            WE'RE ALSO THE FACE OF THE FED WITH REGARDS TO FRAUD THAT

03:48PM   13       MENTION THE FEDERAL RESERVE NAME AND THAT OF ITS EMPLOYEES, AND

03:48PM   14       WE'RE ALSO THE GROUP RESPONSIBLE FOR SUBPOENA COMPLIANCE WITH

03:48PM   15       REGARDS TO FEDWIRE FUNDS TRANSFER.

03:48PM   16       Q.   AND YOU MENTIONED FEDWIRE FUNDS TRANSFER.

03:48PM   17            WHAT IS FEDWIRE?

03:48PM   18       A.   FEDWIRE IS A FINANCIAL PRODUCT THAT THE FEDERAL RESERVE

03:48PM   19       PUTS OUT TO THE BANKING INDUSTRY.

03:48PM   20       Q.   AND WHAT IS IT USED FOR AND HOW DOES IT WORK?

03:48PM   21       A.   SURE.   SO IT'S AN ELECTRONIC COMMUNICATION IN WHICH THE

03:48PM   22       FINANCIAL INSTITUTIONS THAT ARE CUSTOMERS AT THE FED CAN SEND

03:48PM   23       PAYMENTS FOR THEMSELVES OR FOR THEIR CUSTOMERS TO MAKE A

03:48PM   24       PAYMENT.

03:48PM   25       Q.   SO IT'S A WAY OF MOVING MONEY FROM ONE ACCOUNT TO ANOTHER?



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03:48PM    1       A.   IT'S AN ELECTRONIC WAY OF MOVING MONEY, CORRECT.

03:48PM    2       Q.   IF AN INDIVIDUAL OR A COMPANY WANT TO ENTER INTO A

03:48PM    3       TRANSACTION AND THEY RECEIVE, LET'S SAY, WIRE INSTRUCTIONS TO

03:49PM    4       SEND MONEY SOMEWHERE, IS FEDWIRE A VEHICLE OR A TOOL TO

03:49PM    5       ACCOMPLISH THAT TRANSFER?

03:49PM    6       A.   THROUGH THEIR BANKS.     SO, YES, THROUGH THEIR BANKS.

03:49PM    7       Q.   IS FEDWIRE COMMONLY USED -- OR LET ME ASK, DO YOU KNOW

03:49PM    8       WHAT THE APPROXIMATE DAILY VOLUME IS FOR FEDWIRE TRANSFERS?

03:49PM    9       A.   I DO.   IT'S ABOUT 500- TO 600,000 TRANSACTIONS A DAY AND

03:49PM   10       THE VOLUME IS $3 TRILLION A DAY.

03:49PM   11       Q.   CAN YOU WALK US THROUGH THE STEPS IN A FEDWIRE TRANSFER?

03:49PM   12       AND LET'S TALK ABOUT THE TIME PERIOD IN 2013 AND 2014.

03:49PM   13            ARE YOU AWARE OF HOW FEDWIRE WORKED DURING THAT TIME

03:49PM   14       PERIOD?

03:49PM   15       A.   I AM.   SO A FINANCIAL INSTITUTION WILL SEND A

03:49PM   16       COMMUNICATION TO THE FEDERAL RESERVE AND IN THAT TIME PERIOD

03:49PM   17       THE COMMUNICATION WOULD HAVE BEEN RECEIVED BY THE DALLAS FED IN

03:49PM   18       THE STATE OF TEXAS.

03:49PM   19            THE DALLAS FED WILL THEN SEND THAT COMMUNICATION TO THE

03:50PM   20       FEDERAL RESERVE BANK OF NEW YORK'S NEW JERSEY PROCESSING

03:50PM   21       FACILITY.

03:50PM   22            AND THEN THAT FACILITY WILL THEN DEBIT AND CREDIT AND SEND

03:50PM   23       THE ADVICE OVER TO THE FINANCIAL INSTITUTIONS.

03:50PM   24       Q.   YOU'RE DESCRIBING COMMUNICATIONS BETWEEN BANKS AND FEDWIRE

03:50PM   25       FACILITIES ON THE ONE HAND?



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                   AMENTA DIRECT BY MR. BOSTIC                                       3525


03:50PM    1       A.   CORRECT.    SO THE FEDERAL RESERVE COMMUNICATES IN THAT TIME

03:50PM    2       PERIOD BETWEEN DALLAS FED AND THE FEDERAL RESERVE BANK IN

03:50PM    3       NEW YORK, BUT THEIR FACILITY IS IN TEXAS AND NEW JERSEY.

03:50PM    4            THE ORIGINATING BANK WILL SEND THE INSTRUCTIONS TO THE

03:50PM    5       FEDERAL RESERVE BANK OF DALLAS IN TEXAS FIRST.

03:50PM    6       Q.   AND THEN THE COMMUNICATION BETWEEN THE TEXAS FACILITY AND

03:50PM    7       THE NEW JERSEY FACILITY, WHAT IS THE NATURE OF THAT

03:50PM    8       COMMUNICATION?    ARE WE TALKING ABOUT A STAFF MEMBER PICKING UP

03:50PM    9       A PHONE AND CALLING THE OTHER FACILITY?

03:50PM   10       A.   NO, NO.    SO IT'S A COMPUTER COMMUNICATION BETWEEN SERVERS.

03:51PM   11       Q.   AND IS THAT SOMETHING THAT HAPPENS AUTOMATICALLY AS PART

03:51PM   12       OF EVERY TRANSFER DURING THAT TIME PERIOD?

03:51PM   13       A.   YEAH.   SO ANY TRANSFER -- THE DATE IS ANY TRANSFER AFTER

03:51PM   14       APRIL 27 OF '09 GOES THROUGH TWO PROCESSING FACILITIES.

03:51PM   15       Q.   DURING 2013 AND 2014 WOULD IT HAVE BEEN POSSIBLE FOR A

03:51PM   16       FEDWIRE TRANSFER TO OCCUR WITHOUT THAT ELECTRONIC COMMUNICATION

03:51PM   17       HAPPENING ACROSS STATE LINES?

03:51PM   18       A.   NO.

03:51PM   19       Q.   HOW ABOUT -- WELL, LET ME START.

03:51PM   20            YOU MENTIONED THAT THE FIRST COMMUNICATION WOULD BE TO THE

03:51PM   21       TEXAS FEDWIRE FACILITY; IS THAT CORRECT?

03:51PM   22       A.   IN THAT TIME PERIOD, YES.

03:51PM   23       Q.   WHAT IF A WIRE TRANSFER IS BEING SENT, LET'S SAY, FROM A

03:51PM   24       BANK IN TEXAS, TO ANOTHER BANK IN TEXAS, WOULD THAT PROCESS

03:51PM   25       GOING THROUGH FEDWIRE STILL REQUIRE AN INTERSTATE WIRE



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03:51PM    1       COMMUNICATION?

03:51PM    2       A.   YES.   SO IT WILL ENTER THROUGH THE DALLAS FED TEXAS, AND

03:51PM    3       THEN IT WILL GO THROUGH THE FEDERAL BANK OF NEW YORK'S NEW

03:52PM    4       JERSEY FACILITY.

03:52PM    5       Q.   YOU MENTIONED THE VOLUME OF WIRE TRANSFERS HANDLED BY THE

03:52PM    6       FEDWIRE SYSTEM; CORRECT?

03:52PM    7       A.   YES.

03:52PM    8       Q.   ARE RECORDS OF THOSE TRANSFERS CREATED AND MAINTAINED BY

03:52PM    9       FEDWIRE?

03:52PM   10       A.   THEY ARE.

03:52PM   11       Q.   CAN YOU DESCRIBE HOW THOSE RECORDS ARE CREATED?

03:52PM   12       A.   THEY ARE CREATED CONTEMPORANEOUSLY AS A BUSINESS RECORD AT

03:52PM   13       THE FEDERAL RESERVE BANK OF NEW YORK.

03:52PM   14       Q.   ARE THEY CREATED MANUALLY OR AUTOMATICALLY?

03:52PM   15       A.   AUTOMATICALLY.

03:52PM   16       Q.   AND HOW ABOUT PRESERVATION, ARE THOSE RECORDS OF THE FUNDS

03:52PM   17       TRANSFERRED MAINTAINED WITHIN FEDWIRE?

03:52PM   18       A.   THEY ARE.

03:52PM   19       Q.   AND IS FEDWIRE IN CONTROL OF THAT RECORD SYSTEM?

03:52PM   20       A.   YES.

03:52PM   21       Q.   AND FOR HOW LONG ARE THOSE RECORDS RETAINED?

03:52PM   22       A.   IT'S FOR SEVEN YEARS.

03:52PM   23       Q.   DID YOU -- ACTUALLY LET ME ASK, DID FEDWIRE RECEIVE A

03:53PM   24       SUBPOENA FOR RECORDS IN CONNECTION WITH THIS CASE?

03:53PM   25       A.   IT DID.



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03:53PM    1                   MR. BOSTIC:    MAY I APPROACH, YOUR HONOR?

03:53PM    2                   THE COURT:    YES.

03:53PM    3                   MR. BOSTIC:    (HANDING.)

03:53PM    4                   THE COURT:    DO YOU HAVE THIS?

03:53PM    5                   MR. BOSTIC:    THE DEFENSE HAS THIS, YOUR HONOR.

03:53PM    6                   MS. TREFZ:    YES.

03:53PM    7                   MR. BOSTIC:    (HANDING.)

03:53PM    8                   THE WITNESS:   THANK YOU.

03:53PM    9       BY MR. BOSTIC:

03:53PM   10       Q.   MR. AMENTA, DO YOU HAVE IN FRONT OF YOU A DOCUMENT MARKED

03:53PM   11       EXHIBIT 4845 AT THE BOTTOM?

03:53PM   12       A.   YES.

03:53PM   13       Q.   HAVE YOU REVIEWED THIS RECORD BEFORE?

03:53PM   14       A.   I HAVE.

03:53PM   15       Q.   AND SPECIFICALLY ARE YOU LOOKING AT PAGES 18 THROUGH 23 OF

03:53PM   16       EXHIBIT 4845?

03:53PM   17       A.   CORRECT.

03:53PM   18       Q.   DO YOU RECOGNIZE THIS DOCUMENT AS PART OF THE RECORDS THAT

03:53PM   19       FEDWIRE PRODUCED IN RESPONSE TO THAT SUBPOENA?

03:53PM   20       A.   YES.

03:53PM   21                   MR. BOSTIC:    YOUR HONOR, THE GOVERNMENT MOVES TO

03:53PM   22       ADMIT EXHIBIT 4845.

03:53PM   23                   MS. TREFZ:    NO OBJECTION.

03:53PM   24                   THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:53PM   25            (GOVERNMENT'S EXHIBIT 4845 WAS RECEIVED IN EVIDENCE.)



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                   AMENTA DIRECT BY MR. BOSTIC                                       3528


03:54PM    1       BY MR. BOSTIC:

03:54PM    2       Q.   MR. AMENTA, ARE YOU LOOKING NOW ON THE SCREEN AT

03:54PM    3       EXHIBIT 4845?

03:54PM    4       A.   YES.

03:54PM    5       Q.   CAN YOU DESCRIBE FOR US WHAT EXHIBIT 4845 CONTAINS, WHAT

03:54PM    6       IT REFLECTS?

03:54PM    7       A.   SO IT'S DEFINITELY A FEDWIRE BECAUSE IT HAS IMADS AND

03:54PM    8       OMADS, I-M-A-D AND O-M-A-D, INPUT MESSAGE ACCOUNTABILITY DATA

03:54PM    9       AND OMADS.

03:54PM   10                    JUROR:   YOUR HONOR --

03:54PM   11                    THE WITNESS:    I AM SORRY.   IS THAT BETTER?

03:54PM   12                    THE COURT:    OH, THE SCREENS ARE OUT AGAIN.    SORRY.

03:54PM   13            IS IT JUST ONE SCREEN?        IT'S THAT CORNER.

03:54PM   14                    THE CLERK:    I'M GOING TO SHUT DOWN AND START OVER

03:54PM   15       AGAIN.

03:54PM   16            (PAUSE IN PROCEEDINGS.)

03:55PM   17                    THE CLERK:    NOPE?   NOW NONE OF THEM?

03:55PM   18            (LAUGHTER.)

03:56PM   19                    THE COURT:    NOT IN THE CORNER.

03:56PM   20            ARE THE JUROR SCREENS ON?

03:56PM   21            (PAUSE IN PROCEEDINGS.)

03:56PM   22                    THE COURT:    WELL, MAYBE THIS IS A GOOD TIME TO TAKE

03:56PM   23       OUR EVENING BREAK AND ALLOW US TO POUR SOME WATER IN THESE

03:56PM   24       DEVICES.

03:56PM   25            (LAUGHTER.)



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03:56PM    1                   THE COURT:    SORRY.   WE'RE GOING TO INTERRUPT YOUR

03:56PM    2       TESTIMONY THIS AFTERNOON, SIR.

03:56PM    3              LET'S TAKE OUR MORNING BREAK NOW, AND WE'LL RESUME

03:56PM    4       TOMORROW AT 9:00 A.M., 9:00 A.M.

03:56PM    5              LADIES AND GENTLEMEN, LET ME ONCE AGAIN GIVE YOU THE

03:56PM    6       ADMONISHMENT.   PLEASE DO NOT DO ANY INVESTIGATION ABOUT

03:56PM    7       ANYTHING INVOLVING THIS CASE, DO NOT READ ANYTHING, DO NOT

03:56PM    8       LISTEN TO OR WATCH ANYTHING THAT DEALS WITH THIS CASE.

03:56PM    9              IF THAT DOES HAPPEN, I'M GOING TO ASK YOU TO PLEASE TURN

03:56PM   10       AWAY, CLOSE THE BOOK, WHATEVER YOU ARE READING, AND I'LL ASK

03:57PM   11       YOU TOMORROW MORNING WHETHER ANY OF THOSE THINGS HAVE HAPPENED.

03:57PM   12              THANK YOU FOR YOUR CONTINUED VIGILANCE, AND I APPRECIATE

03:57PM   13       THAT.

03:57PM   14              THANK YOU FOR YOUR AVAILABILITY TOMORROW.      WE'LL SEE YOU

03:57PM   15       TOMORROW MORNING AT 9:00 A.M., 9:00 A.M.        THANK YOU.

03:57PM   16              YOU CAN STAND DOWN, SIR.    THANK YOU.

03:57PM   17              (JURY OUT AT 3:57 P.M.)

03:57PM   18                   THE COURT:    PLEASE BE SEATED.     THANK YOU.

03:57PM   19              THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT FOR THE

03:57PM   20       DAY.    THEY'LL RESUME TOMORROW AT 9:00 A.M., AND THE WITNESS HAS

03:58PM   21       NOW LEFT THE COURTROOM.

03:58PM   22              ALL COUNSEL AND MS. HOLMES IS PRESENT.

03:58PM   23              MR. BOSTIC, DO YOU THINK THAT THIS WITNESS IS -- THE

03:58PM   24       TOTALITY OF THE DIRECT IS WHAT LENGTH?        I'M SORRY.

03:58PM   25                   MR. BOSTIC:   I WOULD SAY APPROXIMATELY ANOTHER



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03:58PM    1       15 MINUTES OR SO.

03:58PM    2                  THE COURT:    OKAY.

03:58PM    3                  MS. TREFZ:    I GUESS IT'S ABOUT TWO MINUTES.

03:58PM    4                  THE COURT:    OKAY.    THANK YOU.

03:58PM    5            THEN WE'LL HAVE THEN THE FULL DAY FOR ANOTHER WITNESS THAT

03:58PM    6       WILL BE READY TO PROCEED, MR. SCHENK?

03:58PM    7                  MR. SCHENK:    YES, YES, YOUR HONOR.

03:58PM    8                  THE COURT:    GREAT.   OKAY.

03:58PM    9            AND DO WE ANTICIPATE THAT WITNESS WILL TAKE THE BALANCE OF

03:58PM   10       THE DAY?

03:58PM   11                  MR. SCHENK:    CAN I HAVE JUST ONE MOMENT?

03:58PM   12                  THE COURT:    OF COURSE.

03:58PM   13            (DISCUSSION AMONGST COUNSEL OFF THE RECORD.)

03:59PM   14            (PAUSE IN PROCEEDINGS.)

03:59PM   15                  MR. SCHENK:    YOUR HONOR, OUR NEXT WITNESS AFTER

03:59PM   16       FEDWIRE IS MR. JHAVERI WHO ALSO WORKED AT WALGREENS.       I EXPECT

03:59PM   17       THAT THE DIRECT WILL BE ABOUT 90 MINUTES OR SO.

03:59PM   18            MR. DOWNEY AND I WERE TALKING ABOUT WHETHER THAT WOULD

03:59PM   19       REQUIRE ANOTHER GOVERNMENT WITNESS FOR THE BALANCE OF THE DAY

03:59PM   20       AFTER CROSS-EXAMINATION, AND IT SOUNDS LIKE IT PROBABLY WILL.

03:59PM   21                  MR. DOWNEY:    I THINK SO, YOUR HONOR.   I THINK JUST

03:59PM   22       TO BE CERTAIN AND TAKE ADVANTAGE OF THE FACT THAT WE'RE HERE, I

03:59PM   23       DON'T KNOW -- I THINK THAT WOULD ANTICIPATE SORT OF A

03:59PM   24       THREE-HOUR CROSS WHICH WOULD TAKE THE REST OF THE DAY OR MAYBE,

03:59PM   25       MORE, WHICH I DON'T THINK WILL BE NECESSARY.



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03:59PM    1                  THE COURT:    SO YOU THINK WE'LL HAVE -- WE'LL FINISH

03:59PM    2       WITH WITNESS JHAVERI TOMORROW AND THEN HAVE A LITTLE BIT OF

04:00PM    3       TIME LEFT AT THE END OF THE DAY?

04:00PM    4                  MR. SCHENK:    YES.

04:00PM    5                  THE COURT:    AND THEN WILL YOU HAVE A WITNESS ON CALL

04:00PM    6       IN THE ON-DECK CIRCLE?

04:00PM    7                  MR. SCHENK:    I WILL SPEND THIS EVENING FINDING THAT

04:00PM    8       PERSON.   WE WILL MAKE SURE THAT -- WE WILL AT LEAST DO WHATEVER

04:00PM    9       WE CAN TO IDENTIFY THAT PERSON.

04:00PM   10                  THE COURT:    OKAY.

04:00PM   11                  MR. SCHENK:    AND WE'LL LET THE COURT KNOW IF WE WERE

04:00PM   12       UNSUCCESSFUL AND MR. JHAVERI WILL BE THE DAY.

04:00PM   13                  THE COURT:    OKAY.   AND THEN WE'LL HAVE FRIDAY

04:00PM   14       MIDMORNING UNTIL 1:00 O'CLOCK.

04:00PM   15                  MR. SCHENK:    YES.

04:00PM   16                  THE COURT:    AND YOU'LL EXPLAIN TO MR. BOSTIC THE

04:00PM   17       ON-DECK CIRCLE CONCEPT.

04:00PM   18            (LAUGHTER.)

04:00PM   19                  MR. DOWNEY:    LET ME KNOW.

04:00PM   20                  THE COURT:    I DO --

04:00PM   21                  MR. DOWNEY:    YOUR HONOR, I JUST WANTED TO REMIND YOU

04:00PM   22       OF THE WHAT I'LL TERM "THE KRATZMANN ADMONITION," I DON'T THINK

04:00PM   23       THAT WAS DELIVERED YET.    SO IT MIGHT BE TOMORROW.

04:00PM   24                  THE COURT:    AND TO THAT POINT, LET ME SAY I'D LIKE

04:00PM   25       TO SEE ON THE ISSUE THAT WE TALKED ABOUT THIS MORNING AND THE



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04:00PM    1       QUESTIONNAIRE, MS. KRATZMANN IS GOING TO INVITE COUNSEL BACK IN

04:01PM    2       WITH ME ON THAT ISSUE, TOO, AND THAT AGAIN WILL BE A SEALED

04:01PM    3       TRANSCRIPT.   IT'S A CONTINUATION OF OUR DISCUSSION.

04:01PM    4                  MR. DOWNEY:    OKAY.   WILL THAT BE AT 9:00 TOMORROW?

04:01PM    5                  THE COURT:    IT WILL BE IN FIVE MINUTES.

04:01PM    6                  MR. DOWNEY:    FIVE MINUTES.

04:01PM    7                  MR. SCHENK:    ONE LAST THING.      I THINK WE HAVE A

04:01PM    8       COURT APPEARANCE TOMORROW AFTERNOON AT 1:30 BEFORE

04:01PM    9       MAGISTRATE COUSINS.

04:01PM   10                  THE COURT:    OH.   SO WE SHOULD PROBABLY FINISH, TO

04:01PM   11       GIVE YOU TIME FOR THAT?    WHAT DO YOU SUGGEST?

04:01PM   12                  MR. CLINE:    YOUR HONOR, I'M HANDLING THAT FOR

04:01PM   13       MS. HOLMES.

04:01PM   14                  THE COURT:    OKAY.    MR. CLINE.   THANK YOU.

04:01PM   15                  MR. CLINE:    I'M HAPPY TO STEP OUT AND GO DO IT WHILE

04:01PM   16       YOU CONTINUE.

04:01PM   17            I DON'T KNOW IF THE GOVERNMENT IS IN A SIMILAR POSITION.

04:01PM   18                  THE COURT:    WELL, I WAS GOING TO SAY WE CAN END AT

04:01PM   19       1:00 IF THAT'S HELPFUL.

04:01PM   20                  MR. SCHENK:    MS. VOLKAR IS GOING TO HANDLE THE

04:01PM   21       ARGUMENTS FOR THE GOVERNMENT AT THAT HEARING.        SO IF THE COURT

04:01PM   22       IS STILL GOING ON SHE COULD DO LIKEWISE AND STEP OUT AND HANDLE

04:01PM   23       THAT MATTER FOR JUDGE COUSINS.

04:01PM   24            BUT WE ALSO -- I KNOW THAT THE PROSECUTORS ARE ALL

04:01PM   25       PLANNING TO ATTEND THAT HEARING.      SO WE'LL DEFER TO THE COURT.



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04:02PM    1            IF WE STILL HAVE A WITNESS ON, MAYBE WE SHOULD KEEP THE

04:02PM    2       TRIAL GOING, BUT WE WILL DO WHATEVER THE COURT PREFERS.

04:02PM    3                    THE COURT:    OKAY.

04:02PM    4                    MR. CLINE:    THE HEARING, BY THE WAY, IS BY ZOOM.     SO

04:02PM    5       I'M GOING TO GO BACK TO MY HOTEL ROOM TO DO THE HEARING RATHER

04:02PM    6       THAN DOWNSTAIRS.

04:02PM    7                    THE COURT:    AND DO YOU HAVE A ROOM HERE TO DO THAT

04:02PM    8       ZOOM HEARING?

04:02PM    9                    MR. SCHENK:   YES, WE CAN DO THAT FROM THE

04:02PM   10       COURTHOUSE.

04:02PM   11                    THE COURT:    OKAY.   WELL, LET'S SEE IF WE CAN FINISH

04:02PM   12       THINGS FRIDAY AT 1:00.

04:02PM   13                    MR. CLINE:    IT'S TOMORROW, YOUR HONOR.   IT'S

04:02PM   14       TOMORROW.

04:02PM   15                    THE COURT:    OH, I BEG YOUR PARDON.   OH, WELL, WE'LL

04:02PM   16       KEEP OUR FINGERS CROSSED.      LET'S SEE WHAT WE CAN DO.   OKAY.

04:02PM   17       THANK YOU.

04:02PM   18                    THE CLERK:    COURT ADJOURNED OTHERWISE EXCEPT FOR THE

04:02PM   19       SEALED HEARING.

04:02PM   20            (COURT ADJOURNED AT 4:02 P.M.)

04:02PM   21            (SEALED PROCEEDINGS IN CHAMBERS.)

          22

          23

          24

          25



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04:02PM    1       ///

09:00AM    2       ///

09:00AM    3             (SEALED PROCEEDINGS HELD IN CHAMBERS.)

04:20PM    4                  THE COURT:     ALL RIGHT.   LET'S GO ON THE RECORD.

04:20PM    5             THIS IS A CONTINUATION OF THE SEALED HEARING THAT WE HAD

04:20PM    6       THIS MORNING WITH OUR JURORS PRESENT IN MY CHAMBERS.

04:20PM    7             RIGHT NOW ARE MR. DOWNEY AND MR. SCHENK, MY LAW CLERKS,

04:20PM    8       AND MS. KRATZMANN, AND OF COURSE OUR COURT REPORTER.

04:20PM    9             I WANTED TO BRING YOU IN, COUNSEL, AS A CONTINUATION OF

04:20PM   10       OUR DISCUSSION THIS MORNING REGARDING THE QUESTIONNAIRE AND

04:20PM   11       THOSE ISSUES.

04:20PM   12             MS. KRATZMANN RECEIVED A NOTE DURING ONE OF THE BREAKS

04:20PM   13       FROM JUROR NUMBER 12, AND YOU RECALL WE SPOKE WITH JUROR NUMBER

04:20PM   14       12 THIS MORNING AS WELL.

04:20PM   15             I'VE SHARED THE NOTE WITH YOU, AND THE NOTE -- AND I'LL

04:20PM   16       JUST READ IT FOR THE RECORD.      IT'S DATED OCTOBER 13TH, 2021.

04:20PM   17             IT READS, "YOUR HONOR, JUDGE DAVILA, I KINDLY REQUEST THE

04:20PM   18       INFORMATION ON MY JUROR QUESTIONNAIRE REGARDING

04:20PM   19                                        BE COMPLETELY REDACTED.

04:20PM   20       RESPECTFULLY, JUROR NUMBER 12."

04:20PM   21             AND I THINK SHE TOLD US THIS IN HER COMMENTS WHEN WE WENT

04:20PM   22       THROUGH THE QUESTIONNAIRE WITH HER, BUT I JUST WANTED TO

04:20PM   23       PROVIDE THIS TO YOU, AND WE'LL MAKE A COPY OF THIS IN A SEALED

04:20PM   24       ENVELOPE AS PART OF THE RECORD OF THIS PROCEEDING.

04:20PM   25             I ALSO WANTED TO SHARE WITH YOU THE INFORMATION THAT I



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04:20PM    1       RECEIVED, AND THIS TOUCHES ON SAFETY ISSUES I SUPPOSE, SECURITY

04:20PM    2       ISSUES THAT I THINK ARE APPROPRIATE FOR US TO CONSIDER, YOU TO

04:20PM    3       CONSIDER AS WELL AS THE COURT.

04:20PM    4            I WAS INFORMED -- I THINK MS. KRATZMANN TOLD ME ABOUT --

04:20PM    5       WHERE DID I GET THE INFORMATION?       I WAS INFORMED OR TOLD TODAY

04:20PM    6       THAT APPARENTLY WINDOWS IN TWO CARS THAT WERE IN THE GARAGE,

04:20PM    7       PARKING GARAGE, BACK WINDOWS I THINK, WERE BROKEN.

04:20PM    8            MS. KRATZMANN, DID YOU TELL US THIS?

04:20PM    9                  THE CLERK:     YES.    IT'S NOT ANY OF THE JURORS, BUT

04:20PM   10       THE JURORS BROUGHT IT TO MY ATTENTION.       WHEN THEY PARK OVER

04:20PM   11       THERE, A COUPLE OF THEM SAW THAT TWO CARS HAD SMASHED IN BACK

04:20PM   12       WINDOWS.

04:20PM   13                  THE COURT:     OKAY.

04:20PM   14

04:20PM   15

04:20PM   16

04:20PM   17            SO I SHARE THIS WITH YOU.       THIS MAY BE -- AND JURORS

04:20PM   18       SHARED THIS WITH YOU, MS. KRATZMANN?

04:20PM   19                  THE CLERK:     THEY DID, AND THEY INQUIRED, IF THEIR

04:20PM   20       CARS SHOULD BE DAMAGED, WOULD THEY GET REIMBURSED?

04:20PM   21            I COMMUNICATED WITH THE CLERK'S OFFICE.         I WAS INFORMED BY

04:20PM   22       THE SUPERVISOR FROM THE CLERK'S OFFICE THAT, NO, THEY WOULD NOT

04:20PM   23       BE REIMBURSED.

04:20PM   24            I DID CONVEY THAT INFORMATION TO THE JURORS.

04:20PM   25                  THE COURT:     OKAY.



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04:20PM    1                   THE CLERK:    AND THEN ONE JUROR SAID, "WE WOULD HAVE

04:20PM    2       TO FILE A CLAIM?"

04:20PM    3            I DIDN'T RESPOND.     I JUST SAID YOU WOULD NOT BE

04:20PM    4       REIMBURSED.

04:20PM    5                   THE COURT:    OKAY.   OKAY.   ALL RIGHT.   I JUST WANTED

04:20PM    6       TO SHARE THAT WITH COUNSEL.

04:20PM    7            I THINK IT'S SOMETHING THAT THE COURT SHOULD CONSIDER.           I

04:20PM    8       SHARE IT WITH AN INTRODUCTION WITH ANY THOUGHTS THAT YOU WOULD

04:20PM    9       LIKE TO SHARE WITH ME IN YOUR BRIEFINGS.

04:20PM   10            BASED ON OUR CONVERSATIONS WITH EACH OF THE JURORS AND

04:20PM   11       BASED ON OUR CONVERSATIONS WITH THE THREE OF US POST INTERVIEWS

04:20PM   12       THIS MORNING, I KNOW WE TOUCHED ON SECURITY ISSUES AND ISSUES

04:20PM   13       THAT MIGHT AFFECT THE JURORS CONTINUING SERVICE, AND THEIR

04:20PM   14       FEELINGS ABOUT CONTINUED SERVICE AND HOW THAT MIGHT BE

04:20PM   15       AFFECTED.

04:20PM   16            SO I JUST WANTED TO SHARE THIS WITH YOU.

04:20PM   17            APPARENTLY NO JUROR'S CAR WAS AFFECTED.         HOWEVER, THEY

04:20PM   18       OBSERVED IT.   BASED ON THEIR SENTIMENTS, IF ALL OF THEM

04:20PM   19       EXPRESSED THAT THEY WERE TO SEE, HEAR, OR LEARN OF THIS, IT MAY

04:20PM   20       CAUSE THEM SOME OTHER CONCERN.       SO THAT'S ALL I WANTED TO

04:20PM   21       INFORM YOU.    I WANTED TO GIVE YOU A COPY OF THE NOTE AND INFORM

04:20PM   22       YOU OF THAT.

04:20PM   23            ANY QUESTIONS OR COMMENTS YOU WANT TO PUT ON THE RECORD,

04:20PM   24       MR. SCHENK?

04:20PM   25                   MR. SCHENK:    NO.    ON THE SAFETY ISSUE, I THINK I



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                   SEALED PROCEEDINGS                                                3537


04:20PM    1       WOULD LIKE TO REFLECT ON IT A LITTLE BIT MORE.        I DON'T HAVE

04:20PM    2       ANY COMMENTS AT THIS POINT.

04:20PM    3            FOR JUROR NUMBER 12, I AGREE, MY RECOLLECTION IS I DON'T

04:20PM    4       KNOW IF THE JUROR RAISED IT OR YOUR HONOR RAISED IT, BUT THERE

04:20PM    5       WAS -- I THINK IT WAS IN THE ADDITIONAL NOTES SECTION TO THE

04:20PM    6       QUESTIONNAIRE WHERE SHE INCLUDED SOME INFORMATION ABOUT THAT

04:20PM    7       TOPIC, AND I CAN'T RECALL IF YOUR HONOR ASKED HER ABOUT --

04:20PM    8       ASKED THE JUROR ABOUT IT OR IF THE JUROR RAISED THAT TO THE

04:20PM    9       COURT, BUT, YES, THAT WAS SOMETHING DISCUSSED.

04:20PM   10                  THE COURT:     ALL RIGHT.

04:20PM   11            MR. DOWNEY, ANYTHING YOU WOULD LIKE TO SAY?

04:20PM   12                  MR. DOWNEY:     NO, YOUR HONOR.     I THINK SIMILARLY I'LL

04:20PM   13       REFLECT ON IT, AND I KNOW MR. SCHENK AND I BOTH REGRET TO HEAR

04:20PM   14       OF THE CIRCUMSTANCE.

04:20PM   15                  THE COURT:     OKAY.   THANK YOU.

04:20PM   16            WE'RE OFF THE RECORD NOW.

04:20PM   17            AGAIN, THIS IS SEALED.

04:20PM   18            (SEALED PROCEEDINGS ARE CONCLUDED.)

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 3                           CERTIFICATE OF REPORTERS

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 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                  ______________________________
16                                IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18
                                  _______________________________
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   OCTOBER 13, 2021

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